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                                        UNITED'STATES'DISTRICT'COURT'
                                        EASTERN'DISTRICT'OF'LOUISIANA'
!
!
_________________________________________!                !   !
LASHAWN!JONES,!et#al.,!and!!                        !     !   )!
THE!UNITED!STATES!OF!AMERICA,!                            !   )!
!!            !            !     !       !          !     !   )!!!!!Civil!Action!No.!2:121cv100859!
                           PLAINTIFFS,!!!!!!!!!!!!! !     !   )!!!!!Section!I!!!
!!!!!!!!!!!!!!!!           !     !       !!!        !     !   )!!!!!Judge!Lance!M.!Africk! !!!      !!!!!!!!!!!!!
                                 v.!     !          !!!   !   )!!!!!!
!!!!!!!!!!!!! !            !     !       !!!        !     !   )!           !
MARLIN!GUSMAN,!Sheriff,! !                          !     !   )!
!             !            !     !       !          !     !   )!
!             !            !     !       !          !     !   )!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!DEFENDANT.!            !     !   )!!!!!!!!!!!!!!!
_________________________________________!                    )!           !     !
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'
                                  Independent'Monitors’'Report'No.'4'
                                         September'9,'2015'
                                                 '
'
                                           www.nolajailmonitors.org'
Susan!W.!McCampbell,!M.C.R.P.,!C.J.M.,!Lead!Monitor!!
Harry!E.!Grenawitzke,!R.S.,!M.P.H.,!D.A.A.S.,!Environmental!Health!and!Sanitation!Monitor!!
Raymond!F.!Patterson,!M.D.,!D.F.A.P.A.,!Mental!Health!Monitor!!
Robert!B.!Greifinger,!M.D.!Medical!Monitor!!
Margo!L.!Frasier,!J.D.,!C.P.O.,!Correctional!Practices!Monitor!!
Patricia!L.!Hardyman,!Ph.D.,!Classification!Monitor!!
Darnley!R.!Hodge,!Sr.,!M.S.!Correctional!Practices!Monitor!
!
McCampbell!and!Associates,!Inc.!
1880!Crestview!Way,!Naples,!Florida!3411913302!
Email:!!susanmccampbell@mccampbellassoc.com!
Web:!!www.nolajailmonitors.org!
!
!




             !                Compliance!Report!#!4!1!September!9,!2015!
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                                  Compliance'Report'#'4'
                    LASHAWN'JONES,'et'al.,'and'the'United'States'of'America''
                                              v.'
                                 Marlin'Gusman,'Sheriff'
                                                  '
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    III.      Review!Process!of!the!Report!#!4! !        !       !    !  !!     4!     !      !
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!                         Compliance!Report!#!4!1!September!9,!2015!
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I. Executive'Summary'
        The!independent!Monitors!report!there!is!significant!progress!by!the!Orleans!Parish!
Sheriff’s!Office!toward!compliance!with!the!mandates!of!the!Consent!Judgment.1!!
Compliance!Report!#!4!documents!that!there!is!an!increase!in!areas!of!substantial!
compliance!(N=173)!from!1%!to!7%,!an!increase!in!paragraphs!in!partial!compliance!from!
35%!to!66%,!and!a!decrease!in!non1compliance!from!65%!of!requirements!to!25%.2!This!
report!highlights!the!progress!made!by!OPSO!–!of!which!there!is!a!credible!amount,!
underscore!what!needs!to!be!done!to!address!critical!shortfalls,!and!provide,!once!again,!
recommendations!for!a!path!forward.!
        As!the!work!to!achieve,!and!then!maintain,!a!Constitutional!jail!is!substantial!in!
Orleans!Parish,!much!remains!to!be!done.!!To!steadily!move!toward!compliance!will!
require!human!and!fiscal!resources,!as!well!as!a!successful!transition!of!inmates!to!the!new!
jail.!!!!The!Monitors!applaud!and!commend!Orleans!Parish!for!working!to!decrease!the!
number!of!its!citizens!held!in!the!jail.!!Saying!that,!however,!the!Monitors!are!tasked!with!
assuring!the!requirements!of!the!Consent!Judgment!are!followed!regardless!of!the!jail’s!
population.!!!
        There!are!significant!unresolved!issues!that!impact!current!and!future!compliance!
including,!but,!not!limited!to:!!!
        •   replacing!beds!at!Hunt!for!the!acutely!ill!mental!health!population!by!July,!2017,!!
        •   providing!adequate!laundry!services!for!inmates,!!
        •   expanding!“step1down”!housing!for!inmates!returning!from!Hunt,!and!
        •   establishing!appropriate!salary!levels!for!staff!working!in!the!jail!in!order!to!
            attract!and!retain!staff.!!
While!all!parties!involved!in!this!initiative!can!take!some!level!of!satisfaction!from!the!
results!of!their!hard!work!to!date,!there!are!difficult!decisions!ahead.!!Putting!off!these!
decisions!will!delay!compliance,!negatively!impact!inmates!and!staff!safety,!and!may!be!
more!costly!in!the!long!term.!

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
1!http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/tab_2_consent_judgment.pdf!!
2!See!Attachment!A!for!a!summary!of!compliance!with!each!provision!of!the!Consent!Judgment.!
!                                                 !                                             1!
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                     Compliance!Report!#!4!1!September!9,!2015!
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        The!Monitors!are!so!concerned!about!the!continuing!inmate/inmate!violence!and!
the!conditions!in!the!current!jail!facilities!(i.e.,!Conchetta,!Orleans!Parish!Prison,!
Templeman!V,!and!the!Tents)!that!we!advised!the!Court!during!the!Status!Conference!of!
August!6,!2015,!that,!if!the!new!jail!does!not!begin!to!accept!inmates!by!September!15,!
2015,!inmates!must!be!housed!in!jails!outside!Orleans!Parish.!The!Monitors’!
recommendation!to!the!parties,!and!the!Court,!that!inmates!no!longer!be!housed!in!current!
buildings!after!September!15th!is!in!no!way!a!push!to!have!OPSO!move!inmates!prior!to!the!
facility,!inmates,!and!staff!being!ready!to!safety!open.!!!!
        The!Monitors!are!confident!that!the!Sheriff!and!the!Chief!of!Corrections,!Carmen!
DeSadier,!will!keep!their!promise!that!inmates!will!not!be!moved!into!the!new!jail!before!
the!building!is!ready!for!inmates,!and!the!staff!are!ready!for!the!new!jail.!
        Adequate!staffing!for!the!new!jail,!including!the!new!booking!area,!is!a!concern!of!
the!Monitors.!!While!OPSO!believes!it!will!have!the!individuals!hired!and!trained!in!time!to!
open!the!new!jail,!that!is!a!long!way!from!having!a!cadre!of!experienced!officers!and!
supervisors!to!operate!the!new!direct!supervision!jail.!!!!As!has!been!reported!in!the!three!
previous!Compliance!Reports,!we!believe!that!the!organizational!support!infrastructure!
needs!to!be!built!back!into!OPSO.!!!Progress!has!been!made!regarding!human!resources,!
finance,!and,!recently,!sanitation!and!inspections,!however,!in!the!view!of!the!Monitors!
more!resources!are!needed!(e.g.!maintenance).!!Support!services!need!to!be!judiciously!
rebuilt!to!obtain!and!sustain!compliance.!!A!competitive!salary!schedule!needs!to!be!
determined!that!will!allow!OPSO!to!recruit!and!retain!employees.!!OPSO!must!also!work!to!
improve!the!quality!of!the!work!environment,!train!supervisors!and!managers,!and!place!a!
priority!on!retaining!the!staff!who!are!hired.!
        OPSO!has!improved!its!compliance!management!process!since!January!2015.!!The!
contracting!of!an!experienced!corrections!professional!to!serve!as!compliance!coordinator,!
as!well!as!providing!additional!experienced!officer!support!for!this!individual!has!
facilitated!OPSO’s!working!to!achieve!deadlines!in!the!Consent!Judgment.!!While!these!
efforts!are!still!evolving!they!represent,!in!the!view!of!the!Monitors,!a!commitment!to!the!
tasks.!!!

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                    Compliance!Report!#!4!1!September!9,!2015!
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             The!Monitors!urge,!again,!that!the!time1sapping!battles!between!the!Sheriff’s!Office!
and!the!City!government!be!redirected!to!meaningful!mutual!problem!solving.!!The!OPSO!
(and,!by!association,!the!City)!will!not!achieve!and!maintain!compliance!in!such!an!
atmosphere.!!!
             Finally,!the!Monitoring!team!expresses!their!thanks!for!the!support!of!the!Court!to!
our!work!efforts.!!!
II. Compliance'Report'#'4'Q'Overview'and'Introduction''
             This!is!Compliance!Report!#!4!of!the!Monitoring!team!in!the!matter!of#LaShawn#
Jones,#et#al.#and#the#United#States#of#America#v.#Marlin#Gusman,#Sheriff,#Orleans#Parish#
Sheriff’s#Office!(OPSO)!based!on!the!tour!by!the!Monitors!during!the!week!of!August!3,!2015,!
and!the!documentation!provided!by!OPSO.3!!To!prepare!for!this!tour,!the!Monitors!
requested!documents!from!OPSO!on!July!1,!2015.!!Several!of!the!Monitors!conducted!tours!
in!the!interim!period!since!January!2015.4!!Members!of!the!Monitoring!team!speak!and!
communicate!frequently!with!the!defendants!as!well!as!DOJ!and!the!plaintiffs.!!The!monthly!
conference!calls!among!all!parties!were!reestablished!in!January!and!the!level!of!
meaningful!discussion!among!the!parties!has!begun!to!improve.!!!
!            There!are!now!two!Stipulated!Agreements!between!the!parties!that!were!intended!
to!spur!the!defendants!to!faster!progress!on!critical!issues.!!As!such,!this!Compliance!Report!
includes!the!OPSO’s!status!on!achieving!the!elements!of!these!two!Agreements.!!This!report!
links!the!three!documents!together!(e.g.,!the!Consent!Judgment,!February!Agreement,!April!
Agreement).!


!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
3!Compliance!Report!#!1!1!
http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/nolajailmonitorsreport1102_13_2014.pdf,!
Compliance!Report!#!2!1!
http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/compliance_report_2_08_26_2014.pdf,!
Compliance!Report!#!3!1!
http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/jones_et_al_v._gusman_3_compliance_report_
02_25_15.pdf!!
4!McCampbell:!!January!7!–!8,!2015,!March!24!–!26,!2015,!June!23!–!25,!2015;!Frasier,!March!24!–!26,!2015,!
June!23!–!25,!2015;!Hardyman,!June!25!–!26th!–!Observation!of!classification!process!and!training!for!
classification!specialists,!May!20!–!22nd!–!Classification!training!for!OPSO!Facility!Administrators!and!
Executive!Staff,!May!22nd!–!Special!Population!Committee!meeting;!Greifinger!–!March!23!–!25,!2015.!
!
!                                                              !                                         3!
!
                                     Compliance!Report!#!4!1!September!9,!2015!
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!         Since!the!Monitors’!website!www.nolajailmonitors.org!was!established!in!
September!2014,!there!have!been!more!15,000!“hits”!on!the!site.!!We!are!pleased!for!the!
interest!in!the!work.!!We!frequently!update!the!information.!!!We!welcome!input,!
information,!and!ideas!from!the!community!and!stakeholders.!
III.'     Review'Process'of'Monitors’'Report'#4'
          The!draft!of!Compliance!Report!#4!was!provided!to!all!parties!for!review!on!August!
19,!2015.!!!!In!finalizing!this!report,!the!Monitors!carefully!reviewed!and!considered!all!
comments.!!
IV.    Summary'of'Compliance5'
!
The!following!summarizes!the!status!of!compliance!at!the!conclusion!of!the!Monitor’s!tours!
in!August!2015.6!
!
             Status7'              Report'#'1'         Report'#'2'        Report'#'3'      Report'#'4'
                                 December'2013'        July'2014'''     January'2015'     August'2015'
    !                                #'        %'   #'          %'       #'       %'      #'        %'
    Substantial!Compliance!           0!       1!   2!           1!       2!       1!     12!        7!
    Partial!Compliance!              10!       6!  !22!        !13!      60!      35!    114!       66!
    Non1Compliance!                  85!      50! !149!         85!     110!      63!     43!       25!
    Not!Applicable/Other!            76!      44!   1!         .57!       2!       1!      4!        2!
                      Total!        171!      100! 174!        100!     174!     100!    1738!     100!
!
In!addition,!two!stipulated!agreements!(February!11,!2015,!April!22,!2015)!have!been!
agreed!to!by!the!parties!since!the!January!tour.!!Compliance!with!these!two!orders!are!as!
follows:![See!also!page!133!]!
!
!
!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
5!See!also!http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/summaryreport12315.pdf!!
6!The!Consent!Judgment!defines!compliance!(paragraph!42.):!!““Substantial!Compliance”!indicates!that!
Defendant!has!achieved!compliance!with!most!or!all!components!of!the!relevant!provision!of!the!Agreement.!!
“Partial!Compliance”!indicates!that!Defendant!achieved!compliance!on!some!of!the!components!of!the!
relevant!provision!of!the!Agreement,!but!significant!work!remains.!!“Non1compliance”!indicates!that!
Defendant!has!not!met!most!or!all!of!the!components!of!the!Agreement.”!
7!Section!IV.A.6.!of!the!Consent!Agreement!was!broken!out!into!separate!subparagraphs!for!the!purpose!of!
reporting.!!This!increased,!therefore,!the!paragraphs!from!171!to!174.!
8!IV.B.9.d.!double1counted!in!last!two!reports!(was!noted!as!IV.B.10.d.)!
!                                                   !                                                     4!
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                         Compliance!Report!#!4!1!September!9,!2015!
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             Status'                    Report'#'4'
                                       August'2015'
    !                              #'            %'
    Substantial!Compliance!       21!            61!
    Partial!Compliance!           12!            35!
    Non1Compliance!                1!             3!
    Not!Applicable/Other!          0!            !0!
    !                             34!           100!
      '
      OPSO!is!urged!to!address!the!partially!compliant!!and!one!non1compliant!paragraphs!as!
     swiftly!as!possible.!!
V. Defendants’'Activities'Since'Compliance'Report'#'4'–'Positive'Changes,'Challenges'
   and'Barriers'to'Compliance'
   '
      The!Orleans!Parish!Sheriff’s!Office!is!simultaneously!engaged!in!multiple!critical!
priorities.!!Building!back!an!organizational!infrastructure,!gaining!needed!funding,!
completing!policies/procedures,!hiring!and!training!employees,!and!preparing!to!open!a!
new!jail!are!individually!daunting!efforts!–!taken!together!–!they!are!more!than!
monumental!challenges.!!!
         This!is!a!list!of!OPSO’s!highlighted!activities!since!Compliance!Report!#!3.!!
Additional!improvements!and!changes!are!described!in!each!section!of!this!report.!
         •   Appointment!of!the!Chief!of!Corrections!–!Carmen!DeSadier!assumed!the!
             responsibilities!as!Chief!of!Corrections!on!May!4,!2015.!!The!Monitors!are!very!
             impressed!with!her!insight!and!actions!since!taking!over!this!position.!!!
         •   A!Budget!1!Through!the!work!and!leadership!of!Tommie!Vassel,!CPA,!chair!of!the!
             Court’s!Budget!Committee,!a!budget!for!the!jail!system!has!an!independent!view!
             and!voice.!!!Mr.!Vassel’s!efforts!to!bring!the!parties!together!has!been!essential!to!
             arriving!at!this!budget,!and!associated!documents.!!!The!funding!required!to!
             operate!a!Constitutional!jail!is!an!unsettling!amount!in!the!vacuum!of!not!
             knowing!the!totality!of!the!past!(and!future)!financial!obligation.!!While!the!
             parties!will!continue!to!refine!the!budget!for!this!year,!and!prepare!a!budget!for!
             2016,!there!is!now!a!place!to!begin!the!discussions.!



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                       Compliance!Report!#!4!1!September!9,!2015!
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      •   New!Jail!Opening!Date!–!The!date!for!opening!the!new!jail!to!begin!receiving!
          inmates,!as!noted!above,!is!now!September!15th.!!!At!the!time!of!this!Report,!it!is!
          the!OPSO’s!intention!to!begin!moving!inmates!into!the!building!by!September!
          15th,!as!the!City!granted!a!Temporary!Certificate!of!Occupancy!on!September!2,!
          2015.!!
      •   FIT!–!OPSO!has!designated!a!Force!Investigation!Team!(FIT)!to!
          review/investigate!uses!of!force,!including!allegations!of!excessive!uses!of!force,!
          as!soon!as!the!allegations/incidents!are!reported.!!This!organizational!strategy!is!
          used!in!other!jail!systems.!!The!Team’s!policies/procedures!need!to!be!
          completed,!as!differentiated!from!OPSO’s!use!of!force!policy,!but!the!focus!on!
          investigations!is!in!keeping!with!the!mandates!of!the!Consent!Judgment.!!The!
          progress!shown!by!the!Investigative!Services!Bureau!(ISB)!(previously!named!
          the!Special!Operations!Division!SOD)!in!improving!the!quality!of!investigations!
          continues!to!impress!the!Monitors.!
      •   Contract!for!Inmate!Medical!and!Mental!Health!Care!–!The!Monitors!believe!that!
          the!medical!and!mental!health!care!for!inmates!held!in!the!Parish’s!jail!has!
          significantly!improved,!and!most!likely!is!as!close!to!Constitutional!requirements!
          as!in!any!recent!years.!!More!work!needs!to!be!done,!but!the!level!of!care!has!
          improved!dramatically!since!CorrectCare!Solutions,!Inc.!(CCS)!began!providing!
          services!to,!perhaps,!the!most!physically!and!mentally!ill!population!in!Orleans!
          Parish.!!!As,!prior!to!CCS’!taking!over!care,!the!medical!and!mental!health!care!
          was!totally!and!grossly!inadequate,!it!will!take!some!time!to!put!the!systems!of!
          care!into!place.!!The!progress!of!OPSO!and!CCS!is!significant!and!substantial.!
      •   Inmate!Classification!–!The!inmate!classification!system!is!implemented.!This!
          means!that!inmates!who!are!properly!classified!and!re1classified!and!housed!will!
          be!in!a!safer!environment,!and!staff!will!be!safer!as!well.!!!There!are!issues!to!
          resolve!in!data!collection!and!analysis.!!The!classification!function!is!
          appropriately!resourced.!OPSO!is!acknowledged!for!the!hard!work!to!get!this!
          done.!!Movement!into!the!new!jail!will!enhance!these!efforts,!and,!as!noted!

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            above,!is!essential!to!inmate!and!staff!safety.!!The!Monitors!will!continue!to!
            collaborate!with!OPSO!to!assess!if!modifications!to!policies,!procedures!and!
            operations!are!needed!as!the!new!jail!is!opened!for!inmates.!!
        •   Hunt!–!All!beds!at!Hunt!are!routinely!filled!with!inmates!with!acute!mental!
            illnesses.!!It!is!difficult!!to!envision!how!Orleans!Parish!would!have!been!able!to!
            respond!to!this!critical!need!without!Hunt.!!The!facility!will!be!available!until!
            July,!2017,!and!no!other!alternative!will!be,!based!on!the!pace!of!current!
            activities,!available!by!that!date.!!While!Hunt!is!available,!the!Monitors!strongly!
            urge!closer!collaboration!with!the!leadership!at!Hunt!regarding!the!issues!of!the!
            management!of!this!challenging!and!unpredictable!population.!!!
        •   Mental!Health!Working!Group!(MHWG)!1!The!Monitors!note!that!the!report!of!
            the!Court1appointed!Mental!Health!Working!Group!was!delivered!on!September!
            8,!2014.9!!!While!OPSO!proposed!and!implemented!Hunt!as!the!immediate!
            alternative!to!the!needs,!ultimately!there!are!no!credible!or!time1sensitive!
            strategies!to!address!the!issues!raised!in!that!report,!or!move!forward!on!plans!
            to!house!this!population!after!July!2017.!
        •   Policies!and!Procedures!–!Work!continues!to!develop!these!essential!written!
            directives,!and!in!the!view!of!the!Monitors,!needs!an!infusion!of!additional!
            resources!to!complete!the!work;!particularly!to!facilitate!the!opening!of!the!new!
            jail.!!This!is!not!a!“one1time”!effort,!as!the!directives!will!be!reviewed!annually,!
            and!updated!as!necessary.!!!
        •   Food!Services!–!The!Monitors!note!improvements!in!the!food!service!
            management!for!OPSO’s!inmates.!!!
        The!following!summarizes!barriers!to!compliance!as!of!this!Report.!
        •   Implementation!of!a!staffing!analysis/hiring!–!As!noted!above,!the!Monitors!are!
            concerned!about!the!staffing!of!the!jail!system,!including!the!operational!support!
            infrastructure.!!There!is!a!credible!staffing!analysis!that!OPSO!continues!to!refine!

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9!To!review!the!Mental!Health!Working!Group’s!Report:!!
http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/mhwg_rpt_09_08_14.pdf!!
!                                             !                                                     7!
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            which!must!serve!as!the!basis!for!staffing.!!The!Monitors!recommend!immediate!
            hiring!to!address!the!Consent!Judgment’s!requirements!for!youthful!prisoners!
            (IV.!A.!G.)!
        •   !“Docks”!Committee!–!In!previous!Compliance!Reports!the!Monitors!addressed!
            the!inmate!safety!and!security!issues!associated!with!holding!inmates!for!court!
            in!the!area!in!OPP!known!as!“The!Docks.”10!!!The!Sheriff!advises!the!Monitors!
            that!the!plan!is!to!close!the!Docks!when!inmates!are!removed!from!OPP!to!the!
            new!jail.!!The!court!system!needs!to!determine!how!and!where!inmates!will!be!
            staged!for!court!appearances.!!If!inmates!are!not!held!in!a!facility!of!the!Orleans!
            Parish!Sheriff’s!Office,!the!Consent!Judgment’s!provisions!are!not!guiding.!!!!If,!
            after!inmates!are!removed!from!OPP!!the!Docks!remain!open,!or!re1open,!the!
            Monitors!will!re1engage!this!matter.!
        •   Inmate!Laundry!–!The!inmate!laundry!is!located!in!the!House!of!Detention!–!
            essentially!an!abandoned!jail.!!The!services!provided!do!not!meet!the!health!and!
            safety!needs!of!the!jail,!nor!the!Consent!Judgment.!The!new!jail!will!provide!
            some!capacity!for!some!laundry.!!OPSO!has!indicated!to!the!Monitors!that!there!
            is!a!plan!to!outsource!these!functions.!!The!Monitors!will!review!the!outcome!of!
            this!initiative!at!the!time!of!the!next!tour,!and!in!the!interim!as!information!is!
            provided.!!!
        •   Jail!Management!Information!System!–!The!jail’s!management!information!
            system!needs!to!be!upgraded!and!modernized.!!Jails!are!data!rich!environments!
            with!the!information!usable!to!more!effectively!manage!the!buildings,!staff,!and!
            inmates.!!!The!jail!information!system!is!essential!to!the!inmate!classification!
            system!as!well!as!generating!reporting!for!documentation!of!compliance.!
        •   Inmate!Housing!–!When!the!new!jail!opens!there!will!be!insufficient!beds!for!the!
            current!population!when!the!other!facilities!are!closed!as!required!by!the!City’s!
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10!Initially!the!Monitors’!attention!was!drawn!to!this!area!because!of!the!crowding,!reported!inmate/inmate!
fights,!non1functioning!fire!systems!in!OPP,!issues!with!locking!mechanisms,!absence!of!adequate!toilets,!
insufficient!seating,!etc.!!!Committee!has!met!three!times!since!Compliance!Report!#3!in!an!effort!to!move!the!
decision!process!forward.!!An!architect!was!selected!in!October!2014,!but!the!contract!has!not!been!finalized!
in!the!absence!of!a!decision!by!the!City!on!the!scope!of!the!work.!
!                                                    !                                                        8!
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            ordinance.!!As!noted!above,!the!Monitors!strongly!believe!these!grossly!
            inadequate!facilities![e.g.!OPP,!Conchetta,!TPV,!tents]!be!closed!as!soon!as!
            absolutely!possible.!!The!Monitors!recommend!that!any!inmates!who!cannot!be!
            housed!(based!on!their!classification)!in!the!new!jail!facility!or!the!Temporary!
            Detention!Center!(TDC)!be!moved!immediately!to!other!parish!jails.!!The!
            Monitors!point!out,!however,!that!OPSO’s!inmates!cannot!be!moved!to!jails!that!
            do!not!have!a!credible!classification!system,!adequate!medical!and!mental!health!
            care,!compliance!with!the!principles!of!the!Prison!Rape!Elimination!Act!of!2003,!
            and!appropriate!levels!of!staff!supervision!(among!other!things).!!!This!fact!is!an!
            important!consideration!as!OPSO!evaluates!alternatives!and!as!the!funding!
            authority!considers!options.!
        •   Youthful!Inmates!–!OPSO!needs!to!immediately!develop!the!internal!resources!
            and!galvanize!the!community!to!assist!in!managing!the!almost!50!youths!under!
            18!years!of!age!held!in!the!custody!of!OPSO.!!This!is!a!volatile!and!vulnerable!
            population!whose!management!requires!urgent!attention.!!
        •   Continuing!Institutional!Violence!–!For!the!period!January!1!–!July!31,!2015,!
            OPSO!continued!to!report!to!the!Monitors!serious!incidents!in!the!jail!facilities.!!
            As!noted!in!the!discussion!in!Section!IV.!7.!Incidents!and!Referrals,!since!June!
            2015!OPSO!has!prioritized!its!efforts!to!assure!that!incidents!are!reported!to!the!
            Monitors,!even!if!an!inmate!injury!does!not!result.!The!Monitors!believe!that!the!
            leadership!at!OPSO!is!reporting!to!the!Monitors!the!incidents!that!are!reported!
            to!them.!This!increased!level!of!reporting!provides!a!more!accurate!view!of!what!
            is!happening!in!the!facilities.!!!!The!plaintiffs!notify!the!Monitors!!of!incidents!that!
            the!plaintiffs!believe,!based!on!discussions!with!their!clients,!are!not!reported!as!
            required!by!the!Consent!Judgment.11!!The!Monitors!frequently!urge!the!plaintiffs!
            to!notify!OPSO!of!critical!incidents,!timely,!to!assure!no!harm!to!their!clients.!!
            The!plaintiffs!assure!the!Monitors!that!they!do!report!imminent!harm!and/or!

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11!The!concern!about!underreporting/non1reporting!by!staff!at!OPSO!was!also!addressed!by!the!February!11,!
2015!Stipulated!Agreement!paragraphs!1.c.,!3.,!4.a1c.!(See!Section!VII.!of!this!Report)!
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           emergent!medical!issues.!!OPSO!evaluates!the!reports!provided!by!the!plaintiffs!
           to!determine!if!the!plaintiffs’!reports!are!accurate!and,!if!needed,!any!policy!
           violations!for!non1reporting!by!OPSO!staff!and/or!supervisors.!!This!issue!of!
           what!is!or!is!not!being!reported!to!OPSO!leadership!will!be!remedied,!in!large!
           part,!when!the!new!jail!opens!because!of!the!strategic!use!of!cameras!through!
           the!facility.!!!
                 OSPO!Reported!Serious!Incidents!–!January!1!–!July!31,!2015!
                      Alleged!Sexual!Assault!                          11!
                      Assault!Inmate!on!Civilian!                       2!
                      Assault!Inmate!on!Inmate!                        126!
                      Assault!Inmate!on!Staff!                         22!
                      Attempt!Suicide!                                 11!
                      Contraband!                                      22!
                      Death!In1Custody!                                 2!
                      Disturbance!                                      1!
                      Inmate!Assault/Staff/Sexual!                      1!
                      Inmate!Medical/Injury!                           33!
                      Planned!Use!of!Force!                             1!
                      Property!Damage!                                  3!
                      Shakedowns!Conducted!                            44!
                      Threats!to!Staff!                                 1!
                      Use!of!Force!                                    62!
                                          !Total!Incidents!Reported!   342!
                                                               !
               During!the!period!January!1!–!July!14,!2015,!157!inmates!were!removed!from!
        the!facilities!to!emergency!rooms!for!care!of!injuries!resulting!from!inmate/inmate!
        assaults,!!and!serious!medical!emergencies,!and!in!some!instances,!inmates!are!sent!
        to!emergency!rooms!for!evaluation!in!an!abundance!of!caution.!!(See!also!Section!
        IV.C.,!Medical!Care).!!!The!medical!provider!is!reporting!these!“routes”.!
               These!findings!regarding!violence,!along!with!the!grossly!deteriorated!
        conditions!of!the!physical!plant,!are!why!the!Monitors!strongly!urge!moving!inmates!
        out!of!the!current!facilities!if!the!new!jail!does!not!open!by!September!15,!2015.!
    !
!                                                      !                                      10!
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        The!Monitors!thank!Sheriff!Gusman,!Chief!Ursin,!and!Chief!DeSadier!and!their!team!
of!committed!staff!in!achieving!the!accomplishments!noted!in!Compliance!Report!#!4.!!
There!is,!as!has!been!stated!several!times,!much!more!work!to!be!done.!!
VI.     SUBSTANTIVE'PROVISIONS'
'
IV.'A.' Protection'From'Harm'
'
1.      Use'of'Force'
Consistent!with!constitutional!standards,!Defendant!shall!provide!prisoners!with!a!safe!and!secure!
environment!and!ensure!their!reasonable!safety!from!harm.!!OPSO!shall!take!all!reasonable!measures!to!
ensure!that!during!the!course!of!incarceration,!prisoners!are!not!subjected!to!unnecessary!or!excessive!force!
by!OPSO!staff!and!are!protected!from!violence!by!other!prisoners.!!!
'
Introduction''
        The!Defendant!has!made!improvement!in!the!protection!of!inmates!from!harm,!and!
is!in!partial!compliance!with!the!majority!of!the!elements!in!these!sections!of!the!Consent!
Judgment!1!reviewed!during!the!tours!of!March!24127,!2015,!June!23125,!2015,!and!August!
317,!2015.!!The!lack!of!adequate!facilities,!staff,!policies,!and!training!noted!in!the!previous!
three!compliance!reports!continue!to!exist!and!result!in!an!Orleans!Parish!Jail!system!that!
fails!to!provide!inmates!with!a!safe!and!secure!environment.!!It!was!also!noted!that!there!
was!a!great!likelihood!that!inmates!were!being!subjected!to!violence!by!other!inmates.!!A!
new!program!whereby!an!administrative!segregation!unit!for!high!security!inmates!and!
protective!custody!inmates!has!been!implemented!in!July!2015.!!The!Monitors!will!
continue,!with!Chief!DeSadier,!to!assess!this!classification/housing!strategy,!particularly!as!
the!new!jail!opens.!!!!The!improvements!in!staffing,!supervision,!and!investigations!have!
lessen!the!likelihood!of!inmates!being!subjected!to!unnecessary!or!excessive!force!by!OPSO!
staff!and/or!it!going!undetected!and/or!punished.!
        Since!January!2015,!some!change!has!been!noted!in!these!areas.!!While!there!still!
has!not!been!a!sufficient!number!of!corrections!deputies!hired,!trained,!and/or!deployed!to!
allow!for!sufficient!staffing!to!properly!supervise!inmates,!some!progress!made.!!
Redeployment!of!staff!and!mandatory!staffing!levels!at!the!OPP!has!increased!the!staffing!
on!the!tiers!in!the!OPP.!!Progress!on!the!policies!on!use!of!force!that!comply!with!the!
language!of!the!Consent!Judgment!has!been!made.!!During!the!site!visit!of!August!2015,!the!
!                                                    !                                                     11!
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Monitors!facilitated!agreement!between!the!parties!on!the!final!wording!of!the!various!use!
of!force!policies.!!!The!next!steps!will!be!to!finalize!the!policies,!train!staff!on!the!policies,!
implement!the!policies!and!monitor!strict!compliance!with!the!policies.!!!!Compliance!with!
the!comprehensive!policies!on!the!use!of!force!is!crucial!to!making!the!OPSO!facilities!a!safe!
place!for!inmates!to!be!housed!and!staff!to!work.!
         For!the!period!January!1!–!July!31,!2015,!OPSO!reported!to!the!Monitors!62!uses!of!
force!and!one!planned!use!of!force.!!!
Assessment'Methodology'
     •   Dates!of!tours!
             o March!24127,!2015!
             o June!23125,!2015!
    • August!317,!2015!
         !
    • Materials!reviewed!
             o Materials!reviewed!include!the!Consent!Judgment,!policies!and!procedures,!
                  use!of!force!reports,!incident!reports,!investigations!conducted!by!
                  Investigative!Services!Bureau!(ISB),!investigations!conducted!by!Internal!
                  Affairs!Division!(IAD),!news!articles,!training!materials,!expert!reports!from!
                  underlying!litigation,!shakedown!logs,!and!post!logs.!
    • Interviews!
             o Interviews!included!Sheriff,!Sheriff’s!command!staff,!jail!supervisors,!
                  deputies!assigned!to!housing!units,!deputies!assigned!to!specialty!units,!
                  commander!of!ISB,!various!supervisors!of!units!within!ISB,!inmates,!and!
                  architect!and!project!management!staff!for!new!jail!facility.!
                  !
A.'1.'''a.'–'c.''Use'of'Force'Policies'and'Procedures'
a.       OPSO!shall!develop,!implement,!and!maintain!comprehensive!policies!and!procedures!(in!accordance!
         with!generally!accepted!correctional!standards)!relating!to!the!use!of!force!with!particular!emphasis!
         regarding!permissible!and!impermissible!uses!of!force.!!!
b.       OPSO!shall!develop!and!implement!a!single,!uniform!reporting!system!under!a!Use!of!Force!
         Reporting!policy.!!OPSO!reportable!force!shall!be!divided!into!two!levels,!as!further!specified!in!
         policy:!!Level!1!uses!of!force!will!include!all!serious!uses!of!force!(i.e.,!the!use!of!force!leads!to!injuries!
         that!are!extensive,!serious!or!visible!in!nature,!including!black!eyes,!lacerations,!injuries!to!the!mouth!
         or!head,!multiple!bruises,!injuries!to!the!genitals,!etc.),!injuries!requiring!hospitalization,!staff!
         misconduct,!and!occasions!when!use!of!force!reports!are!inconsistent,!conflicting,!or!otherwise!
         suspicious.!!Level!2!uses!of!force!will!include!all!escort!or!control!holds!used!to!overcome!resistance!
         that!are!not!covered!by!the!definition!of!Level!1!uses!of!force.!!!!!
c.       OPSO!shall!assess,!annually,!all!data!collected!regarding!uses!of!force!and!make!any!necessary!
         changes!to!use!of!force!policies!or!procedures!to!ensure!that!unnecessary!or!excessive!use!of!force!is!
         not!used!in!OPP.!!The!review!and!recommendations!will!be!documented!and!provided!to!the!
         Monitors,!DOJ,!and!SPLC.!
         !
!                                                        !                                                           12!
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        Findings:!
              Partial!compliance!–!IV.!A.!1.!a.!!
              Partial!compliance!–!IV.!A.!1.!b.!!!
              Partial!compliance!–!IV.!A.!1.!c.!!!
!
                                                                                                       !
     Measures!of!compliance:!                                                                          !
     1.     Comprehensiveness!of!written!policies,!!
     2.     Training,!data!collection!and!analysis,!!                                                            !
     3.     Supervisory!review!of!uses!of!force,!!                                                               !
     4.     Review!of!use!of!force!reports,!review!of!incident!reports,!review!of!investigations!by!
            ISB.!                                                                                                !
                                                                                                                 !
        Observations:!
                The!vendor!hired!to!draft!written!directives!wrote!the!comprehensive!use!of!
        force!policy!to!comply!with!the!Consent!Judgment!as!well!as!the!required!policies!
        for!reporting,!data!collection,!and!data!analysis.!!The!policies!had!been!forwarded!to!
        counsel!for!DOJ!and!the!plaintiffs,!but!no!agreement!had!been!reached.!!While!on!
        site,!the!Monitors!facilitated!agreement!between!the!parties!on!the!final!wording!of!
        the!use!of!force!related!policies.!!OPSO,!working!with!the!Monitors!and!the!
        DOJ/Plaintiffs!completed!a!Use!of!Force!policy!during!the!August!2015!tour.!!On!that!
        basis,!partial!compliance!is!noted!for!these!paragraphs.!!!The!Monitors!will!evaluate!
        the!implementation!of!this!policy,!review!the!training,!and!examine!the!outcomes!
        during!subsequent!tours.!!Also!needed!are!the!standard!operating!procedures!for!
        the!ISB!to!provide!a!comprehensive!strategy!to!uses!of!force!and!investigation!of!
        uses!of!force.!!Data!collection!is!proceeding,!but!is!absent!analysis,!
        recommendations,!plans!of!action,!or!reports!of!outcomes!of!plans!of!action.!
        Recommendation:!
        1.      Develop!not!only!the!reporting!systems!(data!collection)!for!uses!of!force,!but!
                the!mechanics!to!analyze,!produce!summary!reports,!develop!plans!of!action,!
                and!assess!the!impact!of!any!plans!of!action.!
!
A. 2.!Use!of!Force!Training!
a.     OPSO!shall!ensure!that!all!correctional!officers!are!knowledgeable!of!and!have!the!knowledge,!skills,!
       and!abilities!to!comply!with!use!of!force!policies!and!procedures.!!!At!a!minimum,!OPSO!shall!provide!

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       correctional!officers!with!pre1service!and!annual!in1service!training!in!use!of!force,!defensive!tactics,!
       and!use!of!force!policies!and!procedures.!!The!training!will!include!the!following:!
            (1) instruction!on!what!constitutes!excessive!force;!
            (2) de1escalation!tactics;!and!
            (3) management!of!prisoners!with!mental!illness!to!limit!the!need!for!using!force.!
b.     OPSO!shall!ensure!that!officers!are!aware!of!any!change!to!policies!and!practices!throughout!their!
       employment!with!OPP.!!At!a!minimum,!OPSO!shall!provide!pre1service!and!annual!in1service!use!of!
       force!training!that!prohibits:!
       (1)      use!of!force!as!a!response!to!verbal!insults!or!prisoner!threats!where!there!is!no!immediate!
                threat!to!the!safety!or!security!of!the!institution,!prisoners,!staff,!or!visitors;!!!
       (2)      use!of!force!as!a!response!to!prisoners’!failure!to!follow!instructions!where!there!is!no!
                immediate!threat!to!the!safety!or!security!of!the!institution,!prisoners,!staff,!or!visitors;!
       (3)      use!of!force!against!a!prisoner!after!the!prisoner!has!ceased!to!offer!resistance!and!is!under!
                control;!
       (4)      use!of!force!as!punishment!or!retaliation;!and!
       (5)      use!of!force!involving!kicking,!striking,!hitting,!or!punching!a!non1combative!prisoner.!
c.     OPSO!shall!randomly!test!five!percent!of!the!correctional!officer!staff!on!an!annual!basis!to!determine!
       their!knowledge!of!the!use!of!force!policies!and!procedures.!!The!testing!instrument!and!policies!shall!
       be!approved!by!the!Monitors.!!!The!results!of!these!assessments!shall!be!evaluated!to!determine!the!
       need!for!changes!in!training!practices.!!The!review!and!conclusions!will!be!documented!and!provided!
       to!the!Monitors.!
!
           Findings:!
                  Non1compliance!1!IV.!A.!2.!a.!!!
                  Non1compliance!1!IV.!A.!2.!b.!!!
                  Non1compliance!1!IV.!A.!2.!c.!!!
                  !
           Measures!of!compliance:!
              1.       Comprehensiveness!of!lesson!plans.!!
              2.       Training!material,!evidence!of!knowledge!gained.!
              3.       Review!of!use!of!force!reports.!
              4.       Review!of!incident!reports.!!
              5.       Review!of!investigations!by!SOD.!
              6.       Review!of!investigations!by!IAD.!!!!
       !
       Observations:!
!
               Staff!members!have!not!been!training!on!the!new!use!of!force!policies!as!they!
       have!yet!to!be!finalized!or!training!materials!on!them,!specifically,!written.!!
               The!Monitors!continued!to!be!concerned!about!a!disproportionate!amount!of!
       time!being!spent!on!use!of!force!training!that!is!not!geared!towards!corrections.!!It!is!
       unclear!how!many!hours!are!devoted!to!this!training.!!The!training!contains!no!




!                                                    !                                                       14!
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        specific!references!to!OPSO’s!current!!or!new!Use!of!Force!policy!or!Use!of!Force!
        Reporting!policy!or!the!requirements!of!the!Consent!Judgment.12!!!
                As!there!is!not!currently!a!comprehensive!OPSO!policy!in!place,!it!goes!
        without!saying!that!the!training!does!not!cover!a!comprehensive!policy!on!use!of!
        force!that!is!compliance!with!the!Consent!Judgment.!Therefore,!given!the!lack!of!
        comprehensiveness!of!the!policies!and!procedures!currently!in!effect!and!the!
        shortage!of!staff!and!training,!neither!deputies!nor!supervisors!are!being!adequately!
        trained;!as!they!begin!their!careers,!or!through!regular!in1service!training.!!In!
        particular,!training!needs!to!stress!the!proper!uses!of!force!in!a!jail!setting,!and!that!
        all!uses!of!force!are!to!be!reported!and!properly!investigated.!As!the!vast!majority!of!
        deputies!hired!by!OPSO!will!be!spent!working!in!corrections,!the!training!should!use!
        corrections!based!scenarios!and!emphasize!working!with!inmates,!especially!
        inmates!with!mental!illness.!In!addition,!OPSO!supervisors!need!to!be!trained!on!the!
        mechanisms!to!ensure!that!all!uses!of!force!are!properly!reported!and!investigated!
        in!accordance!with!the!policy.!!All!training,!deputy!and!supervisor,!should!
        emphasize!that!failure!to!follow!the!policy!will!result!in!discipline.!It!is!
        recommended!that!the!mental!health!contract!provider,!CCS,!be!involved!in!the!
        training!as!a!way!of!providing!expertise!and!promoting!collaboration.!
        Recommendation:!
        2.      When!the!use!of!force!policies!are!finalized,!comprehensive!lesson!plans!and!
                training!materials!will!need!to!be!developed.!!Given!the!current!quality!of!the!
                training!material,!it!may!be!that!the!task!of!developing!comprehensive!lesson!
                plans!and!training!material!will!need!to!be!outsourced!(perhaps!on!the!list!
                for!V/R!Justice!Service).!Training!needs!to!clearly!delineate!when!force!may!
                be!used,!highlight!strategies!to!de1escalate!the!need!to!use!force,!and!stress!
                that!all!uses!of!force!must!be!reported!and!properly!investigated.!!As!the!vast!
                majority!of!future!deputy’s!time!is!spent!working!in!corrections,!the!training!

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12!OPSO!is!initiating!training!for!trainers!based!on!the!Use!of!Force!Policy!beginning!September!5,!2015.!The!
training!is!being!conducted!by!subject!matter!experts!in!corrections!specific!scenarios.!
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               should!use!corrections!based!scenarios!and!emphasize!working!with!inmates!
               with!mental!illness.!!In!addition,!supervisors!need!to!be!trained!on!the!
               mechanisms!to!ensure!that!all!uses!of!force!are!properly!reported!and!
               investigated!in!accordance!with!the!policy.!!!All!training,!for!both!deputy!and!
               supervisor!levels,!must!emphasize!that!failure!to!follow!the!policy!will!result!
               in!discipline.!!The!adequacy!of!the!policies!and!procedures!and!training!is!
               crucial!to!future!compliance!with!IV.!A.!2.!c.!that!requires!OPSO!to!randomly!
               test!five!percent!of!the!jail!staff!to!determine!their!knowledge!of!use!of!force!
               policies!and!procedures.!!!
3.''a.'–'h.'Use'of'Force'Reporting'
a.     Failure!to!report!a!use!of!force!incident!by!any!staff!member!engaging!in!the!use!of!force!or!
       witnessing!the!use!of!force!shall!be!grounds!for!discipline,!up!to!and!including!termination.!!
b.     OPSO!shall!ensure!that!sufficient!information!is!collected!on!uses!of!force!to!assess!whether!staff!
       members!complied!with!policy;!whether!corrective!action!is!necessary!including!training!or!
       discipline;!the!effectiveness!of!training!and!policies;!and!whether!the!conditions!in!OPP!comply!with!
       this!Agreement.!!At!a!minimum,!OPSO!will!ensure!that!officers!using!or!observing!a!Level!1!use!of!
       force!shall!complete!a!use!of!force!report!that!will;!
       (1)       include!the!names!of!all!staff,!prisoner(s),!or!other!visual!or!oral!witness(es);!
       (2)       contain!an!accurate!and!specific!account!of!the!events!leading!to!the!use!of!force;!
       (3)       describe!the!level!of!resistance!and!the!type!and!level!of!force!used,!consistent!with!OPP!use!
                 of!force!policy!and!procedure,!as!well!as!the!precise!actions!taken!by!OPSO!staff!in!response!
                 to!the!incident;!!
       (4)       describe!the!weapon!or!instrument(s)!of!restraint,!if!any,!and!the!manner!of!such!use;!
       (5)       be!accompanied!by!a!prisoner!disciplinary!report,!if!it!exists,!pertaining!to!the!events!or!
                 prisoner!activity!that!prompted!the!use!of!force!incident;!
       (6)       describe!the!nature!and!extent!of!injuries!sustained!by!anyone!involved!in!the!incident;!
       (7)       contain!the!date!and!time!when!medical!attention,!if!any,!was!requested!and!actually!
                 provided;!!
       (8)       describe!any!attempts!the!staff!took!to!de1escalate!prior!to!the!!use!of!force;!
       (9)       include!an!individual!written!account!of!the!use!of!force!from!every!staff!member!who!
                 witnessed!the!use!of!force;!
       (10)      include!photographs!taken!promptly,!but!no!later!than!two!hours!after!a!use!of!force!
                 incident,!of!all!injuries!sustained,!or!as!evidence!that!no!injuries!were!sustained,!by!prisoners!
                 and!staff!involved!in!the!use!of!force!incident;!!
       (11)      document!whether!the!use!of!force!was!digitally!or!otherwise!recorded.!!If!the!use!of!force!is!
                 not!digitally!or!otherwise!recorded,!the!reporting!officer!and/or!watch!commander!will!
                 provide!an!explanation!as!to!why!it!was!not!recorded;!and!
       (12)      include!a!statement!about!the!incident!from!the!prisoner(s)!against!whom!force!was!used.!
c.     All!officers!using!a!Level!2!use!of!force!shall!complete!a!use!of!force!report!that!will:!
       (1)       include!the!names!of!staff,!prisoner(s),!or!other!visual!or!oral!witness(es);!
       (2)       contain!an!accurate!and!specific!account!of!the!events!leading!to!the!use!of!force;!
       (3)       describe!the!level!of!resistance!and!the!type!and!level!of!force!used,!consistent!with!OPP!use!
                 of!force!policy!and!procedure,!as!well!as!the!precise!actions!taken!by!OPSO!staff!in!response!
                 to!the!incident;!!
       (4)       describe!the!weapon!or!instrument(s)!of!restraint,!if!any,!and!the!manner!of!such!use;!
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       (5)     be!accompanied!by!a!prisoner!disciplinary!report,!if!it!exists,!pertaining!to!the!events!or!
               prisoner!activity!that!prompted!the!use!of!force!incident;!
       (6)     describe!the!nature!and!extent!of!injuries!sustained!by!anyone!involved!in!the!incident;!
       (7)     contain!the!date!and!time!when!medical!attention,!if!any,!was!requested!and!actually!
               provided;!and!
       !
       (8)      describe!any!attempts!the!staff!took!to!de1escalate!prior!to!the!use!of!force;!
d.     OPSO!shall!require!correctional!officers!to!notify!the!watch!commander!as!soon!as!practical!of!any!
       use!of!force!incident!or!allegation!of!use!of!force.!!When!notified,!the!watch!commander!will!respond!
       to!the!scene!of!all!Level!1!uses!of!force.!!When!arriving!on!the!scene,!the!watch!commander!shall:!
       (1)      ensure!the!safety!of!everyone!involved!in!or!proximate!to!the!incident;!
       (2)      determine!if!any!prisoner!or!correctional!officer!is!injured!and!ensure!that!necessary!
                medical!care!is!provided;!
       (3)      ensure!that!personnel!and!witnesses!are!identified,!separated,!and!advised!that!
                communications!with!other!witnesses!or!correctional!officers!regarding!the!incident!are!
                prohibited;!
       (4)      ensure!that!witness!and!subject!statements!are!taken!from!both!staff!and!prisoner(s)!outside!
                of!the!presence!of!other!prisoners!and!staff;!
       (5)      ensure!that!the!supervisor’s!use!of!force!report!is!forwarded!to!IAD!for!investigation!if,!upon!
                the!supervisor’s!review,!a!violation!of!law!or!policy!is!suspected.!!The!determination!of!what!
                type!of!investigation!is!needed!will!be!based!on!the!degree!of!the!force!used!consistent!with!
                the!terms!of!this!Agreement;!
       (6)      If!the!watch!commander!is!not!involved!in!the!use!of!force!incident,!the!watch!commander!!
                shall!review!all!submitted!use!of!force!reports!within!36!hours!of!the!end!of!the!incident,!and!
                shall!specify!his!findings!as!to!completeness!and!procedural!errors.!!If!the!watch!commander!
                believes!that!the!use!of!force!may!have!been!unnecessary!or!excessive,!he!shall!immediately!
                contact!IAD!for!investigation!consideration!and!shall!notify!the!warden!or!assistant!warden;!
                and!
       (7)      All!Level!1!use!of!force!reports,!whether!or!not!the!force!is!believed!by!any!party!to!be!
                unnecessary!or!excessive,!shall!be!sent!to!IAD!for!review.!!IAD!shall!develop!and!submit!to!
                the!Monitors!within!90!days!of!the!Effective!Date!clear!criteria!to!identify!use!of!force!
                incidents!that!warrant!a!full!investigation,!including!injuries!that!are!extensive!or!serious,!
                visible!in!nature!(including!black!eyes,!injuries!to!the!mouth,!injuries!to!the!genitals,!etc.),!
                injuries!requiring!hospitalization,!staff!misconduct!(including!inappropriate!relationships!
                with!prisoners),!and!occasions!when!use!of!force!reports!are!inconsistent,!conflicting,!or!
                otherwise!suspicious.!!!!
e.     Ensure!that!a!first1line!supervisor!is!present!during!all!pre1planned!uses!of!force,!such!as!cell!
       extractions.!!
f.     Within!36!hours,!exclusive!of!weekends!and!holidays,!of!receiving!the!report!and!review!from!the!
       shift!commander,!in!order!to!determine!the!appropriateness!of!the!force!used!and!whether!policy!
       was!followed,!the!Warden!or!Assistant!Warden!shall!review!all!use!of!force!reports!and!supervisory!
       reviews!including:!!!
       (1)      the!incident!report!associated!with!the!use!of!force;!
       (2)      any!medical!documentation!of!injuries!and!any!further!medical!care;!
       (3)      the!prisoner!disciplinary!report!associated!with!the!use!of!force;!and!
       (4)      the!Warden!or!Assistant!Warden!shall!complete!a!written!report!or!written!statement!of!
                specific!findings!and!determinations!of!the!appropriateness!of!force.!
g.     Provide!the!Monitors!a!periodic!report!detailing!use!of!force!by!staff.!!These!periodic!reports!shall!be!
       provided!to!the!Monitors!within!four!months!of!the!Effective!Date;!and!every!six!months!thereafter!
       until!termination!of!this!Agreement.!!Each!report!will!include!the!following!information:!
       (1)      a!brief!summary!of!all!uses!of!force,!by!type;!
       (2)      date!that!force!was!used;!

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       (3)      identity!of!staff!members!involved!in!using!force;!
       (4)      identity!of!prisoners!against!whom!force!was!used;!
       (5)      a!brief!summary!of!all!uses!of!force!resulting!in!injuries;!
       (6)      number!of!planned!and!unplanned!uses!of!force;!
       (7)      a!summary!of!all!in1custody!deaths!related!to!use!of!force,!including!the!identity!of!the!
                decedent!and!the!circumstances!of!the!death;!and!
       (8)      a!listing!of!serious!injuries!requiring!hospitalization.!
h.     OPSO!shall!conduct,!annually,!a!review!of!the!use!of!force!reporting!system!to!ensure!that!it!has!been!
       effective!in!reducing!unnecessary!or!excessive!uses!of!force.!!OPSO!will!document!its!review!and!
       conclusions!and!provide!them!to!the!Monitors,!SPLC,!and!DOJ.#
            Findings:!
                   Partial1compliance!1!IV.!A.!3.!a.!!!
                   Non1compliance!1!IV.!A.!3.!b.!!!
                   Non1compliance!1!IV.!A.!3.!c.!!!
                   Partial1compliance!1!IV.!A.!3.!d.!!!
                   Partial1compliance!1!IV.!A.!3.!e.!!!
                   Partial1compliance!1!IV.!A.!3.!f.!!!!
                   Partial1compliance!1!IV.!A.!3!.g.!!!
                   Non1compliance!1!IV.!A.!3.!h.!!!
                   !
         Measures!of!compliance:!
               !
         1.    ! Comprehensiveness!of!written!policies.!
         2.      Training,!data!collection!and!analysis.!!
         3.    ! Supervisory!review!of!uses!of!force.!!
!        4.      Review!of!use!of!force!reports.!!
         5.      Review!of!incident!reports.!!
         6.      Review!of!investigations!by!SOD.!!
         7.      Review!of!investigations!by!IAD.!


       Observations:!
!
               The!consultant!is!in!the!process!of!finalizing!the!policy!requiring!reporting!of!
       uses!of!force.!!However,!there!is!nothing!in!place!to!ensure!all!uses!of!force!are!being!
       reported!and!that!uses!of!force!are!being!reported!adequately!and!accurately.!!
       Simply!having!a!policy!that!says!all!uses!of!force!are!to!be!reported!is!inadequate.!!
       There!must!be!a!system!in!place!to!check!to!make!sure!uses!of!force!are!being!
       reported!and!that!there!are!consequences!when!uses!of!force!are!not!reported!or!
       not!reported!accurately.!!The!revised!policy!states!that!force!is!to!be!reported,!and!
       includes!the!Consent!Judgment!that!failure!to!do!so!will!result!in!discipline.!
               Currently,!it!appears!that!staff!members!often!report!that!the!incident!
       involved!a!use!of!force!when,!in!fact,!it!did!not.!!There!are!also!circumstances!where!

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      staff!members!do!not!indicate!the!incident!involved!a!use!of!force!and!the!text!of!the!
      report!clearly!indicates!that!force!was!used.!!This!results!in!the!data!not!being!
      reliable!and!has!resulted!in!unnecessary!triggering!of!the!Early!Intervention!System!
      (EIS).!!Also,!since!use!of!force!reports!is!primary!criteria!for!the!EIS,!if!use!of!force!is!
      not!being!indicated,!it!is!quite!possible!that!there!are!staff!members!who!should!be!
      triggering!the!EIS!and!are!not.!!!There!is!currently!an!effort!under!way!to!require!a!
      specific!check!box!in!Vantos!as!to!whether!the!incident!involved!a!use!of!force.!!
      When!this!is!in!place,!the!staff!member!will!not!be!able!to!go!forward!on!the!
      documenting!of!an!incident!without!indicating!whether!or!not!the!incident!involved!
      a!use!of!force.!!This!will!also!allow!for!greater!accountability!and!tracking.!!A!staff!
      member!that!does!not!accurately!indicate!the!use!of!force!could!then!be!subject!to!
      remedial!action!and/or!discipline.!!The!addition!of!the!check1box!is!a!priority.!
             The!revised!policy!provides!for!the!use!of!force!reports!to!contain!all!of!the!
      provisions!required!in!the!Consent!Judgment.!!The!policy!does!provide!for!first!line!
      supervisors!to!be!present!for!all!planned!uses!of!force!such!as!cell!extractions.!!
      Review!of!incident!reports!indicates!the!policy!is!being!followed!on!a!regular!basis.!!
      However,!the!mechanism!is!not!in!place!to!ensure!presence!of!first!line!supervisors!
      in!all!cases;!thus,!OPSO!is!in!partial!compliance!with!this!requirement.!!!
             Supervisory!review!is!taking!place!on!a!more!regular!basis,!but!there!are!still!
      incidents!in!which!supervisory!review!does!not!take!place!and/or!it!is!not!timely!or!
      thorough.!As!noted!previously,!the!!use!of!force!reports!!which!had!been!signed!off!
      on!by!supervisors!were!often!inadequate!and/or!incomplete,!and!contained!
      boilerplate!and!conclusory!language!that!does!not!allow!the!reader!to!make!an!
      evaluation!of!the!level!of!resistance,!the!level!of!force!used,!and/or!the!
      appropriateness!of!the!force.!!For!instance,!a!report!will!state!“appropriate!force!was!
      used”!without!detailing!what!type!of!behavior!prompted!the!use!of!force,!de1
      escalation!efforts,!and!the!type!of!force!used.!!Seldom!does!a!report!indicate!whether!
      the!use!of!force!was!documented!by!video.!!The!most!common!result!of!interviews!of!
      inmates!by!supervisors!is!a!notation!that!they!either!did!not!see!anything!or!did!not!

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      wish!to!cooperate.!!Since!the!reorganizing!the!Special!Operations!Division!(SOD)!
      into!the!ISB,!there!has!been!more!success!in!obtaining!statements!from!inmates!
      during!the!ISB!investigation.!!However,!often,!by!the!time!ISB!interviews!an!inmate,!
      the!inmate!has!had!time!to!talk!to!other!inmates!to!agree!on!a!“version”!of!events.!!
      Therefore,!it!is!important!that!the!supervisors!obtain!timely!and!complete!
      statements!from!inmates!or!take!steps!to!separate!witnesses.!
             While!the!new!Force!Investigation!Team!(FIT)!looks!at!every!use!of!force!
      report,!and!issues!a!quarterly!report,!it!is!the!Monitors’!observation!that!without!an!
      updated!policy!and!procedure,!training!for!staff!and!supervisors,!and!an!audit!of!the!
      reporting!procedure,!there!is!no!way!to!know!if!the!reporting!is!accurate!to!not.!!As!
      noted!above,!staff!often!indicates!that!a!use!of!force!was!involved!when!it!was!not.!!It!
      is!unclear!whether!other!uses!of!force!go!underreported.!!The!check!box!for!whether!
      a!use!of!force!was!involved!before!the!staff!member!can!go!forward!in!the!incident!
      reporting!system!should!be!helpful.!!The!chain!of!command!of!the!various!facilities!
      still!fail!to!refer!uses!of!force!to!ISB!for!investigation.!!Any!investigations!on!use!
      force!during!the!past!six!month!period!were!either!initiated!by!ISB!or!as!a!result!of!a!
      request!from!the!Monitors.!
             In!addition,!there!is!no!automatic!tracking!system!to!ensure!timely!
      notification!is!being!made.!!While!completed!reports!are!to!be!assigned!a!number,!
      there!is!no!follow!up!to!make!sure!the!reports!are!written!and/or!are!reviewed!
      within!36!hours!and!forwarded!to!the!Internal!Affairs!Division!(now!a!unit!of!the!
      ISB).!!A!review!of!the!documentation!indicates!that!there!are!still!incidents!in!which!
      review!is!not!taking!place!and!the!information!provided!did!not!allow!for!a!
      determination!of!whether!the!review!that!had!taken!place!had!been!done!in!a!timely!
      manner.!There!is!!no!tracking!mechanism!in!place!to!make!sure!each!of!these!steps!
      is!completed!timely.!!There!is!no!system!to!alert!the!Warden!or!Assistant!Warden!if!
      the!shift/watch!commander!does!not!complete!the!initial!review!in!a!timely!matter.!!
      There!is!no!system!to!alert!the!Chief!of!Corrections!if!the!Warden!or!Assistant!
      Warden!does!not!complete!the!secondary!review!in!a!timely!matter.!!There!is!no!

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      system!for!tracking!whether!the!reviews!are!being!sent!to!ISB.!!While!FIT!does!keep!
      record!of!the!results!of!the!review,!it!is!highly!likely!that!a!significant!number!of!the!
      reports!never!made!it!to!ISB.!!It!is!clear!that!the!reports!are!not!being!reviewed!in!
      compliance!with!the!Consent!Judgment.!
             No!periodic!reports!detailing!the!use!of!force!have!been!submitted!to!the!
      Monitors!as!required!under!IV.!A.!3.!g.!!The!“report”!consists!solely!of!sending!to!the!
      Monitors!the!spreadsheet!that!is!prepared!by!the!Monitors!on!incidents.!!The!new!
      Chief!of!Corrections!has!implemented!a!new!“monthly!report!card”!which!should!
      help!to!provide!some!analysis!of!the!uses!of!force!and!reporting.!
      Recommendations:!
      3.     The!revise!use!of!force!is!in!sufficient!detail!to!allow!for!auditing!of!
             compliance,!and!includes:!
                 a. Each!time!an!incident!involving!a!use!of!force!occurs;!a!unique!
                     number!must!be!generated!and!assigned!to!the!incident.!!The!
                     assignment!of!the!number!is!in!most!agencies!generated!by!a!central!
                     control!room!or!dispatch!center,!aided!by!the!incident!reporting!
                     system!that!provides!the!next!number!in!sequence.!!!
                 b. Unless!the!situation!dictates!an!exception!is!identified!in!the!policy,!
                     the!initial!incident!report!and!supplements!must!be!completed!by!the!
                     end!of!the!officer’s!shift.!!!
                 c. The!shift/watch!commander!must!ensure!the!report!is!written!and!
                     then!has!36!(or!fewer)!hours!from!the!end!of!the!incident!to!review!
                     and!specify!his/her!findings!for!completeness!and!procedural!errors.!!!
                 d. When!the!watch!commander!completes!his/her!review,!the!Warden!
                     or!Assistant!Warden!must!conduct!a!review!and!issue!a!report.!!This!
                     report!is!to!be!completed!within!36!hours!(or!fewer),!exclusive!of!
                     weekends!and!holidays,!of!receiving!the!report!and!review!from!the!
                     shift/watch!commander.!!!



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                e. A!tracking!system!should!be!put!in!place!to!automatically!alert!the!
                   next!in!the!chain!of!command!and!the!ISB!if!reviews!are!not!being!
                   timely!performed.!!Training,!corrective!action,!and/or!discipline!
                   should!take!place!as!to!supervisors!who!are!not!timely!performing!
                   their!duties.!
                f. OPSO!policy/procedures!should!require!those!holding!the!rank!of!
                   Major!and!above!review!all!reports.!!Based!on!that!review,!additional!
                   training!should!be!provided!to!supervisors!who!are!not!requiring!
                   complete!and!thorough!reports.!
      4.    Monitor!Frasier!has!been!given!real!time!off!site,!read1only!access!to!the!
            incident!reporting!system!(Vantos)!so!that!incident!reports!can!be!reviewed!
            on!a!contemporaneous!basis.!!This!has!been!helpful.!However,!the!Monitors!
            do!not!have!ready!access!to!the!results!of!the!review!of!incident!reports!and!
            any!follow!up.!!The!Monitors!also!do!not!have!ready!access!to!the!
            investigations!by!ISB.!!Access!of!the!reviews,!follow!ups,!and!investigations!
            would!enable!the!Monitors!to!provide!feedback!on!a!timelier!basis!and!assist!
            in!correcting!deficiencies.!!Steps!are!being!taken!to!provide!this!access.!
      5.    OPSO!needs!to!timely!produce!the!reports!required!by!the!Consent!Judgment.!!
            The!adequacy!of!the!periodic!reports!(that!are!to!be!submitted!under!IV.!A.!3.!
            g.)!and!the!usefulness!of!the!annual!review!(that!is!to!be!conducted!under!IV.!
            A.!3.!h.)!are!crucial!to!future!compliance!with!IV.!A.!3.!g.!that!requires!OPSO!to!
            assess,!annually,!all!data!collected!and!make!any!necessary!changes.!
      6.    ISB!has!followed!the!previous!recommendation!that!OPSO!stop!the!practice!
            of!allowing!investigators!to!use!personal!laptops!or!other!computer!
            equipment!for!OPSO!investigations.!!ISB!has!a!draft!of!procedures!on!how!
            records!and!investigations!are!to!be!stored!and!made!accessible.!!Progress!
            has!been!made!on!providing!those!assigned!to!investigations!with!laptops!
            and/or!other!computer!equipment!that!provides!the!security!necessary!to!
            the!integrity!of!investigations.!!!

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      Use!of!Force!and!Inmates!Held!at!Hunt!
             The!Monitors!have!reviewed!incident!reports!covering!the!period!January!–!
      mid1July!2015!regarding!inmates!held!at!Hunt.!Of!concern!are!twenty1four!incidents!
      in!which!OC!spray!was!used!involving!inmates!on!the!acute!mental!health!caseload!
      by!the!officers!of!the!Louisiana!Department!of!Corrections!and!Public!Safety.!!!The!
      lead!Monitor!met!with!the!Department’s!Director!of!Operations!to!discuss!this!issue!
      along!with!OPSO!representatives.!!As!a!result!of!these!discussions!the!following!
      action!plan!was!developed,!the!status!of!which!will!be!reported!no!later!than!August!
      28,!2105:!
             • OPSO!and!LDCPS!will!jointly!develop!one!form!to!be!used!to!record!
                   uses!of!force!assuring!that!OPSO’s!ISB!has!reviewed;!
             • OPSO!will!work!with!CCS!to!evaluate!coverage!on!nights/weekends!
                   for!mental!health!assistance!to!defuse!situations,!including!training!
                   of!the!medical!staff!to!do!that;!
             • OPSO!and!LDCPS!will!evaluate!options!for!secluding!inmates!who!
                   are!disrupting!the!unit;!
             • OPSO!and!LDCPS!will!jointly!develop!a!separate!procedure!for!the!
                   HSU2!regarding!use!of!force;!
             • OPSO!will!discuss!with!LDCPS!video!recording!planned!uses!of!force!
                   including!cell!extractions;!
             • OPSO!will!Assure!LDCPS!has!a!copy!of!the!Consent!Judgment;!!
             • OPSO!and!LDCPS!will!assure!that!reportable!incidents!identified!in!
                   the!CJ!are!recorded!by!LADOC!and!promptly!transmitted!to!OPSO;!
                   and!
             • OPOS!and!LDCPS!will!assure!that!inmate!grievance!forms!are!
                   transmitted!promptly!to!both!CCS!and!OPSO’s!grievance!
                   coordinator.!
      The!Monitors!will!continue!to!review!the!situation.!!
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4.''''''a.'–'e.''Early'Intervention'System'(“EIS”)'
a.     OPSO!shall!develop,!within!120!days!of!the!Effective!Date,!a!computerized!relational!database!(“EIS”)!
       that!will!document!and!track!staff!members!who!are!involved!in!use!of!force!incidents!and!any!
       complaints!related!to!the!inappropriate!or!excessive!use!of!force,!in!order!to!alert!OPSO!management!
       to!any!potential!problematic!policies!or!supervision!lapses!or!need!for!retraining!or!discipline.!!The!
       Chief!of!Operations!Deputy,!supervisors,!and!investigative!staff!shall!have!access!to!this!information!
       and!shall!review!on!a!regular!basis,!but!not!less!than!quarterly,!system!reports!to!evaluate!individual!
       staff,!supervisor,!and!housing!area!activity.!!OPSO!will!use!the!EIS!as!a!tool!for!correcting!
       inappropriate!staff!behavior!before!it!escalates!to!more!serious!misconduct.!
b.     Within!120!days!of!the!Effective!Date,!OPSO!senior!management!shall!use!EIS!information!to!improve!
       quality!management!practices,!identify!patterns!and!trends,!and!take!necessary!corrective!action!
       both!on!an!individual!and!systemic!level.!!IAD!will!manage!and!administer!EIS!systems.!!The!Special!
       Operations!Division!(“SOD”)!will!have!access!to!the!EIS.!!IAD!will!conduct!quarterly!audits!of!the!EIS!
       to!ensure!that!analysis!and!intervention!is!taken!according!to!the!process!described!below.!!
       Command!staff!shall!review!the!data!collected!by!the!EIS!on!at!least!a!quarterly!basis!to!identify!
       potential!patterns!or!trends!resulting!in!harm!to!prisoners.!!The!Use!of!Force!Review!Board!will!
       periodically!review!information!collected!regarding!uses!of!force!in!order!to!identify!the!need!for!
       corrective!action,!including!changes!to!training!protocols!and!policy!or!retraining!or!disciplining!
       individual!staff!or!staff!members.!!Through!comparison!of!the!operation!of!this!system!to!changes!in!
       the!conditions!in!OPP,!OPSO!will!assess!whether!the!mechanism!is!effective!at!addressing!the!
       requirements!of!this!Agreement.!!!
c.     OPSO!shall!provide,!within!180!days!of!the!implementation!date!of!its!EIS,!to!SPLC,!DOJ,!and!the!
       Monitors,!a!list!of!all!staff!members!identified!through!the!EIS!and!corrective!action!taken.!
d.     The!EIS!protocol!shall!include!the!following!components:!!data!storage,!data!retrieval,!reporting,!data!
       analysis,!pattern!identification,!supervisory!assessment,!supervisory!intervention,!documentation,!
       and!audit.!!!
e.     On!an!annual!basis,!OPSO!shall!review!the!EIS!to!ensure!that!it!has!been!effective!in!identifying!
       concerns!regarding!policy,!training,!or!the!need!for!discipline.!!This!assessment!will!be!based!in!part!
       on!the!number!and!severity!of!harm!and!injury!identified!through!data!collected!pursuant!to!!this!
       Agreement.!!OPSO!will!document!its!review!and!conclusions!and!provide!them!to!the!Monitors,!who!
       shall!forward!this!document!to!DOJ!and!SPLC.!
!
       Finding:!
             IV.!A.!4.!a.!1!Partial1compliance!
             IV.!A.!4.!b.!1Partial1compliance!
             IV.A.4.c.!–!!Partial1compliance!
             IV.!A.!4.d.!1!Non1compliance!
             IV.!A.!4.e.!–!NA!Due!August!21,!2015!
                 !
       Measures!of!compliance:!
       1.     Comprehensiveness!of!policy.!!
       2.     Identification!of!patterns!and!trends.!
       3.     Evidence!of!review!by!command!staff.!!
       4.     Monitors’!review!of!quarterly!reports.!!
!
       Observations:!
               The!responsibility!for!reviewing!staff!members!who!triggered!the!EIS!was!
       transferred!to!the!supervisor!of!the!FIT!about!half!way!through!the!reporting!
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        period.!!Since!the!transfer,!the!quality!of!the!review!is!much!higher!and!the!
        documentation!more!complete.!!The!reporting!could!still!use!improvement!on!
        documenting!why!the!system!was!triggered,!but!no!action!is!warranted.!!Also,!proof!
        needs!to!be!provided!as!to!the!names!of!the!staff!members!and!the!retraining!
        received.!!With!the!exception!of!the!aforementioned,!no!evidence!of!compliance!was!
        provided!for!IV.A.4.!!The!Early!Intervention!system!has!been!in!place!since!January!
        21,!2014,!and!the!policy!by!which!data!is!collected,!analyzed,!and!action!taken!has!
        been!approved!by!the!parties!and!needs!to!be!finalized.!The!only!document!that!
        purports!to!be!an!Early!Intervention!policy!is,!in!reality,!a!memorandum!that!sets!up!
        a!system!that!flags!an!employee!who!has!three!formal!complaints!within!a!certain!
        timeframe.!!A!credible!Early!Intervention!or!warning!system!collects!data!such!as!
        uses!of!force,!grievances,!complaints!handled!at!the!facility!level,!absences,!etc.!and!
        causes!a!review,!and,!if!necessary,!remedial,!documented!action.!!The!current!system!
        relies!totally!on!officers’!self!initiated!reports!of!uses!of!force.!
        Recommendations:!
        7.       OPSO!finalize!the!completion!of!the!policy/procedure!for!the!Early!
                 Intervention!System.!!!The!revised!policy!should!include!accountability!
                 mandates!requiring!the!collection!and!analysis!of!data!such!as!uses!of!force,!
                 grievances,!and!complaints!handled!at!the!facility!level,!absences,!etc.!Assure!
                 policies/procedures!are!in!place!to!direct!how!the!EIS!is!implemented,!and!
                 actions!to!be!taken!by!OPSO!when!thresholds!are!triggered.!
        8.       It!is!recommended!that!the!Monitors!Frasier!and!McCampbell!be!given!real!
                 time!off!site!access!to!the!Early!Intervention!System,!which!is!part!of!Vantos!
                 so!that!data!can!be!reviewed!on!a!more!contemporaneous!basis.!!This!would!
                 enable!the!Monitors!to!provide!feedback!on!a!timelier!basis!and!assist!in!
                 correcting!deficiencies.!
A. 5.'a.'–'l.''Safety'and'Supervision''
Recognizing!that!some!danger!is!inherent!in!a!jail!setting,!OPSO!shall!take!all!reasonable!measures!to!ensure!
that!prisoners!are!not!subjected!to!harm!or!the!risk!of!harm.!!At!a!minimum,!OPSO!shall!do!the!following:!
a. Maintain!security!policies,!procedures,!and!practices!to!provide!a!reasonably!safe!and!secure!
    environment!for!prisoners!and!staff!in!accordance!with!this!Agreement.!

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b.   Maintain!policies,!procedures,!and!practices!to!ensure!the!adequate!supervision!of!prisoner!work!areas!
     and!trustees.!!!
c.   Maintain!policies!and!procedures!regarding!care!for!and!housing!of!protective!custody!prisoners!and!
     prisoners!requesting!protection!from!harm.!!
d.   Continue!to!ensure!that!correctional!officers!conduct!appropriate!rounds!at!least!once!during!every!301
     minute!period,!at!irregular!times,!inside!each!general!population!housing!unit!and!at!least!once!during!
     every!151minute!period!of!special!management!prisoners,!or!more!often!if!necessary.!!All!security!rounds!
     shall!be!documented!on!forms!or!logs!that!do!not!contain!pre1printed!rounding!times.!!In!the!alternative,!
     OPSO!may!provide!direct!supervision!of!prisoners!by!posting!a!correctional!officer!inside!the!day!room!
     area!of!a!housing!unit!to!conduct!surveillance.!
e.   Staff!shall!provide!direct!supervision!in!housing!units!that!are!designed!for!this!type!of!supervision.!!
     Video!surveillance!may!be!used!to!supplement,!but!must!not!be!used!to!replace,!rounds!by!correctional!
     officers.!
f.   Increase!the!use!of!overhead!video!surveillance!and!recording!cameras!to!provide!adequate!coverage!
     throughout!the!common!areas!of!the!Jail,!including!the!Intake!Processing!Center,!all!divisions’!intake!
     areas,!mental!health!units,!special!management!units,!prisoner!housing!units,!and!in!the!divisions’!
     common!areas.!
g.   Continue!to!ensure!that!correctional!officers,!who!are!transferred!from!one!division!to!another,!are!
     required!to!attend!training!on!division1specific!post!orders!before!working!on!the!unit.!
h.   Continue!to!ensure!that!correctional!officers!assigned!to!special!management!units,!which!include!youth!
     tiers,!mental!health!tiers,!disciplinary!segregation,!and!protective!custody,!receive!eight!hours!of!
     specialized!training!regarding!such!units!on!prisoner!safety!and!security!on!at!least!an!annual!basis.!!!
i.   Continue!to!ensure!that!supervisors!conduct!daily!rounds!on!each!shift!in!the!prisoner!housing!units,!and!
     document!the!results!of!their!rounds.!!
j.   Continue!to!ensure!that!staff!conduct!daily!inspections!of!cells!and!common!areas!of!the!housing!units!to!
     protect!prisoners!from!unreasonable!harm!or!unreasonable!risk!of!harm.!
k.   Continue!to!ensure!that!staff!conduct!random!monthly!shakedowns!of!cells!and!common!areas!so!that!
     prisoners!do!not!possess!or!have!access!to!dangerous!contraband.!!!!
l.   Provide!the!Monitors!a!periodic!report!of!safety!and!supervision!at!the!Facility.!!These!periodic!reports!
     shall!be!provided!to!the!Monitors!within!four!months!of!the!Effective!Date;!and!every!six!months!
     thereafter!until!termination!of!this!Agreement.!!Each!report!will!provide!the!following!information:!
          (1)      a!listing!of!special!management!prisoners,!their!housing!assignments,!the!basis!for!them!
                   being!placed!in!the!specialized!housing!unit,!and!the!date!placed!in!the!unit;!and!
          (2)      a!listing!of!all!contraband,!including!weapons!seized,!!the!type!of!contraband,!date!of!seizure,!
                   location,!and!shift!of!seizure.!!
!
         Findings:!
            Non1Compliance!1!IV.!A.!5.a.!!!!
            Non1Compliance!1!IV.A.5.b.!!!!!
            Non1Compliance1!IV.A.5.c.!!!
            Partial!Compliance!1!IV.A.5.d.!!!
            Partial1Compliance!1!IV.A.5.e!!!
            Partial1Compliance!1!IV.A.5.f.!!!
            Partial1Compliance!1!IV.A.5.g.!!!
            Non1Compliance!1!IV.A.5.h.!!!
            Partial1Compliance1!IV.A.5.i.!!!
            Partial!Compliance!1!IV.A.5.j.!!!
            Partial!Compliance!1!IV.A.5.k!!!!
            Non1Compliance!1!IV.A.5.l.!!!

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                  !
      Measures!of!compliance!
         1.       Comprehensiveness!of!policies!and!procedures!
         2.       Training!materials!
         3.       Post!orders!!
         4.       Review!of!incident!reports!!
         5.       Installation!of!cameras!
         6.       Documentation!of!training!!
         7.       Monitors’!review!of!required!semi1annual!reports.!!
!
      Observations:!
              Evidence!of!partial!compliance!with!seven!of!the!provisions!was!provided!for!
      IV.A.5.!!The!level!of!harm!and!risk!of!harm!in!the!Orleans!Parish!Jail!system!
      continues!to!be!extremely!high!despite!the!Consent!Judgment!having!been!in!place!
      for!since!October!21,!2013.!!This!danger!is!evident!by!the!number!of!assaults!on!
      inmates!by!other!inmates!including!sexual!assaults!as!reported!to!the!Monitors!by!
      OPSO.!!Even!more!disturbing!is!that!staff!is!often!unaware!that!an!assault!is!taking!
      place!due!to!the!lack!of!supervision,!or!their!physical!proximity!to!the!housing!units!
      in!some!OPSO!facilities.!!While!OPSO!provided!proof!of!partial!compliance!by!way!of!
      security!check!entries,!it!is!clear!that,!often,!deputies!are!not!conducting!timely!
      rounds,!particularly!in!the!special!management!housing!units.!!!This!may!be!because!
      of!lack!of!staffing,!or!supervision.!!Partial!compliance!is!being!given!due!to!the!
      placement!of!deputies!inside!the!dayrooms!of!the!housing!units!for!inmates!with!
      mental!health!issues!and!the!youthful!offenders!to!supervise!inmates.!!Due!to!
      shortage!of!staff,!deputies!are!often!called!upon!to!work!several!tiers!(on!different!
      floors)!simultaneously!–!which!is!an!impossible!work!assignment!to!conduct!with!
      any!level!of!effectiveness.!!The!new!Chief!of!Corrections!has!implemented!a!new!
      staffing!plan!and!mandatory!staffing!at!OPP!that!has!helped!to!address!the!issue.!
              Staff!received!some!specialized!training!required!to!work!with!some!
      classifications!of!inmates!(e.g.!mental!health).!!!Shakedowns!are!being!conducted!
      with!much!greater!frequency,!but!are!still!not!conducted!with!sufficient!frequency!
      as!evidenced!by!the!contraband!items!(particularly!homemade!shanks)!used!by!
      inmates!to!assault!one!another!and!the!large!amount!of!contraband!which!is!

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      discovered!each!time!shakedowns!do!occur.!!There!is!limited!effort!to!determine!the!
      source!of!the!contraband!and!remediate!the!danger.!!While!there!are!inspections!of!
      housing!units,!there!is!no!indication!that!there!are!consistent!standards!of!what!is!
      expected,!or!that!changes!are!made!to!the!facilities!as!a!result!of!the!inspection!
      findings.!!In!addition,!it!is!apparent!that!some!of!the!inspection!reports!do!not!reflect!
      the!reality!of!the!facilities;!thus,!calling!into!question!whether!the!inspection!was!
      performed!or!the!ultimate!purpose.!
             While!OPSO!documents!were!provided!regarding!inmates!being!housed!in!
      protective!custody,!documentation!in!accordance!with!the!Consent!Judgment!was!
      not!provided.!!It!should!be!noted!that!protective!custody!status!appears,!in!the!past,!
      to!be!used!interchangeably!for!inmates!who!are!high!security!risks!and/or!discipline!
      problems.!!Those!are!not!appropriate!uses!of!protective!custody!and!increase!the!
      danger!to!the!inmates!who!truly!require!protective!custody.!!A!new!program!
      whereby!an!administrative!segregation!unit!for!high!security!inmates!and!protective!
      custody!inmates!has!been!implemented!in!the!past!couple!of!months.!!It!appears!to!
      have!had!a!positive!effect!on!the!inmates!who!are!housed!there!and!the!inmates!who!
      no!longer!have!to!be!housed!with!these!extremely!violent!inmates.!
             Many!of!the!situations!will!not!be!lessened!without!an!adequate!number!of!
      properly!trained!staff!along!with!a!sufficient!number!of!supervisors.!!While!the!
      recruiting,!hiring,!and!training!of!staff!takes!time,!there!needs!to!be!a!sense!of!
      urgency!to!increase!the!hiring.!!!
      Recommendations:!
      9.     Policies!regarding!inmate!supervision,!rounds,!inspections,!shakedowns!and!
             communication!need!to!be!finalized.!
             a. The!policy!must!include!accountability!methods!for!ensuring!that!
                 deputies!and!supervisors!conduct!their!rounds!timely.!!Anytime!an!
                 incident!occurs,!it!must!be!routine!practice!to!include!examination!of!
                 source!data!to!determine!whether!rounds!have!been!conducted!timely!in!
                 the!area.!!The!results!of!the!determination!should!be!documented.!

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                 b. The!policy!must!include!a!supervisory/management!evaluation!to!
                      determine!if!an!employee!involved!in!a!use!of!force!should!be!temporarily!
                      assigned!until!at!least!a!preliminary!investigation!has!been!conducted!–!to!
                      safeguard!both!the!staff!and!inmates.!
         10.     OPSO!must!make!the!recruiting,!hiring,!and!training!of!custodial!staff!for!the!
                 jail!facilities!the!highest!priority.!!See!Section!6.!!Security!Staffing.!
         11.     OPSO!must!develop!and!implement!a!risk!management!philosophy!so!that!
                 incidents!are!routinely!reviewed!by!subject!matter!experts!with!a!goal!of!
                 determining!actions!needed!to!be!taken!by!OPSO!to!avoid!such!incidents!in!
                 the!future.!!
6.''     ''''''Security'Staffing'
a.!(1)!–!(4)!OPSO!shall!ensure!that!correctional!staffing!and!supervision!is!sufficient!to!adequately!supervise!
prisoners,!fulfill!the!terms!of!this!Agreement,!and!allow!for!the!safe!operation!of!the!Facility,!consistent!with!
constitutional!standards.!!OPSO!shall!achieve!adequate!correctional!officer!staffing!in!the!following!manner:!
(1)           Within!90!days!of!the!Effective!Date,!develop!a!staffing!plan!that!will!identify!all!posts!and!
              positions,!the!adequate!number!and!qualification!of!staff!to!cover!each!post!and!position,!
              adequate!shift!relief,!and!coverage!for!vacations.!!The!staffing!plan!will!ensure!that!there!is!
              adequate!coverage!inside!each!housing!and!specialized!housing!areas!and!to!accompany!
              prisoners!for!court,!visits!and!legal!visits,!and!other!operations!of!OPP!and!to!comply!with!all!
              provisions!of!this!Agreement.!!OPSO!will!provide!its!plan!to!the!Monitors,!SPLC,!and!DOJ!for!
              approval.!!The!Monitors,!SPLC,!or!DOJ!will!have!60!days!to!raise!any!objections!and!recommend!
              revisions!to!the!staffing!plan.!
(2)           Within!120!days!before!the!opening!of!any!new!facility,!submit!a!staffing!plan!consistent!with!
              subsection!(1)!above.!!
(3)           Within!90!days!after!completion!of!the!staffing!study,!OPSO!shall!recruit!and!hire!a!full1time!
              professional!corrections!administrator!to!analyze!and!review!OPP!operations.!!!The!professional!
              corrections!administrator!shall!report!directly!to!the!Sheriff!and!shall!have!responsibilities!to!be!
              determined!by!the!Sheriff.!!The!professional!corrections!administrator!shall!have!at!least!the!
              following!qualifications:!!(a)!a!bachelor’s!degree!in!criminal!justice!or!other!closely!related!field;!
              (b)!five!years!of!experience!in!supervising!a!large!correctional!facility;!and!(c)!knowledge!of!and!
              experience!in!applying!modern!correctional!standards,!maintained!through!regular!participation!
              in!corrections1related!conferences!or!other!continuing!education.!
(4)           Provide!the!Monitors!a!periodic!report!on!staffing!levels!at!the!Facility.!!These!periodic!reports!
              shall!be!provided!to!the!Monitors!within!four!months!of!the!Effective!Date;!and!every!six!months!
              thereafter!until!termination!of!this!Agreement.!!Each!report!will!include!the!following!
              information:!!
                    i. a!listing!of!each!post!and!position!needed;!
                    ii. the!number!of!hours!needed!for!each!post!and!position;!!!
                    iii. a!listing!of!staff!hired!and!positions!filled;!!
                    iv. a!listing!of!staff!working!overtime!and!the!amount!of!overtime!worked!by!each!staff!
                         member;!
                    v. a!listing!of!supervisors!working!overtime;!and!a!listing!of!and!types!of!critical!incidents!
                         reported.!

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      !
      Findings:!!!
            IV.!A.!6.!a.!(1),!(2)!1!Partial!Compliance!!
            IV.!A.!6.!a.!(3)!–!Compliant!
            IV.A.6.a.!(4)!–!Partial!Compliance!!
      !
             Measures!of!Compliance:!
             1.     Written!policy/procedure!governing!staffing,!and!reporting!as!required!by!consent!
                    agreement.!
             2.     Completion!of!a!staffing!analysis!per!http://static.nicic.gov/Library/016827.pdf!
             3.     Staffing!plan!(existing!and!new!facilities);!recruiting!plan.!
             4.     Daily!rosters.!
             5.     Overtime!records.!
             6.     Housing!unit!logs.!
             7.     Hiring!of!professional!corrections!administrators!(CV).!!Post!order/job!
                    description/organizational!chart.!
             8.     Staffing!report!containing!required!information;!conclusions;!action!plans,!if!any.!!
!
      Observations:!
             A!staffing!plan!was!submitted!to!all!parties!on!February!13,!2014.!!The!plan!
      continues!to!be!updated!as!options!and!considerations!for!inmate!management!
      within!the!new!jail!facility!are!revised.!!It!is!the!opinion!of!the!Monitors!that!if!the!
      staffing!plan!(February!13,!2015!and!revisions!pending!from!August!2015)!is!fully!
      implemented!–!the!entire!plan1!not!just!for!the!new!jail!1!there!is!adequate!staff!
      coverage!as!required!in!paragraph!IV.A.6.a.!(1).!!To!reach!this!level!will!require!the!
      hiring!of!about!225!more!individuals!to!support!the!entire!OPSO!operation.!!The!
      Monitors!will!review!the!updated!plans!as!they!are!completed;!!acknowledging!that!
      the!staffing!for!the!new!jail!is!evolving!based!on!the!experience!of!operating!the!
      facility.!!This!does!not!mean!that!the!numbers!of!needed!staffing!are!increasing,!but!
      rather!being!refined!in!terms!of!posts!and!hours!for!that!post.!!While!the!funding!
      authority!rightfully!wants!to!know!the!bottom!line!number!of!staffing!as!this!is!the!
      primary!cost!in!the!jail’s!budget,!the!final!number!may!not!be!known!for!another!9!–!
      12!months!following!the!jail’s!opening.!
             Additionally,!non1security!positions!that!require!on1going!attention!by!the!
      Sheriff!include!those!jobs!that!assure!there!is!a!sufficient!infrastructure!to!bring!the!
      jail!into!compliance,!and!to!sustain!compliance.!!These!staffing!positions!include,!but!

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        are!not!limited!to:!!finance!(payroll,!accounting,!internal!auditing,!etc.),!contract!
        management,!human!resources!(benefits,!recruiting,!background!investigations),!
        and!purchasing.!!These!human!resources!did!not!exist,!or!existed!to!a!insufficient!
        level,!when!the!monitoring!began.!!Regardless!of!the!reason!these!positions!did!not!
        exist,!they!are!necessary!for!the!operation!of!a!jail!system.!!These!positions!are!
        proposed!by!the!Sheriff’s!Office!and!need!to!be!filled!at!an!operational!level!to!allow!
        for!such!things!as!recruiting,!screening,!hiring,!and!training!new!employees.15!!!
                The!Chief!of!Corrections!has!revised!current!staffing!plans!to!assure!there!are!
        staff!in!units!in!OPP.!!!
                Recruiting!and!retaining!deputy!sheriffs!to!work!in!the!new!jail,!and/or!
        critical!civilianized!positions!remain,!as!in!the!previous!three!compliance!reports!to!
        be!a!major!challenge.!OPSO!reports!that!newly!hired!deputies!working!with!inmates!
        are!paid!$11.91!per!hour!to!start!(annualized!to!$26,011.44).!!After!their!six!month!
        probationary!period!they!are!paid!$12.36/hour!(annualized!$26,994.24).!!After!
        completing!the!State’s!POST!training,!the!State!supplements!the!employee’s!salary!
        by!$6,000/year.!!Thus!after!the!employee!completes!this!state!training,!their!salary!
        is!$32,994.24.!!!
                In!an!agreement!made!two!years!ago!between!the!City!and!the!Sheriff,!
        deputies!seen!as!having!no!or!limited!inmate!contact/supervision!are!paid!$10.10!
        per!hour!to!start.!!These!positions!include!intake,!transportation,!perimeter!security!
        and!courts.!!These!positions,!in!the!view!of!the!Monitors,!do!have!inmate!contact,!
        especially!deputies!assigned!to!intake!in!the!new!jail.!!No!matter!the!reason!for!the!
        agreement,!it!is!creating!difficulty!within!OPSO!in!filling!these!lower!paid!positions,!
        in!the!same!organization,!with!the!same!job!titles.!!
                There!remain!significant!challenges!to!hiring!and!retraining!employees!for!
        the!new!jail,!which!have!been!largely!unresolved!over!the!last!two!years.!!The!public!



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15!See!also!the!recommendation!for!paragraph!IV.!G.!Youthful!Prisoners!for!a!program!coordinator!to!achieve!

and!maintain!compliance.!
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        record!is!clear!about!the!salaries!for!public!safety/law!enforcement!in!the!region.!!
        For!example:!!
            •   NOPD!1!$49,51716!
            •   Louisiana!State!Police!1!$!3,884.17/month!(in!pre1service!training);!after!
                completing!the!academy!$4,120.71/month.!17!!
            •   Jefferson!Parish!Sheriff’s!Office!1!$13.76/hour!($28,221)18!
            •   Kenner!Police!Department!1!$36,00019!
            •   East!Baton!Rouge!Sheriff’s!Office!1!$36,79220]!
                The!Bureau!of!Labor!Statistics!reports!that!the!jobs!that!may!be!competing!
        for!the!same!labor!pool!have!these!annual!mean!wages:21!!!
            •   TSA!Officers!1!$36,770!
            •   Security!Guards!1!$29,930!
            •   Gaming!Surveillance!Officers!1!$30,330!
                Two!studies!were!conducted!for!the!Sheriff!regarding!comparable!salaries!in!
        September!2014!–!one!by!CLG22,!and!one!conducted!by!Industrial/Organizational,!
        Inc.!also!in!September!2014.!!!The!City!commissioned!a!report!produced!in!draft!in!
        January!2015!by!the!company!PFM.!!!!The!primary!salary!comparison!offered!in!the!
        PFM!draft!was!with!Louisiana!Department!of!Corrections.!




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16!http://www.nola.gov/civil1service/jobs/police1recruiting/!accessed!on!8/13/15.!
17!http://www.lsp.org/recruit.html!accessed!on!8/13/15!
18!https://www.jpso.com/Jobs.aspx?UniqueId=98&From=All&CommunityJobs=False&JobID=Corrections1
Officer111!accessed!8/13/15!
19!http://www.kennerpd.com/misc/employment.htm!accessed!8/13/15!
20http://theadvocate.com/csp/mediapool/sites/dt.common.streams.StreamServer.cls?STREAMOID=ZfniOzF
K2zj3OX3qOW39qpM5tm0Zxrvol3sywaAHBAmrfyxtVcxIhycldJ2_qyJsE0$uXvBjavsllACLNr6VhLEUIm2tympB
eeq1Fwi7sIigrCfKm_F3DhYfWov3omce$8CAqP1xDAFoSAgEcS6kSQ11
&CONTENTTYPE=application/pdf&CONTENTDISPOSITION=LSP_Pay_Comparative_Study.pdf!accessed!
8/13/15,!page!6.!
21!http://www.bls.gov/oes/current/oes_35380.htm#3310000!accessed!8/13/15!
22!CLG,!Orleans!Parish!Deputy!Sheriff!Salary!Market!Analysis,!September!16,!2014,!!prepared!for!the!Orleans!
Parish!Sheriff’s!Office,!CLG,!!1619!Sumter!Street,!Columbia,!South!Carolina!29201.!
!                                                    !                                                    32!
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                 Examining!the!hiring!data!reported!for!OPSO!for!the!calendar!year!2014,!
        there!was!a!net!gain!of!93!deputies.23!!From!January!1!–!July!31,!2015,!the!OPSO!
        reported!hiring!141!individuals!to!work!in!the!jail!system,!and!during!the!same!time!
        period,!69!left!employment,!leaving!a!net!gain!of!72.!!Of!the!69!who!left!the!
        organization,!46!resigned,!18!were!terminated!and!5!are!listed!as!“retired/other”.!!!
        While!OPSO’s!Human!Resources!asks!why!those!who!resign!are!leaving,!this!is!often,!
        as!could!be!anticipated,!a!personal!matter!they!do!not!wish!to!discuss.!!Some!
        individuals!noted!it!was!for!personal!reasons,!some!for!job!advancement,!
        compensation,!some!to!other!sheriffs’!offices!or!law!enforcement!agencies.!!An!
        unknowable!number!is!how!many!individuals!did!not!apply!for!positions!due!to!the!
        salary!when!other!career!options!were!available.!!
                 Since!Compliance!Report!#!3!was!produced,!OPSO!has!refined!their!staffing!
        projections!to!approximately!850!staff!for!jail!related!activities!(civilian!and!sworn).!!
        Based!on!current!staffing!levels,!the!number!of!individuals!set!to!graduate!from!the!
        basic!academy,!and!those!being!processed!for!a!September!academy,!the!OPSO!
        asserts!they!will!have!the!number!of!staff!they!need!to!operate!the!new!jail/inmate!
        housing;!but!not!the!number!of!staff!needed!for!related!functions!(e.g.!TCD,!IPC!(new!
        jail),!Investigative!Services!Bureau,!OPP!Docks!(court!holding),!Transportation,!
        Classification,!kitchen/warehouse,!training,!visitation,!administrative!functions!(see!
        above),!and!chief!of!corrections’!staff.24!!!If!the!TDC’s!renovations!begin,!there!are!
        staff!who!can!be!reassigned!from!those!housing!units!to!other!posts.!!!
                 The!Monitors!are!concerned!about!staffing!levels.!These!projections!are!a!
        moving!target,!especially!given!the!need!for!mature!trained!staff!to!work!in!a!direct!
        supervision!environment!and!54%!attrition!rate.25!!While!the!OPSO!established!
        training!consistent!with!accepted!practice,!the!staff!who!will!be!working!in!direct!
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23!See!Monitors’!Compliance!Report!#!3,!pages!331!34.!
http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/jones_et_al_v._gusman_3_compliance_report_
02_25_15.pdf!!
24!Note!this!number!does!not!include!courthouse!or!civil,!or!other!operations!not!directly!associated!the!jail.!!
25!For!more!information!about!direct!supervision!see!Compliance!Report!#!1!pages!29130!
http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/nolajailmonitorsreport1102_13_2014.pdf!!
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      supervision!have!had!no!opportunity!to!“practice”!the!skills!sets,!nor!are!all!needed!
      policies/procedures!yet!complete!that!would!inform!the!training!and!operations.!
               For!clarity,!the!Monitors!are!of!the!opinion!that!salary!alone!is!not!the!reason!
      why!people!don’t!!apply!for!a!job,!accept!a!job,!or!leave!a!job.!!The!quality!of!the!
      workplace,!the!work!hours!and!conditions,!the!effectiveness!of!supervisors,!chances!
      for!upward!mobility,!and!personal!safety!all!figure!into!decisions.!!While!raising!the!
      salary!for!OPSO!to!a!comparable!level!in!the!competitive!market!is!important!to!
      retention!as!well!as!recruitment,!changes!in!attrition!will!only!be!gained!with!
      improved!institutional!leadership,!trained!supervisors,!and!overall!workplace!
      quality.!
          Hiring!of!professional!correctional!support!staff!and!managers.!
               OPSO!hired!Carmen!DeSadier!as!Chief!of!Corrections.!!She!began!work!on!
      May!4,!2015.!!The!Monitors!are!universally!impressed!with!her!knowledge!and!
      leadership!skills.!!!!
               We!reiterate!our!recommendations!from!Compliance!Report!#!3!that!OPSO!
      also!assure!the!hiring!of!individuals!with!experience!in!managing!jail!systems!to!
      assist!the!Chief!of!Corrections.!!This!is!not!to!suggest!that!there!are!not!talented!and!
      dedicated!individuals!working!in!OPSO!just!that!there!is!a!critical!need!for!a!skilled!
      cadre!of!jail!professionals,!now.!!
!     Observation!IV.A.6.a.!(3)!
!     Finding:!!Compliance!!
      Observation!IV.A.6.a.!(4):!
      Finding:!!Partial!compliance!
      !        OPSO!needs!to!improve!reporting.!!Because!of!staffing!changes!there!is!no!
      one!set!of!uniform!data!regarding!hiring!and!retention!since!the!monitoring!process!
      began.!![See!previous!recommendation!about!administrative!staff.]!!Successful!
      organizations!focus!on!retention!as!well!as!hiring!–!if!staff!are!retained,!then!there!is!
      less!replacement!hiring!to!be!done,!and,!more!importantly,!a!stable!workforce.!!!The!
      Monitors!are!of!the!opinion!that!the!data!such!as!reporting!on!use!of!overtime!by!

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        every!employee,!absent!any!summary!or!exception!data,!is!in!an!of!itself!of!marginal!
        use!in!evaluating!staffing,!but!that!is!a!matter!for!the!defendants!and!plaintiffs!to!
        resolve.!
        Recommendations:!!
        12.     The!Sheriff!and!the!City!should!reach!a!decision!soon!regarding!an!
                appropriate!salary!for!all!deputies,!doing!away!with!the!distinction!between!
                what!were!perceived!as!non1inmate!supervisory!jobs.!
        13.     The!OPSO!should!add!administrative!staff!to!support!gaining!and!sustaining!
                compliance!with!the!CJ.!
        14.     The!hiring!and!retention!processes!should!be!evaluate!to!determine!why!
                more!than!half!of!individuals!hired!are!leaving.!!(See!also!.16!below).!!!
        15.     As!noted!in!the!previous!compliance!report,!OPSO!should!develop!a!retention!
                plan!to!keep!deputies!and!employees!it!worked!hard!to!recruit,!screen,!and!
                train.!
        16.     As!noted!in!the!previous!compliance!report,!OPSO!should!examine!the!
                background!investigation!and!screening!process!to!prevent!hiring!individual!
                who!are!mismatched!for!the!job.!!There!are!specific!competencies!for!officers!
                working!in!direct!supervision,!different!from!tradition!architecture.!!These!
                competencies!(e.g.!communications,!problem!solving)!should!be!
                incorporated!in!advertising!and!screening.!
        17.     OPSO!should!begin!the!process!of!keeping!detailed!data!regarding!
                recruitment,!applicant!screening,!and!attrition.!
        18.     Work!with!the!Monitors!and!Plaintiffs!to!revise!reporting!now!in!the!Consent!
                Judgment!to!more!useful!and!relevant!information.!(Section!IV.A.6.a.4.i1vi.)!
6.b.!!   Review!the!periodic!report!to!determine!whether!staffing!is!adequate!to!meet!the!requirements!of!
this!Agreement.!!OPSO!shall!make!recommendations!regarding!staffing!based!on!this!review.!!The!review!and!
recommendations!will!be!documented!and!provided!to!the!Monitors.!
!
        Findings:!!Partial!Compliance!
!
        Measures!of!Compliance:!
        1.     See!IV.A.6.a!
        2.     Updated!of!staffing!plans,!and!shift!relief!factors!(every!four!years)!
!                                                 !                                                    35!
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         3.       OPSO!written!recommendations!regarding!staffing;!requests!for!funding.!
     !
         Observations:!!Until!the!final!staffing!plan!is!completed,!this!paragraph!remains!in!
     partial!compliance.!!OPSO!has!done!credible!and!supportable!work!to!develop!the!plan,!
     the!posts,!and!shift!relief!factors.!
     Recommendation:!!!
         See!IV.6.!a.1d.,!above.!
7.''a.'–'j.'Incidents'and'Referrals''
a.       OPSO!shall!develop!and!implement!policies!that!ensure!that!Facility!watch!commanders!have!
         knowledge!of!reportable!incidents!in!OPP!to!take!action!in!a!timely!manner!to!prevent!harm!to!
         prisoners!or!take!other!corrective!action.!!!At!a!minimum,!OPSO!shall!do!the!following:!
b.       Continue!to!ensure!that!Facility!watch!commanders!document!all!reportable!incidents!by!the!end!of!
         their!shift,!but!no!later!than!24!hours!after!the!incident,!including!prisoner!fights,!rule!violations,!
         prisoner!injuries,!suicide!attempts,!cell!extractions,!medical!emergencies,!found!contraband,!
         vandalism,!escapes!and!escape!attempts,!and!fires.!
c.       Continue!to!ensure!that!Facility!watch!commanders!report!all!suicides!and!deaths!no!later!than!one!
         hour!after!the!incident,!to!a!supervisor,!IAD,!the!Special!Operations!Division,!and!medical!and!mental!
         health!staff.!
d.       Provide!formal!pre1service!and!annual!in1service!training!on!proper!incident!reporting!policies!and!
         procedures.!
e.       Implement!a!policy!providing!that!it!is!a!disciplinary!infraction!for!staff!to!fail!to!report!any!
         reportable!incident!that!occurred!on!his!or!her!shift.!!Failure!to!formally!report!any!observed!
         prisoner!injury!may!result!in!staff!discipline,!up!to!and!including!termination.!!
f.       Maintain!a!system!to!track!all!reportable!incidents!that,!at!a!minimum,!includes!the!following!
         information:!
         (1)       tracking!number;!!
         (2)       the!prisoner(s)!name;!!
         (3)       housing!classification!and!location;!
         (4)       date!and!time;!!
         (5)       type!of!incident;!
         (6)       injuries!to!staff!or!prisoner;!!
         (7)       medical!care;!!
         (8)       primary!and!secondary!staff!involved;!!
         (9)       reviewing!supervisor;!!
         (10)      external!reviews!and!results;!!
         (11)      corrective!action!taken;!and!
         (12)      administrative!sign1off.!!
g.   Ensure!that!incident!reports!and!prisoner!grievances!are!screened!for!allegations!of!staff!misconduct,!
     and,!if!the!incident!or!allegation!meets!established!criteria!in!accordance!with!this!Agreement,!it!is!
     referred!for!investigation.!!!!!!!!!
h.   Provide!the!Monitors!a!periodic!data!report!of!incidents!at!the!Facility.!!These!periodic!reports!shall!be!
     provided!to!the!Monitors!within!four!months!of!the!Effective!Date;!and!every!six!months!thereafter!until!
     termination!of!this!Agreement.!!!
i.   The!report!will!include!the!following!information:!
         (1)       a!brief!summary!of!all!reportable!incidents,!by!type!and!date;!
         (2)       a!description!of!all!suicides!and!in1custody!deaths,!including!the!date,!name!of!prisoner,!and!
                   housing!unit;!

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          (3)     number!of!prisoner!grievances!screened!for!allegations!of!misconduct;!and!
          (4)     number!of!grievances!referred!to!IAD!or!SOD!for!investigation.!!
j.   Conduct!internal!reviews!of!the!periodic!reports!to!determine!whether!the!incident!reporting!system!is!
     ensuring!that!the!constitutional!rights!of!prisoners!are!respected.!!Review!the!quarterly!report!to!
     determine!whether!the!incident!reporting!system!is!meeting!the!requirements!of!this!Agreement.!!OPSO!
     shall!make!recommendations!regarding!the!reporting!system!or!other!necessary!changes!in!policy!or!
     staffing!based!on!this!review.!!The!review!and!recommendations!will!be!documented!and!provided!to!the!
     Monitors.!
!
         Findings:!
               Non1Compliance!1!IV.A.7.a.!!!
               Partial1Compliance!1!IV.A.7.b.!!!!
               Partial1Compliance!1!IV.A.7.c.!!!
               Non1Compliance!1!IV.A.7.d.!!!
               Partial1Compliance!1!IV.A.7.e.!!!
               Partial1Compliance!1!IV.A.7.f.!!!
               Partial1Compliance!1!IV.A.7.g.!!!!
               Partial1Compliance!1!IV.A.7.h.!!!
               Partial1Compliance!1!IV.A.7.i.!!!
               Non1Compliance!1!IV.A.7.j.!!!
               !
         Measures!of!compliance!
         1.     Comprehensiveness!of!written!policies!
         2.     Training!
         3.     Data!collection!and!analysis!
         4.     Supervisory!review!of!uses!of!force!
         5.     Review!of!use!of!force!reports!
         6.     Review!of!incident!reports,!review!of!investigations!by!SOD!
         7.     Review!of!investigations!by!IAD!!!
         8.     Monitors’!review!of!required!semi1annual!reports.!!
                   !
         Observations:!
                 When!the!policy!on!incidents!and!referrals!is!finalized,!it!will!set!out!the!
         process!for!documenting!and!referring!incidents.26!!However,!there!is!nothing!in!
         place!to!ensure!all!reportable!incidents!are!being!documented!and!that!the!incidents!
         are!being!recorded!adequately!and!accurately.!!As!noted!previously!in!this!report,!
         the!review!of!reports!reveals!these!problems!still!exist.!!!There!are!still!reports!that!
         are!not!being!reviewed!and!no!process!to!insure!what!review!that!is!taking!place!is!
         occurring!timely.!!As!with!the!use!of!force!reports,!incident!reports!examined!by!the!
              Monitors!were!found!to!be!inadequate!and/or!incomplete,!and!contained!boilerplate!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
26!See!also!Section!V.!!Defendant’s!Activities!Since!Compliance!Report!#!4!Positive!Changes,!Challenges!and!
Barriers!to!!!Compliance.'
!                                                   !                                                    37!
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      language!and!conclusory!language!that!does!not!allow!the!reader!to!make!an!
      evaluation!of!what!occurred,!the!reason!for!the!occurrence,!whether!staff!acted!
      appropriately,!and!what!steps!should!be!taken!to!prevent!a!similar!incident!from!
      occurring!in!the!future.!!!Such!reports!are!being!signed!off!on!by!a!supervisor.!!As!
      noted!above,!there!is!no!automatic!tracking!system!to!ensure!timely!reviews!and!
      notifications!are!being!made.!!While!completed!reports!are!supposed!to!be!assigned!
      a!number,!there!is!no!follow!up!to!make!sure!the!reports!are!written!and/or!are!
      reviewed!within!the!24!hours!required.!!As!noted!above,!the!Monitor’s!review!
      indicated!some!of!the!reports!have!not!been!reviewed!and!approved,!and!the!
      content!of!the!report!did!not!allow!for!a!determination!of!whether!the!review!of!had!
      been!done!in!a!timely!manner.!!It!appears!that!any!review!for!the!quality!of!the!
      reports!is!often!being!done!by!the!FIT,!but!only!if!it!involves!a!use!of!force.!!
             No!periodic!reports!detailing!reportable!incidents!have!been!submitted!to!
      the!Monitors!as!required!under!IV.!A.!7.!f.!!A!report!was!provided,!but!it!consisted!of!
      sending!back!to!the!Monitors!the!spreadsheet!the!Monitors!maintain!regarding!
      reportable!incidents,!and!provided!no!new!information!or!analysis.!!!
             The!adequacy!of!the!policies!and!procedures!and!reporting!system!is!crucial!
      to!the!Monitors!being!able!to!rely!on!the!accuracy!of!the!periodic!reports!that!are!to!
      be!submitted!under!IV.!A.!7.!f.!and!g.!and!the!sufficiency!of!the!annual!review!that!is!
      to!be!conducted!under!IV.!A.!7.!h.!which!requires!OPSO!to!assess!whether!the!
      incident!reporting!system!is!meeting!the!requirements!of!the!Consent!Judgment.!
      Recommendations:!
      19.    Develop,!implement,!and!train!on!the!revised!policy!regarding!incident!
             reporting.!!!
             a. In!particular,!the!policy!and!the!training!on!the!policy!needs!to!stress!that!
                 all!reportable!incidents!are!to!be!reported!and!properly!investigated!and!
                 that!failure!to!report!will!result!in!discipline!and/or!remedial!training.!!!




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                 b. In!addition,!supervisors!need!to!be!trained!on!the!mechanisms!to!ensure!
                     that!all!reportable!incidents!are!properly!reported!and!investigated!in!
                     accordance!with!the!policy.!
                 c. The!policies!will!need!to!set!out!in!detail!the!timelines!and!how!each!step!
                     of!the!review!process!and!data!collection!is!to!take!place!and!who!is!
                     responsible!for!enforcement!of!each!deadline.!!See!Section!VII.!and!VIII.!
8. a.'–'f.'Investigations''
OPSO!shall!ensure!that!it!has!sufficient!staff!to!identify,!investigate,!and!make!recommendations!correcting!
misconduct!that!has!or!may!lead!to!a!violation!of!the!Constitution.!!!At!a!minimum,!OPSO!shall:!
a.     Maintain!implementation!of!comprehensive!policies,!procedures,!and!practices!for!the!timely!and!
       thorough!investigation!of!alleged!staff!misconduct,!sexual!assaults,!and!physical!assaults!of!prisoners!
       resulting!in!serious!injury,!in!accordance!with!this!Agreement.!!Investigations!shall:!
       (1)      be!conducted!by!persons!who!do!not!have!conflicts!of!interest!that!bear!on!the!partiality!of!
                the!investigation;!
       (2)      include!timely,!thorough,!and!documented!interviews!of!all!relevant!staff!and!prisoners!who!
                were!involved!in!or!who!witnessed!the!incident!in!question,!to!the!extent!practicable;!and!
       (3)      include!all!supporting!evidence,!including!logs,!witness!and!participant!statements,!
                references!to!policies!and!procedures!relevant!to!the!incident,!physical!evidence,!and!video!
                or!audio!recordings.!!
b.     Continue!to!provide!SOD!and!IAD!staff!with!pre1service!and!annual!in1service!training!on!appropriate!
       investigation!policies!and!procedures,!the!investigation!tracking!process,!investigatory!interviewing!
       techniques,!and!confidentiality!requirements.!
c.     Ensure!that!any!investigative!report!indicating!possible!criminal!behavior!will!be!referred!to!
       IAD/SOD!and!then!referred!to!the!Orleans!Parish!District!Attorney’s!Office,!if!appropriate.!
d.     Provide!the!Monitors!a!periodic!report!of!investigations!conducted!at!the!Facility.!!These!periodic!
       reports!shall!be!provided!to!the!Monitors!within!four!months!of!the!Effective!Date;!and!every!six!
       months!thereafter!until!termination!of!this!Agreement.!
e.     The!report!will!include!the!following!information:!
       (1)      a!brief!summary!of!all!completed!investigations,!by!type!and!date;!
       (2)      a!listing!of!investigations!referred!for!administrative!investigation;!!
       (3)      a!listing!of!all!investigations!referred!to!an!appropriate!law!enforcement!agency!and!the!
                name!of!the!agency;!and!!
       (4)      a!listing!of!all!staff!suspended,!terminated,!arrested,!or!reassigned!because!of!misconduct!or!
                violations!of!policy!and!procedures.!!This!list!must!also!contain!the!specific!misconduct!
                and/or!violation.!
f.     OPSO!shall!review!the!periodic!report!to!determine!whether!the!investigation!system!is!meeting!the!
       requirements!of!this!Agreement!and!make!recommendations!regarding!the!investigation!system!or!
       other!necessary!changes!in!policy!based!on!this!review.!!The!review!and!recommendations!will!be!
       documented!and!provided!to!the!Monitors.!
!
        Findings:!
              Partial!compliance!1!IV.A.8.a.!!!!
              Partial!compliance!1!IV.A.8.b.!!!
              Partial!compliance!1!IV.A.8.c.!!!
              Partial1compliance!1!IV.A.8.d.!!!
              Partial1compliance!1!IV.A.8.e.!!!
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              Partial1compliance!1!IV.A.8.f.!!!!
                                                                                      !
          Measures!of!compliance:!                                                           !
          1.     Review!of!incident!reports,!!                                               !
          2.     Review!of!use!of!force!reports,!!
                                                                                      !
          3.     Review!of!investigations!by!SOD,!!
          4.     Review!of!investigations!by!IAD,!and!!                               !
          5.     Monitors’!review!of!required!semi1annual!reports.!!                  !
                                                                       !
      Observations:!
      !       The!investigative!functions!at!OPSO!underwent!a!major!reorganization!after!
      Compliance!Report!#2.!!All!investigative!activities!are!under!the!leadership!of!the!
      commander!of!the!Investigative!Services!Bureau!(ISB).!!The!Internal!Affairs!Division!
      (IAD),!now!a!division!within!the!ISB!handles!the!administrative!investigations!(e.g.!
      internal!rule!violations)!while!other!ISB!sections!handle!the!criminal!investigations!
      of!inmates!and!staff,!reviews!of!use!of!force,!EIS,!and!intelligence.!!Significant!!
      evidence!of!partial!compliance!was!provided!for!IV.A.8.!!While!ISB!is!still!in!the!
      process!of!finalizing!written!policies!and!procedures,!and/or!job!descriptions/post!
      orders!governing!their!work,!very!significant!improvement!has!occurred!in!the!
      quality!of!investigations!occurring;!especially!regarding!allegations!of!criminal!
      behavior.!!With!a!change!in!leadership!of!the!Internal!Affairs!Unit,!the!quality!and!
      timeliness!of!internal!investigations!has!improved.!
              The!ISB!commander!and!three!of!the!five!lieutenants!in!ISB!have!a!
      background!in!law!enforcement!as!opposed!to!jails/corrections.!!As!stated!in!a!
      previous!report,!there!is!a!similar!skill!set!needed!for!law!enforcement!
      investigations!in!a!jail!setting,!but!there!is!a!steep!learning!curve!for!those!lacking!
      jail!experience!as!to!how!the!inmate!culture!and!the!jail!interpersonal!dynamics!
      influence!allegations!and!investigations.!!The!leadership!of!ISB!is!attempted!to!
      overcome!this!lack!of!corrections!experience!by!attending!training!directly!related!
      to!investigations!in!corrections!facility!and!specifically!related!to!sexual!assault!
      (Prison!Rape!Elimination!Act!PREA).!!The!strides!made!in!understanding!the!
      corrections!environment!has!been!impressive.!!


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             Another!significant!positive!change!is!the!timing!on!administrative!
      investigations!if!the!employee!is!being!investigated!for!possible!criminal!conduct.!
      Previously,!if!it!appeared!that!a!use!of!force!may!be!unnecessary!or!excessive!or!
      other!criminal!conduct!by!a!staff!member!had!occurred,!!the!Special!Operations!
      Division!(SOD)!(now!the!Investigative!Services!Bureau!ISB)!would!investigate!the!
      matter!and!refer!the!completed!investigation!to!the!District!Attorney’s!Office.!!Only!
      when!the!District!Attorney’s!Office!declined!to!prosecute,!which!occurred!in!the!vast!
      majority!of!the!referred!cases,!was!the!case!referred!by!SOD!to!IAD!for!the!
      administrative!investigation.!!Given!the!“age”!of!the!case!by!that!point,!IAD!was!often!
      needed!to!rely!on!the!evidence!gathered!and!interviews!conducted!by!SOD!even!
      though!the!emphasis!of!the!SOD!investigation!was!violation!of!criminal!law!as!
      opposed!to!an!administrative/policy!violation.!!This!process!needlessly!delayed!the!
      finding!of!fact!and!potentially!jeopardized!inmate!safety.!!Such!a!lengthy!process!
      was!particularly!troublesome!when!the!staff!member!involved!remained!on!duty!
      and!in!contact!with!inmates.!!!This!practice!has!now!been!changed.!!As!soon!as!a!
      possible!policy!violation!is!identified,!the!commander!of!ISB!notifies!the!IAD!
      supervisor!to!open!an!administrative!investigation.!!This!is!an!indication!of!the!on1
      going!changes!to!this!process!not!only!to!comply!with!the!Consent!Judgment,!but!
      also!to!incorporate!accepted!practice.!
             The!Monitors!acknowledge!that!investigating!incidents!of!inmate/inmate!
      assaults,!sexual!assaults,!staff/inmate!assaults,!etc.!with!a!goal!of!seeking!
      indictments!is!appropriate.!!In!a!jail!setting,!investigations!play!just!as!critical!a!role!
      in!terms!of!protecting!inmates!from!staff,!and!correcting!policy,!practice,!
      supervision!and!training.!!The!Monitors!continue!to!be!concerned!about!solely!
      approaching!an!investigation!to!seek!criminal!charges.!!In!order!to!comply!with!the!
      Consent!Judgment,!greater!emphasis!on!the!root!causes!of!violence!and!disorder!in!
      the!jail!need!to!be!addressed!in!the!investigations!and!by!the!review!of!them.!
      !      A!review!of!a!sample!of!investigations!conducted!by!ISB!revealed!a!contrast!
      between!the!investigations!conducted!by!the!criminal!division!and!IAD.!!The!

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      criminal!division!investigations!appeared!to!be!more!thorough!and!complete.!!With!
      a!change!in!leadership!in!the!IAD,!the!quality!of!investigations!has!improved!greatly.!!!
      !       While!the!number!of!staff!assigned!to!ISB!has!been!increased,!!and!some!
      duties!have!been!reassigned,!the!staff!assigned!to!the!ISB!is!still!required!to!fill!other!
      job!duties!outside!of!ISB.!!As!such!are!often!pulled!away!from!investigations!to!other!
      duties!that!result!in!investigations!taking!longer.!For!instance,!ISB!has!been!charged!
      with!transporting!inmates!to!the!Hunt!facility.!!While!this!activity!initially!was!to!be!
      a!once!or!twice!a!week!trip,!it!is!now!once!or!twice!a!day.!!!!
      !       One!practice!that!continues!that!creates!a!potential!conflict!of!interest!is!that!
      ISB!is!often!called!in!to!respond!to!quell!potential!disturbances!and!act!an!
      emergency!response!team.!!There!was!an!incident!where!an!ISB!deputy!was!
      involved!in!a!use!of!force!during!a!call!out!which!resulted!in!his!suspension!and!an!
      investigation!by!ISB.!!While!it!is!not!questioned!that!the!ISB!agent!assigned!to!the!
      investigation!did!a!thorough!investigation,!this!conflict!can!be!avoided!by!redefining!
      ISB’s!responsibilities!and!creating!a!response!team!drawn!from!jail!staff!(when!fully!
      staffed).!
              The!ISB!administrative!division!(e.g.,!IAD)!does!not!have!the!mandate!to!fill!
      other!job!duties!than!their!IAD!duties.!!IAD!has!a!staff!member!deployed!to!assist!in!
      background!investigation!for!new!hires!at!OPSO.!!While!an!appropriate!use!of!
      individuals!with!investigative!experience,!this!takes!resources!from!internal!
      administrative!investigations.!The!number!of!cases!referred!to!IAD!has!increased!
      greatly!since!the!change!in!policy!discussed!above.!!The!quality!and!timeliness!of!the!
      IAD!investigations!should!be!closely!reviewed!to!see!if!the!change!has!a!negative!
      effect,!or!if!additional!resources!are!needed.!!Additionally!OPSO!should!determine!
      the!resources!needed!to!conduct!pre1employment!background!investigations!and!
      assign!appropriate!resources!to!that!crucial!function.!
              !ISB!has!received!significant!additional!training.!!Continued!emphasis!needs!
      to!be!placed!on!having!as!one!of!ISB’s!goals!the!investigations!to!prevent!future!
      incidents!from!happening!through!analysis!of!the!policy,!procedures,!training,!

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      supervision,!and!physical!plant!contributors!to!the!incident.!!This!level!of!
      assessment!requires!input!from!individuals!who!have!experience!in!jail/corrections!
      work.!!This!can!be!accomplished!through!a!team!approach!in!the!ISB!or!by!having!
      their!investigations!reviewed!by!those!in!leadership!positions!who!have!more!
      corrections!experience.!
      !      Laptop!computers,!other!equipment,!and!the!capacity!for!file!sharing!have!
      been!made!available!to!ISB!agents.!!The!supervisors!of!the!ISB!are!able!to!access!the!
      investigative!files!of!the!agents.!!The!Vantos!system!seems!to!be!available.!!!!Until!the!
      change!in!leadership!in!IAD,!the!practice!of!entering!new!cases!in!handwriting!in!a!
      logbook!instead!of!having!the!Vantos!system!generate!a!unique!number!continued.!!
      This!practice!has!been!changed!which!make!it!easier!of!who!is!opening!cases,!
      preventing!duplicate!entries,!and!the!timely!handling!of!cases.! !
      !      In!addition!to!the!investigators!assigned!to!ISB,!watch!commanders!have!a!
      role!to!fill.!!Often!the!watch!commander!will!undertake!interviews!of!inmates!
      involved!in!incidents!before!calling!ISB.!!Unfortunately,!the!watch!commanders!
      often!lack!the!investigative!knowledge!or!skills!and!thus!actually!hamper!ISB’s!
      thorough!investigation.!!In!particular,!the!lack!of!investigative!knowledge!and!skills!
      by!watch!commanders,!especially!in!regard!to!the!investigation!of!sexual!assaults,!
      has!the!potential!to!further!victimize!or!re1traumatize!inmates.!!ISB!is!currently!
      working!on!training!to!provide!to!both!deputies!and!supervisors!regarding!crime!
      scene!preservation!and!interviewing,!and!their!specific!responsibilities.!!These!
      mandates!will!also!need!to!be!included!in!the!relevant!policies.!
      Recommendations:!
      20.    OPSO!has!made!significant!improvement!in!ISB!and!in!formalizing!the!
             organizational!structure,!roles,!mandates,!responsibilities,!placement!in!the!
             chain1of1command,!and!job!descriptions!of!both!the!criminal,!FIT,!
             intelligence,!and!administrative!divisions!of!ISB.!!OPSO!should!evaluate!the!
             needs!for!resources!in!conducting!pre1employment!background!checks!and!
             provide!those!resources!without!depleting!IAD.!

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        21.      One!of!the!confusing!things!in!the!past!was!the!ranks!and!titles!given!to!the!
                 different!personnel!in!ISB.!!With!the!change!in!leadership!in!the!internal!
                 affairs!unit,!that!has!been!remedied.!!The!title!of!agent!is!replacing!the!rank!of!
                 sergeant!so!that!there!will!be!consistency!throughout!the!bureau.!!
        22.      ISB!needs!to!finalize!and!implement!written!policies,!procedures,!and!
                 protocols!for!conducting!all!investigations.!!The!vendor!responsible!for!
                 developing!jail1based!policies!and!procedures!should!assist!in!formatting!
                 them!to!be!consistent!with!other!procedures.!!
        23.      OPSO!should!continue!to!work!with!Monitors!to!periodically!review!and!
                 critique!investigations.!!!
        24.      OPSO!should!provide!additional!training!to!investigators;!particularly!
                 regarding!corrections!operations,!or!hire/promote!individuals!with!
                 corrections!experience!to!be!investigators.!!Training!for!investigators!needs!
                 to!continue!to!meet!the!mandates!in!the!PREA!standards.!!The!two!agents!
                 assigned!to!sexual!assault!investigations!should!be!given!the!opportunity!to!
                 attend!additional!PREA!training.!
        25.      OPSO!needs!to!produce!the!periodic!reports!required!by!the!Consent!
                 Judgment.!!!!
        26.      See!Recommendation!above!regarding!resources,!accessibility!of!
                 investigations,!and!confidentiality.!!
!
9.''''''Pretrial'Placement'in'Alternative'Settings'
9.a.!OPSO!shall!maintain!its!role!of!providing!space!and!security!to!facilitate!interviews!conducted!pursuant!
to!the!City’s!pretrial!release!program,!which!is!intended!to!ensure!placement!in!the!least!restrictive!
appropriate!placement!consistent!with!public!safety.!
!
        Finding:!!       Compliance!
!
        Measures!of!Compliance:!!
           1. Memorandum!of!understanding!(MOU)!with!Pre1Trial!Services.!
           2. Observation!
           3. Interview!with!pre1trial!services!staff!
           4. Review!of!files!
           5. Review!of!data!regarding!pre1trial!diversion!
!
!                                                    !                                                      44!
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                       Compliance!Report!#!4!1!September!9,!2015!
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          Observations:!!!
          !      OPSO!and!VERA!executed!a!Cooperative!Endeavor!Agreement!(CEA)!on!
    February!18,!2015!addressing!the!provisions!of!this!paragraph.!
9.b.!OPSO!shall!create!a!system!to!ensure!that!it!does!not!unlawfully!confine!prisoners!whose!sole!detainer!is!
by!Immigration!and!Customs!Enforcement!(“ICE”),!where!the!detainer!has!expired.!
!
    Finding:!!Partial!Compliance!
!
    Measures!of!Compliance:!
    1. Written!policy/procedures!regarding!inmate!record!keeping,!and!release.!
    2. List!of!inmates!with!ICE!detainees!and!length!of!time!in!custody.!
    3. Classification!plan/policies/procedures!
    4. Review!of!inmate!release!record.!
!
    Observation:!
          Essentially,!there!is!no!charge!from!the!previous!two!reports.!!OPSO!policy!50.15,!
    Immigration!and!Customs!Enforcement!(ICE)!Procedures,!dated!June!21,!2013provides!
    that!voluntary!ICE!detainers!will!be!declined.!!This!document!addresses!all!relevant!
    language!in!this!paragraph.!!The!policy!is!being!updated,!but!constitutes!a!proof!of!
    compliance.!!No!parties!to!the!Cacho!v.!Gusman![Case!2:111cv1002251SS}!matter!have!
    notified!the!Court!of!any!concerns!pursuant!to!that!Consent!Judgment!and!Settlement!
    Agreement.!
    Recommendations:!
    27.       Update!policy!50.15!into!the!new!policy!numbering!system!to!assign!
              accountability!for!periodic!review!of!ICE!detainers!to!conform!to!this!provision.!
IV.'A.'10.'Custodial'Placement''
'
Introduction'
          In!sum,!the!OPSO!is!in!partial1compliance!with!the!elements!of!the!Consent!
Judgment!related!to!Custodial!Placement!within!OPP!(IV.!A.10).!!The!OPSO!has!designed,!
validated,!and!implemented!an!objective!classification!to!assess!and!house!each!OSPO!male!
and!female!offender!according!to!the!risks!he/she!poses!to!institutional!safety!and!security.!
The!new!automated!classification!system!was!rolled!out!in!the!Jail!Management!System!

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(JMS)!on!January!15,!2015.!A!report!entitled,!“Design!and!Validation!of!an!Objective!
Classification!System!for!the!Orleans!Parish!Sheriff’s!Office:!Final!Report”!was!submitted!on!
July!16,!2015!to!the!plaintiffs!and!Department!of!Justice.!27!This!report!documented!the!
design!and!validation!of!the!OPSO!classification!system.!!The!new!classification!“unit”!
includes!15!classification!specialists!and!a!classification!manager.!It!should!be!noted!that!
the!turnover!rate!among!the!classification!specialist!has!been!low!(6.25%),!only!one!of!the!
sixteen!individuals!hired!as!a!classification!specialist!has!resigned.!!All!received!training!on!
the!principles!of!objective!classification!and!instruction!for!the!new!custody!and!PREA!
assessment!instruments.!The!training!included!scoring!of!actual!OPSO!offenders!and!
practice!with!the!new!automation.!!One!concern!regarding!staffing!and!training!for!the!
OPSO!classification!staff!is!the!fact!that!only!the!classification!manager!and!three!of!the!
classification!specialists!have!a!login/password!for!accessing!the!NCIC!rap!sheets.28!Review!
of!all!detainees’!criminal!history!is!critical!for!an!accurate!assessment!of!the!detainee’s!
threat!to!institutional!security!and!safety.!!!!
!         The!OPSO!has!developed!an!automated!housing!assignment!process!that!considers!
the!offender’s!custody!level,!gender,!special!population!status,!PREA!designations,!enemies,!
and!associates!as!well!as!bed!availability!to!recommend!an!appropriate!bed!for!the!
offender.!!The!classification!specialist!is!provided!a!list!of!“appropriate”!housing!locations!
available!for!each!detainee!from!which!the!classification!specialist!must!select!a!housing!
assignment.!However,!this!automation!has!not!been!fully!implemented,!as!the!Housing!Unit!
Assignment!Plan!(HUAP)!within!JMS!does!not!reflect!the!current!mission!of!each!of!the!
OPSO!housing!units.!In!addition,!a!process!for!prompt!and!accurate!identification!of!
cells/units!that!are!“closed!or!off1line”!must!be!fully!developed!and!implemented.!!The!
Monitor!worked!with!the!Classification!Manager!and!JMS!staff!to!update!the!HUAP!within!
the!JMS!and!to!identify!appropriate!housing!units!for!each!of!the!special!populations.!!!Until!

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27!Hardyman,!Patricia!L.!(July!2015).!“Design!and!Validation!of!an!Objective!Classification!System!for!the!Orleans!Parish!
Sheriff’s!Office:!Final!Report.”!New!Marlborough,!MA:!Criminal!Justice!Institute.!
28!Two!individuals!of!the!three!classification!specialists!with!a!NCIC!login!were!the!two!original!classification!officers!
prior!to!increased!staffing!of!the!classification!unit.!!The!fourth!member!of!the!classification!staff!that!has!a!NCIC!login!is!
the!classification!manager.!!The!process!providing!access!to!NCIC!is!moving!very!slowly!and!is!hampering!efficiency!and!
timely!completion!go!the!initial!classifications!and!custody!reviews.!
!                                                             !                                                               46!
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the!HUAP!is!complete!and!has!been!accurately!programmed!into!JMS,!the!accuracy!of!the!
housing!assignments!according!to!custody!level,!gender,!special!population!status,!PREA!
designations,!enemies,!and!associates!remains!questionable.!It!is!anticipated!that!the!
automated!HUAP!will!be!implemented!by!the!end!of!August!2015.!
        Reports!for!tracking!the!classification!process!were!included!the!JMS!automation!of!
the!system.!!The!reports!regarding!the!custody!assessments!completed!between!January!
and!July,!2015!were!incomplete!and!misleading.!The!reports,!for!example,!did!not!provide!
tallies!for!the!number!of!inmates!involved!in!serious!institutional!infractions/month,!
number!of!inmates!whose!scored!custody!level!was!overridden,!or!the!number!of!inmates!
assigned!to!protective!custody!or!administrative!segregation.!!As!these!reports!were!
intended!to!inform!OPSO,!as!well!as!the!Monitors,!as!to!the!integrity!of!the!classification!
system,!these!reports!must!be!revamped!to!provide!useful!and!timely!information.!!!It!is!
also!recommended!that!the!classification!manager!implement!a!quality!control/random!
audit!process!to!ensure!integrity!of!the!custody!assessment!and!housing!processes.!!
        The!OPSO!classification!and!discipline!policies!have!been!updated!to!reflect!the!new!
classification!system.!The!Monitor!reviewed!drafts!of!the!OPSO!administrative!segregation!
policy,!offender!handbook,!and!offender!job1screening!instrument.!!Classification!and!PREA!
assessment!handbooks!that!include!rules!for!the!when!and!how!to!score!the!respective!
instruments!were!developed!and!distributed!to!the!classification!staff!as!part!of!the!
implementation!of!the!system.!!
Assessment'Methodology'
This!report!was!based!on:!1.!!Work!with!OPSO!staff!to!automate!and!implement!the!new!
OPSO!classification!system!and!to!update!the!PREA!assessment!instruments;!and!2.!
Meetings!with!OPSO!classification,!JMS,!Transition!Team,!and!Executive!staff.!
IV.A.10.!
!a.!!OPP!shall!implement!an!objective!and!validated!classification!system!that!assigns!prisoners!to!housing!
           units!by!security!levels,!among!other!valid!factors,!in!order!to!protect!prisoners!from!unreasonable!
           risk!of!harm.!!The!system!shall!include:!consideration!of!a!prisoner’s!security!needs,!severity!of!the!
           current!charge,!types!of!prior!commitments,!suicide!risk,!history!of!escape!attempts,!history!of!
           violence,!gang!affiliations,!and!special!needs,!including!mental!illness,!gender!identity,!age,!and!
           education!requirements.!!OPSO!shall!anticipate!periods!of!unusual!intake!volume!and!schedule!
           sufficient!classification!staff!to!classify!prisoners!within!24!hours!of!booking!and!perform!prisoner!


!                                                     !                                                       47!
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          reclassifications,!assist!eligible!DOC!prisoners!with!re1entry!assistance!(release!preparation),!
          among!other!duties!related!to!case!management.!!
      !
      Finding:!          Compliance!
      Measures!of!Compliance:!
      1.     Written!policy/procedure!governing!the!intake,!booking,!classification!and!re1classification!
             process.!
      2.     Report!including!a!statistical!validation!of!the!OPSO!current!custody!classification!system!
             that!includes!statistical!assessment!of!the!risk!and!need!factors!of!the!inmate!populations!by!
             gender!and!race.!
      3.     Implementation!of!the!identified!updates!via!an!electronic!file!with!the!completed!custody!
             assessments!for!OPSO!population.!
      4.     Report!documenting!required!staffing!needs.!!
      5.     Implementation!of!viable!classification/case!management!staffing!plans.!
            !
      Observations:!
            •   The!new!automated!classification!system!was!rolled!out!in!the!Jail!
                Management!System!(JMS)!on!January!15,!2015.!!!!
            •   Classification!and!PREA!assessment!handbooks!that!include!rules!for!the!
                when!and!how!to!score!the!respective!instruments!were!developed!and!
                distributed!to!the!classification!staff!as!part!of!the!implementation!of!the!new!
                system.!!
            •   The!new!classification!“unit”!includes!15!classification!specialists!and!a!
                classification!manager.!!All!received!training!on!the!principles!of!objective!
                classification!and!instruction!for!the!new!custody!and!PREA!assessment!
                instruments.!The!training!included!scoring!of!actual!OSPO!offenders!and!
                practice!with!the!new!automation.!A!schedule!for!24/7!coverage!by!the!
                classification!staff!has!been!developed!and!implemented.!Follow1up!training!
                for!the!classification!staff!was!provided!June!25126th.!
            •   Note,!a!validation!report!documenting!the!design!and!validation!was!
                submitted!on!July!16,!2015!to!the!plaintiffs!and!Department!of!Justice.!!
            •   Classification!Management!Reports!1'Aggregate!standardized!reports!to!track!
                offender!security!designations,!PREA!designations,!override!rates!by!type,!
                and!housing!assignments!by!facility!by!unit!were!provided,!but!did!not!
                provide!an!accurate!account!of!the!custody!assessments!or!OPSO!active!
!                                                    !                                                        48!
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                  population.!Although!the!security!and!PREA!designations!are!stored!for!each!
                  offender,!routine!classification!management!reports!are!not!generated!and!
                  distributed!to!classification!staff,!facility/supervisory!staff,!or!executive!staff!
                  to!monitor!the!integrity!of!the!classification!system!and!ensure!system!safety!
                  and!security.!!OPSO!has!begun!to!develop!manual!reports!for!tracking!
                  housing!and!the!classification!system.!!Automation!of!these!reports!within!
                  the!JMS!rather!maintaining!the!reports!than!as!separate,!manual!
                  spreadsheets!is!highly!recommended.!!Manual!reporting!duplicates!staff!
                  efforts!and!leads!to!inaccurate!information!for!both!the!manual!reports!and!
                  JMS.!
             •    OPSO!JMS!staff!have!been!instrumental!and!diligent!in!the!development,!
                  testing!and!implementation!of!automated!classification!and!updated!PREA!
                  assessments!in!the!JMS.!In!particular!Joe!Simmons,!OPSO!Programmer!
                  Analyst,!has!automated!the!new!custody!and!PREA!scoring!and!designation!
                  processes.!He!is!current!working!on!development!of!the!management!reports!
                  to!track!offenders!due!for!custody!reviews!and!to!manage!the!housing!
                  assignment!process.!
         !Recommendation:!!
         28. Develop!and!circulate!among!OPSO!executive!and!supervisory!staff!
                  standardized!automated!reports!that!track!offender!security!designations,!
                  PREA!designations,!override!rates!by!type,!and!housing!assignments!by!
                  facility!by!unit.!
IV.A.10.!
b.!Prohibit!classifications!based!solely!on!race,!color,!national!origin,!or!ethnicity.'
         Finding:!!Compliance!
         Measures!of!Compliance:!!
         1. Implementation!of!a!valid!classification!system!based!on!the!objective!and!reliable!risk!and!need!
            factors!of!the!OPSO!inmate!populations!as!documented!by!a!written!report!on!the!
            design/validation!of!the!revised!classification!system!and!electronic!file!of!custody!assessments.!
         2. Provide!a!quarterly!report!that!tracks!custody!distributions!by!housing!unit!race,!and!gender!to!
            the!Monitor.!
!
         Observations:!

!                                                        !                                                  49!
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                  As!the!classification!system!was!implemented!in!January!2015.!Custody!and!
         PREA!distributions!by!housing!unit,!race!and!gender!for!the!entire!OPSO!population.!
         Custody!assessments!based!on!the!new!objective!classification!system!for!the!entire!
         OPSO!have!been!completed.!!!However,!there!is!a!lengthy!backlog!of!offenders!due!
         for!a!custody!review.!
                  Accurate!classification1related!management!reports:'Standardized!aggregate!
         reports!to!track!custody!decisions!by!housing!unit!race!and!gender!during!the!last!
         quarter!were!not!available.!Custody!distributions!for!the!current!active!OPSO!
         populations!were!provided.!Questionable!were!the!counts!for!the!special!
         populations!–!disciplinary,!mental!health,!and!medical.!!
         Recommendations:!!
         29. Eliminate!the!backlog!of!cases!due!for!a!custody!review.!Custody!reviews!
                  should!be!completed!within!72!hours!of!the!time!the!case!appears!on!the!
                  classification!monitoring!log.!
         30. Revise!the!monthly!statistical!reports!to!accurately!track!the!custody!
                  distribution!of!OPSO!offenders!by!housing!unit!race!and!gender!during!the!
                  last!quarter.!
IV.A.10.!
c.!Ensure!that!the!classification!staff!has!sufficient!access!to!current!information!regarding!cell!availability!in!
each!division.!
         !
         Finding:!!Partial1compliance!
         Measures!of!Compliance:!!!
            1. Develop!and!implement!a!housing!unit!assignment!plan!that!outlines!the!mission,!number!of!
                beds!and!custody!level(s)!for!each!OPSO!housing!unit.!
            2. Provide!a!report!of!the!daily!counts!to!the!classification!housing!staff!as!to!the!number!of!
                occupied,!vacant,!and!out1of1order!beds!per!pod!per!housing!unit!with!electronic!copies!of!
                the!daily!reports!provided!to!the!Monitor.!!
         !
         Observations:!!            !
                  The!OPSO!has!developed!an!automated!housing!assignment!process!that!
         considers!the!offender’s!custody!level,!gender,!special!population!status,!PREA!
         designations,!enemies,!and!associates!as!well!as!bed!availability!to!recommend!an!

!                                                       !                                                         50!
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        appropriate!bed!for!the!offender.!!The!classification!specialist!is!provided!a!list!of!
        “appropriate”!housing!locations!available!for!each!detainee!from!which!he/she!must!
        select!a!housing!assignment!for!that!individual.!However,!this!process!for!assigning!
        an!individual!to!a!housing!unit!is!not!fully!implemented.!The!Housing!Unit!
        Assignment!Plan!(HUAP)!within!JMS!does!not!reflect!the!current!mission!of!each!of!
        the!OPSO!housing!units.!In!addition,!a!process!for!prompt!and!accurate!
        identification!of!cells/units!that!are!“closed!or!off1line”!must!be!fully!developed!and!
        implemented.!!The!Monitor!worked!with!the!Classification!Manager!and!JMS!staff!to!
        update!the!HUAP!and!identify!appropriate!housing!units!for!each!of!the!special!
        populations.!!Until!the!HUAP!is!complete!and!has!been!accurately!programmed!into!
        JMS,!the!accuracy!of!the!housing!assignments!according!to!custody!level,!gender,!
        special!population!status,!PREA!designations,!enemies,!and!associates!remains!
        questionable.!It!is!anticipated!that!the!automated!HUAP!will!be!implemented!by!the!
        end!of!August!2015.!
!!!!!!!!!!!!!Recommendations:!!
        31. Update!custody!level,!gender,!mission,!and!PREA!designations!with!the!JMS!to!
                 reflect!the!current!OPSO!HUAP.!!!The!HUAP!within!JMS!must!be!current!and!
                 complete,!i.e.,!provide!for!a!location!for!every!combination!of!the!housing!
                 criteria.!The!classification!manager!must!develop!the!skills!and!daily,!as!
                 needed!process!for!updating!the!HUAP!as!any!bed/cell!is!taken!off!line!due!
                 for!maintenance!or!there!is!a!change!in!the!mission!of!the!bed/unit.!
IV.A.10.!
d.!Continue!to!update!the!classification!system!to!include!information!on!each!prisoner’s!history!at!OPSO.!!'
!
        Finding:!!!!Partial1compliance!
        Measures!of!Compliance:!
            1.   Any!automated!management!information!system!will!include!accurate!data!within!eight!
                 hours!of!the!custody!assessment!or!status!change,!data!regarding!the!inmates’!custody!level,!
                 medical,!disciplinary!infractions,!mental!health,!and!custody!assessment!(date,!risk!factor!
                 scoring,!override!reason![if!applicable],!and!custody!level).!!Monitor!will!conduct!audit!of!
                 random!sample!of!cases!to!determine!accuracy!and!timely!entry!of!data.!Compliance!
                 standard!will!be!90%!accurate!and!reliable.!


!                                                     !                                                         51!
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           2.   The!custody!assessments!shall!be!updated/reviewed!every!120!days,!a!hearing!for!a!
                disciplinary!infraction!for!major!infraction,!legal!status!change,!new!information!from!the!
                court,!and!a!major!jail!incident!to!include!PREA!or!other!major!incident/investigation.!!
                Monitor!will!conduct!audit!of!random!sample!of!cases!to!determine!accuracy!and!timely!
                entry!of!data.!Compliance!standard!will!be!90%!accurate!and!reliable.!
                '
       Observations:!
       !        Review!of!the!housing!population!within!each!of!the!OPSO!housing!units!
       indicated!that!a!custody!assessment!has!been!completed!for!all!detainees!prior!to!
       their!transfer!from!IPC!(booking)!to!a!housing!unit.!!As!of!September!6,!2015,!there!
       was!a!lengthy!backlog!!(700+!detainees)!of!cases!due!for!a!custody!re1assessment.!!
       This!backlog!was!due,!at!least!in!part,!to!an!error!in!the!JMS!log!that!excluded!cases!
       due!for!a!60/901day!review!from!the!list.!!!Thus,!the!new!classification!system!has!
       been!implemented!for!the!incoming!offenders,!however!the!reclassification!process!
       has!not!been!fully!implemented.!!Classification!staff!complete!custody!reviews!as!
       evidenced!by!the!observation!of!the!classification!processes!in!June!and!during!the!
       August!monitoring!tours,!however!the!custody!reviews!have!not!been!prioritized.!!!
       The!Unit!must!reorganize!its!workload!assignments!to!ensure!all!custody!reviews!
       are!completed!in!a!timely!fashion.!The!backlog!of!custody!reviews!has!been!
       prioritized!by!risk,!e.g.,!offenders!to!be!reclassified!due!to!disciplinary!infractions,!
       security!updates.!!Despite!the!backlog,!this!section!is!rated!as!“partial!compliance”!
       because!the!initial!custody!assessments!for!incoming!detainees!are!completed!
       according!to!a!timely!process!and!some!custody!reviews!for!disciplinary!infractions!
       are!conducted.!However,!the!backlog!of!custody!reviews!must!be!addressed.!A!
       custody!review!should!be!completed!within!72!hours.!!
       !        Note,!while!the!OPSO!has!put!forth!great!efforts!to!update!the!classification!
       process,!the!system!is!dependent!on!the!reliability!and!accuracy!of!the!OPSO!
       disciplinary!process.!OSPO!must!develop!QC!processes!to!ensure!the!integrity!of!
       both!the!classification!and!disciplinary!processes.!
! !!!!!!!!!!Recommendation:!!



!                                                   !                                                          52!
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        32. Eliminate!the!backlog!of!cases!due!for!a!custody!review.!Develop!QC!processes!
                 to!ensure!the!integrity!of!both!the!classification!and!disciplinary!processes.!
IV.A.10.!
e.!Continue!competency1based!training!and!access!to!all!supervisors!on!the!full!capabilities!of!the!OPSO!
classification!and!prisoner!tracking!system.!!'


        Finding:!!!Compliance!
        Measures!of!Compliance.!!
        1. Written!directive!governing!training!of!staff!assigned!to!classification.!
        2. Curriculum!for!competency1based!training!regarding!the!custody!classification!system,!housing!
           assignment!process,!work/community!assignments,!and!case!management.!!Evidence!of!
           knowledge!gained.!
        3. Staff!training!roster(s)!and!competency!tests!following!completion!of!competency1based!training!
           by!current!classification/case!management!staff.!!
        4. Staff!training!roster(s)!and!competency!tests!following!completion!of!competency1based!training!
           by!all!new!or!re1assigned!staff!on!assignment!to!classification/case!management!duties.!
        5. Curriculum!for!classification!module!within!the!basic!academy!training!curriculum!for!OPSO!
           staff.!Evidence!of!knowledge!gained.!
        6. Staff!training!roster(s)!and!competency!tests.!
!
        Observations:!
                 Classification!Unit!and!some!of!the!Transition!Team!members!received!
        objective!classification!training!as!part!of!the!design!and!testing!of!the!classification!
        system.!Mandatory!training!regarding!the!classification!system!for!OPSO!leadership!
        and!facility!manager!was!provided!May!21122nd.!Chief!DeSadier’s!introductory!
        comments!emphasized!the!Classification!Unit’s!responsibility!for!all!housing!
        assignments!as!well!as!the!security!staff’s!role!for!documenting!inmates’!behavior!to!
        ensure!objective,!data1driven!classification!and!housing!processes.!While!the!
        classification!staff!noted!some!resistance!to!the!requirement!for!written!rationale!as!
        to!the!reason(s)!for!requesting!a!detainee!to!be!moved,!the!Chief!and!Classification!
        Manager!have!been!very!clear!in!the!enforcement!of!these!changes.!Additional!
        training!was!provided!for!the!classification!specialists!on!June!25!–!26th.!This!
        training!included!detailed!instruction!of!the!custody!review!and!housing!processes.!
        Recommendation:!!




!                                                    !                                                      53!
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        33. Provide!on1going!training!and!monitoring!to!ensure!the!classification!staff!
                 complete!the!custody!and!PREA!assessments!correctly.!A!systematic!random!
                 audit!process!should!be!implemented!to!review!staff!competency.'
IV.A.10.!
f.!Conduct!internal!and!external!review!and!validation!of!the!classification!and!prisoner!tracking!system!on!at!
least!an!annual!basis.'
!
        Finding:!!Non1compliance!
        Measures!of!Compliance:!the!OPSO!information!system!to!assess:!!
           1.       Custody!distributions!by!gender,!race!and!special!populations.!
           2.       Override!rates.!!
           3.       Housing!by!custody!level/special!needs,!and!race.!
           4.       PREA!separations.!
           5.       Custody!re1assessments!(regular!and!for1cause,!#!over1due,!et!al.).!!
           6.       Electronic!copies!of!the!quarterly!and!annual!reports!shall!be!provided!to!the!Monitor!
                    with!documentation!of!steps!(tasks!and!dates)!taken!to!address!any!noted!
                    inconsistencies!with!OPSO!policies.!
                  !
        Observations:!
                 Tracking!reports!were!included!the!JMS!automation,!but!the!classification!
        manager!needs!to!implement!a!tracking!and!QC!process!to!ensure!integrity!of!the!
        custody!assessment!and!housing!processes.!!On!June!251!26th,!classification!activities!
        by!each!of!the!classification!teams!was!observed!by!the!Monitor.!!Follow1up!training!
        was!provided!to!address!noted!problems!and!questions.!!However,!the!classification!
        manager!needs!to!develop!an!ongoing!process!for!auditing!and!monitoring!custody!
        assessments!and!tracking!the!number!of!cases!due!for!custody!re1assessments.!!!A!
        key!recommendation!in!the!report!documenting!the!design!and!validation!of!the!
        OPSO!classification!system!(see!IV.A.10.a.)!was!that!the!OPSO!conduct!a!statistical!
        review!of!the!classification!system!in!early!2016.!
        Recommendation:!!
        34. Create!queries!for!simple!classification1related!management!reports!within!the!
                 JMS.!These!reports!should!be!reviewed!at!least!monthly!to!review!trends.!
                 However,!classification!manager!should!review!the!reports!on!PREA!
                 separations!and!housing!by!custody!level!daily!to!ensure!that!any!
                 discrepancies!are!corrected!immediately.!Note:!the!reports!should!include!
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                 columns!for!noting!the!date!and!type(s)!of!corrective!actions!required!
                 addressing!any!discrepancies!or!problematic!trends.!
IV.A.10.!
g.!Provide!the!Monitor!a!periodic!report!on!classification!at!the!Facility.!!These!periodic!reports!shall!be!
provided!to!the!Monitor!within!four!months!of!the!Effective!Date!and!every!six!months,!thereafter,!until!
termination!of!this!Agreement.!!Each!report!will!include!the!following!information:'
          (1) number!of!prisoner1on1prisoner!assaults;!!!!
          (2) number!of!assaults!against!prisoners!with!mental!illness;!
          (3) number!of!prisoners!who!report!having!gang!affiliations;!
          (4) most!serious!offense!leading!to!incarceration;!
          (5) number!of!prisoners!classified!in!each!security!level;!
          (6) number!of!prisoners!placed!in!protective!custody;!and!!
          (7) number!of!misconduct!complaints.!!
!
        Finding:!!Non1compliance!
        Measures!of!Compliance:!
        1. Annual!and!bi1annual!tracking!reports!within!the!OPSO!information!system!to!review!the!
           number/rates!during!the!last!12!months!and!for!the!stock!population:!
           o number!of!prisoner1on1prisoner!assaults/custody!level!by!gender;!
           o number!of!assaults!against!prisoners!with!mental!illness!by!gender;!
           o number!of!prisoners!who!report!having!gang!affiliations!by!gang!affiliation;!
           o most!serious!current!offense!leading!to!incarceration!by!gender;!!
           o number!of!prisoners!currently!classified!in!each!security!level;!
           o number!of!prisoners!placed!in!protective!custody;!!
           o number!of!prisoners!in!administrative!segregation;!and!
           o number!of!major!and!minor!misconduct!complaints.!
        Observations:!!
             No!change.!Accurate!data!on!the!number/rates!during!the!last!six!months!and!for!
        the!stock!population!were!not!provided!to!the!Monitors:!
             •   number!of!prisoner1on1prisoner!assaults/custody!level!by!gender;!
             •   number!of!assaults!against!prisoners!with!mental!illness!by!gender;!
             •   number!of!prisoners!who!report!having!gang!affiliations!by!gang!affiliation;!
             •   most!serious!current!offense!leading!to!incarceration!by!gender;!!
             •   number!of!prisoners!currently!classified!in!each!security!level;!
             •   number!of!prisoners!placed!in!protective!custody;!!
             •   number!of!prisoners!in!administrative!segregation;!and!
             •   number!of!major!and!minor!misconduct!complaints.!!!
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          Recommendation:!!!
          35.    Create!queries!for!simple!classification!and!incident1related!management!
                 reports!within!the!JMS!report!module.!These!reports!should!be!reviewed!at!
                 least!monthly!to!assess!trends.!However,!classification!staff!should!review!
                 the!reports!on!general!population,!protective!custody,!medical,!mental!
                 health,!disciplinary,!and!administrative!segregation!housing!by!custody!and!
                 PREA!designation!daily!to!ensure!that!any!discrepancies!are!corrected!
                 immediately.!Note:!the!reports!should!include!columns!for!noting!the!date!
                 and!type(s)!of!corrective!actions!required!addressing!any!discrepancies!or!
                 problematic!trends.!Optional!formats!for!exporting!the!reports!are!important!
                 for!facilitating!analyses!and!developing!charts!to!track!behaviors!over!time.!
                 Options!should!include:!!Excel,!pdf!(portable!document!format),!and/or!csv!
                 (comma!separated!values).!
IV.A.!
10.h.!!   OPSO!shall!review!the!periodic!data!report!and!make!recommendations!regarding!proper!placement!
          consistent!with!this!Agreement!or!other!necessary!changes!in!policy!based!on!this!review.!!The!
          review!and!recommendations!will!be!documented!and!provided!to!the!Monitor.!
!
          Finding:!!Partial1compliance!
          !
          Measures!of!compliance:!
          1. Report!to!the!Monitor!with!recommended!change!and!rational/data!regarding!any!policy!
             changes.!
             !
          Observations:!!
          !      The!Monitor!has!reviewed!the!OPSO!revised!classification!policy!and!
          discipline!code!(policies!1301.06!and!1301.07).!!Classification!and!PREA!assessment!
          handbooks!were!developed!and!distributed!to!the!classification!staff!as!part!of!the!
          implementation!of!the!system.!The!Monitor!has!provided!feedback!for!the!inmate!
          handbook,!administrative!segregation!policy,!and!a!draft!instrument!for!screening!
          un1sentenced!detainees!for!OPSO!job!assignments.!It!should!be!noted!that!the!
          administrative!segregation!unit!is!a!new!unit!implemented!within!the!last!30!days,!
          thus!the!absence!of!a!fully!developed!and!vetted!policy!was!anticipated.!!The!OPSO!
!                                                   !                                                 56!
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        also!only!recently!made!the!decision!to!allow!un1sentenced!detainees!to!work!
        within!the!OPP.!A!preliminary!draft!of!the!detainee!screening!form!was!reviewed.!
        Recommendations:!
        36.      Implement!the!Inmate!Classification!Policy!and!Procedures!(501.14),!PREA!
                 Policy,!and!inmate!discipline!code!to!reflect!revised!policies.!!
        37.      Promptly!develop!complete!and!viable!policies!for!the!use!of!protective!
                 custody!and!administrative!segregation.!!As!administrative!segregation!and!
                 protective!custody!inmates!represent!two!very!different!populations,!
                 separate!policies!for!their!placement,!removal,!housing!and!management!
                 should!be!developed!as!soon!as!possible!!
        38.      Revise!the!inmate!handbook!to!address!questions!and!concerns!noted!by!the!
                 Monitors.!
11.'Prisoner'Grievance'Process'
11.a.!(1)1(6)!OPSO!shall!ensure!that!prisoners!have!a!mechanism!to!express!their!grievances,!resolve!disputes,!
and!ensure!that!concerns!regarding!their!constitutional!rights!are!addressed.!!OPSO!shall,!at!a!minimum,!do!
the!following:!
         (1)!    Continue!to!maintain!policies!and!procedures!to!ensure!that!prisoners!have!access!to!an!
                 adequate!grievance!process!and!to!ensure!that!grievances!may!be!reported!and!filed!
                 confidentially,!without!requiring!the!intervention!of!a!correctional!officer.!!The!policies!and!
                 procedures!should!be!applicable!and!standardized!across!all!the!Facility!divisions.!
         (2)!    Ensure!that!each!grievance!receives!appropriate!follow1up,!including!providing!a!timely!
                 written!response!and!tracking!implementation!of!resolutions.!
         (3)!    Ensure!that!grievance!forms!are!available!on!all!units!and!are!available!in!Spanish!and!
                 Vietnamese!and!that!there!is!adequate!opportunity!for!illiterate!prisoners!and!prisoners!who!
                 have!physical!or!cognitive!disabilities!or!language!barriers!to!access!the!grievance!system.!
         (4)!    Separate!the!process!of!“requests!to!staff”!from!the!grievance!process!and!prioritize!
                 grievances!that!raise!issues!regarding!prisoner!safety!or!health.!
         (5)!    Ensure!that!prisoner!grievances!are!screened!for!allegations!of!staff!misconduct!and,!if!an!
                 incident!or!allegation!warrants!per!this!Agreement,!that!it!is!referred!for!investigation.!!!
         (6)!!   A!member!of!the!management!staff!shall!review!the!grievance!tracking!system!quarterly!to!
                 identify!areas!of!concerns.!!These!reviews!and!any!recommendations!will!be!documented!
                 and!provided!to!the!Monitors.!
!
        Finding:!!Partial!Compliance!
        !
        Measures!of!Compliance:!
        1.     Written!policy!and!procedures!governing!inmate!grievances,!and!grievance!appeals.!!!
               Directive!shall!include!but!not!be!limited!to!availability!of!grievance!forms!in!required!
               language,!ability!of!inmates!to!secure!forms!upon!request!and!deposit!into!secured!boxes,!
               prohibition!against!retaliation!against!inmates!who!file!grievances,!time!deadlines!on!
               responses,!assistance!to!inmates!to!file!grievances!(including!assistance!to!inmates!with!
               mental!illness,!low!functioning,!non1English!speaking).!!
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      2.     Written!policies!and!procedures!that!designates!a!position/post!responsible!for!assuring!the!
             collection!and!response!to!grievances,!including!maintenance!of!records,!trends,!and!analysis!
             of!grievance!data.!
      3.     An!electronic!tracking!system.!
      4.     Written!orientation!to!inmates!regarding!the!grievance!process.!
      5.     Inmate!handbook.!
      6.     Curriculum/lesson!plans!to!train!staff!(pre1service!and!in1service)!regarding!their!roles!and!
             responsibilities!regarding!the!inmate!grievance!process.!
      7.     Interviews!with!inmates.!
      8.     Interviews!with!employees.!
      9.     Observation!of!staff!training.!
      10.    Observation!of!inmate!orientation.!
      11.    Written!policies/procedures!governing!the!inmate!request!process.!!!
      12.    Inmate!request!forms.!
      13.    Review!of!referrals!for!investigation!resulting!from!inmate!grievances.!
      14.    Review!of!original!inmate!grievances!and!responses.!
      15.    Monitors’’!review!of!grievance!logs,!grievances,!analysis!of!grievances!conducted!by!OPSO.!
!
      Observations:!!
             OPSO!has!implemented!a!credible!grievance!process,!except!for!the!need!to!
      provide!a!working!appeals!process.!!The!plaintiffs!report!that!the!improvements!in!
      the!grievance!process!are!positive.!!The!upgrading!of!the!current!hardware!and!
      software!to!accommodate!the!appeals!process!needs!to!be!completed.!!OPSO!is!
      working!with!the!vendor!to!allow!the!separation!of!inmate!grievances!and!inmate!
      requests!(sometimes!logged!as!grievances)!either!by!the!inmate!or!by!the!grievance!
      staff,!as!well!as!to!assist!in!the!compilation!of!grievances!by!type.!!OPSO!currently!
      separates!the!inmate!grievances!from!requests!for!service!per!the!Consent!
      Judgment,!but!it!is!a!manual!rather!than!electronic!process.!!The!compilation!of!
      grievances!by!type!(and!hopefully!the!inmate’s!location)!will!provide!valuable!
      information!to!the!jail!to!examine!practices!and!inmate!supervision!skills!of!
      employees.!!If!the!software!can!be!further!modified,!inmate!medical/mental!health!
      and!dental!requests!can!be!routed!by!the!inmate!and/or!the!grievance!staff!to!the!
      medical!provider,!saving!a!step!in!the!process!and!automating!sick!call.!!
             As!noted!in!February!2015!report,!inmates!can!direct!their!grievance!to!the!
      Monitor,!to!the!grievance!staff,!or!both!–!in!both!the!kiosk!and!paper!systems.!Since!
      January!2015!through!August!12th!,!the!Monitor!has!been!forwarded!124!grievances.!!
      The!topics!included:!!classification!3%,!commissary!6%,!conditions!of!confinement!
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      17%,!personal!legal!issues!5%,!food!service!6%,!grievance!process!2%,!laundry!3%,!
      law!library!3%,!medical/mental!health!care!40%,!property!2%,!protection!from!
      harm!2%,!recreation!3%,!request!to!speak!to!Monitor!1%,!and!staff!misconduct!8%.!!
      Each!grievance!received!a!response!and!a!referral!as!needed.!!Additionally!the!
      Monitor!received!58!inmate!letters!for!which!each!inmate!received!a!response.!!!
               OPSO!reports!that!for!year!to!date!(ending!July!12,!2015)!3,440!grievances!
      were!received,!including!12!related!to!sexual!safety/PREA,!139!referred!to!the!
      Investigative!Services!Bureau,!and!298!to!the!Internal!Affairs!Division.!!There!was!
      an!overwhelming!32,044!“requests!for!information.”!!!!Medical!(CCS)!reported!
      receiving!2,767!grievances!for!the!first!six!months!of!2015!(included!in!the!total!
      reported!above!for!OPSO).!!!Although!classified!as!grievances,!1,628!(59%)!were,!in!
      effect,!sick!call!requests.!!This!data!speaks!to!the!urgent!need!to!use!technology!for!
      inmates!to!communicate!sick!call!requests!to!medical,!as!well!as!for!OPSO!to!be!able!
      to!more!efficiently!separate!requests!for!service!from!actual!grievances.!!
               The!Monitors!can!confirm!that!grievances!are!screened!for!allegations!of!staff!
      misconduct,!and!forwarded!to!the!Investigative!Services!Bureau.!!!The!ISB!records!
      indicate!if!an!investigation!is!the!result!of!a!grievance.!!!!
               OPSO!needs!to!complete!the!policy!governing!inmate!grievances,!and!train!
      staff.!!OPSO!also!needs!to!orient!and!re1orient!inmates!to!the!process,!as!well!a!
      conduct!the!analysis!noted!in!paragraph!(6)!of!the!CJ.!!The!appeals!process!needs!to!
      be!fully!implemented.!!Additionally,!continued!attention!needs!to!be!paid!to!the!
      quality!of!the!responses!to!the!inmates!–!that!is!–!the!response!addresses!the!
      inmate’s!question(s),!indicates!whether!the!inmate’s!grievance!is!founded!or!not!
      founded,!and!is!in!professional!language.!!!
      Recommendations:!
      39.      Provide!the!completed!grievance!written!directive/policy,!including!the!
               grievance!appeal!process,!to!the!Monitors.!
            a. Include!in!the!policy!categories!of!grievances!that!are!meaningful!and!in!
               sufficient!detail!to!allow!for!review,!analysis,!and!improvement!of!operations.!

!                                              !                                             59!
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           b. Using!technology,!separate!the!inmate!grievance!process!from!the!inmate!
              request!for!services!as!a!matter!of!policy,!then!operationalize;!!using!
              technology,!allow!for!the!electronic!transfer!of!sick!leave!requests!to!medical.!
           c. In!the!policy!revision,!assure!that,!for!the!purposes!of!PREA!compliance,!
              there!is!no!time!limit!imposed!on!inmates!wishing!to!file!grievances!
              regarding!sexual!harassment,!sexual!assault,!etc.!!!
     40.     Refine!the!record!keeping!and!data!analysis!ensuring!that!the!most!prevalent!
             grievances!topics!are!documented,!including!trends.!!!
     41.     Consider!using!the!Early!Warning!System!to!track!staff!whose!name!appear!in!
             grievances!who!may!need!supplemental!training.!
     42.     Continue!periodic!meetings!between!security!and!medical!to!discuss!trends,!
             data.!!
           a. Assure!that!the!numbers!regarding!grievances!maintained!by!OPSO!are!
              consistent!with!those!maintained!by!CCS.!!
     43.     Ensure!that!all!employees!are!trained!regarding!the!grievance!process,!and!
             their!respective!roles.!
     44.     Revise!the!inmate!handbook!to!better!explain!the!grievance!and!grievance!
             appeal!process;!and!how!it!is!different!from!requests!for!information/service!
             and!sick!call.!
     45.     Revise!the!grievance!policy!to!provide!for!assistance!to!inmates!in!filing!a!
             grievance,!due!to!LEP,!mental!illness!or!disabilities,!or!when!an!inmate!
             requests!assistance.!
     46.     Analyze!the!inmate!requests!for!service/information,!determine!the!most!
             prevalent!requests,!and!develop!a!plan!to!address!those!issues!to!help!avoid!
             the!need!for!inmates!to!file!“grievances”.!!This!will!be!a!critical!part!of!the!
             operation!of!direct!supervision!environment.!!Integrate!the!approach!into!
             direct!supervision!management.!
!
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12.'Sexual'Abuse''
!
OPSO!will!develop!and!implement!policies,!protocols,!trainings,!and!audits,!consistent!with!the!requirements!
of!the!Prison!Rape!Elimination!Act!of!2003,!42!U.S.C.!§!15601,!et!seq.,!and!its!implementation!of!regulations,!
including!but!not!limited!to,!preventing,!detecting,!reporting,!investigating,!and!collecting!sexual!abuse!data,!
including!prisoner1on1prisoner!and!staff1on1prisoner!sexual!abuse,!sexual!harassment,!and!sexual!touching.!
!
    Finding:!!Partial!Compliance!
!
    Measures!of!Compliance:!!
       1.       Checklist!of!policies!and!procedures!
                http://www.prearesourcecenter.org/sites/default/files/library/checklistofdocumentationfi
                nal2.pdf!
       2.       Auditor!Compliance!Tool!
                http://www.prearesourcecenter.org/sites/default/files/library/auditorcompliancetoolfinal
                2.pdf!!
       3.       Completion!of!Jail!Toolkit!http://static.nicic.gov/Library/026880.pdf!!
       4.       Written!policies!and!procedures,!protocols,!memorandum!of!agreement/understanding,!
                training!curriculum!required!by!the!standards.!
       5.       Memorandum!of!agreement,!sexual!assault!treatment!center!
       6.       Review!of!investigations.!
       7.       Interviews!with!employees!and!inmates.!
       8.       Referrals!for!prosecution!
       9.       Qualifications!of!instructors.!
!
        Observations:!
                 OPSO!continues!to!make!progress!on!compliance!with!this!paragraph!and!
        with!sexual!safety!initiatives.!!Other!areas!of!note!include:!
                 •   OPSO’s!PREA!Coordinator!has!been!certified!as!a!PREA!Auditor,!only!one!
                     of!ten!in!Louisiana.29!!!This!is!significant!as!it!means!that!OPSO’s!
                     initiatives!are!consistent!with!accepted!practice,!and!can!leverage!other!
                     resources!around!the!state!and!the!country.!
                 •   OPSO’s!PREA!Coordinator!is!assigned!to!the!Investigative!Services!Bureau!
                     that!means!coordination!when!there!are!allegations!of!sexual!assault,!
                     harassment,!and!voyeurism.!
                 •   OPSO!has!completed!two!videos!–!one!for!female!and!one!for!male!
                     inmates!explaining!their!right!to!be!safe!in!!jail;!and!will!implement!in!the!
                     new!jail!(or!sooner!if!the!technology!in!the!older!buildings!permit).!

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29!http://www.prearesourcecenter.org/audit/list1of1certified1auditors!
!                                                     !                                                       61!
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               •   The!PREA!hotline!is!functioning,!with!one!call!received!since!January!(not!
                   unusual!based!on!experience!in!other!jails/prisons!in!the!US).!
               •   Continue!to!hold!monthly!SHARP!(Sexual!Harassment/Assault!Review!
                   Panel)!meetings.!!Assure!information!is!consistent!with!requirement!of!
                   PREA!standards;!follow1up!each!month!on!previous!month’s!
                   recommendations.!
               •   Collaboration!between!the!newly!implemented!classification!system!and!
                   the!PREA!screening!instruments,!including!designations!of!housing!for!
                   potential!vulnerable!victims!and!potential!sexual!predators.!
               •   Inmates!who!allege!sexual!assault!are!processed!based!on!PREA!
                   standards.!
               •   The!PREA!Audit!is!tentatively!scheduled!for!summer!2016.30!
       Recommendations:!
       47.     Complete!both!the!relevant!OPSO!policy!on!PREA!and!the!ISB!standard!
               operating!procedure!for!handling!inmate!allegations!of!sexual!assault,!
               harassment,!and!voyeurism.!!
       48.     Develop!the!strategies!to!begin!using!the!PREA!videos,!including!assuring!
               that!staff!see!the!videos!and!receive!the!relevant!training.!!
       49.     Continue!to!review!reporting!by!VIA!LINK.!
       50.     Assure!that!CCS’!policies/procedures!(B105)are!PREA!compliance,!including!
               training!for!CCS!staff!on!recognizing!signs!of!sexual!abuse.!!Assure!that!other!
               CCS!policies!are!consistent!with!requirements!of!PREA!(e.g.!mental!health!
               care,!follow1up!medical!care).!
       51.     Assure!that!resources!are!provided!to!facilitate!an!PREA!audit!in!the!summer!
               of!2016.!!These!resources!include,!but!are!not!is!not!limited!to,!the!cost!of!the!
               professional!fees!and!travel!expenses!for!the!auditor,!the!human!resources!in!
               OPSO!to!prepare!the!materials!for!the!audit,!and!any!staff!training!required!
               prior!to!the!audit.'
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30!http://www.prearesourcecenter.org/audit/audit1process1and1appeals!
!                                                !                                            62!
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13.'Access'to'Information''
OPSO!will!ensure!that!all!newly!admitted!prisoners!receive!information,!through!an!inmate!handbook!and,!at!
the!discretion!of!the!Jail,!an!orientation!video,!regarding!the!following!topics:!!understanding!Facility!
disciplinary!process!and!rules!and!regulations;!reporting!misconduct;!reporting!sexual!abuse!or!assault;!
accessing!medical!and!mental!health!care;!emergency!procedures;!and!sending!and!receiving!mail;!
understanding!the!visitation!process;!and!accessing!the!grievance!process.!
!
        Findings:!      Partial!compliance!
!       !
        Measures!of!Compliance:!
        1.     Written!policy/procedure!governing!inmate!orientation,!including!but!not!limited!to!inmates!
               with!LEP,!developmental!disabilities,!mental!illness,!etc.!
        2.     Inmate!handbook;!orientation!videos!in!English,!Spanish,!Vietnamese.!
        3.     Observation!of!inmate!orientation.!
        4.     Inmate!interviews.!
        5.     Lesson!plans,!employee!training,!evidence!of!knowledge!gained.!
        6.     Review!of!grievances.!
        7.     Post!orders.!
    !
    Observations:!!
    !   The!inmate!handbook!and!the!orientation!video!are!not!yet!completed.!!OPSO’s!
    policies!and!procedures!must!be!completed!before!the!associated!inmate!materials!can!
    be!done.!!!The!Monitors!have!reviewed!the!drafts!and!made!suggestions.!!Monitors!have!
    discussed!strategies!to!provide!inmate!materials!on!the!housing!units!(e.g.!notebook!
    with!laminated!pages)!and!having!the!information!available!on!the!kiosks.!!The!direct!
    supervision!management!should!also!rely!on!the!officer!in!the!housing!unit!as!another!
    source!of!information!for!the!inmates.!!
        Recommendations:!
        52.     Develop!an!inmate!orientation!process!in!English!and!Spanish!(written,!
                video,!and/or!peer)!that!includes!all!elements!of!this!paragraph.!
        53.     Assure!that!the!materials!are!at!a!grade!appropriate!level.!!Assure!procedures!
                for!orientation!of!inmates!who!are!illiterate,!LEP,!low!functioning!and/or!
                have!mental!illness.''
'
'
'
'
'

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IV.'B.''''                 Mental'Health'Care'
OPSO!shall!ensure!constitutionally!adequate!intake,!assessment,!treatment,!and!monitoring!of!prisoners’!
mental!health!needs,!including!but!not!limited!to,!protecting!the!safety!of!and!giving!priority!access!to!
prisoners!at!risk!for!self1injurious!behavior!or!suicide.!!OPSO!shall!assess,!on!an!annual!or!more!frequent!'
'
Executive'Summary'
             This!report!includes!the!findings!regarding!mental!health!services!as!well!as!some!
findings!on!risk!management!and!quality!management!based!on!the!site!visit!(week!of!
August!3,!2015)!to!the!OPSO!facilities!and!the!OPSO!mental!health!unit!at!Hunt.!!As!
reflected!in!Compliance!Report!#3,!Correct!Care!Solutions,!Inc.,!(CCS)!began!providing!
medical!and!mental!health!care!to!OPSO!on!November!1,!2014.!!CCS!has!assembled!a!team!
of!mental!health!professionals!lead!by!Dr.!Audrey!Townsel!and!supported!by!regional!and!
corporate!staff,!including!Dr.!Cassandra!Newkirk!the!chief!psychiatric!officer!for!CCS,!Dr.!
Marc!Quillen!Deputy!Director!of!Behavioral!Health!Services!for!CCS,!Rainbow!
Brockenborough!Regional!Administrator,!Dr.!Carla!Dunbar,!Deputy!Medical!Director,!and!
Dr.!William!Ruby,!Acting!Medical!Director.!!!
             There!are!notable!vacancies!in!the!CCS!staffing!regarding!mental!health!including!
the!Chief!Psychologist/Team!Leader!position!at!Hunt!and!the!Psychiatric!Nurse!
Practitioner!at!Hunt;!these!are!essential!positions.!!CCS!has!reported!difficulty!filling!both!
resulting!in!coverage!for!the!psychologist!position.!!The!psychiatric!provider!component!at!
Hunt!is!currently!inadequate!in!that!a!psychiatrist!is!onsite!Mondays!and!Fridays!for!a!total!
of!16!hours!per!week.!!The!Hunt!facility!requires!a!full1time,!401hour!per!week,!psychiatric!
provider!FTE!which!can!be!split!between!a!psychiatric!nurse!practitioner!and!a!
psychiatrist.!!!The!Monitors!recommend!that!there!be!a!full!time!psychiatric!nurse!
practitioner!and!a!psychiatrist!to!continue!to!provide!at!least!half!days!twice!per!week!to!
support!the!treatment!team.!!!
             Further,!there!have!been!difficulties!at!Hunt!with!the!security!operations!in!the!use!
of!OC!spray!on!detainees!and!inmates!transferred!from!OPSO.31!!Ms.!McCampbell!met!with!
the!LADPSC!administration!and!has!secured!corrective!actions!to!address!the!issue!of!use!
of!force!and!OC!spray!and!the!participation!of!mental!health!staff!in!planned!uses!of!force!
events.!!!
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31!See!Page!31.!


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       As!reported!during!the!status!conference!held!on!August!6,!2015!before!Judge!
Africk,!the!mental!health!services!provided!by!CCS!to!OPSO,!both!in!OPSO!facilities!and!the!
Hunt!unit!are!the!best,!in!the!opinion!of!the!Monitors!since!the!Consent!Judgment.!!The!
Monitors!anticipate!that!the!services!will!improve!considerably!with!the!increased!and!
adequate!staffing.!!The!CCS!staff!also!reported!that!they!have!requested!an!increase!in!
staffing!!to!3.2!FTE’s!to!supplement!their!current!mental!health!and!medical!staff!to!provide!
adequate!services.!
       The!Monitors!toured!the!Hunt!Unit,!TDC!male!step1down!unit,!TDC!female!mental!
health!unit!and!Templeman!V!A14!Unit,!which!continues!to!be!referred!to!as!the!“suicide!
tier”!despite!the!intended!placement!of!acute!and!sub1acute!mental!health!services!to!be!
transferred!to!the!Hunt!Facility.!!On!August!5,!2015,!!Hunt!had!a!capacity!of!39!beds,!and!a!
census!of!34!inmates!with!3!inmates!anticipated!to!be!transferred!on!that!day!and!2!
additional!inmates!to!be!transferred!by!the!end!of!the!week!making!the!Hunt!Facility!filled!
at!maximum!capacity.!!!
       However,!TPV!A14!also!had!a!census!of!approximately!30!on!August!4th!and!5th.!!!At!
least!half,!if!not!more!of!the!inmates!housed!on!the!A14!on!those!dates,!were!not!believed!to!
be!in!need!of!acute!mental!health!services,!or!on!suicide!watch!or!precautions!because!of!
mental!health!reasons.!!The!inmates!interviewed!housed!on!the!A14!tier!said!that!they!self1
reported!themselves!as!being!“suicidal”!or!having!engaged!in!self1harm!activities,!such!as!
putting!sheets!or!clothing!around!their!necks!,!out!of!OPP!to!the!TPV!A14!because!of!
personal!safety!concerns.!!The!conditions!at!OPP!were!eloquently!described!during!the!
Status!Conference!by!all!Monitors,!and!particularly!by!Harry!Grenawitzke,!in!terms!of!the!
dilapidated!and!failing!conditions!within!the!building!and!the!use!of!building!infrastructure!
(e.g.,!pipes,!wires,!frames)!by!inmates!to!fashion!weapons!for!potential!harm!to!other!
inmates!and!staff.!!As!noted!by!all!Monitors!during!the!Status!Conference!these!conditions!
are!unacceptable!and!can!no!longer!be!tolerated.!!!
       An!inmate’s!behavior!with!the!goal!of!what!the!inmate’s!perceives!as!self!protection!
[e.g.!removal!from!their!current!housing!location]!is!at!least!partially!the!result!of!the!
absence!of!a!housing!unit!and!policies!governing!a!behavioral!housing!unit.!Inmates!are!
aware!that!if!they!self1report!suicide!ideation,!or!demonstrate!self1harm,!OPSO!must!act,!
and!this!results!in!the!inmates’!removal!to!other!housing.!The!use!of!TPV!A14!to!house!
                                                                                              65!
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inmates!who!are!reporting!suicidal!ideation!,or!who!engage!in!self1harm!activities!largely!
for!safety!reasons,!resulted!in!discussions!with!OPSO!and!CCS!leadership!to!implement!a!
“behavioral!management”!unit.!!Such!a!housing!location!would!address!the!management!of!
inmates!who!have!reported!safety!concerns!and!self1harm!intent,!!so!they!will!be!properly!
assessed!and!monitored!in!an!environment!that!is!protected,!in!a!unit!with!enhanced!
mental!health!services.!!While!some!may!see!this!as!“inmate!manipulation”!the!Monitors!
emphasized!that!this!is!“adaptive”!rather!than!“manipulative”!behavior!–!and!that!change!in!
view!needs!to!pervade!the!implementation!of!reforms.!!
       Lead!Monitor!Susan!McCampbell,!assistant!monitors!Drs.!Greifinger!and!Patterson!
and!Mr.!Hodge!met!with!Chief.!DeSadier!and!Colonel!Laughlin,!Lieutenant!Peters,!and!the!
CCS!clinical!and!administrative!staff!to!discuss!the!Behavioral!Management!Unit!concept!
and!modifications.!!We!emphasized!not!only!the!need!for!a!hybrid!unit!with!enhanced!
mental!health!presence!and!custody!supervision!but!also!the!“culture”!that!is!associated!
with!“OPP”!and!the!possible!need!for!“marketing”!of!the!unit!to!the!inmate!population!and!
to!staff!as!being!different!and!distinct!from!other!housing!units.!!The!Monitors!!emphasized!
the!need!for!there!being!some!single!and!double!cells!and!the!need!for!very!clear!policies!
and!procedures!as!well!as!training!for!staff!who!may!be!assigned!to!those!units!and!a!very!
difficult!populations!to!manage!and/or!transfer.!!!
       Accordingly,!both!OPSO!and!CCS!are!continuing!their'efforts!to!develop!policies!and!
procedures!for!such!a!unit!for!review!by!the!Monitors.!However!it!with!the!proposed!
imminent!opening!and!beginning!of!transfer!of!inmates!to!the!Phase!II!new!jail!the!
implementation!of!this!unit!may!be!deferred!until!the!activities!associated!with!the!opening!
are!completed.!!!This!opening!of!such!a!unit!is!a!priority!to!further!appropriate!allocation!of!
mental!health!resources!and!assure!inmate!safety.!!
       In!reviewing!medical!records!and!discussions!with!CCS!administrative!and!clinical!
staff!(in!the!presence!of!plaintiff’s!and!DOJ!attorneys),!CCS!confirmed!there!have!been!
difficulties!in!adequate!medication!management!with!unacceptable!delays!in!provision!of!
medications!without!clear!explanations!in!some!instances,!but!with!references!to!inmate!
movement!between!OPSO!facilities!as!well!as!inmate!refusals!of!medications!in!some!
instances.!!The!Monitor!reviewed!a!number!of!the!inmate!records!with!CCS!staff!in!the!
presence!of!plaintiff’s!and!DOJ!attorneys!regarding!plaintiff’s!lists!of!inmate!concern![e.g.!
                                                                                                 66!
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instances!where!there!were!indeed!missed!medications!and/or!delays!in!inmates!being!
seen!by!psychiatric!provider!staff!particularly!or!delays!in!responses!to!sick!call!by!MHP’s].!
CCS!acknowledged!these!departures!from!policy!and!provided!corrective!actions!that!
included!not!only!additional!staff,!but!the!acknowledgement!that!some!of!the!issues!may!be!
largely!addressed!with!the!inmates’!relocation!to!the!new!jail.!!In!terms!of!quality!
management!and!risk!management!from!a!mental!health!perspective,!the!mental!health!
quality!management!performance!indicators!are!not!yet!in!place!with!sound!methodology!
and!analysis!of!data!to!provide!a!realistic!picture!of!the!services!being!provided.!![See!also!
Dr.!Greifinger’s!section!of!this!Report].!In!those!instances!where!there!was!some!analyses!
of!the!data!from!CCS,!CCS!acknowledges!that!performance!indicators!have!not!yet!reached!
compliance!levels!for!a!number!of!the!Consent!Judgment!requirements,!referred!to!later!in!
this!report.!
       The!Monitor!also!met!with!architect!Jerry!Hebert!to!review!the!plans!for!the!
renovation!of!TDC!Building!4.!!The!Building!4!renovation!plan!includes!Units!4A!and!4B.!!
Unit!4A!is!intended!to!be!a!male!131bed!acute!unit!(replacing!TPV!A14)!and!4B!is!intended!
to!be!a!step1down/residential!unit!of!20!dormitory!beds!plus!3!individual!cells!for!males.!!
This!unit!will!be!for!step1down!care!for!inmates!returning!from!Hunt,!as!well!as!inmates!
who!may!require!residential!care!instead!of!general!population!or!segregation!housing!but!
do!not!require!acute!or!sub1acute!mental!health!care.!!The!discussions,!which!included!
Margo!Frasier,!plaintiff’s!and!DOJ!counsel,!centered!on!the!utilization!of!the!building!and!
the!possibility!that!it!could!be!used!for!women!when!TPV!is!closed.!!According!to!Mr.!
Hebert,!the!projected!timeframe!for!completion!is!approximately!nine!months!and!the!cost!
would!be!$2.8!million.!!Suggestions!were!discussed!regarding:!the!inclusion!of!nursing!
stations!on!both!units,!one!to!be!enclosed!on!the!step1down/residential!unit;!an!open!
nursing!station!on!the!acute!unit!as!well!as!the!need;!and!medication!room!and!treatment!
space.!!There!is!no!available!treatment!space!on!those!units!other!than!in!the!day!room.!!Mr.!
Hebert!also!offered!that!he!could!install!partitions!on!the!current!TDC!units!that!are!in!use!
in!Building!1!for!male!step1down!and!in!Building!3!for!women’s!mental!health!services!
includes!acute/sub1acute!and!step1down/residential!to!provide!treatment!space.!!These!
enhancements!are!important!and!necessary!as!the!current!TDC!facilities!do!not!have!any!
true!treatment!space.!!In!addition,!none!of!the!TDC!units!have!office!space!for!mental!health!
                                                                                               67!
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staff!offices.!!!Mr.!Hebert!suggested!having!a!“trailer”!located!outside!of!the!units!for!the!
provision!of!office!space!for!the!mental!health!treatment!staff.!!!
        On!May!5,!2015,!the!Monitor!participated!in!a!conference!call!with!the!Special!Care!
Populations!Working!Group!(SCPWG),!convened!by!Council!Member!Susan!Guidry,!and!
advised!of!concerns!regarding!the!Group’s!continued!focus!on!renovation!of!the!4th!floor!of!
Phase!II!new!jail!building!to!house!mental!health!services!and!special!care!populations.!At!
the!time!of!the!August!2015!tour,!the!SCPWG!had!not!issued!a!final!report!and,!therefore,!
the!MHWG!has!no!document!or!information!on!which!to!base!any!further!discussion.!!!
        The!Mental!Health!Working!Group!(MHWG)!did!not!meet!during!this!tour!as!we!
clearly!had!made!recommendations!to!the!Court!in!our!report!of!September!9,!2014.32!The!
MHWG!will!certainly!respond!to!any!request!by!the!Court!for!further!review!of!mental!
health!services!should!that!be!considered!in!the!future.!
        In!the!status!conference!of!August!6,!2015!with!Judge!Africk,!!the!Monitor!expressed!
his!concerns!that!no!action!had!taken!place!regarding!the!MHWG’s!recommendation!that!
the!Phase!III!building!was!the!best!available!option!and!that!the!construction!of!Phase!III!
should!begin!with!all!deliberate!speed.!!!
        As!a!result!of!the!Monitors’!tour!of!!Phase!II!new!jail!both!Monitors!opined!that!the!
new!building!has!a!number!of!serious!flaws,!from!a!mental!health!operational!perspective,!
that!need!to!be!addressed!through!physical!plant!refinements!and!operational!practices.33!!
The!Monitors!expressed!their!concerns!regarding!the!actual!layout!of!the!building!and!what!
would!require!some!retrofitting!and!modifications.!
        The!Monitors!reviewed!a!limited!number!of!medical!records!(several!were!not!
available!due!to!the!inmate’s!release!from!custody).!!Based!on!those!reviews!and!discussion!
with!CCS!staff!it!was!not!necessary!to!review!more!records!as!the!concerns!expressed!by!
the!plaintiffs!were!reviewed!by!CCS.!!The!diversion!of!the!Monitors’!attention!from!
specifically!scheduled!on1site!activities!occur!when!plaintiffs!wait!until!just!prior!to!the!
Monitors’!tour!to!identify!their!concerns!regarding!inmate!medical!and!mental!health!care.!!

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32!http://www.nolajailmonitors.org/uploads/3/7/5/7/37578255/mhwg_rpt_09_08_14.pdf!
33!The!most!serious!concerns!are!the!need!to!install!suicide!resistant!cells!or!suicide!resistant!areas,!including!
attention!the!outdoor!recreation!area!that!has!a!wire!mesh!screen!that!is!easily!climbable,!and!could!be!used!
by!inmates!to!climb!to!the!top!and!jump!causing!serious!injury!to!themselves!or!others.!

                                                                                                               68!
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These!“examples”!of!inmates!care,!although!absent!any!description!of!whether!the!concern!
regarded!that!specific!inmate!or!whether!it!was!a!systemic!issue!delayed!on1site!work.!!
While!the!Monitors!acknowledge!this!effort!was!meant!to!be!helpful,!it!was!not.34!
        The!Monitor!observed!that!the!tour!of!the!TPV!A14!unit!with!Judge!Africk!and!
Council!Members!Guidry!and!Cantrell!immediately!the!following!the!tour!of!the!Hunt!was!
enlightening!for!Council!Members!Guidry!and!Cantrell,!and!the!conditions!and!crowding!
was!again!of!great!concern!to!Judge!Africk.!!Council!Member!Gerard!Brosette!also!toured!
the!A14!unit!accompanied!by!the!Judge!and!the!Monitor.!!The!Monitor!believes!the!tour!was!
compelling!with!regard!to!the!reality!that!the!TPV!A14!unit!is!unfit!for!occupation!by!human!
beings,!particularly!those!who!may!be!suffering!from!mental!illness!and/or!who!have!
expressed!personal!safety!concerns.!!!
        Recommendations:!
        54.      The!movement!of!inmates!from!OPSO!facilities!should!proceed!beginning!on!
                 9/15/15!either!to!the!new!jail!or!to!other!parishes!as!was!recommended!by!
                 all!monitors!at!the!hearing!on!August!6,!2015.!
        55.      CCS!to!proceed!with!all!deliberate!speed!and!efforts!at!filling!their!staffing!
                 allocations!and!requests!for!additional!staffing!as!necessary!to!provide!
                 adequate!and!constitutional!mental!health!services.!
        56.      CCS!and!OPSO!develop!policies!and!procedures!as!well!as!programmatic!
                 statements!and!staffing!projections!for!a!behavioral!management!unit!to!
                 assist!in!the!overall!management!and!treatment!of!inmates!who!may!have!
                 mental!health!concerns!but!are!not!in!need!of!acute!or!sub1acute!mental!
                 health!services!at!Hunt!and!who!present!as!suicidal!or!self1harming!largely!
                 because!of!safety!concerns.!
        57.      OPSO,!LDOC,!and!CCS!implement!protocols!for!use!of!force!and!participation!
                 of!mental!health!staff!and/or!designated!nursing!staff!with!mental!health!
                 consultation!and!review!for!use!of!force!at!Hunt.!
                           !
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
34!For!example,!the!plaintiffs!provided!a!list!of!“issues”!for!the!Monitors’!attention!on!July!30,!2015!(Monitors!
arrived!on!site!on!August!2nd.!!Based!on!discussion!during!the!tour!the!plaintiffs,!we!believe,!are!clearer!about!
when!this!information!is!more!timely!and!relevant.!!The!Monitors!are!always!available!to!learn!of!concerns!of!
the!DOJ/plaintiffs.!!

                                                                                                               69!
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IV.'B.''''Mental'Health'Care!!
'
IV.B.1'aQe:'
a.   Develop!and!maintain!comprehensive!policies!and!procedures!for!appropriate!screening!and!assessment!
     of!prisoners!with!mental!illness.!!These!policies!should!include!definitions!of!emergent,!urgent,!and!
     routine!mental!health!needs,!as!well!as!timeframes!for!the!provision!of!services!for!each!category!of!
     mental!health!needs.!
b.   Develop!and!implement!an!appropriate!screening!instrument!that!identifies!mental!health!needs,!and!
     ensures!timely!access!to!a!mental!health!professional!when!presenting!symptoms!require!such!care.!!The!
     screening!instrument!should!include!the!factors!described!in!Appendix!B.!!The!screening!instrument!will!
     be!validated!by!a!qualified!professional!approved!by!the!Monitor!within!180!days!of!the!Effective!Date!
     and!every!12!months!thereafter,!if!necessary.35!
c.   Ensure!that!all!prisoners!are!screened!by!Qualified!Medical!Staff!upon!arrival!to!OPP,!but!no!later!than!
     within!eight!hours,!to!identify!a!prisoner’s!risk!for!suicide!or!self1injurious!behavior.!!No!prisoner!shall!be!
     held!in!isolation!prior!to!an!evaluation!by!medical!staff.!
d.   Implement!a!triage!policy!that!utilizes!the!screening!and!assessment!procedures!to!ensure!that!prisoners!
     with!emergent!and!urgent!mental!health!needs!are!prioritized!for!services.!
e.   Develop!and!implement!protocols,!commensurate!with!the!level!of!risk!of!suicide!or!self1harm,!to!ensure!
     that!prisoners!are!protected!from!identified!risks!for!suicide!or!self1injurious!behavior.!!The!protocols!
     shall!also!require!that!a!Qualified!Mental!Health!Professional!perform!a!mental!health!assessment,!based!
     on!the!prisoner’s!risk.!
!
     Finding:!!Partial!Compliance!
     Measures!of!Compliance:!
        1. Document!review!of!mental!health!policies!and!procedures!!
        2. Review!of!a!limited!number!of!medical!records!
        3. Interviews!of!prisoners!and!staff!at!Hunt!Correctional!Facility,!TPV,!and!TDC!
        4. Discussions!with!OPSO!and!CCS!administrative!staffs.!
         !
         Observations:!
                  CCS!has!provided!the!great!majority!of!policies!and!procedures!with!regard!
         to!mental!health.!!There!is!a!need!for!finalization!of!the!suicide!risk!assessment!tool!
         with!incorporation!of!other!policies!that!reflect!assessment!and!management!plans!
         into!one!document!that!will!be!utilized!for!suicide!risk!assessment,!both!for!inmates!
         presenting!with!increased!risk!factors!and!prior!to!release!from!suicide!watch!or!
         suicide!precautions.!!There!is!also!the!need!to!finalize!the!levels!of!care,!particularly!
         in!light!of!the!probable!addition!of!a!behavioral!management!unit!or!other!
         component!for!the!populations!that!have!been!described!in!this!report.!!CCS!did!not!
         provide!the!Monitor!with!psychological!autopsies!on!the!completed!suicide!of!an!
              inmate!in!March!2015!or!the!serious!attempted!suicide!of!another!inmate!in!June!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
35!The!Monitors!have!previously!indicated!to!the!parties!the!Monitors!are!unaware!of!any!“validation”!
process!for!such!an!instrument.!!The!Monitors!recommend!the!language!be!clarified!by!the!parties!or!deleted.!

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        2015.!!The!Monitors!did,!however,!review!the!events!with!CCS!staff!and!anticipate!
        that!all!suicides!and!serious!suicide!attempts!will!have!psychological!
        autopsies/review!where!indicated!and!those!results!will!be!discussed!with!the!
        Monitors.!!Further,!at!the!time!of!this!tour!CCS!was!reviewing!their!overall!mental!
        health!caseload!numbers,!including!inmates!who!may!be!designated!as!“special!
        needs,”!typically!referred!to!as!“serious!mental!illness!(SMI)”!in!other!systems.!!!
        Implementation!of!the!policies!and!procedures!as!well!as!their!performance!
        measures!and!analysis!should!also!be!conducted.!!
                 Further,!the!staffing!deficiencies!particularly!at!Hunt!preclude!there!being!
        the!timeliness!of!assessments,!particularly!by!a!psychiatric!provider!(psychiatrist!or!
        psychiatric!nurse!practitioner)!within!specified!timeframes.!!Further,!CCS!has!
        acknowledged!that!there!have!been!delays!in!medication!administration!as!well!as!
        some!instances!of!medications!not!being!given!without!clear!explanation!as!to!
        reasons,!and!delays!in!completing!mental!health!assessments!based!on!intake!
        screening!and/or!referrals.!!These!areas!have!improved!over!time,!however!there!
        needs!to!be!not!only!the!full!compliment!of!staffing!and!additional!staffing!as!
        necessary!but!also!quality!management!performance!indicators!to!appropriately!
        assess!the!compliance!in!each!of!these!areas!with!the!Consent!Judgment.!
        Recommendations:!
        58.      OPSO!and!CCS!to!finalize!the!policies!noted!above!
        59.      CCS!should!continue!the!process!of!identification!of!mental!health!caseload!
                 and!their!levels!of!care!needs,!and!aggressively!recruit!for!staffing!necessary!
                 to!provide!services.!
IV.!B.!1.!f!!!!
f. For!prisoners!with!emergent!or!urgent!mental!health!needs,!search!the!prisoner!and!monitor!with!
     constant!supervision!until!the!prisoner!is!transferred!to!a!Qualified!Mental!Health!Professional!for!
     assessment.'
'
        Finding:!!Non1compliance!
        Measures!of!Compliance:!
           1. Document!review,!including!incident!reports!and!suicide!watch!checklists.!
           2. Observation!of!suicide!watches!on!TD5!and!TDC!
              !
    Observations:!

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               Inmates!who!are!housed!on!TPV!and!TDC!for!suicide!assessment!and!
    management,!and!specifically!for!“direct!observation”!continue!to!have!certified!nursing!
    assistants!(CNAs)!providing!observation!that!is!not!direct!or!consistent.!!Particularly!on!
    TPV!there!continues!to!be!the!practice!of!CNAs!sitting!at!the!desk!and!ostensibly!being!
    assigned!to!“direct!watch”!inmates!in!various!cells!on!the!unit,!simultaneously.!!This!is!
    not!possible!given!the!configuration!and!the!lack!of!line1of1sight!from!the!desk!area!
    both!in!TPV,!and!in!the!area!along!the!wall!in!TDC!for!women.!!The!observation!by!staff!
    at!Hunt!appears!to!be!adequate!for!the!suicide!resistant!cells!as!well!as!for!the!rest!of!
    the!cells!on!the!unit.!!These!are!areas!that!have!been!discussed!before!and!are!in!need!of!
    corrective!actions.!!Further,!the!CNAs!should!typically!be!supervised!by!nursing!staff!
    rather!than!behavioral!health!care!staff.!!Lastly,!three!specific!incidents!since!the!last!
    compliance!report!are!of!great!concern:!!(1)!completed!suicide!of!an!inmate!in!March!
    2015,!which!occurred!in!an!attorney!visiting!room!for!an!inmate!who!had!been!
    identified!at!increased!risk!for!suicide!and!was!awaiting!a!suicide!risk!assessment;!(2)!a!
    serious!suicide!attempt!in!June!2015!of!an!inmate!who!was!able!to!use!a!chair!in!a!
    shower!are!as!that!chair!ostensibly!was!left!in!the!shower!for!use!by!handicapped!
    individuals;!and!(3)!a!finding!by!security!staff!of!a!cell!phone!on!an!inmate!who!was!
    dressed!in!a!suicide!smock!and!on!direct!observation!at!the!time.!
IV.B.1.g1k!!!!
g. Ensure!that!a!Qualified!Mental!Health!Professional!conducts!appropriate!mental!health!assessments!
    within!the!following!periods!from!the!initial!screen!or!other!identification!of!need:!!'
               1. 14!days,!or!sooner,!if!medically!necessary,!for!prisoners!with!routine!mental!health!needs;!!
               2. 48!hours,!or!sooner,!if!medically!necessary,!for!prisoners!with!urgent!mental!health!needs;!
                  and!!
               3. immediately,!but!no!later!than!two!hours,!for!prisoners!with!emergent!mental!health!needs.!
h. Ensure!that!a!Qualified!Mental!Health!Professional!performs!a!mental!health!assessment!no!later!than!the!
    next!working!day!following!any!adverse!triggering!event!(i.e.,!any!suicide!attempt,!any!suicide!ideation,!or!
    any!aggression!to!self!resulting!in!serious!injury).!
i. Ensure!that!a!Qualified!Mental!Health!Professional,!as!part!of!the!prisoner’s!interdisciplinary!treatment!
    team,!maintains!a!risk!profile!for!each!prisoner!on!the!mental!health!case!load!based!on!the!Assessment!
    Factors!identified!in!Appendix!B,!and!develops!and!implements!a!treatment!plan!to!minimize!the!risk!of!
    harm!to!each!of!these!prisoners.!
j. Ensure!adequate!and!timely!treatment!for!prisoners,!whose!assessments!reveal!mental!illness!and/or!
    suicidal!ideation,!including!timely!and!appropriate!referrals!for!specialty!care!and!visits!with!Qualified!
    Mental!Health!Professionals,!as!clinically!appropriate.!
k. Ensure!crisis!services!are!available!to!manage!psychiatric!emergencies.!!Such!services!include!licensed!in1
    patient!psychiatric!care,!when!clinically!appropriate.!
'
        Finding:!!Partial!Compliance!

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        Measures!of!Compliance!
           1. Document!review!of!policies!and!procedures!and!medical!records!review!!
           2. Interviews!of!prisoners!and!staff!on!TPV,!TDC!and!Hunt!Correctional!Facility!
           3. Review!of!quality!management!data!
!
    Observations:!
              The!identification!of!prisoners!who!should!be!on!the!mental!health!caseload,!
    hiring!of!staff,!implementation!of!the!operations!at!Hunt,!and!transition!from!the!TPV!A1
    4!unit!to!Hunt!for!treatment!of!acute!and!sub1acute!mentally!ill!prisoners!and/or!
    prisoners!reporting/demonstrating!increased!risk!for!suicide!or!self1harm!has!
    improved,!but!must!been!fully!operationalized.!!Further,!the!documentation!and!quality!
    management!review!of!these!mental!health!practices!has!not!been!fully!implemented.!!
    The!improvement!in!the!services!delivered!at!Hunt!has!been!compromised!by!
    inadequate!staffing!and!the!continued!housing!of!prisoners!who!have!been!designated!
    as!“suicidal”!in!the!TPV!A14!unit.!!There!are!clear!indications!that!the!A14!unit!houses!a!
    mixture!of!inmates!who!may!have!mental!health!concerns!as!well!as!the!inmates’!
    personal!safety!concerns!and!the!need!for!assessment!and!appropriate!management!of!
    these!inmates!either!in!an!acute/sub1acute!care!setting,!behavioral!management!unit,!or!
    other!unit!for!similar!purposes,!and!development!of!policies!and!procedures!by!CCS!and!
    OPSO!and!collaboration!in!these!areas!is!necessary.!
    Recommendations:!
        60.      CCS!to!aggressively!recruit!to!fill!the!vacant!positions!at!Hunt!
        61.      Documentation!of!treatment!team!meetings!and!reviews!of!treatment!plans!
        62.      Documentation!of!referrals!and!risk!profiles!by!CCS!and!security!!
        63.      Development!of!policies!and!procedures,!staffing!projections,!and!training!for!
                 a!behavioral!management!unit.!
IV.!B.!1.!l.!!!!!
l. On!an!annual!basis,!assess!the!process!for!screening!prisoners!for!mental!health!needs!to!determine!
     whether!prisoners!are!being!appropriately!identified!for!care.!!Based!on!this!assessment,!OPSO!shall!
     recommend!changes!to!the!screening!system.!!The!assessment!and!recommendations!will!be!documented!
     and!provided!to!the!Monitor.!
'
    Finding:!!Not!Applicable!at!this!time.! !




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                CCS!has!indicated!they!will!conduct!the!assessment!“per!agreement!at!the!time!
    specified.”!!This!assessment!is!due!on!an!annual!basis!that!will!require!the!assessment!
    be!completed!by!October!2015.!
        !
IV.!B.!2.!a!!!!
a. Review,!revise,!and!supplement!its!existing!policies!in!order!to!implement!a!policy!for!the!delivery!of!
     mental!health!services!that!includes!a!continuum!of!services,!provides!for!necessary!and!appropriate!
     mental!health!staff,!includes!a!treatment!plan!for!prisoners!with!serious!mental!illness,!and!collects!data!
     and!contains!mechanisms!sufficient!to!measure!whether!care!is!being!provided!in!a!manner!consistent!
     with!the!Constitution.!

    Finding:!!!Partial!compliance!
    Measure!of!Compliance:!
       1. Review!of!policies!and!procedures,!current!staffing!and!staffing!projections,!and!quality!
           management!data!and!analysis.!
       !
    Observations:!
                CCS!has!produced!policies!and!procedures,!some!of!which!will!require!review!
    and!revision!as!discussed!with!staff!and!in!this!report.!!CCS!has!also!indicated!their!
    proposal!for!increased!staffing!for!mental!health!services;!however,!we!have!not!been!
    provided!that!staffing!request.!!Lastly,!quality!improvement!performance!measures!are!
    not!yet!fully!implemented!and!the!analysis!of!data!has!been!inadequate!to!demonstrate!
    compliance!with!this!element.!!The!continuum!of!services!necessary!and!appropriate!
    for!mental!health!services!has!not!been!fully!implemented!because!of!staffing!
    deficiencies!at!Hunt!
IV.!B.!2.!b1d!!!!!!!
b.!Ensure!that!treatment!plans!adequately!address!prisoners’!serious!mental!health!needs!and!that!the!
treatment!plans!contain!interventions!specifically!tailored!to!the!prisoner’s!diagnoses!and!problems.!
c.!Provide!group!or!individual!therapy!services!by!an!appropriately!licensed!provider!where!necessary!for!
prisoners!with!mental!health!needs.!
d.!Ensure!that!mental!health!evaluations!that!are!done!as!part!of!the!disciplinary!process!include!
recommendations!based!on!the!prisoner's!mental!health!status.!
    !
    Finding:!!Non1compliance!
    Measure!of!Compliance:!
       1. Review!of!draft!policies!and!procedures,!medical!records,!and!data!collection!of!performance!
           indicators.!
    !
        CCS!staff!have!provided!statistical!information!that!licensed!providers!are!providing!
    group!or!individual!therapy!services.!!!The!information!provided!documents!the!
    numbers!of!visits,!evaluations,!and!contacts.!!The!data!provided!reflects!only!the!actual!

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    contacts!rather!than!whether!the!contacts!are!sufficient!for!the!populations.!!The!mental!
    health!data!provided!indicates!the!number!of!inmates!on!the!special!needs!list!is!an!
    average!of!353.67;!however!the!number!of!inmates!on!psychotropic!medications!is!
    reported!as!an!average!of!387.00!–!more!than!the!number!of!inmates!on!the!special!
    needs!list.!!CCS!is!in!the!process!of!clarifying!the!actual!number!of!inmates!on!their!
    mental!health!caseload!as!well!as!those!inmates!who!are!designated!as!“special!needs”!
    and!equivalent!in!other!systems!as!“serious!mental!illness!(SMI).”!!!
    !
    Recommendations:!
        64.      Clarify!the!need!for!mental!health!evaluations!for!inmates!NOT!on!the!mental!
                 health!caseload!involved!in!disciplinary!proceedings.!![Note:!!based!on!
                 discussions!among!the!parties,!this!matter!should!be!resolved!in!the!next!30!
                 days.]!
        65.      Revise!quality!improvement!data!collection!documentation!for!specificity!on!
                 these!elements.!
IV.!B.!2.!e1h!!!!!
e. Ensure!that!prisoners!receive!psychotropic!medications!in!a!timely!manner!and!that!prisoners!have!
     proper!diagnoses!and/or!indications!for!each!psychotropic!medication!they!receive.'
f. Ensure!that!psychotropic!medications!are!administered!in!a!clinically!appropriate!manner!as!to!prevent!
     misuse,!overdose,!theft,!or!violence!related!to!the!medication'
g. Ensure!that!prescriptions!for!psychotropic!medications!are!reviewed!by!a!Qualified!Mental!Health!
     Professional!on!a!regular,!timely!basis!and!prisoners!are!properly!monitored.'
h. Ensure!that!standards!are!established!for!the!frequency!of!review!and!associated!charting!of!
     psychotropic!medication!monitoring,!including!monitoring!for!metabolic!effects!of!second!generation!
     psychotropic!medications.'
!
    Finding:!!!Partial!compliance!
    Measures!of!Compliance:!
       1. Review!of!policies!and!procedures!and!medical!records!!
       2. Discussions!with!CCS!staff!and!plaintiffs!!
       3. Prisoner!interviews!
       4. Review!of!data!collection!practices.!
    !
    Observations:!
              CCS!continues!to!develop!the!process!for!appropriate!medication!management.!!
    CCS!acknowledges!that!during!the!first!several!months!of!the!contract!implementation!
    period!there!were!delays!in!inmates!receiving!psychotropic!medications!on!a!timely!
    basis!and/or!consistently.!!The!reviews!and!discussions!with!CCS!indicate!this!has!
                                                                                                        75!
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    improved!over!time,!however!it!is!necessary!that!CCS!demonstrate!through!their!quality!
    management!performance!indicators!that!medication!management!practices!are!
    adequate!and!consistent!and!are!administered!appropriately;!and,!when!medications!
    are!missed!or!inmates!refuse!medications,!appropriate!measures!are!taken!to!correct!
    medication!administrative!and/or!further!evaluate!the!inmate!for!the!need!for!
    medication.!!Further,!the!practice,!process,!and!review!of!the!ordering!and!
    administration!of!prescriptions!of!non1formulary!medications!should!be!reflected!in!
    performance!indicators.!!CCS!has!implemented!protocols!that!inmates!transferred!from!
    Feliciana!Forensic!Facility!or!Hunt!on!specific!medications!will!have!those!medications!
    continued!upon!their!return!to!OPSO!facilities.!!
    Recommendations:!
        66.        Full!staffing!for!psychiatric!and!nursing!providers!
        67.        Performance!indicators!for!medication!management!practices!with!
                   appropriate!data!collection!and!analysis!
IV.!B.!3.!a1b!!!!!
a.!OPSO!shall!develop!and!implement!policies!and!procedures!for!prisoner!counseling!in!the!areas!of!general!
mental!health/therapy,!sexual1abuse!counseling,!and!alcohol!and!drug!counseling.!!This!should,!at!a!
minimum,!include!some!provision!for!individual!services.!
b.!Within!180!days!of!the!Effective!Date,!and!quarterly!thereafter,!report!all!prisoner!counseling!services!to!
the!Monitor,!which!should!include:!
          (1)      the!number!of!prisoners!who!report!having!participated!in!general!mental!health/therapy!
counseling!at!OPP;!
          (2)      the!number!of!prisoners!who!report!having!participated!in!alcohol!and!drug!counseling!
services!at!OPP;!!!
          (3)      the!number!of!prisoners!who!report!having!participated!in!sexual1abuse!counseling!at!OPP;!
and!the!number!of!cases!with!an!appropriately!licensed!practitioner!and!related!one1to1one!counseling!at!
OPP.!
'
        Finding:!!Non1compliance!
        !
        Measures!of!Compliance:!
           1. Review!of!policies!and!procedures!performance!indicators.!
           2. Interviews!with!inmates!and!discussions!with!staff!
           3. Review!of!mental!health!contacts!performance!indicators.!
       !
    Observations:!
                'The!Monitor!reported!in!Compliance!Report!#3!that!CCS!was!in!the!process!of!
    developing!and!implementing!policies!and!procedures!for!counseling!in!the!areas!of!
    general!mental!health/therapy,!sexual!abuse!counseling![consistent!with!PREA!

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    requirements],!and!alcohol!and!drug!counseling.!!!These!areas!have!not!been!fully!
    addressed!and!data!collection!for!mental!health!contacts!have!not!been!delineated!to!
    describe!the!specific!areas!of!counseling.!!While!the!Health!Services'statistical!report!for!
    January!through!June!2015!indicates!an!average!of!212!individual!therapy!contacts!and!
    an!average!of!117.33!patients!in!group!therapy!sessions,!the!data!is!not!specifically!
    identified!as!addressing!these!elements!of!counseling!in!the!Consent!Judgment.!!This!
    information!should!be!reflected!very!clearly!and!specifically!with!regard!to!the!areas!of!
    general!mental!health/therapy,!sexual!abuse!counseling,!and!alcohol!and!drug!
    counseling!for!both!individual!and!group!therapies!for!inmates!in!OPSO!facilities!as!well!
    as!Hunt.!! !         !
    Recommendations:!
        68.      Review!policies!for!mental!health!services!for!these!populations!
        69.      Develop!performance!indicators!
IV.'B'4.'aQd'''Suicide'Prevention'and'Training'Program'
a.!OPSO!shall!ensure!that!all!staff!who!supervise!prisoners!have!the!adequate!knowledge,!skill,!and!ability!to!
address!the!needs!of!prisoners!at!risk!for!suicide.!!Within!180!days!of!the!Effective!Date,!OPSO!shall!review!
and!revise!its!current!suicide!prevention!training!curriculum!to!include!the!following!topics:!
         (1) suicide!prevention!policies!and!procedures!(as!revised!consistent!with!this!Agreement);!
         (2) analysis!of!facility!environments!and!why!they!may!contribute!to!suicidal!behavior;!!
         (3) potential!predisposing!factors!to!suicide;!!
         (4) high1risk!suicide!periods;!
         (5) warning!signs!and!symptoms!of!suicidal!behavior;!
         (6) case!studies!of!recent!suicides!and!serious!suicide!attempts;!
         (7) mock!demonstrations!regarding!the!proper!response!to!a!suicide!attempt;!
         (8) differentiating!!suicidal!and!self1injurious!behavior;!and!!
the!proper!use!of!emergency!equipment.!
b.!Ensure!that!all!correctional,!medical,!and!mental!health!staff!are!trained!on!the!suicide!screening!
instrument!and!the!medical!intake!tool.!
c.!Ensure!that!multi1disciplinary!in1service!training!is!completed!annually!by!all!correctional,!medical,!and!
mental!health!staff,!to!include!training!on!updated!policies,!procedures,!and!techniques.!!The!training!will!be!
reviewed!and!approved!by!the!Monitor.!
d.!Ensure!that!staff!are!trained!in!observing!prisoners!on!suicide!watch!and!step1down!unit!status.!
e.!Ensure!that!all!staff!that!have!contact!with!prisoners!are!certified!in!cardiopulmonary!resuscitation!
(“CPR”).!
f.!Ensure!that!an!emergency!response!bag,!which!includes!a!first!aid!kit!and!emergency!rescue!tool,!is!in!close!
proximity!to!all!housing!units.!!All!staff!that!has!contact!with!prisoners!shall!know!the!location!of!this!
emergency!response!bag!and!be!trained!to!use!its!contents.!
g.!Randomly!test!five!percent!of!relevant!staff!on!an!annual!basis!to!determine!their!knowledge!of!suicide!
prevention!policies.!!The!testing!instrument!and!policies!shall!be!approved!by!the!Monitor.!!The!results!of!
these!assessments!shall!be!evaluated!to!determine!the!need!for!changes!in!training!practices.!!The!review!and!
conclusions!will!be!documented!and!provided!to!the!Monitor.'
    Findings:!! !
       a. Partial!Compliance!
       b. Partial!Compliance!              !
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          c.       Partial!Compliance!
          d.       Partial!Compliance!
          e.       Partial!Compliance!
          f.       Not!audited36!
          g.       Compliance!
!
     Measures!of!Compliance:!
        1. Review!of!policies!and!procedures!
        2. Observation!of!clinical!and!custody!staff!at!Hunt,!TPV,!and!TDC!!
        3. Discussions!with!CCS!staff.!
          Observations:!!
                      While!CCS!has!submitted!their!training!curriculum!for!suicide!risk!reduction!
          and!indicated!completion!of!training!of!medical!and!behavioral!health!staff!in!
          suicide!risk!reduction,!the!implementation!of!that!training!is!inadequate.!!More!
          specifically,!CNAs!who!are!responsible!for!direct!observation!are!not!performing!
          direct!observation!of!inmates!on!suicide!watch!at!TPV!or!TDC.!!Further,!CNAs!have!
          essentially!no!interactions!with!inmates!and!it!was!recommended!on1site!that!they!
          be!trained!to!interact!with!inmates!much!the!same!as!others!would!in!making!
          rounds!and!with!supervision!by!nursing!staff!with!regard!to!direct!observation.!!
          Further,!the!step1down!units!at!TPV!A11!and!A13!for!male!prisoners!returning!from!
          the!Hunt!or!from!TPV!A14!unit!continue!to!have!minimal!treatment!services!and!no!
          group!therapies!are!available!because!of!the!lack!of!treatment!space!and!staffing!
          issues.!!CCS!is!working!to!consolidate!their!suicide!risk!assessment!tool!and!the!
          separate!assessment/recommendations!and!management!plan!provided!in!the!
          suicide!watch!documents!into!one!document.!
                      OPSO!submitted!documentation!post1tour!with!the!names!of!CCS!staff!and!
          OPSO!staff!who!participate!in!CPR!training.!!As!the!Monitors!are!not!clear!as!to!the!
          definition!of!“certification”!in!the!language!of!the!Consent!Judgment,!partial!
          compliance!is!noted.!!When!“certification”!is!defined!(e.g.!American!Heart!
          Association,!American!Red!Cross,!etc.)!compliance!will!be!reevaluated.!




!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
36!Not!audited.!!Will!be!audited!at!next!tour.!


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                 The!Monitor!did!not!evaluate!the!physical!presence!of!the!first!aid!kits!and!
        emergency!equipment.!!OPSO!provided!documentation;!but!the!Monitors!will!defer!
        evaluation!until!the!next!tour.!
                 OPSO!provided!documentation!regarding!the!testing!of!staff!regarding!
        suicide!prevention!policies.!!As!such,!this!provision!is!found!in!compliance!at!this!
        time.!!The!provision!will!be!reassessed!during!the!next!tour.!
                 !
        Recommendations:!
        70.      Provide!training!and!supervision!of!CNAs!with!regard!to!direct!observation,!
                 both!in!TPV!and!TDC!as!well!as!in!the!IPC!as!there!have!been!suicide!attempts!
                 in!the!IPC.!!!
        71.      Provide!training!to!mental!health!staff!and!correctional!staff!with!regard!to!
                 direct!observation!of!inmates!who!have!been!referred!or!presented!with!
                 concerns!for!suicide!or!self1harm!and!appropriate!direct!
                 observation/supervision!of!those!inmates!by!custody!staff!until!they!are!seen!
                 and!evaluated!by!mental!health!staff.!
IV.'B.'5'''Suicide'Precaution'
IV.B.5'aQk'
a.!OPSO!shall!implement!a!policy!to!ensure!that!prisoners!at!risk!of!self1harm!are!identified,!protected,!and!
         treated!in!a!manner!consistent!with!the!Constitution.'
a. Ensure!that!suicide!prevention!procedures!include!provisions!for!constant!direct!supervision!of!current!
    suicidal!prisoners!and!close!supervision!of!special!needs!prisoners!with!lower!levels!of!risk!(at!a!
    minimum,!15!minute!checks).!!Correctional!officers!shall!document!their!checks!in!a!format!that!does!not!
    have!pre1printed!times.'
b. Ensure!that!prisoners!on!suicide!watch!are!immediately!searched!and!monitored!with!constant!direct!
    supervision!until!a!Qualified!Mental!Health!Professional!conducts!a!suicide!risk!assessment,!determines!
    the!degree!of!risk,!and!specifies!the!appropriate!degree!of!supervision.'
c. Ensure!that!all!prisoners!discharged!from!suicide!precautions!receive!a!follow1up!assessment!within!
    three!to!eight!working!days!after!discharge,!as!clinically!appropriate,!in!accordance!with!a!treatment!plan!
    developed!by!a!Qualified!Mental!Health!Care!Professional.!!Upon!discharge,!the!Qualified!Mental!Health!
    Care!Professional!shall!conduct!a!documented!in1person!assessment!regarding!the!clinically!appropriate!
    follow1up!intervals.'
d. Implement!a!step1down!program!providing!clinically!appropriate!transition!!for!prisoners!discharged!
    from!suicide!precautions.'
e. Develop!and!implement!policies!and!procedures!for!suicide!precautions!that!set!forth!the!conditions!of!
    the!watch,!incorporating!a!requirement!of!an!individualized!clinical!determination!of!allowable!clothing,!
    property,!and!utensils.!!These!conditions!shall!be!altered!only!on!the!written!instruction!of!a!Qualified!
    Mental!Health!Professional,!except!under!emergency!circumstances!or!when!security!considerations!
    require'




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f.   Ensure!that!cells!designated!by!OPSO!for!housing!suicidal!prisoners!are!retrofitted!to!render!them!
     suicide1resistant!(e.g.,!eliminating!bed!frames/holes,!sprinkler!heads,!water!faucet!lips,!and!unshielded!
     lighting!or!electrical!sockets).'
g.   Ensure!that!every!suicide!or!serious!suicide!attempt!is!investigated!by!appropriate!mental!health!and!
     correctional!staff,!and!that!the!results!of!the!investigation!are!provided!to!the!Sheriff!and!the!Monitor.'
h.   Direct!observation!orders!for!inmates!placed!on!suicide!watch!shall!be!individualized!by!the!ordering!
     clinician!based!upon!the!clinical!needs!of!each!inmate,!and!shall!not!be!more!restrictive!than!is!deemed!
     necessary!by!the!ordering!clinician!to!ensure!the!safety!and!well!being!of!the!inmate.'
i.   Provide!the!Monitor!a!periodic!report!on!suicide!and!self1harm!at!the!Facility.!!These!periodic!reports!
     shall!be!provided!to!the!Monitor!within!four!months!of!the!Effective!Date;!and!every!six!months!
     thereafter!until!termination!of!this!Agreement.!!The!report!will!include!the!following:'
          (1)      all!suicides;!
          (2)      all!serious!suicide!or!self1harm!attempts;!and!
          (3)      all!uses!of!restraints!to!respond!to!or!prevent!a!suicide!attempt.!
j.   Assess!the!periodic!report!to!determine!whether!prisoners!are!being!appropriately!identified!for!risk!of!
     self1harm,!protected,!and!treated.!!Based!on!this!assessment,!OPSO!shall!document!recommended!
     changes!to!policies!and!procedures!and!provide!these!to!the!Monitor.!
'
         Findings:!!Non1compliance!
         Measures!of!Compliance:!
            1. Review!of!policies!and!procedures!!
            2. Discussion!with!CCS!and!OPSO!staff!!
            3. Observation!and!interview!of!prisoners!!
            4. Review!of!incident!reports.!
            !
         Observations:!
                  CCS!has!developed!policies!addressing!these!requirements!of!the!Consent!
         Judgment,!but!the!implementation!of!those!policies!has!been!inadequate!and!
         inconsistent,!particularly!regarding!inmates!on!constant!direct!observation!and!for!
         close!supervision!of!special!needs!prisoners!with!lower!levels!of!risk.!!From!the!
         security!standpoint!the!proper!supervision!and!direct!observation!of!inmates!
         awaiting!mental!health!evaluation!has!been!flawed;!and!the!searches!of!inmate!who!
         have!been!placed!on!suicide!precautions!has!been!flawed.!!!From!a!clinical!
         perspective!the!observation!by!CNA’s!for!direct!supervision!was!reported!in!the!last!
         compliance!report!and!based!on!the!Monitor’s!observations!during!this!site!visit!
         have!not!improved!or!changed!to!indicate!that!CNAs!are!providing!appropriate!
         direct!observation.!!As!reported!previously,!Hunt’s!observations!demonstrated!
         appropriate!observation!by!staff!as!well!as!treatment!services!for!prisoners!on!the!
         acute!mental!health!unit.!!At!Hunt,!however,!because!of!the!staffing!deficiencies!the!
         assessment!by!psychiatric!providers!within!24!hours!of!arrival!has!not!been!done!


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         and!the!treatment!planning!process!implementation!and!documentation!has!also!
         not!been!fully!implemented.!
                 While!CCS!has!reported!that!OPSO!has!two!suicide!resistant!cells!in!the!TPV!
         A14,!and!one!suicide!resistant!cell!in!the!TDC,!in!fact!there!are!no!suicide!resistant!
         cells!in!TPV!and!there!are!three!suicide!resistant!cells!in!the!women’s!unit!in!TDC.!!
         No!other!cells!have!been!retrofitted!or!otherwise!modified!and!there!are!no!suicide!
         resistant!cells!in!the!new!jail!at!the!present!time.!!Inmates!in!TPV!on!suicide!watch!
         and!provided!with!suicide!resistant!smocks,!not!paper!smocks,!are!housed!in!cells!
         with!inmates!who!are!clothed!in!jumpsuits,!which!is!completely!inappropriate!and!
         dangerous.!!Further,!there!is!also!a!need!for!resolution!of!“suicide!attempts”!in!the!
         documentation!between!OPSO!and!CCS.!!While!OPSO!provides!incident!reports!that!
         specify!“suicide!attempt”,!CCS!reports!very!few!(approximately!four)!suicide!
         attempts!since!January!2015.!!This!is!problematic!and!there!must!be!a!mechanism!
         developed!that!while!the!referral!or!incident!report!may!have!specified!‘suicide!
         attempt’,!the!actual!findings!by!CCS!to!determine!if!the!event!was!or!was!not!a!
         “suicide!attempt”!as!defined!in!the!Consent!Judgment!should!be!provided.!
                 The!morbidity!and!mortality!review!process!appears!to!have!been!
         implemented!by!CCS,!however!psychological!autopsies!and!psychological!reviews!
         for!inmate!who!have!completed!suicide!or!made!serious!suicide!attempts!was!not!
         available!at!the!time!of!the!site!visit!and!should!be!further!developed!as!per!the!
         requirements!of!the!Consent!Judgment.!
         Recommendations:!
         72.     CCS!to!train!and!supervise!CNA’s!on!direct!observations!and!interactions!
                 with!prisoners!
         73.     CCS!to!develop!and!present!a!CNA!to!prisoner!ratios!of!1:1!or!1:2!for!direct!
                 observation!rather!than!the!current!practice!of!1:5!or!possibly!more!inmates!
                 who!are!inadequately!observed.!!
IV.B.6'aQg'''''Use'of'Physical'and'Chemical'Restraints'
a.   OPSO!shall!prevent!the!unnecessary!or!excessive!use!of!physical!or!chemical!restraints!on!prisoners!with!
     mental!illness.!
b.   Maintain!comprehensive!policies!and!procedures!for!the!use!of!restraints!for!prisoners!with!mental!
     illness!consistent!with!the!Constitution.!



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c.   Ensure!that!approval!by!a!Qualified!Medical!or!Mental!Health!Professional!is!received!and!documented!
     prior!to!the!use!of!restraints!on!prisoners!living!with!mental!illness!or!requiring!suicide!precautions.!
d.   Ensure!that!restrained!prisoners!with!mental!illnesses!are!monitored!at!least!every!15!minutes!by!
     Custody!Staff!to!assess!their!physical!condition.!
e.   Ensure!that!Qualified!Medical!or!Mental!Health!Staff!document!the!use!of!restraints,!including!the!basis!
     for!and!duration!of!the!use!of!restraints!and!the!performance!and!results!of!welfare!checks!on!restrained!
     prisoners.!
f.   Provide!the!Monitor!a!periodic!report!of!restraint!use!at!the!Facility.!!These!periodic!reports!shall!be!
     provided!to!the!Monitor!within!four!months!of!the!Effective!Date;!and!every!six!months!thereafter!until!
     termination!of!this!Agreement.!!Each!report!shall!include:!
          (1) A!list!of!prisoners!whom!were!restrained;!
          (2) A!list!of!any!self1injurious!behavior!observed!or!discovered!while!restrained;!and!
          (3) A!list!of!any!prisoners!whom!were!placed!in!restraints!on!three!or!more!occasions!in!a!thirty!(30)!
              day!period!or!whom!were!kept!in!restraints!for!a!period!exceeding!twenty1four!(24)!hours.!
g.   Assess!the!periodic!report!to!determine!whether!restraints!are!being!used!appropriately!on!prisoners!
     with!mental!illness.!!Based!on!this!assessment,!OPSO!shall!document!recommended!changes!to!policies!
     and!procedures!and!!provide!these!to!the!Monitor.!
!
     Finding:!!Partial!Compliance!
     Measures!of!Compliance:!
        1. Review!of!policies!and!procedures!and!medical!records!
        2. Discussions!with!OPSO,!LDOC,!and!CCS!staff!
        3. Review!of!incident!reports!at!OPSO!and!Hunt!observations.!!!
        !
     Observations:!
                 CCS!appears!to!have!adopted!the!OPSO!practice!of!not!utilizing!physical!
         restraints!under!any!circumstances.!!However,!incident!reports!indicate!that!there!
         are!some!inmates!who!have!been!very!agitated!and!the!need!for!therapeutic!
         restraints!should!have!been!assessed!and!may!have!been!indicated.!!While!the!use!of!
         chemical!restraints!is!prohibited!by!CCS!policies!and!procedures,!the!use!of!chemical!
         agents,!i.e.,!OC!Spray,!has!been,!in!the!view!of!the!Monitors,!overused!at!Hunt!based!
         on!review!of!incident!reports!indicating!inmates!being!“disruptive.”!!Further,!there!
         is!need!for!policy!development!and!collaboration!at!Hunt!for!compliance!with!the!
         Consent!Judgment!and!for!the!inclusion!of!mental!health!and!trained!nursing!staff!
         for!de1escalation!techniques!prior!to!planned!use!of!force!at!Hunt,!including!OC!
         Spray.! ![See!also!page!23!Use!of!Force.]!         !        !
         Recommendations:!
         74.     Assure!that!when!therapeutic!physical!restraints!may!be!indicated!for!
                 prevention!of!self!harm,!they!are!indeed!utilized!for!the!shortest'possible!
                 time!period,!and!properly!supervised,!monitored,!reported,!and!assessed!


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        75.       Maintain!use!of!restraint!logs!for!both!physical!and!chemical!restraints!
        76.       Review,!revise,!and!implement!policies!at!Hunt!to!include!mental!health!staff!
                  and!possibly!specifically!trained!nursing!staff!in!de1escalation!techniques.'
IV.'B.'7.'a.'–'d.''Detoxification'and'Training'
a.!OPSO!shall!ensure!that!all!staff!who!supervise!prisoners!have!the!knowledge,!skills,!and!abilities!to!identify!
and!respond!to!detoxifying!prisoners.!!Within!180!days!of!the!Effective!Date,!OPSO!shall!institute!an!annual!
in1service!detoxification!training!program!for!Qualified!Medical!and!Mental!Health!Staff!and!for!correctional!
staff.!!The!detoxification!training!program!shall!include:!
     (1) annual!staff!training!on!alcohol!and!drug!abuse!withdrawal;!!
     (2) training!of!Qualified!Medical!and!Mental!Health!Staff!on!treatment!of!alcohol!and!drug!abuse!
          conducted!by!the!Chief!Medical!Officer!or!his!or!her!delegate;!
     (3) oversight!of!the!training!of!correctional!staff,!including!booking!and!housing!unit!officers,!on!the!
          policies!and!procedures!of!the!detoxification!unit,!by!the!Chief!Medical!Officer!or!his!or!her!delegate;!!
     (4) training!on!drug!and!alcohol!withdrawal!by!Qualified!Medical!and!Mental!Health!Staff;!!
     (5) training!of!Qualified!Medical!and!Mental!Health!Staff!in!providing!prisoners!with!timely!access!to!a!
          Qualified!Mental!Health!Professional,!including!psychiatrists,!as!clinically!appropriate;!and!
     (6) training!of!Qualified!Medical!and!Mental!Health!Staff!on!the!use!and!treatment!of!withdrawals,!where!
          medically!appropriate.!
b.!Provide!medical!screenings!to!determine!the!degree!of!risk!for!potentially!life1threatening!withdrawal!from!
alcohol,!benzodiazepines,!and!other!substances,!in!accordance!with!Appendix!B.!
c.!Ensure!that!the!nursing!staff!complete!assessments!of!prisoners!in!detoxification!on!an!individualized!
schedule,!ordered!by!a!Qualified!Medical!or!Mental!Health!Professional,!as!clinically!appropriate,!to!include!
observations!and!vital!signs,!including!blood!pressure.!
d.!Annually,!conduct!a!review!of!whether!the!detoxification!training!program!has!been!effective!in!identifying!
concerns!regarding!policy,!training,!or!the!proper!identification!of!and!response!to!detoxifying!prisoners.!
OPSO!will!document!this!review!and!provide!its!conclusions!to!the!Monitor.'
!       !
        Finding:!Partial!compliance!
        !
        Measure!!of!compliance:!!!
              1. Document!review!of!course!outline,!lesson!plan,!training!records,!and!medical!records.!
!
    Observations:!
               CCS!has!a!training!curriculum!and!has!trained!health!care!staff.!!The!CCS!intake!
    screen!has!clear!queries!regarding!the!risk!of!withdrawal.!The!intake!screen!is!in!use.!!
    CCS!has!implemented!Clinical!Institute!Withdrawal!Assessment![CIWA]!and!Clinical!
    Opiate!Withdrawal!Scale![COWS]!monitoring!for!patients!at!risk!of!withdrawal!
               CCS!has!developed!a!curriculum!for!training!custody!staff!on!withdrawal!and!
    detoxification.!!OPSO!plans!to!begin!the!training!on!August!17,!2015.!
               There!is!no!curriculum!for!custody!staff!for!recognition!of!urgent!medical!
    conditions.!
               There!is!no!current!plan!for!oversight!of!the!training!program.!
    !

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    Recommendations:!
        77.      Initiate!annual!training!for!custody!staff!on!withdrawal!and!detoxification!
                 and!provide!sufficient!oversight!to!assure!compliance.!
        78.      Revise!the!OPSO!intake!policy!to!reflect!adequate!screening!for!risk!of!
                 withdrawal.!
        79.      Develop!and!implement!training!for!custody!staff!on!recognition!of!urgent!
                 medical!conditions.!
IV.'B.'8.'Medical'and'Mental'Health'Staffing'
a.!OPSO!shall!ensure!that!medical!and!mental!health!staffing!is!sufficient!to!provide!adequate!care!for!
prisoners’!serious!medical!and!mental!health!needs,!fulfill!constitutional!mandates!and!the!terms!of!this!
Agreement,!and!allow!for!the!adequate!operation!of!the!Facility,!consistent!with!constitutional!standards.'
b.!Within!90!days!of!the!Effective!Date,!OPSO!shall!conduct!a!comprehensive!staffing!plan!and/or!analysis!to!
determine!the!medical!and!mental!health!staffing!levels!necessary!to!provide!adequate!care!for!prisoners’!
mental!health!needs!and!to!carry!out!the!requirements!of!this!Agreement.!!Upon!completion!of!the!staffing!
plan!and/or!analysis,!OPSO!shall!provide!its!findings!to!the!Monitor,!SPLC,!and!DOJ!for!review.!!The!Monitor,!
SPLC,!and!DOJ!will!have!60!days!to!raise!any!objections!and!recommend!revisions!to!the!staffing!plan.'
!
        Findings:!!
        a.    Partial!compliance!
        b.    Partial!compliance!
        !
        Observation:!
                 CCS!has!been!actively!recruiting!health!professionals.!!There!are!currently!
        approximately!10!nursing!vacancies,!which!is!five!fewer!than!six!months!ago.!!The!
        medical!director!position!is!vacant,!as!is!the!psychiatric!nurse!practitioner!position!
        at!Hunt.!
                 CCS!and!OPSO!budgeted!fewer!primary!care!and!psychiatry!staff!than!the!
        Monitors!recommended.!!The!Monitors!will!reevaluate!budgeted!staffing!in!the!
        future.!
        Recommendations!(verbatim!from!Compliance!Report!#1):!
        80.      Increase!professional!staffing!to!provide!sufficient!access!to!qualified!health!
                 professionals!for!patients!with!serious!medical!needs;!increase!support!
                 staffing!to!provide!for!constructive!and!meaningful!clinical!performance!
                 measurement!to!advise!medical!management!of!areas!for!intervention!and!to!
                 track!performance!in!these!areas!over!time;!intensify!training!and!


                                                                                                            84!
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                 supervision!of!nursing!staff!perform!their!duties!in!a!timely!and!professional!
                 manner.!
IV.'B.'9.'Risk'Management'
a.!OPSO!shall!develop,!implement,!and!maintain!a!system!to!ensure!that!trends!and!incidents!involving!
avoidable!suicides!and!self1injurious!behavior!are!identified!and!corrected!in!a!timely!manner.!!Within!90!
days!of!the!Effective!Date,!OPSO!shall!develop!and!implement!a!risk!management!system!that!identifies!levels!
of!risk!for!suicide!and!self1injurious!behavior!and!requires!intervention!at!the!individual!and!system!levels!to!
prevent!or!minimize!harm!to!prisoners,!based!on!the!triggers!and!thresholds!set!forth!in!Appendix!B.'
b.!The!risk!management!system!shall!include!the!following!processes!to!supplement!the!mental!health!
screening!and!assessment!processes:!!incident!reporting,!data!collection,!and!data!aggregation!to!capture!
sufficient!information!to!formulate!a!reliable!risk!assessment!at!the!individual!and!system!levels;!
identification!of!at1risk!prisoners!in!need!of!clinical!treatment!or!assessment!by!the!Interdisciplinary!Team!or!
the!Mental!Health!Committee;!and!development!and!implementation!of!interventions!that!minimize!and!
prevent!harm!in!response!to!identified!patterns!and!trends.'
c.!OPSO!shall!develop!and!implement!an!Interdisciplinary!Team,!which!utilizes!intake!screening,!health!
assessment,!and!triggering!event!information!for!formulating!treatment!plans.!!The!Interdisciplinary!Team!
shall:!
     (1)!!include!the!Medical!and!Nursing!directors,!one!or!more!members!of!the!psychiatry!staff,!counseling!
          staff,!social!services!staff,!and!security!staff,!and!other!members!as!clinical!circumstances!dictate;!
     (2)! conduct!interdisciplinary!treatment!rounds,!on!a!weekly!basis,!during!which!targeted!patients!are!
          reviewed!based!upon!screening!and!assessment!factors,!as!well!as!triggering!events;!and!
     (3)! provide!individualized!treatment!plans!based,!in!part,!on!screening!and!assessment!factors,!to!all!
     mental!health!patients!seen!by!various!providers.!
d.!OPSO!shall!develop!and!implement!a!Mental!Health!Review!Committee!that!will,!on!a!monthly!basis,!review!
mental!health!statistics!including,!but!not!limited!to,!risk!management!triggers!and!trends!at!both!the!
individual!and!system!levels.!!The!Mental!Health!Review!Committee!shall:!!
     (1)! include!the!Medical!and!Nursing!Director,!one!or!more!members!of!the!psychiatry!staff!and!social!
          services!staff,!the!Health!Services!Administrator,!the!Warden!of!the!facility!housing!the!Acute!
          Psychiatric!Unit,!and!the!Risk!Manager.!!
     (2)! identify!at1risk!patients!in!need!of!mental!health!case!management!who!may!require!intervention!
          from!and!referral!to!the!Interdisciplinary!Team,!the!OPSO!administration,!or!other!providers.!!!!!
     (3)! conduct!department1wide!analyses!and!validation!of!both!the!mental!health!and!self1harm!screening!
          and!assessment!processes!and!tools,!review!the!quality!of!screenings!and!assessments!and!the!
          timeliness!and!appropriateness!of!care!provided,!and!make!recommendations!on!changes!and!
          corrective!actions;!
     (4)! analyze!individual!and!aggregate!mental!health!data!and!identify!trends!and!triggers!that!indicate!
          risk!of!harm;!      !        !
     (5)! review!data!on!mental!health!appointments,!including!the!number!of!appointments!and!wait!times!
          before!care!is!received;!and!
     (6)! review!policies,!training,!and!staffing!and!recommend!changes,!supplemental!training,!or!corrective!
     actions.!
e.!OPSO!shall!develop!and!implement!a!Quality!Improvement!and!Morbidity!and!Mortality!Review!Committee!
that!will!review,!on!at!least!a!quarterly!basis,!risk!management!triggers!and!trends!and!quality!improvement!
reports!in!order!to!improve!care!on!a!Jail1wide!basis.!
          (1)!        The!Quality!Improvement!Committee!shall!include!the!Medical!Director,!the!Director!of!
                      Psychiatry,!the!Chief!Deputy,!the!Risk!Manager,!and!the!Director!of!Training.!!The!Quality!
                      Improvement!Committee!shall!review!and!analyze!activities!and!conclusions!of!the!Mental!
                      Health!Review!Committee!and!pursue!Jail1wide!corrective!actions.!
          (2)!        The!Quality!Improvement!Committee!shall:!!!
                   i.     monitor!all!risk!management!activities!of!the!facilities!through!the!review!of!risk!data,!
                          identification!of!individual!and!systemic!trends,!!and!recommendation!and!monitored!
                          implementation!of!investigation!or!corrective!action;!and!
                  ii.     generate!reports!of!risk!data!analyzed!and!corrective!actions!taken.!

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f.!OPSO!shall!review!mortality!and!morbidity!reports!quarterly!to!determine!whether!the!risk!management!
system!is!ensuring!compliance!with!the!terms!of!this!Agreement.!!OPSO!shall!make!recommendations!
regarding!the!risk!management!system!or!other!necessary!changes!in!policy!based!on!this!review.!The!
review!and!recommendations!will!be!documented!and!provided!to!the!Monitor.'
!
        Findings:!!
        a.       Partial!Compliance!
        b.       Partial!Compliance!
        c.       Partial!Compliance!
        d.       Non1compliance!
        e.       Partial!Compliance!
        f.       Partial!Compliance!
        !
        Observations:!
        Dr.!Grefinger:!
                 CCS!has!increased!its!clinical!performance!monitoring,!especially!regarding!
        medication!management!and!lag!time!to!access!to!nurse!and!practitioner!
        encounters.!!Performance!has!improved!substantially,!though!there!is!opportunity!
        for!improvement.!!In!the!mental!health!arena,!CCS!is!targeting!treatment!planning!
        and!monitoring!for!metabolic!effects!of!psychotropic!medication.!
                 Mortality!reviews!are!appropriately!self1critical,!though!the!reviews!need!to!
        be!more!explicit!on!opportunities!for!improvement.!!Custody!staff!has!not!been!
        involved!in!the!mortality!reviews!because!of!appropriate!concerns!about!
        confidentiality.!!
                 CCS!is!currently!using!corporate!staff!for!clinical!performance!measurement.!!
        Data!are!being!collected,!but!the!data!analysis!has!been!flawed!and!there!is!no!
        documented!qualitative!analysis!and!action!planning.!!On1site!staff!is!not!sufficiently!
        involved!in!the!quality!management!program.!
                 As!yet,!there!is!insufficient!system!level!analysis!of!data!to!develop!and!
        implement!interventions!to!minimize!harm!in!response!to!identified!patterns!and!
        trends.!
                 The!mental!health!review!committee!has!not!been!composed.!!There!are!
        scant!data!and!no!data!analysis!of!clinical!performance.!
!       Dr.!Patterson:!


                                                                                                       86!
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                The!chief!of!psychiatric!services!for!CCS!has!begun!the!process!of!meeting!
        with!psychiatric!providers!and!the!intent!is!to!invite!the!HSA!DON!warden!and!CQI!
        nurse.!!The!full!compliment!of!these!meetings!has!not!yet!been!implemented!and!it!
        will!be!necessary!for!the!Mental!Health!Review!Committee!to!review!on!a!monthly!
        basis!the!mental!health!statistics!at!OPSO!and!Hunt.!
        Recommendations:!
        81.     Continue!to!improve!tracking!systems!for!follow1up!appointments,!
                medication!orders,!and!laboratory!testing!and!develop!systems!for!
                documenting!all!care!in!a!single,!unit!medical!record,!whether!it!be!paper!or!
                electronic.!
        82.     Fully!implement!its!corporate!quality!improvement!program,!including!
                developing!an!quality!management!plan,!measurement!of!clinical!
                performance,!integration!of!all!quality!improvement!activities!under!one!
                committee,!tracking!and!trending!of!results,!and!annual!evaluation!of!the!
                program.!!On1site!health!care!leadership!should!become!more!involved!in!the!
                quality!management!program.!
        83.     Continue!development!of!the!Mental!Health!Review!Committee!including!the!
                designated!membership!and!provision!of!minutes!of!those!meetings!to!
                assure!they!address!the!appropriate!mental!health!statistics!as!specified!in!
                the!Consent!Judgment.!
V.''C.'' Medical'Care'
OPSO!shall!ensure!constitutionally!adequate!treatment!of!prisoners’!medical!needs.!!OPSO!shall!prevent!
unnecessary!risks!to!prisoners!and!ensure!proper!medication!administration!practices.!!OPSO!shall!assess!on!
an!annual!or!more!frequent!basis!whether!the!medical!services!at!OPP!comply!with!the!Constitution.'
'
Executive'Summary'
        OPSO!contracted!with!Correct!Care!Solutions,!Inc.!(CCS)!to!provide!medical!care!for!
inmates!in!OPSO!custody,!beginning!November!1,!2014.!!Eight!months!into!their!contract,!
CCS!has!documented!improved!performance,!especially!in!medication!management!and!lag!
times!to!access!to!care.!!With!recruitment!of!a!site!medical!director,!further!training,!
development!of!tracking!systems,!and!expanded!performance!measurement,!the!Monitors!
expect!to!see!substantial!improvement!during!the!next!semi1annual!visit.!!


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       CCS!has!been!hiring,!training!staff,!and!developing!improved!systems!of!care.!!Since!
our!last!tour!in!January!2015,!CCS!has!demonstrated!improvements!in!several!critical!
areas,!notably!leadership,!medication!management,!lag!time!to!accessing!nursing!and!
medical!care!and!training.!!There!are!substantial!opportunities!for!continued!improvement,!
however.!!Notwithstanding!the!abysmal!conditions!in!the!current!facilities,!CCS!is!making!
progress!on!improving!the!tone,!attitude,!and!efficiency!of!care.!!!
       •       CCS!has!recruited!a!talented!health!services!administrator!(HSA)!who,!among!
               other!things,!is!working!to!improve!the!health!care!staff’s!sense!of!ownership!
               and!accountability!for!the!provision!of!continuity!and!coordination!of!care!for!
               patients.!!CCS!should!continue!to!focus!on!risk!reduction,!improving!handoffs!
               and!developing!tracking!systems.!

       •       With!a!new!Chief!of!Corrections!and!HSA,!communication!between!custody!staff!
               and!health!care!staff!has!improved.!!Among!other!things,!this!should!serve!to!
               improve!the!availability!of!escorts!for!health!care!encounters!and!notification!of!
               health!staff!prior!to!inmates’!release.!

       •       There!are!several!CCS!leadership!vacancies!including!the!medical!director.!!
               Strong!medical!leadership!will!help!the!health!care!program!at!OPSO!gel.!!

       •       CCS!is!training!practitioners!and!nursing!staff!on!nursing!pathways!and!clinical!
               guidelines,!setting!clear!expectations!for!adequate!care!and!documentation.!

       •       Custody!staff!has!been!trained!on!suicide!risk!reduction.!

                  For!its!part,!the!Sheriff’s!Office!has!to!reduce!barriers!to!timely!access!to!an!
       appropriate!level!of!care!for!inmates!in!its!custody.!

       •       OPSO!needs!an!electronic!medical!record!system!for!a!wide!variety!of!reasons,!
               not!the!least!of!which!are!appointment!scheduling,!locator!linkage,!tracking,!and!
               performance!measurement.!!I!recommend!an!EMR!that!is!independent!of!the!
               vendor!so!that!it!can!survive!changes!in!vendors.!

       The!electronic!medical!record!system!must:!!
               o be!compatible!with!local!hospital!systems!and!community!medical!and!
                 mental!health!centers;!

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             o have!a!scheduling!function,!with!flags!for!prisoners!with!outstanding!orders!
                and!appointments!when!they!are!transferred!within!OPSO;!
             o have!a!flag!system!to!let!staff!know!what!they!have!to!do!each!day,!e.g.,!tell!
                nurse!X!who!needs!what!treatment;!tell!Dr.!Y!which!lab!reports!she!needs!to!
                read!and!acknowledge!receipt;!
             o have!the!ability!for!the!reviewing!clinician!to!alert!patients!that!laboratory!
                results!are!acceptable!or!schedule!a!visit!to!review!the!results;!
             o have!a!mechanism!for!a!nurse!to!notify!a!doctor!that!she!would!like!her!to!see!
                Patient!Z!the!next!day;!
                !be!capable!of!working!with!a!new!OPSO!jail!management!system;!
             o provide!daily!lists!to!custody,!by!housing!unit,!for!scheduled!in1house!and!off1
                site!appointments;!
             o provide!special!orders!to!custody!staff!for!transport,!e.g.,!wheelchair,!oxygen,!
                no!shackles!for!specific!disabled!inmates,!etc.;!
             o be!compatible!for!ICD110!diagnostic!coding;!and!
             o be!user1friendly!for!all!users,!especially!physicians.!!
                !
     •       OPSO!must!provide!housing!for!special!populations,!including!several!levels!for!
             patients!with!mental!illness;!juveniles;!intellectually!and/or!cognitively!
             impaired;!medical!infirmary,!etc.!!Other!than!Phase!III,!no!other!reasonable!
             options!have!been!proposed.!
     •       OPSO!staff!must!develop!and!implement!!a!mechanism!to!notify!health!care!staff!
             of!pending!discharges,!so!that!medications!can!be!ordered!for!continuity!on!
             release.!
     •       OPSO!must!provide!a!clean!and!sanitary!environment!for!housing!and!medical!
             care!functions,!including!clean!sheets!and!disinfected!mattresses!for!all!inmates.!
Assessment'Methodology!

     •       August!4!1!6,!2015!on1site.!
     •       Meetings!with!OPSO!and!CCS!staff,!tour!of!OPP!and!the!Phase!II!facility!
     Finding:!           Partial!compliance!
     !
     Measures!of!compliance:!!!
            1.      Quality!management!documents,!!
            2.      Inmate!complaints!and!grievances!!
            3.      Medical!records.!
     !
     Observations:!!




                                                                                             89!
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  Access!to!care!–!access!has!improved!measurably,!though!there!are!lags!to!access!for!
  some!inmates.!
  Medical!recordkeeping!1!medical!records!remain!disorganized!and!difficult!to!
  review.!!Because!of!severely!limited!space,!the!records!of!recently!discharged!
  inmates!are!sent!for!archival!storage,!making!them!relatively!unavailable!for!
  continuity!of!care!and!for!clinical!performance!measurement.!
         There!is!no!easy!mechanism!for!amalgamating!older!medical!records!into!the!
  medical!records!of!recently!booked!inmates.!!This!makes!it!difficult!to!provide!
  continuity!and!coordination!of!care.!
         OPSO!needs!an!electronic!medical!record!that!can!survive!changes!in!
  vendors.!!Among!other!things,!it!needs!to!communicate!with!the!jail!management!
  system!for!locator!functions!and!the!diagnostic!laboratory.!!Further,!it!should!have!a!
  scheduling!system!and!tracking!system!to!be!used!for!patient!care!and!clinical!
  performance!measurement.!!!!
         Each!person!should!have!a!retrievable!medical!record,!filed!by!person!and!
  not!by!booking.!!Medical!records!should!be!filed!by!a!personal!identifier!that!
  remains!with!the!person.!
  Utilization!management!–'the!CCS!utilization!management!program!is!reasonable!
  and!based!on!commonly!accepted!precepts!of!resource!management.!
  Medication!management—there!has!been!measurable!improvement!in!medication!
  management.!!The!lag!time!from!prescription!to!first!dose!has!decreased!and!there!
  are!fewer!interruptions!in!continuity!of!medication.!!Missed!doses!remain!a!
  problem.!
  Continuity!on!release!1!OPSO!is!not!notifying!CCS!staff!of!impending!discharges.!!As!a!
  result,!departing!inmates!are!not!getting!medication.!!CCS’!plan!is!to!provide!a!
  prepaid!electronic!prescription!for!seven!days!of!medication,!to!be!filled!in!a!
  neighborhood!pharmacy.!!Though!the!Order!requires!actual!provision!of!a!seven1
  day!supply!of!medication,!a!prepaid!seven1day!supply,!with!printed!instructions,!is!
  equivalent!and!easier!to!manage.!




                                                                                      90!
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  Continuity!on!transfer!1!CCS!is!preparing!transfer!summaries!to!and!from!the!Hunt!
  facility!and!whenever!necessary!otherwise.!!The!summaries!are!limited!to!diagnosis!
  and!medications.!!!
  IPC!design!1!We!toured!the!yet1to1be1opened!Intake!Processing!Center.!!There!is!a!
  notable!lack!of!privacy!for!the!medical!and!mental!health!intake!process!and!an!
  awkward!bank1teller!like!window!for!taking!vital!signs.!!The!distance!between!the!
  nurse!and!the!patient!is!too!far!to!measure!vital!signs.!
  New!Jail!housing!1!There!is!no!provision!for!housing!patients!with!special!needs,!
  both!medical!and!psychiatric,!in!the!Phase!II!facility.!
  Grievance!Process!1!The!grievance!process!is!timelier!and!somewhat!more!
  responsive,!though!CCS!has!yet!to!analyze!data!for!the!purpose!of!problem!
  identification!and!implementation!of!remedies.!
  Co1Pays!1!OPSO!has!changed!its!practice!for!copayments.!!Inmates!are!now!only!
  charged!for!actual!encounters,!not!for!filing!requests!for!care.!
  Recommendations:'
   84.    Provide!medical!care!facilities!that!are!clean,!safe,!and!secure.'
   85.    Provide!clean!linens!for!inmates!and!disinfection!of!mattresses!between!
          users.'
   86.    Arrange!for!professional!language!interpretation!services!so!as!to!provide!
          confidentiality!of!medical!information,!tracking#usage#and#evaluating#
          performance#of#these#services.'
   87.    Monitor!timely!access!to!care!for!patients!with!acute!health!care!needs!and!
          for!patients!who!need!continuity!of!care!and/or!medications.'
   88.    Review!and!respond!to!grievances!with!a!self1critical!attitude!and!should!
          track!and!trend!health!service!grievances!as!part!of!its!quality!management!
          program.'
   89.    Assure!that!co1payments!are!charged!for!actual!visits,!not!intended!visits.'
   90.    OPSO!must!revisit!the!design!of!the!medical!and!mental!health!intake!areas!
          in!the!IPC!in!concert!with!health!care!providers,!to!provide!easy!flow!and!
          appropriate!privacy.'


                                                                                         91!
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            91.   Develop!and!maintain!an!electronic!medical!record!system!that!has!
                  elements!described!in!the!executive!summary!portion!of!this!report.'
IV.'C.'1.'Quality'Management'of'Medication'Administration'
a.!Within!120!days!of!the!Effective!Date,!ensure!that!medical!and!mental!health!staff!are!trained!on!proper!
medication!administration!practices,!including!appropriately!labeling!containers!and!contemporaneously!
recording!medication!administration.'
b.!Ensure!that!physicians!provide!a!systematic!review!of!the!use!of!medication!to!ensure!that!each!prisoner’s!
prescribed!regimen!continues!to!be!appropriate!and!effective!for!his!or!her!condition.!
c.!Maintain!medication!administration!protocols!that!provide!adequate!direction!on!how!to!take!medications,!
describe!the!names!of!the!medications,!how!frequently!to!take!medications,!and!identify!how!prisoners!taking!
such!medications!are!monitored;!and!
d.!Maintain!medication!administration!protocols!that!prevent!misuse,!overdose,!theft,!or!violence!related!to!
medication.'
        !

        Findings:!Partial!compliance!

        Measures!of!compliance:!!
        1. Quality!management!documents!!
        2. Inmate!complaints!and!grievances!!
        3. Medical!records.!
        !
        Observations:!

                  Nurses!have!been!trained!on!medication!administration!and!documentation.!!
        CCS!has!been!measuring!performance!on!a!quarterly!basis.!!
        Recommendations:!
        92.       Continue!to!monitor!the!effectiveness!of!the!medication!administration!
                  program,!including!time!lag!to!first!dose,!management!of!serial!non1
                  adherence,!and!missed!doses.!
        93.       Communicate!impending!discharges!to!CCS!so!that!a!prescription!for!
                  medication!can!be!prepared!and!delivered!to!the!inmate.!
IV.'C.'2.'Health'Care'Delivered'
a.!Provide!the!Monitor!a!periodic!report!on!health!care!at!the!Facility.!!These!periodic!reports!shall!be!
provided!to!the!Monitor!within!four!months!of!the!Effective!Date;!and!every!six!months!thereafter!until!
termination!of!this!Agreement.!!Each!report!will!include:!
(1) number!of!prisoners!transferred!to!the!emergency!room!for!medical!treatment!related!to!medication!
     errors;!
(2) number!of!prisoners!taken!to!the!infirmary!for!non1emergency!treatment!related!to!medication!errors;!
(3) number!of!prisoners!prescribed!psychotropic!medications;!
(4) number!of!prisoners!prescribed!“keep!on!person”!medications;!and!!
occurrences!of!medication!variances.!
b.!Review!the!periodic!health!care!delivery!reports!to!determine!whether!the!medication!administration!
protocols!and!requirements!of!this!Agreement!are!followed.!!OPSO!shall!make!recommendations!regarding!



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the!medication!administration!process,!or!other!necessary!changes!in!policy,!based!on!this!review.!!The!
review!and!recommendations!will!be!documented!and!provided!to!the!Monitor.'
        !
        Findings:!Partial!compliance!
        Measures!of!compliance:!
        1.     Reports!on!numbers,!as!specified!in!the!Consent!Judgment.!
        2.     Reports!on!clinical!performance,!with!discussion!of!problem!identification!and!remedies.!
              !
        Observations:!
                 CCS!is!reporting!on!staffing,!clinical!activity,!and!clinical!performance.!!This!is!
        a!significant!improvement.!!Staff!has!been!trained!in!medication!administration.!!
        Clinicians!now!have!a!checklist!for!chronic!care!that!includes!reminders!for!
        medication!renewal,!housing!accommodations,!and!return!visits.!!Appropriate!
        medication!protocols!are!in!place.!
                 OPSO!has!a!high!rate!of!referrals!to!the!hospital!emergency!department.!!
        Approximately!40%!of!the!visits!are!for!trauma!and!10%!for!signs!and!symptoms!
        consistent!with!withdrawal!from!alcohol!and!other!substances.!!!
                 OPSO!oversight!has!been!limited!to!regurgitated!administrative!reports!and!
        delineation!of!liquidated!damages.!!There!is!no!documentation!of!clinical!oversight!
        yet.!!
        Recommendations:!
        94.      Continue!current!periodic!audits!of!clinical!performance,!widening!the!scope!
                 of!measurement!and!improving!analysis!of!data!as!part!of!the!quality!
                 management!system.!!This!should!include!analysis!of!grievance!data.!
        95.      Analyze!trauma1related!hospital!referrals!for!the!purposes!of!prevention!
                 (e.g.,!reducing!on1site!injuries)!and!diversion!to!on1site!primary!care.!!
        96.      Develop!and!maintain!a!method!for!clinical!oversight!to!eventually!replace!
                 the!current!role!of!the!Court1appointed!Monitor!and!sub1Monitors.!
IV.'C.'3.'Release'and'Transfer'
a.!OPSO!shall!notify!Qualified!Medical!or!Mental!Health!staff!regarding!the!!!release!of!prisoners!with!serious!
medical!and/or!mental!health!needs!from!OPSO!custody,!as!soon!as!such!information!is!available.!
b.!When!Qualified!Medical!or!Mental!Health!staff!are!notified!of!the!release!of!prisoners!with!serious!medical!
and/or!mental!health!needs!from!OPSO!custody,!OPSO!shall!provide!these!prisoners!with!at!least!a!seven1day!
supply!of!appropriate!prescription!medication,!unless!a!different!amount!is!necessary!and!medically!
appropriate!to!serve!as!a!bridge!until!prisoners!can!reasonably!arrange!for!continuity!of!care!in!the!
community.!


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c.!For!all!other!prisoners!with!serious!medical!and/or!mental!health!needs!who!are!released!from!OPSO!
custody!without!advance!notice,!OPSO!shall!provide!the!prisoner!a!prescription!for!his!or!her!medications,!
printed!instructions!regarding!prescription!medications,!and!resources!indicating!where!prescriptions!may!
be!filled!in!the!community.!
d.!For!prisoners!who!are!being!transferred!to!another!facility,!OPSO!shall!prepare!and!send!with!a!
transferring!prisoner,!a!transition!summary!detailing!major!health!problems!and!listing!current!medications!
and!dosages,!as!well!as!medication!history!while!at!the!Facility.!OPSO!shall!also!supply!sufficient!medication!
for!the!period!of!transit!for!prisoners!who!are!being!transferred!to!another!correctional!facility!or!other!
institution,!in!the!amount!required!by!the!receiving!agency.!
        !

        Finding:!        Partial!compliance!
        Measure!of!compliance:!!
        1.     Interview!        !
              !
        Observation:!
        !
              OPSO!has!not!developed!a!mechanism!to!notify!qualified!staff!of!impending!
        releases.!!As!a!result,!bridge!supplies!of!medication!and!prescriptions!are!not!
        supplied!for!patients!released!to!the!community.!!CCS!is!providing!transfer!
        summaries!for!patients!going!to!Hunt!and!the!LADOC,!but!the!information!provided!
        is!limited!to!diagnosis!and!medications.!!Transfer!summaries!must!also!include!
        relevant!data,!such!as!recent!laboratory!testing,!to!document!level!of!control!for!
        patients!with!chronic!conditions,!including!mental!illness.'
        Recommendations:!
        97.      Develop!and!implement!a!mechanism!to!notify!qualified!health!care!staff!of!
                 impending!releases!so!as!to!provide!bridge!supplies!of!medication!and!
                 prescriptions,!as!medically!appropriate.!
        98.      Enhance!the!data!provided!on!transfer!to!enable!receiving!facilities!to!know!
                 more!about!patients’!level!of!control!of!chronic!conditions.!!
!
!
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!
!

                                                                                                            94!
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D.''  Sanitation'and'Environmental'Conditions'
'
Executive'Summary'
      !
      Significant!progress!is!noted!since!Compliance!Report!#3!toward!meeting!the!
provisions!of!the!Consent!Judgment!in!the!areas!of!sanitation,!environmental!conditions,!
food!service,!and!fire!and!life!safety.37!This!report!provides!an!assessment!of!compliance!
with!the!Consent!Judgment!based!on!the!pre1tour!documentation!provided!by!the!OPSO,!as!
well!as!meetings,!facility!tours,!observations,!and!interviews!conducted!during!the!tour.!!
The!Monitor!assessed!progress!in!the!development!of!policies!and!procedures,!training,!
inspections,!implementation!of!contracts!improvement!in!sanitation,!the!maintenance!
work!order!system!and!staffing!as!they!relate!to!fire,!life!safety!and!environmental!health.!
The!Monitor!was!on!site!for!four!days,!August!316,!2015.38!
        OPSO!needs!to!immediately!determine!where,!when!and!how!inmate!laundry!
services!will!be!provided.!!Currently!male!inmates’!uniforms,!linens,!and!inmates’!non1
issued!personal!laundry!is!cleaned!in!equipment!housed!at!the!House!of!Detention!(HOD),!
the!abandoned!jail,!which!is!owned!by!the!City!of!New!Orleans!and!could!be!demolished!at!
any!time.!!The!laundry!at!Conchetta!(CTA)!will!be!closed!when!the!inmates!are!moved!to!
the!new!jail.!!Inmates’!non1issued!personal!laundry!is!planned!to!be!done!on!each!tier!at!the!
new!jail.39!!
        The!Monitor!toured!the!new!jail.!!!There!are!physical!plant!finishes!that!need!to!be!
completed!and/or!noted!as!part!of!the!“punch!list”!activities!for!the!building.40!!Policies!for!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
37!Fourteen!(14)!provisions!of!the!twenty1one!(21)!paragraphs!addressing!Fire!and!Life!Safety,!Sanitation!and!
Environmental!Conditions,!Environmental!Control,!and!Food!Service!are!now!in!partial!compliance.!
38!The!key!staff!and!contractors!interviewed!during!the!tour:!Sheriff!Marlin!N.!Gusman,!Carmen!DeSadier,!
Chief!of!Corrections,!Col.!Melvin!Howard,!Kitchen/Warehouse,!Lt.!Tyrone!Sutherland,!Kitchen/Warehouse,!
Major!Wayne!Watzke,!Kitchen/Warehouse!Robert!Martin,!Dir.!of!Facilities!Mgt.,!Jamie!Lampard,!Fire!Safety!
Officer,!Capt.!Sidney!Holt,!Transition!Team!Leader,!Jerry!Green,!Sanitarian,!Terrance!Richard,!inspector,!
Michael!Moore,!Capt.!Washington,!Warden!TP5,!Capt.!Ruiz,!Warden!OPP,!Major!Winfield,!Watch!Commander!
Conchetta,!!Sgt.!Rickson,!Transition!Team,!Deputy!Walker,!Transition!Team,!Blake!Accuri,!OPSO!Counsel,!Eric!
Foley!Plaintiff’s!attorney!representing!the!MacArthur!Justice!Center,!Richard!Analia,!Aramark!Food!Services!
Director,!OPSO,!Glenn!Hamlett,!Aramark!District!Manager,!Victor!Contreras!Service!Manager!for!Orkin,!and!
Ronald!Mathieu,!Service!Representative,!Orkin.!
39!See!the!Introduction!of!this!report!regarding!OPSO’s!plans!to!“outsource”!inmate!laundry!services.!!The!
information!was!not!provided!in!August!that!permitted!the!Monitors!to!evaluate!this!strategy.!!!
40!For!example![and!not!an!inclusive!list]:!The!sinks!located!in!the!re1therm!kitchens!are!not!sealed!to!the!
diamond!plate!wall!coverings!along!the!top!and!both!sides.!This!needs!to!be!sealed!using!appropriate!trim!
plates!and!sealed!with!a!food!grade!sealant!that!is!no!wider!than!¼!inch!to!prevent!water!and!debris!from!

                                                                                                          95!
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operating!the!tier!laundries,!food!service!re1therm!kitchen,!sanitation,!maintenance,!pest!
control,!biohazardous!waste,!biohazardous!spill!response;!chemical!control,!tool!control,!
emergency!keys,!fire!safety,!and!evacuation!plans,!life!safety!inspections,!and!training!for!
these!policies!have!not!been!provided!for!review.!!No!laundry,!meal,!or!sanitation!schedules!
were!provided.!!!
             !
D.'1.''Sanitation'and'Environmental'Conditions'
IV.'D.'1.'a.!OPSO!shall!provide!oversight!and!supervision!of!routine!cleaning!of!housing!units,!showers,!and!
medical!areas.!!Such!oversight!and!supervision!will!include!meaningful!inspection!processes!and!
documentation,!as!well!as!establish!routine!cleaning!requirements!for!toilets,!showers,!and!housing!units!to!
be!documented!at!least!once!a!week!but!to!occur!more!frequently.'
!
             Finding:!Non1Compliance!
             !
              Measures!of!Compliance:!
              1.     Written!policies!and!procedures!for!cleaning!and!disinfecting,!monitoring!process!with!
                     responsibility!and!accountability!assigned!developed!in!collaboration!with!Monitors.!
              2.     List!of!controlled!inventory!of!acceptable!cleaning!and!disinfecting!chemicals.!
              3.     Development!and!implementation!of!an!effective!weekly![or!more!frequently]!auditing!
                     process!with!assigned!responsibility!and!accountability!and!documentation.!
              4.     Monitors’!onsite!verification!of!implementation!of!both!the!policy(s)!and!the!auditing!
                     process!and!report,!along!with!corrective!action!when!non1conformities!to!the!
                     policy/procedures!are!documented.!
              5.     Observation!of!conditions!along!with!interviews!with!inmates!and!staff.!
!
             Observations:!
                           There!is!no!change!in!OPSO’s!compliance!from!Compliance!Report!#!3.!!OPSO!
             recently!hired!both!a!Registered!Sanitarian!and!an!inspector!who!will!be!assigned!
             “all!sanitation!responsibilities!including!chemical!control”!according!to!
             correspondence!received!from!OPSO’s!Compliance!Officer.!!The!sanitation!policy!
             that!includes!the!procedures!and!schedule!for!all!facilities!is!not!completed.!!While!
             touring!housing!tiers!at!existing!TPV,!Conchetta,!and!OPP,!the!Monitor!observed!that!
             cells!and!dayrooms!continued!to!be!cluttered.!!Shower!and!toilet!areas!were!not!
             clean.!!Most!showers!had!an!accumulation!of!dried!soap!residue!and!walls!and!
             ceilings!that!may!not!be!capable!of!being!cleaned!because!of!rusted!surfaces!and!
             broken!tiles.!!Maintaining!cleanliness!apparently!continues!to!be!a!low!priority!for!


!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
collecting!on!the!wall!behind!the!sink.!!!!It!is!also!important!that!the!lighting!fixtures!on!the!mezzanine1level!
cells!be!secure!as!inmates!have!easy!access!to!them!from!the!upper!bunks.!

                                                                                                                                                                            96!
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        housing!unit!officers!as!there!is!no!policy!or!directive!that!establishes!responsibility,!
        standards,!or!accountability.!!
                 OPSO!documentation!dated!July!24,!2015,!indicated!that!“Sanitation!
        inspections!are!performed!daily!and!reports!are!completed.”!!However,!no!reports!
        were!provided!for!review!prior!to!the!tour.!!Further!the!correspondence!states!that!
        “Facility!Wardens!have!also!been!charged!with!the!responsibility!of!cleaning,!
        inspection!and!audits!for!their!respective!facilities.”!!!
                 The!Monitor!continues!to!recommend!that!OPSO!immediately!identify!and!
        mandate!cleanliness!standards!in!all!facilities!to!establish!staff!and!inmate!
        expectations!of!acceptability,!along!with!training.!!If!these!activities!are!not!
        undertaken,!the!sanitation!in!the!new!jail!may!not!change!from!that!in!the!existing!
        facilities.!!!
        Recommendations:!
        99.      OPSO!must!provide!adequate!laundry!services!for!inmates!–!inmates’!
                 personal!laundry,!linens,!uniforms,!etc.!
        100.     OPSO!must!immediately!identify!the!officer(s)!responsibility!and!
                 accountability!for!cleanliness!and!sanitation!in!all!existing!housing!units!
                 during!the!interim!time!as!the!policy,!schedule!and!plan!is!being!developed.!!!
        101.     OPSO!must!immediately!complete!the!policy!regarding!Housekeeping!
                 Procedures!and!Inspection!Policy!1101.1.!!The!policy!must!!include!a!facility!
                 specific!housekeeping!plan!and!cleaning!schedule!and!provides!for!regular!
                 inspections!in!accordance!with!this!provision.!!!
        102.     OPSO!must!immediately!develop!and!conduct!training!on!sanitation!
                 procedures!and!chemical!safety!to!employees!and!inmate!workers!who!are!
                 assigned!cleaning!responsibilities,!including!deputies!required!to!supervise!
                 and/or!inspect!against!the!policy!and!procedure!to!assure!cleaning!and!
                 disinfection!is!completed!effectively!and!as!scheduled.!
IV.'D'.1.'b.!!
OPSO!shall!continue!the!preventive!maintenance!plan!to!respond!to!routine!and!emergency!maintenance!
needs,!including!ensuring!that!showers,!toilets,!and!sink!units!are!adequately!installed!and!maintained.!!Work!
orders!will!be!submitted!within!48!hours!of!identified!deficiencies,!or!within!24!hours!in!the!case!of!
emergency!maintenance!needs.!
        !

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       Findings:!Partial!Compliance!
       !
         Measures!of!Compliance:!
         1.     Review!of!the!preventative!maintenance!plan!to!determine!who!has!responsibility!to!file!
                work!orders.!
         2.     Evidence!of!meeting!the!timelines!for!submission!of!work!orders.!
         3.     Evidence!of!training!of!those!assigned!the!responsibility!to!file!work!orders.!
         4.     Observation!of!practice!and!conditions.!
         5.     Work!orders,!invoices,!and!purchases!in!support!of!the!preventive!maintenance!plan.!
!
       Observations:!
               OPSO!has!no!written!policy!and!procedures!for!General!and!Preventative!
       Maintenance.!!OPSO!uses!the!maintenance!work!order!system,!“Facility!Dude.”!!
       Officers!from!each!facility,!who!are!designated!by!the!Warden,!completed!a!two1
       hour!training!program!educating!them!on!how!to!enter!work!order!requests!into!the!
       system.!OPSO!provided!copies!of!the!sign1in!sheets!for!the!training.!!!While!visiting!
       several!housing!tiers!in!each!facility!when!the!Monitor!asked!officers!if!they!
       submitted!a!work!order!request!for!a!specific!issue;!the!response!was!always!“yes.”!!
       However,!there!is!no!mechanism!for!the!housing!unit!officer!to!demonstrate!that!
       he/she!submitted!the!work!order.!!As!a!result!of!deputies!not!being!able!to!know!if!a!
       work!order!was!submitted!by!peers,!or!learn!the!status!of!work!order!he/she!
       submitted,!duplicate!work!order!requests!are!submitted.!!The!Monitor!suggests!that!
       OPSO!develop!a!system!that!tracks!the!hard!copies!of!work!orders,!and!
       communicate!with!the!housing!unit!deputies.!
       Recommendation:!
       103.    Develop!and!implement!written!policies!and!procedures!governing!the!
       provisions!of!this!paragraph.!!These!policies!and!procedures!may!include,!but!are!
       not!limited!to:!
               a. Train!employees!to!file!timely!work!orders!meeting!the!241and148!hour!
                   requirement!of!this!provision.!!!
               b. Maintain!a!facility!specific!tracking!system!for!pending!work!orders!by!
                   type!to!document!needs!for!effective!resource!allocation!for!specific!
                   trades.!
               c. Establish!an!maintenance/repair!inventory!to!assure!an!available!supply!
                   of!regularly!needed!parts!for!repairs!such!belts,!fans,!and!motors!for!

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                       HVAC!equipment;!plumbing!parts!such!as!!shower!heads,!valves,!and!
                       faucets;!and!common!electrical!parts!including!electrical!panels,!lights!to!
                       more!efficiently!handle!routine!maintenance!repairs.!
IV.    D.!1.!c.!!
OPSO!shall!maintain!adequate!ventilation!throughout!OPSO!facilities!to!ensure!that!prisoners!receive!
adequate!air!flow!and!reasonable!levels!of!heating!and!cooling.!!Maintenance!staff!shall!review!and!assess!
compliance!with!this!requirement,!as!necessary,!but!no!less!than!twice!annually.!
!
        Findings:!Partial!compliance!
        !
            Measures!of!Compliance:!
            1.     Written!policy!and!procedure!specifying!the!process!of!how!adequacy!of!ventilation!will!be!
                   measured!in!accordance!with!the!mechanical!code!adopted!by!the!applicable!state!or!local!
                   jurisdiction.!
            2.     Evidence!of!a!contract!with!a!qualified/licensed!mechanical!contractor!to!demonstrate!that!
                   the!ventilation!system!complies!with!the!International!Mechanical!Code!in!effect!in!
                   Louisiana.!
            3.     Reports!from!vendor!regarding!the!ventilation!system,!air!flow,!etc.!!

        !
        Observations:!
                   Air!balance!reports!are!documented!for!the!Kitchen!Warehouse!completed!in!
        May,!2014;!and!for!the!Temporary!Detention!Center!in!February,!2012.!!OPSO’s!
        Director!of!Facilities!Maintenance!stated!in!the!pre1tour!report!that:!!“There!have!
        been!no!updated!air!balance!reports!for!OPSO!jail!facilities!since!December!1,!2015.”!!
                   Because!OPSO!will!no!longer!use!TPV,!OPP,!Conchetta,!or!the!Tents!after!the!
        move!to!the!new!jail,!other!than!changing!filters!and!cleaning!coils!semi1annually!or!
        annually!and!cleaning!return!air!grills!and!dampers!frequently,!OPSO!is!not!
        performing!other!activities/maintenance!to!assure!adequate!air!flow!and!
        reasonable!levels!of!heating!and!cooling.!There!were!no!ventilation!reports!provided!
        for!the!Intake!Processing!Center.!!!
        Recommendation:!
        104.       Develop!and!implement!a!written!policy!and!procedure!containing!the!
                   requirements!of!this!paragraph,!which!includes,!but!is!not!limited!to:!
                       a. Implement!!a!system!to!measure!and!assure!adequate!ventilation.!
                       b. Document!that!the!HVAC!systems!provide!appropriate!air!flow,!!




                                                                                                              99!
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                            heating!and!cooling!for!each!OPSO!building!that!will!house!inmates!
                            through!testing,!inspection!and!appropriate!repairs.!
                      c. Complete!an!air!balance!report!for!each!building!when!there!are!
                            changes!to!the!HVAC!equipment!or!building!renovations.!!
                      d. Include!a!vent!grill!inspection!item!on!the!sanitation!inspections!form!
                            for!housing!units.!
                      e. Train!staff!and!inmate!workers,!as!necessary!to!implement!the!
                            provisions.!
                       f.   Contract!with!an!appropriate!vendor!to!inspect!and!document!the!
                            conditions!required!by!this!provision.!
IV.D.1.d.!!
OPSO!shall!ensure!adequate!lighting!in!all!prisoner!housing!units!and!prompt!replacement!and!repair!of!
malfunctioning!lighting!fixtures!in!living!areas!within!five!days,!unless!the!item!must!be!specifically!ordered.!
        !
        Findings:!Non1compliance!
        !
          Measures!of!Compliance:!
          1.     Written!policy!and!procedures.!!Assurance!that!facility!policy!complies!with!the!provision.!
          2.     Maintenance!of!pending!work!order!list!showing!the!purchase!order!for!pending!work!
                 order!regarding!lighting!fixtures.!!Review!of!work!order!lists.!
          3.     Visual!observation!conditions.!
!
        Observations:!
                 There!is!no!change!in!compliance!from!the!previous!Reports.!!!!OPSO!reports!
        it!continues!to!have!difficulty!hiring!electricians.!!OPSO!did!not!provide!any!
        documentation!to!support!that!lighting!and!light!fixture!replacement!times!meets!
        this!provision.!!The!Maintenance!Director!reports!that!inmates!continue!to!destroy!
        lights!within!hours!after!they!are!repaired,!particularly!in!OPP.!!No!incident!or!
        inspection!reports!were!provided!to!support!the!Director’s!observations.41!The!
        Monitor!did!not!evaluate!if!work!orders!had!been!submitted!to!address!these!
        deficiencies.!
        Recommendations:!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
41!Conditions!observed!by!the!Monitor![not!a!exhaustive!identification!of!deficiencies]!in!the!existing!facilities!
are!unsafe,!for!example:!While!touring!OPP,!the!Monitor!observed!an!area!within!B11!has!no!functioning!lights!
in!the!rear!of!the!corridor!and!in!several!cells.!Four!lights!in!cells!of!211!of!Conchetta!were!also!not!
functioning,!nor!were!there!lights!in!the!janitor’s!closet!on!the!first!floor.!!There!were!exposed!electrical!wires!
hanging!from!the!ceilings!along!A11!specifically!in!cells!11L,!11R,!and!31R!and!the!dayroom.!

                                                                                                              100!
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        105.     Develop!and!implement!a!written!policy!and!procedure!addressing!the!repair!
                 time!provision!of!this!paragraph!and!hire!the!appropriate!number!of!
                 electricians!(or!contracts)!to!assure!timeliness!of!repairs.!
        106.     Assure!appropriate!staffing!of!electricians!to!assure!that!the!provision!is!met.!
IV.     D.!1.!e.!!
OPSO!shall!ensure!adequate!pest!control!throughout!the!housing!units,!including!routine!pest!control!
spraying!on!at!least!a!quarterly!basis!and!additional!spraying!as!needed.!
        !
        Findings:!Partial!Compliance!
        !
        Measures!of!Compliance:!
        1.     Written!policy!and!procedures.!
        2.     Copy!of!valid!contract!for!integrated!pest!control!services!with!a!licensed!pest!control!
               contractor.!
        3.     Map!showing!the!location!of!all!bait!and!trap!stations!both!internally!and!externally.!
        4.     Copies!of!pest!control!reports!provided!by!the!licensed!pest!control!operator!showing!areas!
               of!concern,!recommendations!for!corrective!actions!needed!to!be!taken!by!sanitation!and!
               maintenance.!
        5.     Evidence!of!corrective!action!taken!for!recommendations!provided!by!the!licensed!pest!
               control!contractor.!
        6.     Evidence!of!a!pest!control!log!where!deputies!can!log!sighting!of!pest!showing!date,!time,!
               location,!and!type!of!pest.!
        7.     Visual!observation!of!pest!activity!and!inmate!interviews.!
        8.     Inmate!grievances!regarding!sanitation!and!maintenance.!
!
        Observations:!
                 OPSO!contracts!with!a!private!pest!control!contractor!to!provide!services!for!
        all!facilities!housing!inmates!and!the!kitchen/warehouse.!!The!Director!of!Facilities!
        Management!is!responsible!for!overseeing!this!contract.!!With!the!hiring!of!a!
        Sanitarian,!it!may!be!more!effective!to!designate!the!Sanitarian!to!provide!oversight!
        of!the!contract.42!It!is!the!Monitor’s!view!that!more!aggressive!OPSO!oversight!of!the!
        contract!by!a!qualified!person!is!essential.!


!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
42!While!touring!facilities!inmates!complained!of!rodents!and!cockroaches!particularly!in!the!Tents.!!The!
Monitor!observed!very!few!rodent!traps!around!the!outside!perimeter!of!OPP,!TPV,!and!the!Tents.!!There!was!
only!one!rodent!trap!on!the!outside!of!each!Tent.!!During!a!meeting!with!the!pest!control!contractor,!OPSO!
staff!and!the!Monitor,!the!vendor!indicated!that!they!have!not!completed!any!pest!assessments!for!any!of!the!
facilities!within!OPSO,!nor!is!there!any!documentation!demonstrating!the!internal!or!external!locations!of!all!
bait!stations!or!traps.!The!vendor!stated!there!are!very!few!glue!traps!to!even!track!pest!activity.!!The!
contractor!agreed!to!provide!a!facility!assessment!within!one!week!of!the!tour!and!also!establish!a!more!
effective!system!for!documenting!pest!activity!and!providing!trending!information!to!OPSO.!!While!the!
vendor’s!pest!control!reports!show!little!pest!activity,!the!contractor!stated!that!the!monthly!visits!have!not!
been!thorough.!

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                 Before!this!provision!will!be!in!full!compliance!a!policy(ies),!!the!facility!
        sanitation!plan,!and!the!inmate!handbook,!must!clearly!designate!what!items!
        inmates!are!permitted!to!maintain!in!their!cells/housing!unit,!how!much!and!where!
        any!commissary!food!is!to!be!stored,!and!how!long!inmates!are!permitted!to!retain!
        food!from!meal!service!(if!at!all).!!!The!sanitation!plan!must!include!the!schedule!for!
        removing!trash!and!garbage.!!!
        Recommendations:!
        107.     Complete!the!development!of!the!sanitation!policies,!procedures!and!the!
                 inmate!handbook!to!establish!inmate!expected!practices!that!prevent!and!
                 eliminate!food!and!harborage!for!insect!and!rodents.!!Provide!training.!
        108.     Evaluate!the!pest!control!contract!and!reports!regularly!to!include:!
                     a. Assure!that!the!pest!control!contractor!is!meeting!all!the!terms!of!the!
                         contract!to!assure!their!work!meets!the!requirements!of!this!
                         paragraph;!
                     b. Assure!that!service!reports!from!the!contractor!are!legible;!
                     c. Assure!contractor!is!providing!accurate!and!timely!trend!reports;!
                     d. Establish!a!process!for!officer!and!inmates!to!document!pest!activity!
                         within!each!facility;!!
                     e. Review!each!pest!control!reports!and!assure!that!all!
                         recommendations!are!followed!to!prevent!pest!infestations!and!
                         complaints;!and!
                     f. Assure!effective!OPSO!oversight!of!the!contract.!
IV.!D.!1.!f.!!
OPSO!shall!ensure!that!any!prisoner!or!staff!assigned!to!clean!a!biohazardous!area!is!properly!trained!in!
universal!precautions,!outfitted!with!protective!materials,!and!properly!supervised.!!!See!also!Paragraph!16.,!
Stipulated!Agreement!of!February!11,!2015.!
    !
        Findings:!Non1compliance!
        !
           Measures!of!Compliance:!
           1. Written!policy!and!procedures.!
           2. Development!and!implementation!of!a!training!syllabus!for!blood!borne!pathogens.!!
              Qualifications!of!the!trainer(s).!
           3. Documented!list!of!deputies!and!inmates!trained!in!blood!borne!pathogens.!
           4. Development!and!implementation!of!a!biohazardous!waste!policy!and!procedures!for!effective!
              and!safe!clean1up!of!any!spills.!
           5. Maintenance!of!a!supply!of!biohazardous!spill!kits!including!personal!protection!items!

                                                                                                           102!
           !             Compliance!Report!#!4!1!September!9,!2015!
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                including,!but!limited!to!eye!shield,!mask,!gloves,!gown!with!cap,!CPR!barrier,!towelettes,!
                absorbent!powder,!scraper,!scoop!bag,!and!biohazard!bag.!!
           6.   Observation!and!demonstration!of!knowledge!by!staff!and!trained!inmates.!
           7.   Inmate!interviews,!inmate!grievances.!
           8.   Medical!policy!and!procedures.!
!
        Observations:!
                 There!is!no!change!in!compliance!from!Report!#!3.!!OPSO!does!not!have!
        written!policies!and!procedures!governing!the!provisions!of!this!paragraph.!!Prior!to!
        this!tour!OPSO!provided!correspondence!dated!July!24,!2015!stating!that!there!is!no!
        change!in!the!type!of!chemicals!being!used!to!clean!and!disinfect!biohazard!spills.!!
        OPSO!stated!that!the!recently!hired!Sanitarian!and!inspector!will!be!assigned!the!
        responsibility!to!address!this!provision.!Further!there!is!no!evidence!of!training!for!
        staff!and/or!inmates!who!are!responsible!for!clean1up.!OPSO!stated!they!maintain!a!
        supply!of!spill!kits,!but!the!Monitor!did!not!observe!any!while!touring.!!!
                 The!Stipulated!Agreement!(paragraph!16)!of!February!11,!2015!mandated!
        OPSO!to!address!biohazardous!spills.!!OPSO!is!in!partial!compliance!with!this!
        provision!as!OPSO!provided!a!draft!housing!keeping!plan!on!August!17,!2015.43!!The!
        Monitor!has!not!had!the!opportunity!to!evaluate!these!drafts,!but!acknowledge!that!
        the!information!was!provided.!
        Recommendation:!
        109.     Develop!and!implement!written!policies!and!procedures!addressing!the!
                 requirements!of!this!paragraph!and!paragraph!16!of!the!Stipulated!
                 Agreement!of!February!11,!2015,!including,!but!not!limited!to:!
                  a. Designate!posts!per!shift!who!will!responsible!for!managing!blood!borne!
                      pathogen!and!biohazardous!spill!cleanup.!!
                 b. Develop!a1step1by1step!procedures!that!trained!employees!and/or!
                      inmates!will!be!expected!to!follow!in!responding!to!these!incidents,!!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
43!Stipulated!Agreement!of!2/11/15,!paragraph!16:!OPSO!shall!issue!a!memorandum!to!all!staff!that!that!
inmates!and!staff!assigned!to!clean!biohazards!spills/incidents!must!be!trained!on!doing!so,!outfitted!with!
proper!equipment,!and!properly!supervised!in!accordance!with!§!IV.D.1.f!of!the!Consent!Judgment.!Following!
receipt!of!the!Monitors’!comments,!OPSO!will!make!any!necessary!revisions,!consult!with!the!Monitor(s)!as!
needed,!and!provide!a!final!draft!to!the!Plaintiffs!to!provide!substantive!comments!to!both!OPSO!and!the!
Monitor(s).!In!the!event!that!the!Monitor!and/or!the!OPSO!disagree!with!any!comments!or!recommendations!
by!the!Plaintiffs,!the!Monitor!will!convene!a!conference!call!for!the!purpose!of!resolving!issues.!!The!directive!
will!be!issued!in!accordance!with!the!terms!specified!in!Item!3!of!this!Stipulated!Order.!

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                       including!the!use!of!spill!kits,!personal!protective!equipment!(skin!
                       protection,!gloves,!face!masks,!designated!red!bags,!disinfecting!
                       chemicals!etc.!!
                   c. Train!all!staff!and!inmates!required!to!handle!bio1waste.!!OSHA’s!blood!
                       borne!Pathogens!Standard,!29!CFR!1910.1030,!requires!that!the!trainer!
                       be:!“knowledgeable!in!the!subject!matter!covered!by!the!elements!
                       contained!in!the!training!program.”!
                   d. Designate!the!position/post!responsible!for!oversight!for!these!functions;!
                       document!training!of!staff!and/or!inmates!who!are!responsible!for!clean1
                       ups.!
IV.!D.!1.!g.!!
OPSO!shall!ensure!the!use!of!cleaning!chemicals!that!sufficiently!destroy!the!pathogens!and!organisms!in!
biohazard!spills.!!See!Paragraph!16,!Stipulated!Agreement!February!11,!2015.!
     !
         Findings:!Non1compliance!
         !
              Measures!of!Compliance:!
              1.     Written!policy!and!procedures.!
              2.     Inventory!of!cleaning!and!disinfecting!chemicals.!
              3.     Lesson!plans/curriculum!1!evidence!of!effective!training!of!deputies!and!inmates!
                     responsible!for!cleaning!and!disinfecting!surfaces!in!housing!and!common!areas.!
              4.     Policy!and!procedures!an!effective!cleaning!and!disinfection!policy!and!procedures!for!all!
                     facilities.!
              5.     Observation!of!effective!implementation!and!demonstration!of!knowledge.!
              6.     Inmate!interviews,!inmate!grievances.!
!
         Observations:!
                   There!is!no!change!of!compliance!from!Report!#!3.!!OPSO!has!not!established!
         written!policies!and!procedures!that!specify!the!chemicals!to!be!used!for!cleanup!of!
         biohazardous!spills!nor!procedures!that!are!to!be!followed!by!staff!or!trained!
         inmates!(if!OPSO!decides!to!use!inmates!for!this!purpose).!See!observations!in!
         IV.D.1.f.)!!!Draft!documents!were!provided!after!the!tour!was!concluded.!
!!       Recommendation:!
         110.      Develop!and!implement!written!policies!and!procedures!addressing!this!
                   paragraph!that!include,!but!is!not!limited!to:!
                       a. Specifying!the!concentrations/dilution!of!cleaners!and!disinfectants!to!
                           be!used!for!clean1up!from!a!biohazard!spill.!


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          !               Compliance!Report!#!4!1!September!9,!2015!
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                      b. Conducting!OSHA!required!training!on!the!safe!and!effective!use!of!
                          any!hazardous!chemicals!used!to!clean!and!disinfect!contaminated!
                          surfaces!for!all!staff!supervising!sanitation!and!inmate!workers.!
                      c. Assuring!inmates!are!provided!properly!diluted!cleaning!and!
                          disinfection!chemicals!to!clean!and!disinfect!contaminated!areas.!
                      d. Designating!the!position/post!responsible!for!oversight!for!this!
                          function.!
IV.!D.!1!.h.!!
OPSO!shall!maintain!an!infection!control!plan!that!addresses!contact,!blood!borne,!and!airborne!hazards!and!
infections.!!The!plan!shall!include!provisions!for!the!identification,!treatment,!and!control!of!Methicillin1
Resistant!Staphylococcus!aureus!(“MRSA”)!at!the!Facility.!
    !
        Findings:!Partial!Compliance!
!
              Measures!of!Compliance:!
              1.     Written!policy!and!procedures!for!an!infection!control!plan!and!policy!following!Center!
                     for!Disease!Control’s!recommendations.!
              2.     Lesson!plans/curriculum!1!evidence!of!training!of!all!deputies,!staff!and!inmates!
                     responsible!for!cleaning!and!disinfecting!all!medical!and!dental!areas!within!OPSO.!
              3.     Demonstration!of!knowledge!of!the!policy!and!plan.!
              4.     Observation.!
              5.     Inmate!interview,!inmate!grievances.!
!
        Observations:!
                  Correct!Care!Solutions!provided!a!copy!of!the!infection!control!program.!!In!
        part!it!requires!reviewing!Environmental!and!Safety!Inspections!and!that:!
              •   The!Health!Services!Administrator!(HSA)!participates!in!facility!inspections!
                  and!receives!copies!of!monthly!environmental!inspection!reports!and!that!
                  information!is!shared!at!the!Infection!Control!Committee!meetings.!
              •   Conditions!identified!as!adversely!affecting!the!health!and!safety!of!the!
                  inmates!and/or!employees!will!be!promptly!reported,!and!remediated!as!
                  necessary!
              •   Autoclaves!are!tested!routinely!with!the!use!of!spore!counts!
              •   Negative!pressure!rooms!are!assessed!for!function!prior!to!and!during!use.!
                  There!was!no!documentation!provided!that!any!of!the!functions!listed!above!
        have!been!implemented.!!There!are!no!negative!pressure!rooms!within!OPSO!that!



                                                                                                         105!
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        medical!staff!can!use!to!isolate!inmates.!!There!has!been!no!evidence!provided!that!
        demonstrates!training!of!OPSO!staff.!
        Recommendation:!
        111.     Develop!and!implement!written!policies!and!procedures!governing!the!
                 provisions!of!this!paragraph!that!include,!but!is!not!limited!to:!
                 a. Management!of!contact!with!blood!borne!and!airborne!hazards!and!
                     infections!
                 b. Identification,!treatment,!and!control!of!Methicillin1Resistant!
                     Staphylococcus#aureus!(“MRSA”)!at!all!facilities;!
                 c. Training!for!all!affected!employees!on!the!implementation!of!the!plan.!
                 d. Assure!that!the!CCS!Infection!Control!policy!address!these!specific!
                     requirements.!
V.'D.'2.'Environmental'Control'
!
D.!2.!a.!!
OPSO!shall!ensure!that!broken!or!missing!electrical!panels!are!repaired!within!30!days!of!identified!
deficiencies,!unless!the!item!needs!to!be!specially!ordered.!
        !
        Findings:!Partial!Compliance!
        !
         Measures!of!Compliance:!
         1.     Written!policy!and!procedure.!
         2.     Evidence!of!implementation!of!the!Provision!in!accordance!with!the!National!Electrical!
                Code.!
         3.     Maintenance!of!pending!work!order!list!showing!the!purchase!order!for!pending!work!
                order!regarding!electrical!panels.!
         4.     Observation!of!practice.!
         5.     Observation!of!facilities’!conditions.!
!
        Observations:!
                 As!discussed!in!IV.!D.1.!b.,!OPSO!has!implemented!an!electronic!work!order!
        management!system!(Facility!Dude)!to!schedule!and!track!all!work!orders,!including!
        missing!electrical!panels.!!The!general!and!preventative!maintenance!policy!
        governing!this!paragraph!has!not!been!completed.!!The!Director!of!Facilities!
        Management!advised!that!since!the!previous!tour,!there!have!been!no!work!orders!
        entered!to!repair!any!broken!or!missing!electrical!panels.!!During!the!tour,!the!




                                                                                                        106!
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        Monitor!did!not!observe!any!electrical!panels!that!appeared!to!need!repair!or!
        replacement.!!
        Recommendation:!
        112.       Develop!and!implement!written!maintenance!policies!and!procedures!
                   addressing!the!requirements!of!this!paragraph!including!necessary!training!
                   and!establishing!a!process!to!assure!repairs/replacement!is!completed!
                   within!30!days!unless!a!longer!time!is!necessary!because!of!a!special!part!
                   order.!
                   a. !Designate!the!position/post!responsible!for!oversight!for!these!functions.!
                   b. Determine!the!number!and!type!of!trades!that!needed!to!be!hired!(or!
                       contracted)!for!the!adequate!and!timely!maintenance!of!OPSO!facilities!
                       that!will!remain!open.!!!
                   c. Provide!and!document!training.!
2.!b.''
OPSO!shall!develop!and!implement!a!system!for!maintenance!and!timely!repair!of!electrical!panels,!devices,!
and!exposed!electrical!wires.!'
        !
        Findings:!Non1compliance!
        !
              Measures!of!Compliance:!
              1.     Written!policy!and!procedure!for!preventative!maintenance!and!repairs!for!electrical!
                     issues.!
              2.     Evidence!that!all!repairs!are!completed!in!accordance!with!the!National!Electrical!Code.!
              3.     Evidence!that!all!repairs!are!completed!within!a!reasonable!time!to!assure!that!inmates!
                     and!staff!are!not!exposed!to!hazards!that!could!cause!injury.!
              4.     Observation!of!conditions.!
!
        Observations:!!
                   See!Observations!and!recommendations!for!IV.D.2.a.,!above.!!Electrical!
        repairs!are!scheduled!when!work!order!requests!are!filed.!!On!this!tour,!the!Monitor!
        noted!numerous!broken!lights,!exposed!wires!from!missing!on/off!switches,!
        destroyed!conduit!especially!in!Conchetta!and!OPP.!!According!to!OPSO,!inmates!are!
        destroying!repaired!conduit!and!light!fixtures!within!hours!of!repairs,!although!no!
        incident!reports!were!provided.!!OPSO!needs!to!determine!the!number!and!type!of!
        trades!necessary!for!the!maintenance!of!the!facilities!which!will!remain!open.!!See!
        above!recommendation.!

                                                                                                           107!
          !               Compliance!Report!#!4!1!September!9,!2015!
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IV.'D.'3.'Food'Service'
!
IV.D.3.!a.!!
OPSO!shall!ensure!that!food!service!staff,!including!prisoner!staff,!continues!to!receive!in1service!annual!
training!in!the!areas!of!food!safety,!safe!food!handling!procedures,!and!proper!hygiene,!to!reduce!the!risk!of!
food!contamination!and!food1borne!illnesses.!
        !
        Findings:!Partial!Compliance!
        !
            Measures!of!Compliance:!
            1.     Written!policy!and!procedure.!
            2.     Development!of!a!training!syllabus!for!annual!training!for!food!safety!and!hygiene.²!
            3.     Evidence!of!Food!Service!Manager!Certification!in!accordance!with!Louisiana!Retail!Food!
                   Regulations.!
            4.     Evidence!of!training!of!food!service!staff!and!inmate!workers.!
            5.     Demonstration!of!knowledge!by!the!food!service!staff!and!inmates.!
            6.     Observation.!
            7.     Inmate!interviews,!inmate!grievances.!
            8.     Health!Department!inspection!reports.!
!
        Observations:!
                 OPSO!contracts!to!provide!inmate!meals.!!OPSO!provided!documentation!that!
        the!contractor’s!Director!of!Food!Services!at!OPSO!maintains!Serv1Safe!Food!
        Manager!Certification!and!also!holds!a!Certified!Instructor!and!an!examination!
        proctor.!!OPSO!provided!copies!of!Serv1Safe!Certificates!demonstrating!current!
        certifications!for!eleven!contractors.!!Further,!twenty1eight!(28)!OPSO!staff!assigned!
        to!either!the!kitchen/warehouse!and/or!the!facilities’!re1therm!kitchens!have!
        completed!a!basic!Serv1Safe!food!handler!training!course!including!successful!
        completion!of!a!written!test!as!evidence!of!2015!annual!training!requirements.!!
        Inmate!workers!assigned!to!the!kitchen!are!required!to!complete!safety!and!hygiene!
        classes!prior!to!working!in!the!kitchen.!!The!contractor!provided!copies!of!the!
        Inmate!Orientation!Handbook!for!thirty1nine!(39)!inmate!workers!who!signed!
        documents!that!they!understand!the!general!rules!for!inmates!(basic!hygiene),!the!
        inmate!job!description,!and!the!worker!safety!rules!demonstrating!inmate!
        attendance!for!2015!training.!When!inmates!are!assigned!specific!responsibilities,!
        inmates!receive!on1the1job!training!for!their!assignment.!!The!contractor!provided!
        course!outlines!and!a!quarterly!schedule!for!training!topics!for!the!second!quarter!of!
        2015.!!!
        !

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        Recommendation:!
        113.    The!food!service!contractor,!under!the!direction!of!an!OPSO!designated!
                post/position,!needs!to!develop!and!implement!a!documented!tracking!
                system!that!identifies!the!training!topic!completed!including!dates!of!
                completion!to!assure!that!staff!and!inmates!receives!annual!training.!!!
IV.!D.!3.!b.!!
OPSO!shall!ensure!that!dishes!and!utensils,!food!preparation!and!storage!areas,!and!vehicles!and!containers!
used!to!transport!food!are!appropriately!cleaned!and!sanitized!on!a!daily!basis.!!
    !
        Findings:!Partial!Compliance!
        !
         Measures!of!Compliance:!
         1.     Written!policy!and!procedure!for!the!cleaning!and!sanitization!of!all!food!service!
                equipment!following!the!equipment!manufacturer’s!specified!cleaning!instructions.!
         2.     Maintenance!of!a!documented!cleaning!schedule!for!equipment!and!areas!including!
                kitchens,!storage!areas,!ware!washing,!refrigerators!and!freezers!with!assigned!
                responsibility!for!oversight.!
         3.     Visual!evidence!of!effective!cleaning!and!interviews!with!staff!and!inmates!on!cleaning!
                procedures!
         4.     Evidence!of!a!cleaning!log!for!all!equipment!and!observation!of!practice!meeting!the!
                policy/procedures.!
         5.     Inmate!worker!interviews.!
         6.     Health!Department!inspection!reports.!
!
        Observations:!
                OPSO!contracts!for!inmate!food!service.!!OPSO!has!no!written!policy!
        pertaining!to!food!service,!other!than!the!vendor!contract,!and!the!written!list!of!
        contractor/OPSO!responsibilities/authority!document!that!was!agreed!to!by!the!
        Contractor!on!March!25,!2015.!!!An!OPSO!policy!must!be!developed!to!govern!
        kitchen!operations!including!incorporation!of!the!principles!in!the!March!25th!
        document.!!
                The!Monitor!reviewed!forms:!!“Daily!Kitchen!Inspection”,!Satellite!Kitchen!
        Inspection”,!and!a!“Vehicle!Inspection!Sheet”.!!OPSO!indicated!these!forms!had!
        recently!been!implemented;!however,!there!is!not!a!written!policy!that!governs!the!
        purpose!of!the!forms!and!the!criteria!for!completion.!!Also!there!were!not!a!
        sufficient!number!of!completed!inspections!to!permit!the!Monitor!to!assess!whether!
        the!forms!will!be!a!beneficial!to!document!the!requirements!of!this!provision.!!Just!
        having!the!forms!without!a!policy!and!procedure!that!establishes!the!schedule!for!



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        the!inspections,!how!deficiencies!are!addressed,!and!who!has!the!responsibility!to!
        complete!the!inspections!provides!no!assurance!of!sustainability.!!
        Recommendation:!
        114.    Develop!and!implement!a!food!service!policies!and!procedures!addressing!
                this!paragraph!including!but!not!limited!to:!
                a. Establishing!requirements!for!cleaning!and!sanitization!and!a!schedule!
                    and!plan!for!each!area!and!specific!equipment,!and!include!what!is!to!be!
                    cleaned,!how!it!is!to!be!cleaned!(following!the!equipment!manufacturer’s!
                    instructions!from!the!operations!manual),!who!is!responsible!for!the!
                    cleaning,!(if!an!inmate,!who!supervises!him/her!needs!to!be!identified),!
                    and!the!frequency!of!the!cleaning.!!The!completion!of!the!cleaning!must!
                    be!documented!on!the!sanitation!log!documenting!the!initials!of!the!
                    person!who!completed!the!cleaning!.!!The!logs!need!to!be!reviewed!by!an!
                    OPSO!Food!Services!Kitchen!Supervisor!or!Director!for!completion!and!
                    maintained!in!the!OPSO!Director’s!office.!
                b. As!a!best!practice,!it!recommended!that!OPSO!establish!at!least!weekly!
                    documented!inspections!by!a!qualified!inspector!who!is!independent!of!
                    the!food!service!contractor!to!identify!any!contract!non1compliance.!!A!
                    written!corrective!action!process!must!be!required!for!areas!of!non1
                    compliance!that!includes!retraining!of!employees!or!inmates,!required!
                    maintenance!repairs,!safe!food!handling,!personal!hygiene,!etc.!!
                c. Designate!the!position/post!responsible!for!oversight!for!these!functions.!
IV.D.3.c.!!
OPSO!shall!check!and!record!on!a!daily!basis!the!temperatures!in!the!refrigerators,!coolers,!walk1in!
refrigerators,!the!dishwasher!water,!and!all!other!kitchen!equipment!with!a!temperature!Monitors,!to!ensure!
proper!maintenance!of!food!service!equipment.!
        !
        Findings:!Partial!Compliance!
        !
         Measures!of!Compliance:!
         1.     Written!policy!and!procedures!for!measuring!and!recording!temperatures!of!all!
                refrigerators,!freezers,!hot!food!holding!equipment,!wash!and!rinse!temperatures!of!ware!
                washing!equipment,!in!accordance!with!the!Louisiana!Food!Regulations.!
         2.     Development!and!implementation!of!temperature!logs!demonstrating!effective!
                measurements!as!required!in!this!provision!and/or!the!Louisiana!Food!Regulations.!
         3.     Review!of!logs!and!direct!observations!of!measurements!being!taken!and!recorded.!
         4.     Observation!of!conditions.!

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!
        Observations:!
                OPSO!has!no!policy!that!incorporates!the!requirements!of!this!provision.!!
        Prior!to!the!tour!OPSO!provided!copies!of!temperature!logs!for!recording!wash,!
        rinse!and!final!sanitizing!rinse!temperature!for!the!“pot!shack”!dated!from!January!
        1114,!2015.!!!OPSO!also!provided!copies!of!the!OPSO!kitchen!officer’s!completed!
        daily!“Cooler!Temperature!Log”!from!January!1,!1!July!2,!2015,!and!the!
        corresponding!contractor’s!temperature!logs!for!all!refrigerators!and!freezers.!The!
        Monitor!reviewed!corresponding!data!from!both!logs!and!noted!no!variations!in!
        temperatures!as!measured!by!OPSO!and!the!contractor!!No!documentation!was!
        provided!that!demonstrates!that!the!refrigerators!located!in!the!re1therm!kitchen!of!
        each!facility!were!being!inspected!for!appropriate!safe!food!temperatures.44!!!!!!
        Recommendation:!
        115.    OPSO!needs!to!develop!and!implement!a!food!service!policy!addressing!this!
                paragraph!including,!but!not!limited!to:!
                a. Identifying!all!refrigerators,!freezers,!hot!and!cold!food!holding!
                     equipment,!and!ware!washing!equipment!located!in!all!facilities.!
                b. Scheduling!the!frequency!that!temperatures!are!measured!and!recorded!
                     in!accordance!with!the!Louisiana!food!safety!regulations.!
                c. Requiring!a!trained!OPSO!supervisor!to!review!temperatures!logs!daily,!
                     and!assure!that!work!orders!are!submitted!when!inspections!indicate!
                     equipment!that!is!not!operating!as!designed.!
                d. Training!employees!in!temperature!recording!and!review!process!for!
                     cold!potentially!hazardous!food.!
                e. Developing!temperature!logs!for!all!equipment!where!food!is!held!
                     including!facility!re1therm!kitchens!and!where!kitchenware!and!utensils!
                     are!cleaned,!including!a!record!retention!schedule.!!

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44!For!example,!the!policy!and!operational!practice!must!!specify!refrigerator!temperatures!display!showed!a!
digital!thermostat!set!temperature!of!33°!F.!The!Monitor!measured!the!internal!temperatures!and!found!the!
temperatures!to!be!between!48°F!and!54°F.!!Refrigerated!potentially!hazardous!food!need!to!be!maintained!
at!41°F!or!below.!

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                 f. Establishing!OPSO!food!service!policy!for!safe!food!temperature!
                     monitoring!to!include!corrective!action!procedures!when!issues!are!
                     found.!
                 g. Designating!the!position/post!responsible!for!oversight!for!these!
                     functions.!
IV.'D.'4.'Sanitation'and'Environmental'Conditions'Reporting'
!
D.!4.!a.!(1)!–!(7)!
OPSO!shall!provide!the!Monitors!a!periodic!report!on!sanitation!and!environmental!conditions!in!the!Facility.!!
These!periodic!reports!shall!be!provided!to!the!Monitors!within!four!months!of!Effective!Date;!and!every!six!
months!thereafter!until!termination!of!this!Agreement.!!The!report!will!include:!
     (1) Number!and!type!of!violations!reported!by!health!and!sanitation!inspectors;!
     (2) Number!and!type!of!violations!of!state!standards;!
     (3) Number!of!prisoner!grievances!filed!regarding!the!environmental!conditions!at!the!Facility.!
     (4) Number!of!inoperative!plumbing!fixtures,!light!fixtures,!HVAC!systems,!fire!protection!systems,!and!
          security!systems!that!have!not!been!repaired!with!30!days!of!discovery;!
     (5) Number!of!prisoner1occupied!areas!with!significant!vandalism,!broken!furnishings,!or!excessive!
          clutter;!
     (6) Occurrences!of!insects!and!rodents!in!the!housing!units!and!dining!halls;!and!
     (7) Occurrences!of!poor!air!circulation!in!housing!units.!
!
    Findings:!Partial!Compliance!          !
    ! !
     Measures!of!Compliance:!
     1.     Written!policy!and!procedure!governing!reporting.!
     2.     Evidence!of!written!report!provided!as!specified!in!the!provision.!
!
        Observations:!
                 OPSO!has!no!written!policy!that!will!assure!ongoing!reporting.!!The!Director!
        of!Maintenance,!along!with!the!assistance!of!the!Monitor,!developed!a!new!reporting!
        format!for!Sanitation!and!Environmental!Conditions!that!was!used!for!the!first!six!
        months!of!2015.!!Data!was!collected!is!facility!specific.!!Additionally!OPSO!provided!
        copies!of!all!regulatory!inspections!from!the!local!health!department!that!
        documented!the!detail!of!the!violations.!!Work!order!requests!were!completed!for!
        the!deficiencies!!identified.!!Based!on!this!first!set!of!reporting!data,!for!example,!the!
        data!called!into!question!the!comprehensiveness!of!the!pest!control!reporting!and!
        servicing!of!OPSO!facilities!by!the!contractor.45!!As!more!data!are!available,!the!
        reporting!format!will!need!to!be!revised!to!capture!information!useful!to!OPSO!

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45!More!detail!can!be!found!in!the!pest!control!provision!IV.D.1.e.!


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        management!to!use!in!modifying!policies,!training,!implementation!issues,!and!
        inspections.!!The!forms!are!inadequate!without!a!governing!policy/procedure.!
        Recommendation:!
        116.      Develop!and!implement!written!policies!and!procedures!addressing!this!
                  paragraph!including,!but!not!limited!to!assuring!that!the!tracking!
                  mechanisms!are!in!place!to!record!the!required!information.!!Such!
                  documentation!may!include!health!department!reports,!pest!control!reports,!
                  preventive!maintenance!work!order!system!reports,!inmate!grievance!logs,!
                  and!maintenance!logs.!!!
                  a. !!Designate!the!position/post!responsible!for!oversight!for!these!
                      functions.!
D.!4.!b.!!
Review!the!periodic!sanitation!and!environmental!conditions!reports!to!determine!whether!the!prisoner!
grievances!and!violations!reported!by!health,!sanitation,!or!state!inspectors!are!addressed,!ensuring!that!the!
requirements!of!this!Agreement!are!met.!!OPSO!shall!make!recommendations!regarding!the!sanitation!and!
environmental!conditions,!or!other!necessary!changes!in!policy,!based!on!this!review.!!The!review!and!
recommendations!will!be!documented!and!provided!to!the!Monitors.!
        !
        Findings:!!Non1compliance!!
        !
         Measures!of!Compliance:!
         1.     Written!policy!and!procedure!governing!reporting!on!environmental!conditions.!
         2.     Evidence!of!a!review!of!the!sanitation!and!environmental!conditions!report!by!staff!
                responsible!for!implementing!policies!and!procedures!for!food!service,!blood!borne!
                pathogens,!chemical!control,!sanitation,!and!preventive!maintenance.!
         3.     Evidence!of!written!audits!of!the!facilities.!
         4.     Evidence!of!command!staff!review.!!Determination!by!OPSO!that!the!implemented!policies!
                and!procedures!are!effective!to!address!the!provisions!of!this!Agreement.!
         5.     Evidence!of!effective!Corrective!Actions!are!taken!to!address!non1conformities!identified!
                during!the!review!process.!
         6.     Changes!to!policy,!training!curriculum,!etc.!resulting!from!these!reviews.!
!
        Observations:!
                  There!is!no!change!in!compliance!since!Report!#!3.!!There!is!no!policy!or!
        process!governing!the!elements!of!this!paragraph.!!
        Recommendation:!
        117.      Develop!and!implement!written!policies!and!procedures!addressing!this!
               paragraph!including,!but!not!limited!to!using!the!data!from!IV.!D.!4.a.!(1)1(7)!




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              document!trends!and!develop!management!responses!to!address!provisions!of!
              the!Consent!Judgment.!!
              a. Designate!the!position/post!responsible!for!oversight!for!these!functions.'!
IV.'E.'Fire'and'Life'Safety'
'
IV.!E.!1.!a.!!
OPSO!shall!ensure!that!necessary!fire!and!life!safety!equipment!is!properly!maintained!and!inspected!at!least!
quarterly.!!These!inspections!must!be!documented.!
        !
        Findings:!Partial!compliance!
        !
         Measures!of!Compliance:!
         1.     Written!policy!and!procedure!governing!the!procedures!and!staff!responsibility!and!
                accountability!assigned!for!a!minimum!of!quarterly!inspections,!repair!and/or!replacement!
                of!all!fire!and!life!safety!equipment,!included!in!the!controlled!document!inventory.!
         2.     Inspections!shall!be!completed!by!competent!fire!inspector!having!at!a!minimum!
                successfully!passed!“Fire!Inspector!II”!training!and!examination!in!accordance!with!NFPA!
                1031,!Professional!Inspector!Level!II!Qualifications!and!all!requirements!of!the!Office!of!the!
                Louisiana!State!Fire!Marshall.!!
         3.     Development!and!maintenance!of!a!complete!inventory!of!all!fire!and!life!safety!equipment!
                for!each!facility.!!The!list!needs!to!include,!but!not!limited!to!sprinkler!heads,!fire!alarm!pull!
                boxes,!smoke!detectors,!fire!suppression!systems,!fire!extinguishers,!defibrillators,!SCBA!
                equipment!and!etc.!
         4.     Annual!master!calendar!for!all!internal!and!external!inspection!of!all!fire!and!life!safety!
                system!equipment.!
         5.     Development!of!a!facility!specific!audit!form!that!demonstrates!the!date!of!completion!of!
                inspection,!identification!of!all!non1conforming!equipment,!along!with!a!corrective!action!
                report!form!that!can!demonstrate!that!effective!corrective!action!was!taken!for!all!non1
                conformities.!
         6.     Lesson!plans/curriculum!for!staff!assigned!as!auditors/inspectors.!
         7.     Execution!of!contract!with!a!qualified!contractor!to!perform!the!inspections!specified!in!
                this!provision.!
         8.     Evidence!of!a!completed,!signed,!and!supervisory!review!of!all!inspection!and!testing!
                reports,!along!with!documented!corrective!actions!taken!to!resolve!identify!issue!on!non1
                conformance.!
         9.     Fire!Department!inspection!reports.!
         10.    Interview!with!Fire!Department!officials.!
!
        Observations:!
                 The!policy!governing!Fire!Safety!and!Evacuation!has!not!yet!been!completed.!!
        OPSO’s!Fire!Safety!Officer!provided!a!copy!of!the!first!and!second!quarter!fire!safety!
        inspections!for!TPV,!TDC,!Tents,!Intake!Processing!Center,!Conchetta,!McDaniel!!
        Work!Release!Center,!and!OPP.!!The!reports!document!the!name!of!the!individual!
        who!is!assigned!to!correct!the!violations!(either!a!private!contractor!or!Facilities!
        Management).!!These!inspection!forms!need!to!be!included!as!appendices!to!the!Fire!

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        Safety!Inspection!Policy!to!assure!that!the!form!is!a!controlled!document!that!can!be!
        revised!as!part!of!a!policy!review.!!!
                 !
                 The!Consent!Judgment!requires!quarterly!inspections!of!all!“necessary!fire!
        and!life!safety!equipment!is!properly!maintained!and!inspected!at!least!quarterly.”!!
        Until!policies!are!developed!with!assigned!responsibility!for!oversight,!the!provision!
        will!not!be!in!compliance!with!the!provision.46!!!!!
                 OPSO!provided!copies!of!the!annual!fire!safety!systems!for!the!fire!alarm!
        panel,!smoke!detectors,!control!valves,!and!fire!pump!test.!!At!OPP!the!fire!alarm!
        system!was!vandalized!by!inmates!who!removed!and!destroyed!the!conduit!and!
        wiring!for!the!smoke!detectors.!!OPSO!did!not!provide!a!copy!of!any!incident!reports!
        regarding!inmate!damage.!!The!conduit!and!wiring!have!been!replaced!and!the!
        system!is!being!reprogrammed!at!the!time!of!the!tour.!!The!Monitor!observed!that!
        the!fire!alarm!and!sprinkler!system!are!showing!“normal”.!!The!annual!inspection!
        was!scheduled!for!the!week!of!July!27,!2015.!The!Monitor!did!no!receive!a!copy!of!
        the!report.47!!!
                 The!fire!safety!and!the!ventilation!hood!inspection!of!the!Kitchen/Warehouse!!
        was!completed!in!September!2014!and!is!next!scheduled!for!September!2015.!When!

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46!The!existing!OPSO!Policy!701.2!Fire!Prevention!Regulations;!Annual!Testing!of!Equipment!dated!June!6,!
2008,!last!reviewed!October!10,!2009,!requires!a!quarterly!inspection!of!fire!equipment!inspection!and!
testing!including!fire!sprinkler/suppression!systems.!The!title!of!this!directive!is!misleading.!!The!policy!
requires!that!the!Director!of!Maintenance!shall,!“upon!notification!that!substandard!conditions!exist!
regarding!fire1fighting!equipment,”!take!appropriate!measures!to!correct!substandard!conditions!and!that!
inspection!reports!shall!be!kept!on!file!with!the!Director!of!Maintenance.!!The!existing!policy!does!not!include!
any!list!of!what!equipment!is!included!in!the!inspection!and!testing!such!as!SCBA,!sprinkler!systems,!fire!
alarms,!fire!extinguishers,!smoke!detectors,!generators,!hydrants,!etc.!
47!Regarding!currently!operating!facilities!scheduled!to!be!closed:!At!Templeman!V,!the!automatic!sprinkler!
system!received!a!new!Fire!Pump.!!It!was!tested!on!July!6,!2015!and!was!issued!a!“green!tag”!demonstrating!
compliance.!!The!annual!inspection!of!the!automatic!sprinkler!system!and!fire!pump!was!completed!on!July!6,!
2015!along!with!a!completed!a!water!flow!test!for!the!Intake!Processing!Center,!Kitchen/Warehouse,!TDC,!
and!Conchetta.!!At!the!Intake!Processing!Center!and!the!Kitchen!Warehouse!where!violations!were!identified,!
OPSO!Fire!Safety!Officer!demonstrated!!corrective!action!was!completed!and!the!inspector!had!issued!
approval.!!The!quarterly!report!of!fire!and!life!safety!for!the!second!quarter!identified,!as!did!the!first!quarter!
report!that!the!fire!alarm!system!at!the!Tents!!continues!to!inoperable.!!A!“fire!watch”!continues!to!be!in!effect!
until!the!facility!is!vacated.!!On!this!tour!the!Monitor!did!not!assess!the!fire!watch!documentation.!At!
Conchetta!the!annual!fire!alarm!inspection!is!scheduled!for!the!week!of!July!28,!2015!and!the!report!was!
provided!subsequent!to!the!tour.!!The!system!received!a!“green”!tag!signifying!approval.!
!

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        the!OPSO!policy!is!completed!and!the!Monitor!can!verify!all!the!requirements!for!the!
        provision!are!met,!this!paragraph!will!be!in!compliance.!
                 The!copies!of!all!warranties!for!the!new!facility’s!fire!safety!equipment!need!
        to!be!obtained!from!the!construction!company,!reviewed,!and!catalogued!for!future!
        reference,!training!and!accountability.!!OPSO!employees!need!refrain!from!taking!
        any!actions!(e.g.!repairs,!inspections)!that!would!violate!the!warranties.!!
        Additionally,!OPSO!needs!to!assure!that!maintenance!contracts!are!in!place!BEFORE!
        the!warranties!end.!!Otherwise!there!is!a!risk!that!the!equipment!will!not!be!
        serviced!properly.!
        Recommendation:!
        118.     Review!and!revise!Policy!701.2!to!include!a!building1specific!list!of!all!
                 equipment!to!be!inspected!in!the!quarterly!inspection/testing!of!fire!and!life!
                 safety!equipment.!The!revisions!include,!but!are!not!limited!to:!
                      a. The!posts!and/or!positions!having!responsibility!to!assure!the!testing!
                          is!completed.!
                      b. An!inventory,!by!building,!of!the!location!and!types!of!fire!
                          extinguishers.!
                      c. Review!the!Louisiana!Fire!Code!to!determine!the!inspection!frequency!
                          requirement!for!fire!extinguishers!for!commercial!buildings.!!!
                      d. Assure!the!new!jail!has!received!an!inspection!required!by!state!law.!
                      e. Designate!the!position/post!responsible!for!oversight!for!these!
                          functions.!
IV.E.1.!b.!!
OPSO!shall!ensure!that!a!qualified!fire!safety!officer!conducts!a!monthly!inspection!of!the!facilities!for!
compliance!with!fire!and!life!safety!standards!(e.g.,!fire!escapes,!sprinkler!heads,!smoke!detectors,!etc.).!
        !
        Findings:!Partial!Compliance!!
        !
          Measures!of!Compliance:!
          1.     Job!description/post!orders,!including!qualifications!for!a!fire!safety!officer!in!accordance!
                 with!NFPA!requirements!for!a!“Certified!Fire!Inspector!Level!II”!!
          2.     Written!policy!and!procedures!including!evidence!of!attendance!at!any!and!all!31year!
                 certification!seminars!for!certification!renewal!or!current!license!from!the!Office!of!the!
                 State!Fire!Marshall!
          3.     Also!include!measures!3,!4,!5,!7!of!IV.E.1.a.!!
          4.     Review!and!observation!of!completed!reports!and!corrective!actions!taken.!
          5.     Interview!with!fire!safety!officer.!

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!
        Observations:!
                 Policy!701.1,!Fire!Inspections:!last!updated!June!10,!2008!and!reviewed!
        October!16,!2009!requires!that!the!OPSO’s!fire!inspector!shall!conduct!monthly!
        inspections!of!the!facilities!to!ensure!compliance!with!safety!and!fire!prevention!
        standards!and!that!they!document!corrective!action!taken.!!These!reports!shall!be!
        kept!on!file!in!fire!inspector’s!office.!!The!existing!policy!is!inadequate!as!it!does!not!
        specify!the!inspection!criteria/parameters!!to!be!included!in!the!inspection!such!as!
        cells,!dayrooms,!classrooms,!chemical!storerooms,!offices,!clinics,!hallways,!stairs,!
        fire!escapes,!sprinkler!heads,!smoke!detectors,!fire!extinguishers!or!ingresses!and!
        egresses!and!does!not!reflect!current!practice.!!
                 The!existing!policy!does!not!specify!the!qualifications!of!the!fire!safety!
        inspector!or!a!facility!safety!officer.!!OPSO!Fire!Safety!Officer!stated!that!current!
        staffing!levels!do!not!allow!for!a!safety!officer!position!for!each!facility!building.!
        Policies!were!not!provided!for!the!Monitor’s!review.!!Monthly!facility!inspections!
        are!currently!completed!by!the!OPSO!Fire!Safety!Officer,!reviewed!and!signed!by!the!
        ranking!officer!of!each!building!on!duty!at!the!time!of!the!inspection.48!When!the!
        revised!policy!is!completed!and!the!Monitor!can!verify!all!the!requirements!for!the!
        provision!are!met,!it!will!be!in!compliance.!
        Recommendations:!
        119.     Either!revise!701.1!or!create!a!new!OPSO!policy!and!procedure!that!identifies!
                 the!specific!requirements!for!monthly!inspections!in!accordance!with!the!
                 provision.!
              a. Designate!the!position/post!responsible!for!oversight!for!these!functions.!!
        120.     Define!the!term!“qualified!fire!safety!officer”.!
IV.!E.!1.!c.!!
OPSO!shall!ensure!that!comprehensive!fire!drills!are!conducted!every!six!months.!!OPSO!shall!document!these!
drills,!including!start!and!stop!times!and!the!number!and!location!of!prisoners!who!were!moved!as!part!of!the!
drills.!
        !
        Findings:!Partial!Compliance!

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
48!OPSO!provided!copies!of!the!inspections!for!the!months!of!January!through!June!for!Conchetta,!FEMA!
Tents,!OPP,!TDC,!Templeman!V,!McDaniels,!Intake!Processing!Center,!and!the!Kitchen/Warehouse.!

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        !
            Measures!of!Compliance:!
            1. Written!policy!and!procedures!governing!staff!responsibilities!and!accountability!for!
               conducting!fire!drills!within!each!facility!in!accordance!with!the!provision.!!The!policy!shall!
               include!applicable!drill!reports!that!outline!at!a!minimum!start!and!stop!times!of!the!drills!and!
               the!number!and!location!of!inmates!who!were!moved!as!part!of!the!drills,!a!review!process!for!
               each!drill!that!identifies!the!root!cause!and!verification!of!effective!corrective!actions!as!
               necessary!for!non1conformities!with!the!fire!safety!and!evacuation!plan(s)!!
            2. Development!and!implementation!of!!fire!drill!audit!form(s)!
            3. Annual!schedule!of!drills!for!each!facility;!demonstrating!rotating!drills!to!assure!all!areas!are!
               drilled!at!a!specified!frequency.!
            4. Observation!of!drills!and/or!drill!reports.!
            5. Evidence!of!collaboration!with!the!NOFD;!interview!with!NOFD.!
            6. Interviews!with!inmates.!
!
        Observations:!
                   OPSO!provided!prior!to!this!tour!records!of!fire!drills!conducted!since!the!
        January!2015!tour.!There!were!two!drill!reports!for!McDaniel’s!Work!Release!Center!
        (December!24,!2014!and!June!1,!2015,,!OPP!(March!6,!2015!and!July!7,!2015!at!the!
        Docks),!Conchetta!(December!30,!2014!and!April!21,!2015),!and!TDC!(December!11,!
        2014!and!May!7,!2015)!Intake!Processing!Center!(December!29,!2014!and!May!4,!
        2015).!!There!was!one!drill!report!submitted!for!the!Tents!(March!3,!2015),!and!TPV!
        (March!31,!2015).49!!!There!were!no!fire!drills!completed!for!the!
        Kitchen/Warehouse.!!!
                   As!part!of!the!drill!process,!OPSO!must!document!the!outcomes,!lessons!
        learned,!and!recommendations!–!for!pre1service!and!in1service!training,!for!
        improving!operational!practices,!and!for!inmate!education.50!!
                   When!the!revised!policy!is!completed!and!the!Monitor!can!verify!all!the!
        requirements!for!the!provision!are!met,!this!paragraph!will!be!in!compliance,!as!
        long!as!the!new!jail’s!policies/procedures!meet!the!requirements.!
        Recommendations:!



!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
49!OPSO!Policy!701.4,!“Written!Evacuation!Plan”!requires!quarterly!fire!drills!in!all!facilities.!The!
accompanying!procedure!establishes!that!each!facility!will!conduct!fire/emergency!drills!to!ensure!that!all!
personnel!are!capable!of!carrying!out!fire/emergency!plans!and!procedures.!!If!and!when!it!is!not!a!threat!to!
facility!security,!inmates!may!be!included!in!evacuation!drills.”!!The!policy!does!not!require!a!schedule!to!
assure!that!all!areas!of!each!facility!are!drilled!over!a!specific!time!period.!
50!OPSO!provided!copies!of!the!sign1in!sheets!for!138!officers!who!participated!in!the!“in1service!training!on!
“Fire!Safety!in!Jails!Re1Fresher”!training!conducted!in!February!and!March!2015.!

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        121.     Review!and!revise!Policy!701.4!Written!Evacuation!Plan!to!address!the!
                 minimum!requirements!specified!in!the!provision.!!OPSO!may!conduct!drills!
                 more!frequently!and!I!suggest!that!drills!be!conducted!on!all!shifts!to!
                 measure!competency!of!staff!to!appropriately!respond!and!move!inmates!as!
                 necessary.!!
              a. Designate!the!position/post!responsible!for!oversight!for!these!functions.!
        122.     Assure!that!the!new!jail’s!policies/procedures!and!operations!are!in!
                 compliance!with!this!paragraph.'
IV.E.1.!d.!!
OPSO!shall!provide!competency1based!training!to!staff!on!proper!fire!and!emergency!practices!and!
procedures!at!least!annually.!
        !
        Findings:!Non1compliance!
        !
         Measures!of!Compliance:!
         1.     Development!and!implementation!of!a!competency1based!training!policy!for!all!correction!
                staff!on!safe!and!effective!use!of!all!fire!and!emergency!equipment,!firefighting,!safe!
                evacuation.!
         2.     Development!and!implementation!of!a!fire!and!emergency!practices!and!procedures!
                training!course!syllabus/outline,!along!with!a!written!exam!that!measures!the!competency!
                of!the!corrections!staff!for!the!fire!safety!and!evacuation!plan!and!establishes!an!acceptable!
                passing!score.!
         3.     Written!directive!regarding!how!OPP!will!identify!each!officer!and!staff!who!is!required!to!
                receive!training,!the!training!date,!name!of!officer/staff!trained.!
!
        Observations:!
                 There!is!no!change!in!compliance!from!the!previous!Report.!!OPSO!Training!
        Division!provides!initial!training!of!new!correction!officers.!!For!2015,!OPSO!
        reported!that!107!new!hires!have!received!the!training.!!OPSO!provided!copies!of!
        the!sign1in!sheets!for!that!training.!
                 OPSO!is!considering!the!elimination!of!the!SCBA!units!that!will!change!the!
        annual!training.!!The!Fire!Safety!Officer!will!prepare!a!syllabus!to!address!fire!and!
        life!safety!annual!training!provision.!
                 !!Revision!to!the!existing!OPSO!Policy!701.5!Training!of!Staff!in!Emergency!
        Plans!is!necessary.!!The!current!policy!does!not!require!annual!training!as!specified!
        in!the!Consent!Judgment.!Further!it!does!not!identify!which!staff!needs!general!or!




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         enhanced!training,!identifies!the!provider!of!the!training,!specifies!the!training!
         content,!and/or!describes!how!post1training!staff!competency!will!be!measured.!!!
         Recommendation:!
         123.      Revise!existing!written!policies!and!procedures!to!address!this!paragraph!
                   including!but!not!limited!to:!
                      a. Assuring!that!the!Fire!Emergency!Class!for!all!jail!staff!meets!the!
                           needs!of!OPSO,!New!Orleans!Fire!Department,!and!the!State!Fire!Code.!
                      b. Assuring!that!the!person!conducting!the!fire!safety!training!is!
                           qualified!to!conduct!that!training.!
                      c. Designate!the!position/post!responsible!for!oversight!for!these!
                           functions.!
IV.!E.1.e.!!
OPSO!shall!within!120!days!of!the!Effective!Date,!ensure!that!emergency!keys!are!appropriately!marked!and!
identifiable!by!touch!and!consistently!stored!in!a!quickly!accessible!location,!and!that!staff!are!adequately!
trained!in!use!of!the!emergency!keys.!
         !
         Findings:!Partial!Compliance!
         !
           Measures!of!Compliance:!
           1.     Written!policy!and!procedures!regarding!staff!responsibility!and!accountability!for!the!
                  systematic!marking!of!all!emergency!keys,!including!sight!and!touch!identification!and!
                  designated!locations!for!quick!access!for!all!keys.!!All!policies!and!procedures!are!to!be!
                  reviewed!and!updated!as!necessary!and!at!least!annually!on!a!schedule.!
           2.     Implementation!of!the!policy!and!procedure!
           3.     Documented!evidence!of!officer!and!staff!training!on!the!policy!and!procedure.!
           4.     Observation!of!keys.!!!
           5.     Observation!of!staff!utilizing!keys.!
!
         Observations:!
                   There!is!no!written!OPSO!policy!that!addresses!emergency!keys.!!Emergency!
         keys!are!currently!located!in!each!facility.!!Red!emergency!key!boxes!are!located!in!
         the!Watch!Commander’s!office!for!TDC,!FEMA!tents,!Conchetta,!McDaniel's,!OPP,!
         TPV,!and!the!Intake!Processing!Center.!!Glow!sticks!have!been!attached!to!all!
         emergency!key!rings!to!allow!for!use!in!low!light/no!light.!!!The!emergency!keys!for!
         all!facilities!have!also!been!color1coded!by!floor.51!!!!!

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
51!While!touring!Conchetta,!the!Monitor!requested!staff!to!only!use!the!emergency!keys!to!access!all!doors.!!
The!door!on!the!inside!of!213!did!not!open!with!the!emergency!key.!

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                  Every!jail!building!has!a!prepared!“Fire!Packet”!that!contains!key!location,!
        floor!plans,!and!contact!numbers!of!essential!OPSO!personnel.!!The!packet!can!given!
        to!the!responding!New!Orleans!Fire!Department!in!case!of!fire!or!other!emergency.!!
        A!list!of!the!location!of!the!emergency!keys!is!part!of!the!packet.!
                  The!policy,!to!meet!the!requirements!of!this!provision!also!needs!to!identify!
        who!in!each!facility!on!each!shift!can!access!the!emergency!keys,!and!therefore!
        trained!on!their!use.!!At!least!quarterly!OPSO!must!verify!and!document!to!the!Fire!
        Safety!Officer!by!way!of!a!written!report!that!all!locks!for!doors!from!which!inmates!
        may!be!moved!can!be!opened!by!the!emergency!key.!!
        Recommendations:!
        124.      Develop!and!implement!a!written!policy!and!procedure!that!addresses!this!
                  paragraph.!
               a. Designate!the!position/post!responsible!for!oversight!for!these!functions.!
        125.      Complete!the!notching!system!for!all!emergency!keys!and!complete!the!
                  emergency!key!location!system!for!TPV!and!OPP.!
        126.      Establish!a!quarterly!inspection!process!for!testing!the!locks!of!all!doors!for!
                  which!the!emergency!keys!are!expected!to!open.!
E.'2'Fire'and'Life'Safety'Reporting'
'
IV.!E.2.a.!(1)!–!(3)!!!
OPSO!shall!provide!the!Monitors!a!periodic!report!on!fire!and!life!safety!conditions!at!the!Facility.!!These!
periodic!reports!shall!be!provided!to!the!Monitors!within!four!months!of!the!Effective!Date!and!every!six!
months!thereafter!until!termination!of!this!Agreement.!!Each!report!shall!include:!
     (1) Number!and!type!of!violations!reported!by!fire!and!life!safety!inspectors;!
     (2) Fire!code!violations!during!annual!fire!inspections;!and!
     (3) Occurrences!of!hazardous!clutter!in!housing!units!that!could!lead!to!a!fire.!
!
    Findings:!Partial!Compliance!
    !
     Measures!of!Compliance:!
     1.     Written!policy!and!procedure!governing!required!reporting.!
     2.     Evidence!of!written!report!provided!as!specified!in!the!provision.!
!
        Observations:!
                  Currently!there!is!no!policy!for!either!supervisors!or!fire!safety!officers!to!
        routinely!inspect!all!housing!areas!to!identify!fire!hazards.!!This!is!required.!



                                                                                                                121!
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                 OPSO!provided!documentation!that!highlighted!the!violations!identified!
        through!the!internal!monthly!and!quarterly!fire!and!life!safety!inspections!
        completed!by!the!Fire!Safety!Officer.!!!Also!provided!were!the!specific!reports!that!
        identified!the!detail!for!the!non1conformities.!!The!buildings!were!cited!for!several!
        violations!by!OPSO’s!contractors!who!review!these!functions.!!In!all!cases!corrective!
        action!was!taken!and!documented.!!
        Recommendation:!
        127.     Develop!and!implement!written!policy!and!procedures!addressing!the!
                 requirements!of!this!provision.!
              a. Designate!the!position/post!responsible!for!oversight!for!these!functions.!
2.!b.!!
OPSO!shall!review!the!periodic!fire!and!life!safety!reports!to!determine!whether!the!violations!reported!by!
fire!and!life!safety!inspectors!are!addressed,!ensuring!the!requirements!of!this!Agreement!are!being!met.!!
OPSO!shall!make!recommendations!regarding!the!fire!and!life!safety!conditions,!or!other!necessary!changes!
in!policy,!based!on!this!review.!!The!review!and!recommendations!will!be!documented!and!provided!to!the!
Monitors.!
                                                      !
        Findings:!Partial!Compliance!
        !
         Measures!of!Compliance:!
         1.     Written!policy!and!procedure!governing!required!reporting.!
         2.     Evidence!of!reviews!of!the!fire!and!life!safety!conditions!report!by!staff!responsible!for!
                implementing!policies!and!procedures.!
         3.     Evidence!of!written!audits!of!the!facilities.!
         4.     Evidence!of!command!staff!review.!!Determination!by!OPSO!that!the!policies!and!
                procedures!are!effective!to!address!the!requirements!of!this!Judgment.!
         5.     Documentation!of!Corrective!Actions!taken!to!address!non1conformities!identified!during!
                the!review!process.!
         6.     Changes!to!policy,!training!curriculum,!etc.!resulting!from!these!reviews.!
         7.     Review!of!Fire!Department!reports/inspections;!interviews!with!NOFD.!
!
        Observations:!
                 See!above!regarding!policy!required.!There!was!no!fire!safety!inspection!and!
        action!policy!developed!and!implemented!for!fire!safety.!
                 OPSO!Fire!Safety!Officer!provided!evidence!of!corrective!actions!developed!
        as!a!result!of!the!quarterly!and!annual!inspections.!!
        Recommendation:!
        128.     Develop!written!policy!and!procedures!to!address!the!requirements!of!this!
                 provision!and!implement!it.!


                                                                                                         122!
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               a. Designate!the!position/post!responsible!for!oversight!for!these!functions.!
IV.''F.''''''''Language'Assistance'
'
1.   Timely!and!Meaningful!Access!to!Services!
        a.      OPP!shall!ensure!effective!communication!with,!and!provide!timely!and!meaningful!access!to!
                services!at!OPP!to!all!prisoners!at!OPP,!regardless!of!their!national!origin!or!limited!ability!to!
                speak,!read,!write,!or!understand!English.!!To!achieve!this!outcome,!OPP!shall:!
                (1) Develop!and!implement!a!comprehensive!language!assistance!plan!and!policy!that!
                     complies,!at!a!minimum,!with!Title!VI!of!the!Civil!Rights!Act!of!1964,!as!amended,!(42!
                     U.S.C.!§!2000d!et!seq.)!and!other!applicable!law;!
                (2) Ensure!that!all!OPP!personnel!take!reasonable!steps!to!provide!timely,!meaningful!
                     language!assistance!services!to!Limited!English!Proficient!(“LEP”)!prisoners;!
                (3) At!intake!and!classification,!identify!and!assess!demographic!data,!specifically!including!
                     the!number!of!LEP!individuals!at!OPP!on!a!monthly!basis,!and!the!language(s)!they!
                     speak;!
                (4) Use!collected!demographic!information!to!develop!and!implement!hiring!goals!for!
                     bilingual!staff!that!meet!the!needs!of!the!current!monthly!average!population!of!LEP!
                     prisoners;!
                (5) Regularly!assess!the!proficiency!and!qualifications!of!bilingual!staff!to!become!an!OPP!
                     Authorized!Interpreter!(“OPPAI”);!
                (6) Create!and!maintain!an!OPPAI!list!and!provide!that!list!to!the!classification!and!intake!
                     staff;!and!
                (7) Ensure!that!while!at!OPP,!LEP!prisoners!are!not!asked!to!sign!or!initial!documents!in!
                     English!without!the!benefit!of!a!written!translation!from!an!OPPAI.!
2.   Language!Assistance!Policies!and!Procedures!!
        a.      OPP!shall!develop!and!implement!written!policies,!procedures!and!protocols!for!
                documenting,!processing,!and!tracking!of!individuals!held!for!up!to!48!hours!for!the!U.S.!
                Department!of!Homeland!Security!(“DHS”);!
        b.      Policies,!procedures,!and!protocols!for!processing!481hour!holds!for!DHS!will:!
                (1)       Clearly!delineate!when!a!481hour!hold!is!deemed!to!begin!and!end;!!
                (2)       Ensure!that,!if!necessary,!an!OPPAI!communicates!verbally!with!the!OPP!prisoner!
                          about!when!the!481hour!period!begins!and!is!expected!to!end;!
                (3)       Provide!a!mechanism!for!the!prisoner’s!family!member!and!attorney!to!be!informed!
                          of!the!481hour!hold!time!period,!using,!as!needed,!an!OPPAI!or!telephonic!
                          interpretation!service;!!
                (4)       Create!an!automated!tracking!method,!not!reliant!on!human!memory!or!paper!
                          documentation,!to!trigger!notification!to!DHS!and!to!ensure!that!the!481hour!time!
                          period!is!not!exceeded.! !
                (5)       Ensure!that!telephone!services!have!recorded!instructions!in!English!and!Spanish;!
                (6)       Ensure!that!signs!providing!instructions!to!OPP!prisoners!or!their!families!are!
                          translated!into!Spanish!and!posted;!
                (7)       Provide!Spanish!translations!of!vital!documents!that!are!subject!to!dissemination!to!
                          OPP!prisoners!or!their!family!members.!!Such!vital!documents!include,!but!are!not!
                          limited!to:!!!
                               i. grievance!forms;!!
                               ii. sick!call!forms;!!
                               iii. OPP!inmate!handbooks;!!
                               iv. Prisoner!Notifications!(e.g.,!rule!violations,!transfers,!and!grievance!
                                    responses)!and!!
                               v. “Request!for!Services”!forms.!
                (8)       Ensure!that!Spanish1speaking!LEP!prisoners!obtain!the!Spanish!language!
                          translations!of!forms!provided!by!DHS;!and!!          !
                (9)       Provide!its!language!assistance!plan!and!related!policies!to!all!staff!within!180!days!
                          of!the!Effective!Date!of!this!Agreement.!

                                                                                                             123!
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3.   Language!Assistance!Training!
          a.      Within!180!days!of!the!Effective!Date,!OPP!shall!provide!at!least!eight!hours!of!LEP!training!
                  to!all!corrections!and!medical!and!mental!health!staff!who!may!regularly!interact!with!LEP!
                  prisoners.!
                  (1)       LEP!training!to!OPP!staff!shall!include:!
                                 i. OPP’s!LEP!plan!and!policies,!and!the!requirements!of!Title!VI!and!this!
                                      Agreement;!
                                 ii. how!to!access!OPP1authorized,!telephonic!and!in1person!OPPAIs;!and!
                                 iii. basic!commands!and!statements!in!Spanish!for!OPP!staff.!
                 (2)        OPP!shall!translate!the!language!assistance!plan!and!policy!into!Spanish,!and!other!
                            languages!as!appropriate,!and!post!the!English!and!translated!versions!in!a!public!
                            area!of!the!OPP!facilities,!as!well!as!online.!!!
                  (3)       OPP!shall!make!its!language!assistance!plan!available!to!the!public.!
4.   Bilingual!Staff!
                  (1)       OPP!shall!ensure!that!adequate!bilingual!staff!are!posted!in!housing!units!where!
                            DHS!detainees!and!other!LEP!prisoners!may!be!housed.!
                  (2)       OPP!shall!ensure!that!an!appropriate!number!of!bilingual!staff!are!available!to!
                            translate!or!interpret!for!prisoners!and!other!OPP!staff.!!The!appropriate!number!of!
                            bilingual!staff!will!be!determined!based!on!a!staffing!assessment!by!OPP.!
!
               Finding:!!
                     Partial!Compliance!1!IV.F.1.a.!!!
                     Partial!Compliance!1!IV.F.2.a.!!!
                     Partial!Compliance!1!IV.F.2.b.!!!
                     Partial!Compliance!1!IV.F.3.a.!!!
                     !
               Measures!of!compliance:!
                  1.       Comprehensiveness!of!policy!
                  2.       Training,!!
                  3.       Review!of!inmate!files!
                  4.       Interviews!
!
         Observations:!
                  No!change!from!Compliance!Report!#!3.!
                  The!plaintiffs!are!assessing!the!provisions!of!IV.F.3.a.!regarding!the!8!hours!of!
         training.!!When!the!plaintiffs!and!defendants!have!reached!a!conclusion!the!
         Monitors!will!reassess.!!
         Recommendations:!
         129.     OPSO!and!the!policy!consultant!should!continue!to!work!with!the!Monitors!to!
                  develop!comprehensive!policies!and!procedures!for!a!Language!Assistance!
                  Program.!
         130.     When!a!comprehensive!policy!has!been!finalized,!all!corrections!and!mental!
                  and!health!staff!should!begin!to!receive!the!training!required!under!the!



                                                                                                            124!
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                 Consent!Judgment.!!It!may!be!possible!for!some!of!this!training!to!be!
                 computer!based.!!
        131.     The!plaintiffs!and!defendants!should!confer!regarding!the!requirements!of!IV.!
                 F.!3.a.!and!advise!the!Monitors.!!
IV.''G.!Youthful'Prisoners'
!
Consistent!with!the!Prison!Rape!Elimination!Act!of!2003,!42!U.S.C.!§!15601,!et!seq.,!and!its!implementation!of!
regulations,!a!youthful!prisoner!shall!not!be!placed!in!a!housing!unit!in!which!the!youthful!prisoner!will!have!
sight,!sound,!or!physical!contact!with!any!adult!prisoner!through!use!of!a!shared!dayroom!or!other!common!
space,!shower!area,!or!sleeping!quarters.!!In!areas!outside!of!housing!units,!OPSO!shall!either:!!maintain!sight!
and!sound!separation!between!youthful!prisoners!and!adult!prisoners,!or!provide!direct!staff!supervision!
when!youthful!prisoners!and!adult!prisoners!have!sight,!sound,!or!physical!contact.!!OPP!shall!ensure!that!
youthful!prisoners!in!protective!custody!status!shall!have!no!contact!with,!or!access!to!or!from,!non1
protective!custody!prisoners.!!OPP!will!develop!policies!for!the!provision!of!developmentally!appropriate!
mental!health!and!programming!services.!!See#also#paragraph#17.#Stipulated#Agreement#of#2/11/15.!
    !
    Findings:! Partial1compliance!
    !
        Measures!of!Compliance:!
        1.     Written!policy/procedures!governing!classification!and!housing!of!youthful!inmates,!
               including!but!not!to!sight/sound!separation,!provision!of!services,!protective!custody,!
               education!and!other!services,!services!for!youthful!inmates!with!mental!illness!or!who!are!
               developmentally!disabled,!access!to!medical!and!mental!health!services.!
        2.     Housing!plan;!classification!plan.!
        3.     Observation!
        4.     Interview!with!youthful!inmates.!
        5.     Review!of!recreation!and!program!schedules.!
        6.     Review!of!inmate!files!(developmentally!disabled,!mental!illness)!
        7.     Review!of!housing!unit!logs,!program!schedules.!
!
        Observations:!
                 The!City!and!Sheriff!are!commended!for!moving!as!many!youthful!prisoners!
        out!of!Orleans!Parish!Jail!to!the!Youth!Study!Center!(YSC)!as!can!be!accommodated!
        by!the!Center.!!Sadly,!this!leaves!almost!50!youthful!offenders!in!OPSO’s!custody.!!
        The!information!provided!to!the!Monitors!indicates!it!will!be!several!years!before!
        the!YSC!can!be!expanded!to!accommodate!the!need!for!housing.!
                 During!the!recent!tour,!the!Monitors!noted!that!there!were!inmates!under!
        the!age!of!18!housed!in!general!population!solely!because!they!were!being!changed!
        as!adults.!!A!review!of!the!PREA!standards!with!OPSO!resulted!in!an!immediate!re1
        classification!and!re1housing!of!these!individuals!to!the!youthful!offender!tier!in!




                                                                                                            125!
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         Conchetta.!!While!the!Monitors!appreciate!how!expeditiously!this!was!handled,!
         placing!all!these!youth!in!a!tier!with!little!or!no!programming!is!problematic.52!
         The!Monitors!recommended!in!March!2104!that!OPSO!hire/retain!an!individual!
    with!responsibilities!to!develop!and!operate!programs!for!the!youthful!inmates.!!This!
    position!was!not!hired.!!During!the!tour!the!Monitors!brought!this!to!the!attention!of!
    Chief!DeSadier!and!provided!to!OPSO!job!descriptions!and!post!orders!from!
    approximately!15!jails!that!OPSO!can!use!to!hire!this!position.!!This!position!is!
    absolutely!essential!to!achieving!compliance!with!this!provision!for!developmentally!
    appropriate!mental!health!and!programming!services.!
    !    Housing!juveniles!in!the!new!jail!present!some!problematic!operational!issues.!!All!
    youthful!prisoners!do!not!the!same!classification,!some!need!to!be!kept!separate!from!
    each!other,!others!are!classified!as!potential!predators!or!potential!victims,!and/or!
    several!have!a!diagnosis!of!mental!illness.!!That!means!that!housing!these!inmates!in!the!
    same!unrestricted!(or!direct!supervision)!housing!unit!is!not!acceptable.!!Having!
    smaller!units!available!in!which!to!separate!the!inmates!needing!to!be!separated,!



!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
52!Do'all'inmates'under'the'age'of'18,'regardless'of'court'adjudication,'need'to'be'housed'and'managed'in'an'area'
totally'separate'from'adult'inmates'while'residing'in'an'adult'jail'or'prison?!
PREA!Standard!115.14!provides!that!youthful#inmates,!which!the!standards!define!as!“any!person!under!the!age!of!18!who!
is!under!adult!court!supervision!and!incarcerated!or!detained!in!a!prison!or!jail,”!must!be!housed!separately!from!adult!
inmates!in!a!jail!or!prison,!but!may!be!managed!together!outside!of!a!housing!unit!if!supervised!directly!by!staff.!Standard!
115.114!provides!analogous!but!abbreviated!standard!requirements!for!lockups.!The!standard!includes!three!
requirements.!First,!no!youthful!inmate!may!be!placed!in!a!housing!unit!where!he/she!will!have!contact!with!any!adult!
inmate!through!use!of!a!shared!day!room!or!other!common!space,!shower!area,!or!sleeping!quarters.!Second,!outside!of!
housing!units,!agencies!must!either!maintain!“sight!and!sound!separation”!between!youthful!inmates!and!adult!inmates—
i.e.,!prevent!adult!inmates!from!seeing!or!communicating!with!youth—or!provide!direct!staff!supervision!when!youthful!
inmates!and!adult!inmates!are!together.!Third,!agencies!must!make!their!best!efforts!to!avoid!placing!youthful!inmates!in!
isolation!to!comply!with!this!provision.!Finally,!absent!exigent!circumstances,!agencies!must!comply!with!this!standard!in!
a!manner!that!affords!youthful!inmates!daily!large1muscle!exercise!and!any!legally!required!special!education!services,!
and!provides!access!to!other!programs!and!work!opportunities!to!the!extent!possible.!Persons!under!18!who!are!charged!
with!status!offenses!and/or!delinquent!offenses!are!not!covered!by!Standard!115.14,!but!they!are!covered!by!the!Juvenile!
Justice!and!Delinquency!Prevention!Act!(JJDPA)!and!regulations!promulgated!pursuant!to!the!JJDPA.!These!requirements!
ensure!that!states!do!not!securely!detain!status!offenders!in!adult!facilities!and!severely!limit!the!time!in!which!accused!
delinquent!youth!may!spend!in!adult!facilities;!status!offending!and!delinquent!youth!must!always!be!sight!and!sound!
separated!from!adult!inmates!in!prisons,!jails,!and!lockups.!More!information!about!JJDPA!requirements!is!available!at!
www.ojjdp.gov/compliance.mm!in!crafting!this!standard,!DOJ!was!cognizant!of!agency!concerns!regarding!cost,!feasibility,!
and!preservation!of!state!law!prerogatives!related!to!youthful!inmates.!Accordingly,!this!standard!affords!facilities!and!
agencies!flexibility!in!devising!an!approach!to!separate!youthful!inmates.!In!particular,!agencies!can!achieve!compliance!
by!1)!confining!all!youthful!inmates!to!a!separate!housing!unit;!2)!transferring!youthful!inmates!to!a!facility!within!the!
agency!that!enables!them!to!be!confined!to!a!separate!unit;!3)!entering!into!a!cooperative!agreement!with!an!outside!
jurisdiction!to!enable!compliance;!or!4)!ceasing!to!confine!youthful!inmates!in!adult!facilities!as!a!matter!of!policy!or!law.!
Agencies!may,!of!course,!combine!these!approaches!as!they!see!fit.!Last#updated#February#7,#
2013.!http://www.prearesourcecenter.org/faq#n1067!!Accessed!8/17/15!

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     avoiding!locking!inmates!down!to!allow!others!out!of!cell!time!–!present!significant!
     challenges.!!!!
     !   Partial!compliance!is!provided!as!the!first!part!of!this!provision!was!met!before!the!
     Monitors!concluded!their!August!tour.!!!The!measures!of!compliance!have!yet!to!be!
     developed!of!implemented.!
         Recommendations:!
         132.    Develop!and!implement!written!policies!and!procedures!to!comply!with!this!
                 paragraph.!![See!also!the!measures!of!compliance.]!
         133.    Develop!the!housing!plan!for!juveniles!as!the!new!jail!opens.!
         134.    Immediately!Hire/retain!an!individual(s)!with!the!skills!and!qualifications!to!
                 develop!programs,!solicit!volunteers!and!other!providers,!and!oversee!the!
                 programming.!
         135.    Prepare!the!plan!required!by!May!1,!2015!regarding!programming!that!has!
                 not!been!provided!to!the!Monitors.53!
'
VI.'''A'–'D.'The'New'Jail'Facility'and'Related'Issues'
!
A.       The!Parties!anticipate!that!Defendant!will!build!a!new!jail!facility!or!facilities!that!will!replace!or!
         supplement!the!current!facility!located!at!2800!Gravier!Street,!New!Orleans,!Louisiana.!!This!
         Agreement!shall!apply!to!any!new!jail!facility.!!!
B.       Defendant!shall!obtain!the!services!of!a!qualified!professional!to!evaluate,!design,!plan,!oversee,!and!
         implement!the!construction!of!any!new!facility.!!At!each!major!stage!of!the!facility!construction,!
         Defendant!shall!provide!the!Monitors!with!copies!of!design!documents.!
C.       Defendant!shall!consult!with!a!qualified!corrections!expert!as!to!the!required!services!and!staffing!
         levels!needed!for!any!replacement!facility.!!OPSO!shall!complete!a!staffing!study!to!ensure!that!any!
         new!facility!is!adequately!staffed!to!provide!prisoners!with!reasonable!safety.!
D.       Defendant!will!ensure!that!the!new!jail!facility!will!be!built!in!accordance!with:!!(1)!the!American!
         Correctional!Association’s!standards!in!effect!at!the!time!of!construction;!(2)!the!American!with!
         Disabilities!Act!of!1990!(“ADA”),!42!U.S.C.!§§!12101112213,!including!changes!made!by!the!ADA!
         Amendments!of!2008!(P.L.!1101325)!and!47!U.S.C.!§§!2251661,!and!the!regulations!there!under;!and!
         (3)!all!applicable!fire!codes!and!regulations.!
         !
         Observations:!

!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
53!Paragraph!17.c.!of!the!Stipulated!Agreement!of!2/11/15:!By!May!1,!2015!OPSO!shall!provide!a!
programming!plan,!based!on!the!resources!it!has!been!able!to!secure,!to!include!education,!for!all!eligible!
youth!in!its!custody,!to!Monitors!for!review.!Following!receipt!of!the!Monitors’!comments,!OPSO!will!make!
any!necessary!revisions,!consult!with!the!Monitor(s)!as!needed,!and!provide!a!final!draft!to!the!Plaintiffs!to!
provide!substantive!comments!to!both!OPSO!and!the!Monitor(s).!In!the!event!that!the!Monitor!and/or!the!
OPSO!disagree!with!any!comments!or!recommendations!by!the!Plaintiffs,!the!Monitor!will!convene!a!
conference!call!for!the!purpose!of!resolving!issues.!!

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   A. New!Jail!!!
         OPSO!indicates!the!new!jail!will!open!for!inmates!in!September!2015.!
            Finding!–!Substantial!Compliance!!
   B. Design!and!Design!Document!!
            Finding!–!Substantial!Compliance!!
   C. Staffing!!
            Finding!–!Substantial!Compliance!
            The!staffing!analysis!has!been!completed!(see!IV.A.6.)!!!
   D. Compliance!with!Codes!and!Standards!
            Finding!–!Not!evaluated.!The!Monitor’s!do!not!have!the!knowledge!base!to!
   evaluate!this!paragraph.




                                                                                    128!
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VII.'A.'Compliance'and'Quality'Improvement'
Within!120!days!of!the!Effective!Date,!OPSO!shall!revise!and/or!develop!its!policies,!procedures,!protocols,!
training!curricula,!and!practices!to!ensure!that!they!are!consistent!with,!incorporate,!address,!and!implement!
all!provisions!of!this!Agreement.!!OPSO!shall!revise!and/or!develop,!as!necessary,!other!written!documents,!
such!as!screening!tools,!logs,!handbooks,!manuals,!and!forms,!to!effectuate!the!provisions!of!this!Agreement.!!
OPSO!shall!send!pertinent!newly1drafted!and!revised!policies!and!procedures!to!the!Monitors!as!they!are!
promulgated.!!The!Monitors!will!provide!comments!on!the!policies!to!OPSO,!SPLC,!and!DOJ!within!30!days.!!
OPSO,!SPLC,!and!DOJ!may!provide!comments!on!the!Monitors’!comments!within!15!days.!!At!that!point,!the!
Monitors!will!consider!the!Parties’!comments,!mediate!any!disputes,!and!approve!the!policies!with!any!
changes!within!30!days.!!If!either!party!disagrees!with!the!Monitors,!they!may!bring!the!dispute!to!the!Court.!!
OPSO!shall!provide!initial!and!in1service!training!to!all!Facility!staff!with!respect!to!newly!implemented!or!
revised!policies!and!procedures.!!OPSO!shall!document!employee!review!and!training!in!new!or!revised!
policies!and!procedures.!
!
       Finding:! Partial!compliance!
!!!!!!!!!
!           Measures!of!Compliance:!
            1.     Policies!and!procedures!manual.!
       !
          2.       Process/spreadsheet!to!identify!all!existing!and!planned!written!directives,!dates!
                   when!expected!to!be!submitted!for!Monitors’!review.!

        Observations:!
                 Work!continues!to!complete!the!written!directive!system.!!The!work!is!
        progressing!too!slowly!in!the!view!of!the!Monitors.!!!OPSO!and!the!vendors!are!
        tracking!the!status!of!the!elements!of!the!written!directive!system.!!Many!of!these!
        policies/procedures!need!to!be!completed!and!staff!trained!before!the!new!jail!can!
        open.!
!       Recommendation:!
        136.     OPSO!continue!to!Monitors!the!performance!of!the!vendor,!as!well!as!provide!
                 internal!assets!to!review!the!policy!drafts!before!forwarding!to!the!Monitors!
                 for!review.!
VII.(H).'B.'Compliance'and'Quality'Improvement'
Within!180!days!of!the!Effective!Date,!Defendant!shall!develop!and!implement!written!quality!improvement!
policies!and!procedures!adequate!to!identify!serious!deficiencies!in!protection!from!harm,!prisoner!suicide!
prevention,!detoxification,!mental!health!care,!environmental!health,!and!fire!and!life!safety!in!order!to!assess!
and!ensure!compliance!with!the!terms!of!this!Agreement!on!an!ongoing!basis.!!Within!90!days!after!
identifying!serious!deficiencies,!OPSO!shall!develop!and!implement!policies!and!procedures!to!address!
problems!that!are!uncovered!during!the!course!of!quality!improvement!activities.!!These!policies!and!
procedures!shall!include!the!development!and!implementation!of!corrective!action!plans,!as!necessary,!within!
30!days!of!each!biannual!review.!
!
    Finding:! Non1compliance!
!
    Measures!of!Compliance:!

!                                                     !                                                     129!
!
                       Compliance!Report!#!4!1!September!9,!2015!
                                                  !
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        1.       Written!policy/procedure!governing!quality!improvement.!!!
        2.       Written!report.!
        3.       Results!of!action!plan!from!written!report.!
!
    Observations:!
    !   No!change!since!Compliance!Report!#!3.!!
        See!above!VII.A.!
    Recommendation:!
        See!above!VII.A.!
IV.'(I).'C.!Compliance'and'Quality'Improvement'
The!Parties!agree!that!OPSO!will!hire!and!retain,!or!reassign!a!current!OPSO!employee!for!the!duration!of!this!
Agreement,!to!serve!as!a!full1time!OPSO!Compliance!Coordinator.!!The!Compliance!Coordinator!will!serve!as!a!
liaison!between!the!Parties!and!the!Monitors!and!will!assist!with!OPSO’s!compliance!with!this!Agreement.!!At!
a!minimum,!the!Compliance!Coordinator!will:!!coordinate!OPSO’s!compliance!and!implementation!activities;!
facilitate!the!provision!of!data,!documents,!materials,!and!access!to!OPSO’s!personnel!to!the!Monitors,!SPLC,!
DOJ,!and!the!public,!as!needed;!ensure!that!all!documents!and!records!are!maintained!as!provided!in!this!
Agreement;!and!assist!in!assigning!compliance!tasks!to!OPSO!personnel,!as!directed!by!the!Sheriff!or!his!or!
her!designee.!!The!Compliance!Coordinator!will!take!primary!responsibility!for!collecting!information!the!
Monitors!requires!to!carry!out!the!duties!assigned!to!the!Monitors.!!
!       !
        Finding:!!Complaint!
        !
        Observation:!
                 OPSO!has!retained!a!qualified!person!to!serve!as!compliance!coordinator,!and!
        provided!additional!resources!to!assist!that!person.!
        Recommendation:!!None!at!this!time.!
VI.'(J.)'D.'Compliance'and'Quality'Improvement'
On!a!bi1annual!basis,!OPSO!will!provide!the!public!with!a!self1assessment!in!which!areas!of!significant!
improvement!or!areas!still!undergoing!improvement!are!presented!either!through!use!of!the!OPSO!website!or!
through!issuance!of!a!public!statement!or!report.!
        !
        Finding:!        Partial!compliance!
        !
        Observations:!
                 Partial!compliance!is!indicated!as!OPSO!has!provided!bi1annual!reports.!!
        These!reports!need!to!be!guided!by!written!directives.!!The!scope!and!depth!of!the!
        reports!needs!to!improve!as!the!directives!are!completed,!staff!trained,!and!
        experience!using!the!reports!for!internal!monitoring!and!improvement!move!



!                                                    !                                                    130!
!
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                                                 !
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        forward.!!!OPSO!and!the!plaintiffs!have!discussed!ways!to!improve!reporting!by!
        clarifying!requirements!of!the!Consent!Judgment!and!related!due!dates.!
        Recommendations:!
        137.     Ensure!that!there!are!written!policies!and!procedures!that!support!these!
                 functions,!including!periodicity!of!reporting,!and!accountability.!
        138.     Produce!the!required!reports.!
VIII.''Reporting'Requirements'and'Right'of'Access'
!
VIII.'A.!OPSO!shall!submit!periodic!compliance!reports!to!the!Monitors.!!These!periodic!reports!shall!be!
provided!to!the!Monitors!within!four!months!from!the!date!of!a!definitive!judgment!on!funding;!and!every!six!
months!thereafter!until!termination!of!this!Agreement.!!Each!compliance!report!shall!describe!the!actions!
Defendant!has!taken!during!the!reporting!period!to!implement!this!Agreement!and!shall!make!specific!
reference!to!the!Agreement!provisions!being!implemented.!!The!report!shall!also!summarize!audits!and!
continuous!improvement!and!quality!assurance!activities,!and!contain!findings!and!recommendations!that!
would!be!used!to!track!and!trend!data!compiled!at!the!Facility.!!The!report!shall!also!capture!data!that!is!
tracked!and!monitored!under!the!reporting!provisions!of!the!following!provisions:!!Use!of!Force;!Suicide!
Prevention;!Health!Care!Delivered;!Sanitation!and!Environmental!Conditions;!and!Fire!and!Life!Safety.!!!
        !
        Finding:!        Partial!compliance!
        !
        Observations:!!!
                 The!compliance!report!guiding!the!Monitors’!tour!in!August!was!produced,!
        but!too!late!to!be!of!assistance!during!the!tour.!!Additionally,!the!reporting!is!not!
        included!in!the!written!directive!system.!!
        Recommendation:!
        139.     Prepare!a!!written!policies!and!procedures!that!support!these!requirements,!
                 including!periodicity!of!reporting,!and!accountability.!
VIII.'B.!OPSO!shall,!within!24!hours,!notify!the!Monitors!upon!the!death!of!any!prisoner.!!The!Monitors!shall!
forward!any!such!notifications!to!SPLC!and!DOJ!upon!receipt.!!OPSO!shall!forward!to!the!Monitors!incident!
reports!and!medical!and/or!mental!health!reports!related!to!deaths,!autopsies,!and/or!death!summaries!of!
prisoners,!as!well!as!all!final!SOD!and!IAD!reports!that!involve!prisoners.!!The!Monitors!shall!forward!any!
such!reports!to!SPLC!and!DOJ!upon!receipt.!
        !
        Finding:!        Partial!Compliance!
        !
        Observations:!!!




!                                                     !                                                    131!
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                 No!change!from!last!compliance!report.!!Notifications!are!provided.!!
        Requirements!need!to!be!included!in!written!directives!to!achieve!substantial!
        compliance.!
        Recommendation:!
        140.     Ensure!that!there!are!written!policies!and!procedures!that!support!these!
                 functions,!including!periodicity!of!reporting,!and!accountability.!
VIII.'C.!Defendant!shall!maintain!sufficient!records!to!document!that!the!requirements!of!this!Agreement!are!
being!properly!implemented!and!shall!make!such!records!available!to!the!Monitors!within!seven!days!of!
request!for!inspection!and!copying.!!In!addition,!Defendant!shall!maintain!and!provide,!upon!request,!all!
records!or!other!documents!to!verify!that!they!have!taken!the!actions!described!in!their!compliance!reports!
(e.g.,!census!summaries,!policies,!procedures,!protocols,!training!materials,!investigations,!incident!reports,!
tier!logs,!or!use!of!force!reports).!
        !
        Finding:!         Compliance!
        !
        Observations:!!!
        !        OPSO!maintains!and!provides!records!as!required!above.!
        Recommendation:!!None!at!this!time.!
!
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VIII.' Stipulated'Agreements''
'      '
            The!Orleans!Parish!Sheriff’s!Office!(OPSO)!and!the!plaintiffs!(U.!S.!Department!of!
Justice,!MacArthur!Justice!Center)!negotiated!two!agreements!since!Compliance!Report!#3.!!
The!objective!of!these!two!agreements!is!to!move!critical!requirements!contained!in!the!
Consent!Judgment,!and!not!yet!completed,!to!a!faster!track.!!The!Monitors!periodically!
report!to!the!parties!and!the!Court!regarding!the!defendants’!compliance.!!
Agreement/Order'(2/11/15)'!
    #!                  Language'                       Due'         Status''          Notes'on'Compliance'
                                                        Date'
1.''OPSO'Reporting'on'Compliance'Status'with'the'Consent'Judgment'
 1.a.! At!each!of!the!scheduled!Court!status!         3/26/15! Compliant!           Chief!DeSadier!reported!
       conferences,!the!Sheriff!or!his!designee!                                    during!the!Status!
       shall!report!to!the!Court!regarding!OPSO’s!                                  Conference!of!8/6/15.!!Prior!
       compliance!status!with!each!section!(e.g.!                                   to!that!time,!compliance!
       Section!IV.A,!IV.B.)!of!the!Consent!                                         coordinator!Gary!Gremillion!
       Judgment.!!!This!report!shall!include!a!                                     reported!at!the!Status!
       summary!of!OPSO’s!progress!since!the!                                        Conference!on!6/25/15.!
       immediate!previously!scheduled!status!                                       !
       conference,!and!will!include!in!the!                                         !
       reporting!OPSO’s!planned!actions!in!the!
       next!60!days!to!come!into!compliance!
1.b.! OPSO!shall!comply!with!the!Consent!              4/1/15! Partial!             A!report!was!provided!on!
       Judgment’s!requirement!for!periodic!a!          Future! Compliance!          7/31/15!providing!OPSO’s!
       compliance!report!as!set!forth!in!Consent!       TBD!                        assessment!of!compliance,!
       Judgment!Section!VIII.A.54!The!report!shall!                                 but!does!not!include!all!the!
       describe!the!steps!OPSO!has!taken!in!                                        items!required!in!the!CJ!(see!
       furtherance!of!compliance,!and!the!                                          footnote!1).!
       activities!planned!during!the!next!                                          !
       reporting!period.!!The!first!report!is!due!by!                               See!also!Consent!Judgment!
       April!1,!2015,!and!periodic!reports!shall!be!                                VII.!J.!(D.),!VIII.!A.!!
       due!in!accordance!with!Section!VIII.A,!
       and/or!on!dates!mutually!agreed!to!by!the!
       parties!and!the!Monitors,!and!approved!by!
       the!Court,!as!necessary.!
 1.c.! Within!24!hours!of!the!occurrence!of!any!         On1   Partial!             The!Monitors’!believe!that!

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54!A.!!OPSO!shall!submit!periodic!compliance!reports!to!the!Monitor.!!These!periodic!reports!shall!be!provided!
to!the!Monitor!within!four!months!from!the!date!of!a!definitive!judgment!on!funding;!and!every!six!months!
thereafter!until!termination!of!this!Agreement.!!Each!compliance!report!shall!describe!the!actions!Defendant!
has!taken!during!the!reporting!period!to!implement!this!Agreement!and!shall!make!specific!reference!to!the!
Agreement!provisions!being!implemented.!!The!report!shall!also!summarize!audits!and!continuous!
improvement!and!quality!assurance!activities,!and!contain!findings!and!recommendations!that!would!be!used!
to!track!and!trend!data!compiled!at!the!Facility.!!The!report!shall!also!capture!data!that!is!tracked!and!
monitored!under!the!reporting!provisions!of!the!following!provisions:!!Use!of!Force;!Suicide!Prevention;!
Health!Care!Delivered;!Sanitation!and!Environmental!Conditions;!and!Fire!and!Life!Safety.!!!
!
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 #!                                  Language'                                          Due'                    Status''                     Notes'on'Compliance'
                                                                                       Date'
        of!the!following!incidents,!OSPO!shall!                                        going!          Compliance!                     OPSO!is!transmitting!
        notify!the!Monitor!via!email:!                                                                                                 reportable!incidents;!
        • Death!of!an!inmate/arrestee!while!                                                                                           Monitors!verifying!that!all!
             held!in!custody!(or!housed!in!a!                                                                                          reports!are!getting!to!OPSO!
             hospital!to!which!the!inmate!has!been!                                                                                    command!by!evaluating!
             committed!for!care!and!remains!in!the!                                                                                    allegations!provided!by!the!
             custody!of!OPSO;!or!whose!injury!                                                                                         plaintiffs.!!!
             occurred!while!in!custody!and!was!                                                                                        !
             subsequently!released!from!custody);!                                                                                     !
        • An!inmate’s/arrestee’s!suicide,!suicide!                                                                                     See!also!Consent!Judgment!
             attempt,!aborted!suicide!attempt,!                                                                                        VIII.!B.!
             suicidal!intent,!and/or!deliberate!
             suicide!self1harm!gesture!as!defined!
             by!the!American!Psychiatric!
             Association;55!
        • An!inmate’s!allegation!of!sexual!abuse,!
             sexual!assault,!sexual!harassment,!or!
             voyeurism!whether!the!incident!is!
             between!or!among!inmates,!or!
             between!or!among!inmates!and!a!
             staff/contractor!or!volunteer;!
        • An!inmate’s!report,!or!a!report!by!a!
             staff/contractor!or!volunteer,!of!any!
             inmate/inmate!allegation!of!assault;!or!
             other!inmate!allegations!of!felonies!
             occurring!to!them!while!in!custody;!
        • An!inmate’s!report,!or!a!report!by!a!
             staff/contractor!or!volunteer,!of!any!
             allegation!of!use!of!excessive!force!by!
             an!employee,!volunteer!or!contractor;!!
        • Suspension!or!arrest!of!any!OPSO!
             employee,!volunteer,!or!contractor!for!
             alleged!criminal!activities!while!on1
             duty!and/or!in!a!facility!under!the!
             control!of!OPSO;!and!
        • Recovery!of!significant!contraband!
             specifically!weapons.!
2.''Policies'and'Procedures'(All'Relevant'Sections)'
 2.a.! By!March!31,!2015,!OPSO!shall!provide!a!       3/31/15!                                         Partial!                        Updated!Matrix!provided!on!
        schedule!for!the!drafting!and!finalizing!of!                                                   Compliance'                     7/26/15.!
        all!policies!and!procedures!required!under!                                                    7/26/15.!                       !
        the!Consent!Judgment.!!This!schedule!shall!                                                    !                               Need!matrix/due!dates!for!
        include:!!deadlines!to!simultaneously!                                                         !                               completed!medical/mental!

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55!Suicide!1self1inflicted!death!with!evidence!that!the!person!intended!to!die.!!Suicide!attempt!1self1injurious!
behavior!with!a!nonfatal!outcome!and!evidence!that!the!person!intended!to!die.!!Aborted!suicide!attempt1
potentially!self1injurious!behavior!with!evidence!that!the!person!intended!to!die!but!stopped!before!physical!
damage!occurred.!Suicide!ideationQ!thoughts!of!serving!as!the!agent!of!one’s!own!death.!Suicidal!intent1
subjective!expectation!and!desire!for!self1destructive!act!to!end!in!death.!Deliberate!self1harm/!(gesture)!
willful!self1infliction!of!painful,!destructive!or!injurious!acts!without!intent!to!die.!
(Reference:!APA!Practice!Guidelines)!
!                                                       !                                                    134!
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 #!                    Language'                        Due'           Status''           Notes'on'Compliance'
                                                        Date'
       submit!drafts!to,!and!receive!comments,!                            health/dental!policies!and!
       from!the!Monitor(s),!and!from!the!                                  procedures.!
       Plaintiffs!and!USDOJ!(“Plaintiffs”).!The!                           !
       Plaintiffs!will!also!provide!a!copy!of!their!                       See!also!Consent!Judgment!
       comments!to!the!Monitor.!!In!the!event!                             VII.!A.!!
       that!the!Monitor!or!the!OPSO!disagree!with!
       any!comments!or!recommendations!by!the!
       Plaintiffs,!the!Monitor!will!convene!a!
       conference!call!for!the!purpose!of!
       resolving!issues.!
2.b.! The!schedule!shall!identify!the!policies!and!    On!or! Partial!     All!priority!policies!and!
       procedures!that!are!considered!to!be!a!        before! compliance!! procedures!have!not!been!
       priority!including:!!use!of!force,!incidents! 3/31/15!              transmitted!to!the!monitors.!
       and!referrals,!the!early!intervention!                              !
       system,!inmate!grievance!process,!and!                              Updated!listing!provided!to!
       inmate!classification.!!!The!drafts!of!these!                       all!parties!on!7/26/15.!
       policies!shall!be!submitted!to!the!                                 !
       Monitor(s)!for!initial!review!on!or!before!                         See!also!Consent!Judgment!
       March!31,!2015.!!Following!receipt!of!the!                          VII.!A.!
       Monitors’!comments,!OPSO!will!make!any!
       necessary!revisions,!consult!with!the!
       Monitor(s)!as!needed,!and!provide!a!final!
       draft!to!the!Plaintiffs!to!provide!
       substantive!comments!to!both!OPSO!and!
       the!Monitor(s).!In!the!event!that!the!
       Monitor!and/or!the!OPSO!disagree!with!
       any!comments!or!recommendations!by!the!
       Plaintiffs,!the!Monitor!will!convene!a!
       conference!call!for!the!purpose!of!
       resolving!issues.!
3.''Memoranda'to'Implement'Substantive'Provisions'of'the'Consent'Judgment'
 3.!   Pending!implementation!of!policies!that!       3/1/15! Compliant!!  !Provided!in!final!2/24/15;!
       implement!the!Consent!Judgment,'OPSO!                               completed.!
       shall!prepare!a!memoranda!to!all!OPSO!                              !
       staff,!contractors,!and!volunteers,!as!                             See!also!Consent!Judgment!
       outlined!in!various!provisions!below.56!                            VII.!A.!
       !For!each!provision,!the!memoranda!shall!
       delineate!the!responsibilities!of!staff,!
       contractors!and/or!volunteers!under!the!
       terms!of!the!Consent!Judgment!as!well!as!
       the!required!procedures!for!
       notification/action.!!OPSO!shall!submit!
       each!draft!memoranda!to!Plaintiffs!and!the!
       Monitor!no!later!than!March!1,!2015.!!
       Plaintiffs!and!the!Monitor!will!have!three!
       business!days!to!comment!on!the!draft!
       memoranda.!In!the!event!that!the!Monitor!

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56!The!memorandum!shall!include!the!date!of!issue,!date!of!expiration,!subject,!title!of!issuing!authority,!to!
whom!the!memorandum!is!directed,!the!dates!for!reading!at!roll!call,!the!dates!to!be!posted,!and!location!of!
posting.!
!                                               !                                                         135!
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    #!                  Language'                         Due'         Status''      Notes'on'Compliance'
                                                          Date'
        and/or!the!OPSO!disagree!with!any!
        comments!or!recommendations!by!the!
        Plaintiffs,!the!Monitor!will!immediately!
        convene!a!conference!call!for!the!purpose!
        of!resolving!issues.!!Within!seven!business!
        days!of!finalizing!the!memoranda!based!on!
        the!comments!of!the!Monitor(s)!and!
        Plaintiffs,!OPSO!will!assure!that!the!
        memoranda!is!read!at!roll!call!on!all!shifts,!
        in!all!facilities,!and!in!all!locations!(e.g.!
        medical)!for!three!consecutive!days.!!!
        Discrete!memoranda!regarding!similar!
        topics!noted!in!this!Stipulated!Order!may!
        be!combined!into!a!single!memorandum.!!
        OPSO!will!maintain!a!written!list!of!staff,!
        contractors!and!volunteers!present!during!
        the!reading!of!the!memoranda!and!will!
        produce!that!list!on!request.!!OPSO!will!
        also!post!any!memoranda!in!places!where!
        roll!calls!are!held,!locker!rooms,!and!other!
        non1inmate!areas!where!staff!may!view!
        the!information.!!
4.''Use'of'Force'Reporting'
 4.a.! OPSO!shall!issue!a!memorandum!to!OPSO!           3/1/15!   Compliant!!     Completed!2/24/15!!
        staff!and!contractors!regarding!their!                                    !
        obligation!to!report!uses!of!force!for!                                   See!also!Consent!Judgment!
        inmates!under!the!legal!care,!custody!and!                                IV.A.3.a.!
        control!of!OPSO!and!in!any!facility!
        operated!by!OPSO,!and!including!in!
        vehicles,!hospitals,!during!transports,!and!
        in!court!holding!areas.!!The!memoranda!
        will!outline!the!requirements!and!
        timelines!for!reporting.!
4.b.! OPSO!shall!issue!a!memorandum!to!staff!           3/1/15!   Compliant!!     Completed!2/24/15!
        and!contractors!that!all!incident!reports!                                !
        regarding!a!use!of!force!will!contain!all!                                See!also!Consent!Judgment!
        Consent!Judgment1required!elements!as!                                    IV.A.3.!
        outlined!in!§!IV.A.3.b1c,!e.!!The!
        memorandum!will!be!issued!in!accordance!
        with!the!terms!specified!in!Item!3!of!this!
        Stipulated!Order.!
 4.c.! OPSO!shall!issue!a!memorandum!to!Watch!          3/1/15!   Compliant!!     Completed!2/24/15!
        Commanders!and!to!Wardens!to!ensure!                                      !
        that!Watch!Commanders!and!Wardens’!                                       See!also!Consent!Judgment!
        reports!contain!all!elements!required!                                    IV.A.3.!
        under!the!Consent!Judgment,!as!outlined!in!
        §!IV.A.3.d.f.!!!The!memorandum!will!be!
        issued!in!accordance!with!the!terms!
        specified!in!Item!3!of!this!Stipulated!Order.!
5.''Early'Intervention'Systems'
 5.a.! By!February!15,!2015,!OPSO!shall!identify!      2/15/15!   Compliant!      4/10/15!

!                                                     !                                               136!
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    #!                    Language'                         Due'    Status''      Notes'on'Compliance'
                                                            Date'
           the!names!of!the!members!of!the!Use!of!                             !
           Force!Review!Board!to!the!Monitor!and!the!                          Per!Counsel:!The!members!of!
           Plaintiffs/USDOJ.!!                                                 the!board,!as!it!currently!sits,!
                                                                               are:!
                                                                               Major!Eddie!Hosli!
                                                                               Colonel!Michael!Laughlin!
                                                                               Major!Melvin!Howard!
                                                                               Mary!Ann!Benitez!
                                                                               Lieutenant!Terrell!Robinson!
                                                                               Lieutenant!Catallanato!does!
                                                                               attend,!but!is!not!a!member!of!
                                                                               the!board.!
                                                                               !
                                                                               See!also!Consent!Judgment!IV.!
                                                                               A.4.b.!
5.b.!   Commencing!March!1,!2015,!OPSO!will!            3/1/15! Partial!       Monitors!have!requested!
        make!available!to!Monitors,!at!the!                     compliance!    and!reviewed!information;!
        Monitors’!request,!the!quarterly!reviews!               !              suggested!changes;!
        conducted!by!ISB!and!the!command!staff!                                reviewed!modified!
        regarding!the!operation!of!the!EIS!system,!                            reporting.!
        including!supporting!documentation!                                    !
        reviewed,!as!delineated!by!Section!IV.A.!                              See!also!Consent!Judgment!IV.!
        4.b.,!c.,!d.,!and!e.!of!the!Consent!Judgment.!                         A.4.c.!
6.''Safety'and'Supervision'
 6.a.! By!February!15,!2015!in!order!that!the!         2/15/15! Compliant!!    Letter!from!Sheriff!dated!
        housing!for!youthful!offenders!is!                      !              12/29/14!
        continually!staff!by!a!deputy!will!assure!                             OPSO!provided!logs!as!
        that!a!deputy!is!working!on!every!shift,!on!                           requested.!
        every!day!to!on!the!unit!housing!youthful!                             !
        offenders.!!!This!deputy!may!not!be!                                   See!also!Consent!Judgment!
        assigned!to!other!tiers!or!other!                                      IV.!G.!
        responsibilities,!and!shall!be!periodically!
        relieved!by!another!deputy!and/or!
        supervisor.!!!The!evidence!of!compliance!
        with!this!document!will!be!the!staffing!
        assignments!each!day,!each!shift!for!the!
        facility!in!which!youthful!offenders!are!
        held,!and!samples!of!the!log!books!from!
        that!unit.!
6.b.! OPSO!shall!ensure!by!May!15,!2015!that!all! 5/15/15! Partial!            Training!materials!provided!
        staff!assigned!to!the!housing!for!inmates!              Compliance!    for!suicide!prevention;!but!
        with!acute!and!chronic!mental!health!(in!                              not!for!staff!assigned!to!
        Templeman!V,!TDC,!or!other!housing!in!                                 mental!health!housing.!
        which!this!population!is!held)!attend!                                 !
        training!regarding!working!this!                                       See!also!Consent!Judgment!
        population.!!The!lesson!plans/curricula!for!                           IV.B.4.a.,7.a.!
        this!training!shall!be!reviewed!and!
        approved!by!the!Monitors.!!!The!draft!of!
        the!training!curriculum!and!training!plan!
        is!due!to!the!Monitors!by!April!15,!2015,!
        and!should!include!participation!by!subject!
        matter!experts!employed!by!the!medical!
        contractor.!
!                                                       !                                               137!
!
                          Compliance!Report!#!4!1!September!9,!2015!
                                                   !
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    #!                   Language'                             Due'         Status''      Notes'on'Compliance'
                                                               Date'
7.''Staffing,'Staffing'Plans,'and'Recruitment'
 7.a.! OPSO!shall!provide!a!monthly!report!to!the!            Monthly! Compliant!      Monthly!reports!meeting!
        Monitors,!identifying!the!number!of!                                           required!criteria;!to!the!
        deputies!hired!the!previous!month;!the!                                        extent!that!applicants!and!
        number!of!deputies!who!resigned,!if!                                           employees!provide!the!
        known,!the!reason!for!resignation,!and!the!                                    information!to!OPSO’s!
        date!the!deputy!entered!service;!and!the!                                      Human!Resources!staff.!
        number!of!deputies!who!were!terminated,!                                       !
        the!reason!for!termination,!and!the!date!                                      See!also!Consent!Judgment!
        the!deputy!entered!service.!!The!same!                                         IV.!A.6.!
        report!shall!be!provided!for!non1sworn!
        (civilian!staff).!!A!cumulative!annual!total!
        will!also!be!included!as!part!of!this!report.!!
7.b.! By!March!15,!2015,!OPSO!shall!provide!a!                3/15/15! Compliant!!     Provided!3/17/15!
        recruitment!plan!for!sworn!(e.g.!deputy!                                       Monitor!provided!comment!
        sheriffs)!and!non1sworn/civilian!staff!that!                                   to!OPSO!on!5/4/15.!!!!
        addresses!current!and!anticipated!                                             !
        vacancies!for!the!next!18!months!and!                                          See!also!Consent!Judgment!
        based!on!the!staffing!plan.!!The!plan!will!be!                                 IV.!A.6.!
        provided!to!the!Monitors!for!comment!and!
        recommendations!by!March!1,!2015.!
 7.c.! At!the!scheduled!status!conferences!with!              3/26/15! Compliant!      Provided!7/1/15;!updated!
        the!Court,!OPSO!shall!report!regarding!                                        monthly!
        progress!to!achieving!hiring!based!on!the!                                     !
        plan,!as!well!as!any!modifications!and!                                        See!also!Consent!Judgment!
        update!to!the!plan!(See!paragraph!1,!a.,!b.,!                                  IV.!A.6.!
        above.)!
7.d.! By!April!30,!2015,!OPSO!will!evaluate!all!              4/30/15! Compliant!      Letter!dated!7/7/15!from!
        posts!to!determine!if!use!of!contractors!is!                                   Chief!DeSadier!provided!on!
        feasible!for!non1inmate!contact!positions!                                     7/13/15.!!No!positions!
        (e.g.,!perimeter!security,!security!screening!                                 identified!as!of!this!date.!
        of!staff!and!visitors).!!The!report!will!be!
        provided!to!the!Monitors!and!Plaintiffs!for!
        their!review.!
8.''Incidents'and'Referrals'
  8.!   OPSO!shall!issue!a!memorandum!to!all!                    !     Compliant!      Two!separate!memoranda!
        staff!and!contractors!regarding!their!                                         provided:!!one!to!Wardens!
        responsibilities!and!the!process!to!                                           and!Watch!Commanders!and!
        document!all!reportable!incidents!within!                                      one!to!“each!staff!member!
        24!hours,!identified!in!§!IV.A.7!of!the!                                       and!contractor”,!on!4/17/15!
        Consent.!!The!memorandum!will!be!issued!                                       See!also!Consent!Judgment!
        in!accordance!with!the!terms!specified!in!                                     IV.A.7.e.!!
        Item!3!of!this!Stipulated!Order.!
9.''Investigations'
 9.a.! By!March!31,!2014,!OPSO!shall!develop!                 3/31/15! Partial!        Updated!drafts!provided!on!
        policies!and!procedures!governing!the!                         Compliance!     7/31/15.!!Reviewed!by!
        operations!of!the!Investigative!Services!                                      Monitors!with!ISB!staff!
        Bureau!(ISB)!including!post!orders!for!all!                                    during!on1site!tour.!!
        positions!within!OPSO!that!have!                                               Modifications!returned!for!
        investigative!responsibilities,!criminal!                                      additional!work.!!
        and/or!administrative.!!!This!draft!will!be!                                   !

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 #!                     Language'                      Due'            Status''      Notes'on'Compliance'
                                                       Date'
        provided!to!the!Monitors.!!Following!                                     See!also!Consent!Judgment!
        receipt!of!the!Monitors’!comments,!OPSO!                                  IV.A.8.a.!!
        will!make!any!necessary!revisions,!consult!
        with!the!Monitor(s)!as!needed,!and!
        provide!a!final!draft!to!the!Plaintiffs!to!
        provide!substantive!comments!to!both!
        OPSO!and!the!Monitor(s).!In!the!event!that!
        the!Monitor!and/or!the!OPSO!disagree!
        with!any!comments!or!recommendations!
        by!the!Plaintiffs,!the!Monitor!will!convene!
        a!conference!call!for!the!purpose!of!
        resolving!issues.!
9.b.! By!March!15,!2015!OPSO!shall!make!                 3/15/15! Compliant!!     3/20/15!1!Provided!
        available!a!laptop!computer!to!                                           purchase!orders!and!memo!
        investigative!staff!assigned!full1time!to!ISB!                            from!Major!Hosli!.!OPSO!
        for!use!in!the!employees’!official!capacities.!!                          indicated!on!4/2!that!the!
        Supervisors!shall!have!the!ability!access!all!                            laptops!had!been!received.!!
        files.!!To!the!extent!possible!the!laptop!                                !
        computers!will!be!linked!to!a!                                            !
        mainframe/cloud!to!facilitate!the!
        supervisor’s!remote!access!to!the!files.!
10.''Grievances'
 10.! By!March!1,!2015,!OPSO!shall!develop!a!job! 3/1/15! Compliant!!             Provided!3/9/15!
        description!for!the!Grievance!Officer!and!                                !
        revise!OPSO’s!organizational!chart!to!                                    See!also!Consent!Judgment!
        identify!the!chain1of1command!for!this!                                   IV.A.11.!!
        position.!
11.'PREA'
 11.! By!March!15,!2015,!OPSO!shall!produce!to!           3/1/15! Compliant!!     Final!product!provided!to!
        the!Monitors!the!outline!and!production!                                  lead!Monitor!for!review!on!
        schedule!for!the!video!and!orientation!                                   5/14;!with!subsequent!
        materials!advising!prisoners!of!the!Prison!                               updates!provided!the!
        Rape!Elimination!Act.!Following!receipt!of!                               following!week.!!Monitors!
        the!Monitors’!comments,!OPSO!will!make!                                   have!encouraged!OPSO!to!
        any!necessary!revisions,!consult!with!the!                                provide!these!products!to!
        Monitor(s)!as!needed,!and!provide!a!final!                                the!plaintiffs.!!Videos!
        draft!to!the!Plaintiffs!to!provide!                                       provided!to!plaintiffs!on!
        substantive!comments!to!both!OPSO!and!                                    6/3/15.!
        the!Monitor(s).!In!the!event!that!the!                                    !
        Monitor!and/or!the!OPSO!disagree!with!                                    See!also!Consent!Judgment!
        any!comments!or!recommendations!by!the!                                   IV.A.12.!
        Plaintiffs,!the!Monitor!will!convene!a!
        conference!call!for!the!purpose!of!
        resolving!issues.!


12.''Access'to'Information'
 12.! By!April!1,!2015,!OPSO!shall!produce!to!the! 4/1/15!       Partial1         Revision!provided!on!
       Monitors!the!outlines!and!production!                     compliance!      7/31/15;!!additional!work!
       schedule!for!the!inmate!orientation!video!                                 required.!
       and!materials,!including!the!revised!                                      !
       inmate!handbook.!!!OPSO!shall!also!include!                                See!also!Consent!Judgment!
 !                                                 !                                                   139!
 !
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    #!                Language'                     Due'      Status''      Notes'on'Compliance'
                                                    Date'
       the!strategy!for!orienting!inmates,!and!                          IV.A.13.!!
       maintenance!of!inmate!handbooks!
       throughout!OPSO!facilities,!including!
       language!access!requirements,!Section!IV.!
       F.!of!the!Consent!Judgment.!Following!
       receipt!of!the!Monitors’!comments,!OPSO!
       will!make!any!necessary!revisions,!consult!
       with!the!Monitor(s)!as!needed,!and!
       provide!a!final!draft!to!the!Plaintiffs!to!
       provide!substantive!comments!to!both!
       OPSO!and!the!Monitor(s).!In!the!event!that!
       the!Monitor!and/or!the!OPSO!disagree!
       with!any!comments!or!recommendations!
       by!the!Plaintiffs,!the!Monitor!will!convene!
       a!conference!call!for!the!purpose!of!
       resolving!issues.!
13.''Medical'Care'
 13.! By!March!15,!2015!OPSO!shall!provide!the! 3/15/15! Partial!        Materials!reviewed;!!require!
       Monitor!with!the!medical!and!mental!              Compliance!     additional!work;!!comments!
       health!care!contractor’s!action!plan!for!                         provided!by!Drs.!Patterson!
       compliance!with!all!the!medical!and!                              and!Greifinger.!
       mental!health!provisions!of!the!Consent!                          !
       Judgment.!!The!action!plan!shall!include!                         See!also!Consent!Judgment!
       the!due!dates!for!compliance!with!the!                            IV.!B.,!C.!!
       paragraphs!of!the!Consent!Judgment,!the!
       individual(s)!responsible!for!the!activities,!
       the!specific!activities!to!be!undertaken.!!!
       Following!receipt!of!the!Monitors’!
       comments,!OPSO!will!make!any!necessary!
       revisions,!consult!with!the!Monitor(s)!as!
       needed,!and!provide!a!final!draft!to!the!
       Plaintiffs!to!provide!substantive!comments!
       to!both!OPSO!and!the!Monitor(s).!In!the!
       event!that!the!Monitor!and/or!the!OPSO!
       disagree!with!any!comments!or!
       recommendations!by!the!Plaintiffs,!the!
       Monitor!will!convene!a!conference!call!for!
       the!purpose!of!resolving!issues!
14.''Mental'Health'
14.a.! OPSO!shall!issue!a!memorandum!requiring!       !  Compliant!      Provided!by!Col.!Laughlin!on!
       that!inmates!with!mental!illness!housed!in!                       April!9,!2015!
       the!mental!health!housing!have!access!to!                         !
       non1contact!family!visitation!and!family!                         !
       telephone!calls.!!The!decision!as!to!visiting!                                   !
       and!telephone!calls!will!be!determined!in!                                       !
       consultation!with!the!mental!health!staff!
       assigned!to!that!inmate’s!care.!If!an!inmate!
       is!denied!visiting!and!telephone!calls!the!
       reasons!are!specifically!included!in!the!
       inmate’s!chart.!!


!                                               !                                             140!
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    #!                 Language'                           Due'         Status''      Notes'on'Compliance'
                                                           Date'
14.b.! By!April!1,!2015,!OPSO,!in!collaboration!          4/1/15!   Partial!       CCS!Policy:!!Mental!Health!
       with!CCS,!will!produce!a!management!plan!                    Compliance!    Management!Plan!(undated)!
       for!inmates!on!the!mental!health!caseload!                                  provided!on!4/13/15.!!
       (Levels!1!–!4),!whether!these!inmates!are!                                  Comments!from!the!
       housed!in!the!step1down!unit,!or!in!general!                                monitors!were!provided!via!
       population.!                                                                letter!to!the!Sheriff!on!May!
                                                                                   5,!2015.!!No!follow1up!from!
                                                                                   CCS!or!OPSO.!!This!is!in!
                                                                                   partial!compliance!as!a!
                                                                                   document!was!provided.!
                                                                                   !
                                                                                   See!also!Consent!Judgment!
                                                                                   IV.B.2.!!


15.''The'New'Jail'Facility'
 15.! By!April!30,!2015,!OPSO!shall!submit!to!the! 4/30/15! Partial!               A!document!was!provided!
       Monitors!the!plan!for!opening!the!new!jail,!            Compliance!         on!7/31/15.!!Additional!
       including!the!schedule!for!movement!of!                                     requests!made!for!
       inmates!into!the!facility,!and!closing!of!                                  information!(Transition!
       existing!facilities.!!!The!schedule!shall!be!                               Team!scenarios).!!
       predicated!on!the!potential!opening!dates!                                  !
       known!at!that!time,!including!alternative!                                  See!also!Consent!Judgment!
       scenarios.!                                                                 VI.!
16.''Sanitation'and'Environmental'Conditions'
 16.! OPSO!shall!issue!a!memorandum!to!all!           No!date! Non1compliant!!     !OPSO!provided!on!8/18/15!
       staff!that!that!inmates!and!staff!assigned!to!                              draft!policies!and!
       clean!biohazards!spills/incidents!must!be!                                  procedures,!which!have!not!
       trained!on!doing!so,!outfitted!with!proper!                                 been!evaluated!by!the!
       equipment,!and!properly!supervised!in!                                      Monitors.!
       accordance!with!§!IV.D.1.f!of!the!Consent!                                  !
       Judgment.!Following!receipt!of!the!                                         See!also!Consent!Judgment!
       Monitors’!comments,!OPSO!will!make!any!                                     IV.D.f.!
       necessary!revisions,!consult!with!the!
       Monitor(s)!as!needed,!and!provide!a!final!
       draft!to!the!Plaintiffs!to!provide!
       substantive!comments!to!both!OPSO!and!
       the!Monitor(s).!In!the!event!that!the!
       Monitor!and/or!the!OPSO!disagree!with!
       any!comments!or!recommendations!by!the!
       Plaintiffs,!the!Monitor!will!convene!a!
       conference!call!for!the!purpose!of!
       resolving!issues.!!The!directive!will!be!
       issued!in!accordance!with!the!terms!
       specified!in!Item!3!of!this!Stipulated!Order.!
17.''Youthful'Offenders'
17.a.! By!March!1,!2015,!OPSO!shall!contact!the!      3/1/15! Compliance!          OPSO!has!reached!out!to!
       school!board!and!community!groups!to!                                       several!organizations.!OPSO!
       solicit!proposals!for!programming!in!the!                                   reports!these!organizations!
       youthful!offender!unit.!!!                                                  included:!!Aspen!Institute!
                                                                                   Partnership!for!Youth!

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    #!                 Language'                           Due'         Status''      Notes'on'Compliance'
                                                           Date'
                                                                                   Development,!The!Youth!
                                                                                   Empowerment!Project,!
                                                                                   Orleans!Parish!School!Board,!
                                                                                   Center!for!Educational!
                                                                                   Excellence!in!Alternative!
                                                                                   Settings,!and!the!YCS.!!!
                                                                                   Several!of!these!
                                                                                   organizations!indicated!a!
                                                                                   proposal!would!be!
                                                                                   forthcoming,!but!apparently!
                                                                                   have!not!been!provided!to!
                                                                                   OPSO.!
                                                                                   Regardless!of!the!work!to!
                                                                                   solicit!proposals!to!conform!
                                                                                   with!this!paragraph!of!the!
                                                                                   Consent!Judgment,!other!
                                                                                   than!the!movement!of!12!
                                                                                   prisoners!to!YSC,!no!
                                                                                   progress!has!been!made.!
                                                                                   !
                                                                                   See!also!Consent!Judgment!
                                                                                   IV.!G.!!
17.b.! At!the!scheduled!Court!status!conferences,!        3/26/15! Compliance!     See!above!
       OPSO!shall!report!on!progress!in!securing!
       such!programming,!and/or!the!responses!
       from!the!school!board!and!stakeholders.!
17.c.! By!May!1,!2015!OPSO!shall!provide!a!               5/1/15!   Partial!       On!8/18/15,!OPSO!provided!!
       programming!plan,!based!on!the!resources!                    Compliance!    a!completed!a!draft!of!the!
       it!has!been!able!to!secure,!to!include!                                     OPSO!Housekeeping!Manual!
       education,!for!all!eligible!youth!in!its!                                   that!!includes!detailed!
       custody,!to!Monitors!for!review.!Following!                                 information!on!biohazard!
       receipt!of!the!Monitors’!comments,!OPSO!                                    spills,!clean!up,!protective!
       will!make!any!necessary!revisions,!consult!                                 equipment,!and!chemicals.!!
       with!the!Monitor(s)!as!needed,!and!                                         CCS’!policies!concerning!
       provide!a!final!draft!to!the!Plaintiffs!to!                                 blood!borne!pathogens,!etc.!
       provide!substantive!comments!to!both!                                       were!also!provided.!
       OPSO!and!the!Monitor(s).!In!the!event!that!                                 !
       the!Monitor!and/or!the!OPSO!disagree!                                       See!also!Consent!Judgment!
       with!any!comments!or!recommendations!                                       IV.!G.!
       by!the!Plaintiffs,!the!Monitor!will!convene!
       a!conference!call!for!the!purpose!of!
       resolving!issues.!
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Stipulated'Agreement/Order'(4/22/15)'
'
    #'                       Language'                          Due'        Status''        Compliance'Notes'
                                                                Date'
    1.!     By!no!later!than!April!24,!2015,!the!             4/24/15!    Compliant!   Information!provided.!!
            Orleans!Parish!Sheriff’s!Office!(“OPSO”)!                                  !
            shall!draft!a!memorandum!to!all!staff!                                     See!also!Consent!Judgment!
            members,57!including!supervisors,!                                         IV.B.5.!!
            outlining!the!specific!actions!staff!will!take!
            to!respond!if!they!observe!a!prisoner!
            exhibiting!signs!or!symptoms!of!a)!
            suicidality!or!b)!alcohol!or!drug!
            intoxication!or!withdrawal.!!This!
            memorandum!will!be!drafted!by!OPSO!
            staff!in!collaboration!with!staff!from!
            Correct!Care!Solutions!(“CCS”).!!This!
            memorandum!will!be!provided!for!review!
            in!draft!form!to!the!Lead!Monitor!and!sub1
            monitors!for!Medical!Care!and!Mental!
            Health!Care!(“the!Monitors”).!!Within!
            three!days!of!receiving!any!edits!or!
            revisions!from!the!Monitors’,!OPSO!shall!
            incorporate!those!edits!and/or!revisions!
            and!issue!the!memorandum!to!all!staff!
            members,!including!supervisors.!!The!
            memorandum!shall!be!read!at!daily!staff!
            briefings!for!three!consecutive!days!and!
            posted!in!locations!where!staff!are!likely!
            to!view!it.!
    2.!     By!no!later!than!April!30,!2015,!OPSO!shall!      4/30/15!    Compliant!   Sign1in!sheets!for!training!
            conduct!a!one1hour!training!for!all!clinical!                              provided.!!All!training!as!not!
            and!custody!staff!(including!supervisors)!                                 completed!by!4/30.!
            who!have!not!been!trained!in!the!past!12!                                  !
            months!regarding!the!signs!or!symptoms!                                    See!also!Consent!Judgment!
            of!a)!suicidality!or!b)!alcohol!or!drug!                                   IV.B.5.!
            intoxication!or!withdrawal,!and!the!
            specific!actions!staff!will!take!to!respond!if!
            a!prisoner!exhibits!such!symptoms.!!This!
            training!shall!be!developed!and!delivered!
            in!collaboration!with!staff!from!CCS!and!
            incorporate!the!specific!language!of!the!
            Consent!Judgment.!This!interim!training!
            does!not!supplant!any!pre1service!or!
            annual!training!required!by!the!Consent!
            Judgment,!which!will!be!provided!at!a!
            later!date.!!!
    3.!!    By!no!later!than!April!30,!2015,!OPSO!shall!      4/30/15! Compliance!     !
            submit!all!custodial!and!site1specific!                                    See!also!Consent!Judgment!
            medical!policy(ies)!regarding!a)!suicide!                                  IV.B.5.!!!
            risk!reduction!and!b)!alcohol!or!drug!
!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
57!“Staff!members”!is!defined!in!the!Consent!Judgment!as!“all!employees,!including!correctional!officers,!who!
have!contact!with!prisoners.”!!See!Consent!Judgment,!ECF!No.!466,!at!8.!
!                                                        !                                                 143!
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                                                              Date'
           intoxication!and!withdrawal!required!
           pursuant!to!Section!IV.B.5!of!the!Consent!
           Judgment.!!The!policies!shall!integrate!and!
           cross1reference!all!relevant!CCS!policies!
           governing!housing!and!custody!decisions!
           for!individuals!expressing!suicidality!or!
           alcohol!or!drug!withdrawal.!!All!OPSO!
           policies!and!any!updated!CCS!policies!shall!
           be!submitted!to!the!Monitor!and!Plaintiffs!
           for!review!pursuant!to!Section!VII.A!of!the!
           Consent!Judgment.!
                                                              !
                                                              !
IX.'        CONCLUSIONS'
!!!
            !Orleans!Parish!jail!facilities!remain!very!dangerous!for!staff!and!inmates,!and!the!
facilities!continue!to!deteriorate.!!The!physical!plants,!except!for!the!Temporary!Detention!
Center,!are!unsanitary,!unsafe,!and!result!in!inmates!being!held!in!unconstitutional!
conditions!of!confinement.!!If!the!new!jail!cannot!safely!house!inmates!in!the!very!near!
future,!the!Monitors!recommend!that!inmates!be!moved!to!housing!in!other!parishes!where!
they!will!be!safer.!!!!!!!
            In!spite!of!the!deteriorating!physical!plant,!the!Monitors!highlight!that!the!Orleans!
Parish!Sheriff’s!Office!has!made!progress!toward!compliance!with!the!Consent!Judgment,!
and!the!two!stipulated!agreements.!!Because!the!work!required!to!achieve!compliance!is!
substantial,!the!progress!has!been!slower!than!the!Monitors!or!the!parties’!wish.!!!The!
Monitors!particularly!commend!the!progress!that!has!been!made!in!providing!dramatically!
improved!medical!and!mental!health!care.!!This!report!highlights!the!progress!in!other!
areas!including!sanitation!and!environmental!health,!fire!safety,!classification,!inmate!
grievance!process,!and!prevention!of!sexual!abuse.!!!
            The!Monitors!strongly!urge!the!Sheriff’s!Office!and!the!City!of!New!Orleans,!along!
with!the!community,!to!build!a!collaboration!to!gain!compliance!with!the!Consent!
Judgment.!!!The!Monitors!continue!to!be!concerned!by!the!on1going!negative!impact!of!the!
seemingly!constant!battling!between!the!Sheriff,!the!City!Council!and!City!government!–!as!
measured!by!delaying!compliance!with!the!Consent!Judgment,!failing!to!arrive!at!solutions!


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to!imminently!urgent!issues,!and!wasting!resources!that!are!diverted!to!continue!the!
sparring.!!!
        Finally,!the!Monitors!commend!OPSO!on!the!work!accomplished!to!date.!!As!noted!
above,!there!is!a!substantial!amount!of!work!to!be!done,!and!to!use!the!metaphor!–!the!
work!is!a!marathon,!not!a!sprint.!!The!work!of!OPSO!needs!to!result!in!a!sustainable!
Constitutional!jail!that!uses!resources!effectively!and!efficiently.!




!                                              !                                          145!
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Attachment)A)*)Summary)of)Compliance)Findings)–)As)of)September)9,)2015)
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 Section)      Substantial)Compliance)   Partial)Compliance)         Non*Compliance)                                             Notes)
IV.!A.!!Protection!from!Harm!
IV.A.!1.!!Use!of!Force!Policies!and!Procedures/Margo!Frasier!
IV.!A.!1.a.!!                          !!!                          !8/7/15!              1/23/15,!7/18/14!                           !!
IV.!A.!1.b.!        !                                                8/7/15!              1/23/15,!7/18/14!                           !!
IV.!A.!1.c.!                           !!                            8/7/15!              1/23/15,!!7/18/14!                          !!
IV.A.2.!!Use!of!!Force!Training/Margo!Frasier!
IV.!A.!2.!a.!                          !!                              !               8/7/15,!1/23/15,!7/18/14!                      !!!!
IV.!A.!2.!b.!                          !!                              !               8/7/15,!1/23/15,!7/18/14!                      !!
IV.!A.!2.!c.!                          !!                              !               8/7/15,!1/23/15,!7/18/14!                      !!
IV.A.3.!!!Use!of!Force!Reporting/Margo!Frasier!
IV.!A.3!a.!                            !!                           8/7/15!                1/23/15,!7/18/14!        See!also!SA!2/11/15!4.a.,!4.b.,!4.c.!
IV.!A.3!b.!                            !                                !              8/7/15,!1/23/15,!!7/18/14!                   !!!!
IV.!A.3!c.!                            !                                !              8/7/15,!1/23/15,!!7/18/14!                   !!
IV.!A.3!d.!                            !                            8/7/15!               1/23/15,!!7/18/14!                        !!!!
IV.!A.3!e.!                            !                        8/7/15,!1/23/15!                !7/18/14!                           !!
IV.!A.3!f.!                            !                            8/7/15!               1/23/15,!!7/18/14!                        !!
IV.!A.3!g.!                            !                            8/7/15!               1/23/15,!!7/18/14!                        !!
IV.!A.3!h.!                            !                                !              8/7/15,!1/23/15,!7/18/14!                    !!
IV.A.4.!Early!Intervention!System!(“EIS”)!/Margo!Frasier!
IV.A.4.a.!                             !                            8/7/15!               1/23/15,!7/18/14!                         !!
IV.A.4.b.!                             !                            8/7/15!               1/23/15,!7/18/14!             See!also!SA!2/11/15!5.b.!
IV.A.4.c.!                             !                            8/7/15!               1/23/15,!7/18/14!             See!also!SA!2/11/15!5.c.!
IV.A.4.d.!                             !                               !               8/7/15,!1/23/15,!7/18/14!                    !
IV.A.4.e.!                             !                               !                           !                          Due!8/21/15!
IV.A.5.!Safety!and!Supervision/Margo!Frasier!
IV.A.5.a.!                             !                                !              8/7/15,!1/23/15,!7/18/14!                      !
IV.A.5.b.!                             !                                !              8/7/15,!1/23/15,!!7/18/14!                     !
IV.A.5.c.!                             !                                !              8/7/15,!1/23/15,!!7/18/14!                     !
IV.A.5.d.!                             !                        8/7/15,!1/23/15!               !7/18/14!                              !
IV.A.5.e.!                             !                            8/7/15!                1/23/15,!7/18/14!                          !
IV.A.5.f.!                             !                            8/7/15!               1/23/15,!!7/18/14!                          !
IV.A.5.g.!                             !                            8/7/15!               1/23/15,!!7/18/14!                          !
IV.A.5.h.!                             !                                !              8/7/15,!1/23/15,!!7/18/14!                     !
IV.A.5.i.!                             !                            8/7/15!               1/23/15,!!7/18/14!                          !
IV.A.5.j.!                             !                        8/7/15,!1/23/15!               !7/18/14!                              !
IV.A.5.k.!                             !                        8/7/15,!1/23/15!               !7/18/14!                              !

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    Section)         Substantial)Compliance)                  Partial)Compliance)                    Non*Compliance)                                Notes)
IV.A.5.l.!                               !                                    !                    8/7/15,!1/23/15,!!7/18/14!                           !
IV.A.6.!!Security!Staffing/Susan!McCampbell!
IV.A.6.a.(1)!                            !!                     !8/7/15,!1/23/15,!7/18/14!!                    !                                        !
IV.A.6.a.(2)!                            !                       8/7/15,!1/23/15,!7/18/14!!                    !                                        !
IV.A.6.a.(3)!                  8/7/15,!12/20/14!                              !                             1/23/15!                                    !
IV.A.6.a.(4)!                            !                            8/7/15,!1/23/15!                      7/18/14!!                      See!also!SA!2/11/15!7.a.,c.!
IV.A.6.b.!                               !                            8/7/15,!1/23/15!                      7/18/14!!                                   !
IV.A.7!Incidents!and!Referrals/Margo!Frasier!
IV.A.7.a.!                               !                                    !                    8/7/15,!1/23/15,!!7/18/14!                          !
IV.A.7.b.!                               !                                8/7/15!                     1/23/15,!!7/18/14!                               !
IV.A.7.c.!                               !                            8/7/15,!1/23/15!                     !7/18/14!                                   !
IV.A.7.d.!                               !                                    !                    8/7/15,!1/23/15,!!7/18/14!                          !
IV.A.7.e.!                               !                                8/7/15!                     1/23/15,!!7/18/14!                    See!also!SA!2/11/15!8.!
IV.A.7.f.!                               !                                8/7/15!                     1/23/15,!!7/18/14!                               !
IV.A.7.g.!                               !                                8/7/15!                     1/23/15,!!7/18/14!                               !
IV.A.7.h.!                               !                                8/7/15!                     1/23/15,!!7/18/14!                               !
IV.A.7.i.!                               !                                8/7/15!                     1/23/15,!!7/18/14!                               !
IV.A.7.j.!                               !                                    !                    8/7/15,!1/23/15,!!7/18/14!                          !
IV.A.8.!!Investigations/Margo!Frasier!
IV.A.8.a.!                               !                            8/7/15,!1/23/15!                     !7/18/14!                        See!also!SA!2/11/15!9.a.!
IV.A.8.b.!                               !                            8/7/15,!1/23/15!                     !7/18/14!                                    !
IV.A.8.c.!                               !                       8/7/15,!8/7/15,!1/23/15!                  !7/18/14!                                    !
IV.A.8.d.!                               !                                8/7/15!                      1/23/15,!!7/18/14!                               !
IV.A.8.e.!                               !                                8/7/15!                      1/23/15,!!7/18/14!                               !
IV.A.8.f.!                               !                                8/7/15!                      1/23/15,!!7/18/14!                               !
IV.A.9.!!Pretrial!Placement!in!Alternative!Settings/Susan!McCampbell!
IV.A.9.a.!                           8/7/15!                   1/23/15,!7/18/14,!12/20/13!                      !                                       !
IV.A.9.b.!                           8/7/15!                   1/23/15,!7/18/14,!12/20/13!                      !                                       !
IV.A.10.!Custodial!Placement!within!OPP/Patricia!Hardyman!
IV.A.10.a.!                     8/7/15,!1/23/15!                         7/18/14!                           12/20/13!                 !!
IV.A.10.b.!                          8/7/15!                                  !                     1/23/15,7/18/14,!12/20/13!        !!
IV.A.10.c.!                              !                            8/7/15,!1/23/15!                  7/18/14,!12/20/13!            !!
IV.A.10.d.!                              !                            8/7/15,!1/23/15!                  7/18/14,!12/20/13!            !
IV.A.10.e.!                          8/7/15!                             1/23/15!                       7/18/14,!12/20/13!            !
IV.A.10.f.!                              !                                    !                 8/7/15,!1/23/15,!7/18/14,!12/20/13!   !
IV.A.10.g.!                              !                                    !               !      8/7/15,1/23/15,!7/18/14!         !
IV.A.10.h.!                              !!                               8/7/15!                        1/23/15,!7/18/14!            !
IV.A.11.!Prisoner!Grievance!Process/Susan!McCampbell!
IVA.11.a.!                               !!                     8/7/15,!1/23/15,!7/18/14,!                      !                           See!also!SA!2/11/15!10.!

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                                                                                                                         12/20/13!
IV.A.12.!Sexual!Abuse/Susan!McCampbell!
IV.A.12.!                          !                                                                      8/7/15,!1/23/15,!7/18/14,!!                                                           !                                             See!also!SA!2/11/15!11.!
                                                                                                                  12/20/13!
IV.A.13.!Access!to!Information/Susan!McCampbell!
IV.A.13.!                             !                                                              8/7/15,!1/23/15,!7/18/14,!                                                                           !                                                     See!also!SA!2/11/15!12.!
                                                                                                                      12/20/13!
IV.B.!!Mental!Health!Care!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!See!SA!2/11/15!13.!
IV.B.1.!Screening!and!Assessment/Raymond!Patterson!!
IV.B.1.a.!                                          !                                                          8/7/15,!1/23/15!                                                        7/18/14,!12/20/13!                                                                   !
IV.B.1.b.!                                          !                                                          8/7/15,!1/23/15!                                                        7/18/14,!12/20/13!                                                                   !
IV.B.1.c.!                                          !                                                          8/7/15,!1/23/15!                                                        7/18/14,!12/20/13!                                                                   !
IV.B.1.d.!                                          !                                                          8/7/15,!1/23/15!                                                        7/18/14,!12/20/13!                                                                   !
IV.B.1.e.!                                          !                                                          8/7/15,!1/23/15!                                                        7/18/14,!12/20/13!                                                                   !
IV.B.1.f.!                                          !                                                                           !                                    8/7/15,!1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.1.g.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.1.h.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.1.i.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.1.j.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.1.k.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.1.l.!                                          !                                                                           !                                            1/23/15,!7/18/14,!12/20/13!                                                         8/7/15!Not!applicable!
IV.B.2.!Treatment/Raymond!Patterson!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!See!SA!2/11/15!15.!
IV.B.2.a.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.2.b.!                                          !                                                                           !                                    8/7/15,!1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.2.c.!                                          !                                                                           !                                    8/7/15,!1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.2.d.!                                          !                                                                           !                                    8/7/15,!1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.2.e.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.2.f.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.2.g.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.2.h.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.3.!!Counseling/Raymond!Patterson!
IV.B.3.a.!                                          !!                                                                          !                                    8/7/15,!1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.3.b.!                                          !                                                                           !                                    8/7/15,!1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.4.!!Suicide!Prevention!Training!Program/Raymond!Patterson!
IV.B.4.a.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                       See!also!SA!2/11/15!6.b.!
IV.B.4.b.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.4.c.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.4.d.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !
IV.B.4.e.!                                          !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                    !

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IV.B.4.f.!                                                        !                                                                  !                                      1/23/15,!7/18/14,!12/20/13!                                         Not!audited,!will!be!audited!at!
                                                                                                                                                                                                                                                          next!tour.!
IV.B.4.g.!                                         8/7/15!                                                                            !                                            1/23/15,!7/18/14;!12/20/13!                                                 !
IV.B.5.!!Suicide!Precautions/Raymond!Patterson!
IV.B.5.a.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.b.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.c.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.d.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.e.!                                                !                                                                           !                                               8/7/15,1/23/15,!7/18/14!                                                       NA!at!time!of!first!report!
IV.B.5.f.!                                                !                                                                           !                                               8/7/15,1/23/15,!7/18/14!                                                       NA!at!time!of!first!report!
IV.B.5.g.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.h.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.i.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.j.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.5.k.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.6.!!Use!of!Restraints/Raymond!Patterson!
IV.B.6.a.!                                                !                                                8/7/15,1/23/15,!12/31/13!                                                                    7/18/14!                                                                    !
IV.B.6.b.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,!12/20/13!                                                                     !
IV.B.6.c.!                                                !                                                           8/7/15,1/23/15!                                                                   7/18/14!                                                                    !
IV.B.6.d.!                                                !                                                           8/7/15,1/23/15!                                                                   7/18/14!                                                     NA!at!time!of!first!report!
IV.B.6.e.!                                                !                                                           8/7/15,1/23/15!                                                                   7/18/14!                                                                    !
IV.B.6.f.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,!12/20/13!                                                                     !
IV.B.6.g.!                                                !                                                           8/7/15,!1/23/15!                                                                  7/18/14!                                                     NA!at!time!of!first!report!
IV.B.7.!!Detoxification!and!Training/Robert!Greifinger!
IV.B.7.a.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,!12/20/13!                                                       See!also!SA!2/11/15!6.b.!
IV.B.7.b.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,12/20/13!                                                                      !
IV.B.7.c.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,12/20/13!                                                                      !
IV.B.7.d.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,!12/20/13!                                                                     !
IV.B.8.!Medical!and!Mental!Health!Staffing/Robert!Greifinger!
IV.B.8.a.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,!12/20/13!                                                                     !
IV.B.8.b.!                                                !                                                           8/7/15,1/23/15!                                                        7/18/14,!12/20/13!                                                                     !
IV.B.9.!!Risk!Management/Robert!Greifinger!
IV.B.9.a.!                                                !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.9.b.!                                                !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.9.c.!                                                !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.9.d.!                                                !                                                                           !                                     8/7/15,1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.9.e.!                                                !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.B.9.f.!                                                !                                                                    8/7/15!                                             1/23/15,!7/18/14,!12/20/13!                                                                      !
IV.C.!Medical!Care!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!See!SA!2/11/15!13.!

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IV.C.1.!Quality!Management!and!Medication!Administration/Robert!Greifinger!
IV.C.1.a.!                             !                         8/7/15,1/23/15!                  7/18/14,!12/20/13!                          !
IV.C.1.b.!                             !                         8/7/15,1/23/15!                  7/18/14,!12/20/13!                          !
IV.C.1.c.!                             !                         8/7/15,1/23/15!                  7/18/14,!12/20/13!                          !
IV.C.1.d.!                             !                         8/7/15,1/23/15!                  7/18/14,!12/20/13!                          !
IV.C.2.!!Health!Care!Delivered/Robert!Greifinger!
IV.C.2.a.!                             !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!        Recommendation!to!revise!
                                                                                                                                section,!see!also!Report!#!2!
IV.C.2.b.!                          !                                 8/7/15!                1/23/15,!7/18/14,!12/20/13!        Recommendation!to!revise!
                                                                                                                                section,!see!also!Report!#!2!
IV.C.3.!!Release!and!Transfer/Robert!Greifinger!
IV.C.3.a.!                             !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !
IV.C.3.b.!                             !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !
IV.C.3.c.!                             !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !
IV.C.3.d.!                             !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !
IV.D.!!Sanitation!and!Environmental!Conditions/Harry!Grenawitzke!
IV.!D.!1.!Sanitation!and!Environmental!Conditions!
IV.D.!1.a.!                            !                                  !               8/7/15,!1/23/15,!7/18/14,!12/20/13!                !
IV.!D.!1.b.!!                          !                          8/7/15,!1/23/15!                7/18/14,!12/20/13!                         !
IV.!D.!1.c.!                           !                          8/7/15,!1/23/15!                7/18/14,!12/20/13!                         !
IV.!D.!1.d.!                           !                                  !               8/7/15,!1/23/15,!7/18/14,!12/20/13!                !
IV.!D.!1.e.!                           !                      8/7/15,!1/23/15,!7/18/14!               12/20/13!                              !
IV.!D.!1.f.!                           !                                  !               8/7/15,!1/23/15,!7/18/14,!12/20/13!    See!also!SA!2/11/15!16.!
IV.!D.!1.g.!                           !                                  !               8/7/15,!1/23/15,!7/18/14,!12/20/13!                !
IV.!D.!1.h.!                           !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                     !
IV.!D.!2.!Environmental!Control!
IV.!D.!2.a.!                           !                          8/7/15,1/23/15!                 7/18/14,!12/20/13!                          !
IV.!D.!2.b.!                           !                                  !               8/7/15,1/23/15,!7/18/14,!12/20/13!                  !
IV.!D.!3.!Food!Service!!
IV.!D.!3.a.!                           !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !
IV.!D.!3.b.!                           !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !
IV.!D.!3.c.!                           !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !
IV.!D.!4.!Sanitation!and!Environmental!Conditions!Reporting!
IV.!D.!4.a.!117!                       !                          8/7/15,1/23/15!                      7/18/14!                               !
IV.!D.!4.b.!                           !                                  !                    8/7/15,1/23/15,!7/18/14!                       !
IV.E.!Fire!and!Life!Safety/Harry!Grenawitzke!
IV.!E.!1.!Fire!and!Life!Safety!
IV.!E.!1.a.!                           !                      8/7/15,1/23/15,!7/18/14!                12/20/13!                               !
IV.!E.!1.b.!                           !                               8/7/15!               1/23/15,!7/18/14,!12/20/13!                      !

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    Section)                     Substantial)Compliance)                                          Partial)Compliance)                                          Non*Compliance)                                                          Notes)
IV.!E.!1.c.!                                               !                                      8/7/15,!1/23/15,!7/18/14;!                                                     !                                                             !
                                                                                                          12/31/13!
IV.!E.!1.d.!                              !                                                                   !                                     8/7/15,!1/23/15,!7/18/14,!12/20/13!                                                        !
IV.!E.!1.e.!                              !!                                                          8/7/15,!1/23/15!                                           7/18/14!                                                                      !
IV.!E.!2.!Fire!and!Life!Safety!Reporting!
IV.!E.!2.a.113!                           !                         8/7/15,1/23/15!                                                                                    7/18/14!                                                                !
IV.!E.!2.b.!                              !                              8/7/15!                                                                                   1/23/15,!7/18/14!                                                           !
IV.F.!Language!Assistance!
IV.F.1.!Timely!and!Meaningful!Access!to!Services/Margo!Frasier!
IV.F.1.a.!                                !                     8/7/15,!1/23/15,!7/18/14!                                                                                        !                                                             !
IV.F.2.!!Language!Assistance!Policies!and!Procedures/Margo!Frasier!
IV.F.2.a.!                                !                     8/7/15,!1/23/15,!7/18/14!                                                                                        !                                                             !
IV.F.2.b.!                                !                     8/7/15,!1/23/15,!7/18/14!                                                                                        !                                                             !
IV.F.3.!Language!Assistance!Training/Margo!Frasier!
IV.F.3.a.!                                !!                    8/7/15,!1/23/15,!7/18/14!                                                                                        !                                                             !!!
IV.F.4.!Bilingual!Staff/Margo!Frasier!
IV.F.4.!                                  !                     8/7/15,!1/23/15,!7/18/14!                                                                                        !                                                             !
IV.G.!!Youthful!Prisoners/Susan!McCampbell!
IV.G.!!                                   !                              8/7/15!                                                                           1/23/15,!7/18/14,!12/20/13!                                              See!also!SA!2/11/15!6.a.,!17.a.,!c.!
                                                                                                                                                                                                                                           See!also!SA!4/22/14!17.c.!
VI.!The!New!Jail!Facility/Susan!McCampbell!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!See!also!SA!2/11/5!15.!!
VI.!A.!                            8/7/15!                                                 1/23/15,!7/18/14!                                                                          !                                                                  !!
                                       !
VI.!B.!                        8/7/15,!1/23/15!                                                     7/18/14!                                                                          !                                                                  !!
VI.!C.!                        8/7/15,!1/23/15!                                                     7/18/14!                                                                          !                                                                  !!
VI.!D.!                                !                                                                     !!                                                                       !                                                Monitors!not!able!to!evaluate.!!
VII.!!Compliance!and!Quality!Improvement/Susan!McCampbell!
VII.!A.!                               !                                                             8/7/15!                                                        1/23/15,!7/18/14!                                                       See!also!SA!2/11/15!1.b.!!
                                                                                                                                                                                                                                     See!also!SA!2/11/15!2.a.,!2.b.,!3.!!
VI.!B.!(H.)!                           !                                                                     !                                              8/7/15,!1/23/15,!7/18/14!                                                        See!SA!4/22/15!1.,2.,3.!!
VI.!C.!(I.)!                   8/7/15,!7/18/14!                                                              !                                                     1/23/15,!12/20/13!                                                                    !
VI.!D.!(J.)!                           !                                                             8/7/15!                                                        1/23/15,!7/18/14!                                                       See!also!SA!2/11/15!1.b.!
VIII.!Reporting!Requirements!and!Right!of!Access/Susan!McCampbell!
VIII.A.!                             !                           8/7/15,!7/18/14!                                                                                          1/23/15!                                                     !
VIII.B.!                             !                       8/7/15,!1/23/15,!7/18/14,!                                                                                       !                                             See!also!SA!2/11/15!1.c.!
                                                                     12/20/13!
VIII.C.!                          8/7/15!                   1/23/15,!7/18/14,12/20/13!                                                                                           !                                                             !
!                                    !                                   !                                                                                                       !                                                             !
Stipulated)Agreement/Order)(2/11/15)!

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1.a.!                     8/7/15!                            !                          !                      !!
1.b.!                        !                            8/7/15!                       !        See!also!CJ!VII.!D.,!VIII.A.!
1.c.!                        !                            8/7/15!                       !            See!also!CJ!VIII.B.!
2.a.!                        !                            8/7/15!                       !            See!also!CJ!VII.!A.!
2.b.!                        !                            8/7/15!                       !            See!also!CJ!VII.!A.!
3.!                       8/7/15!                            !                          !            See!also!CJ!VII.!A.!
4.a.!                     8/7/15!                            !                          !            See!also!CJ!IV.A.3.!
4.b.!                     8/7/15!                            !                          !            See!also!CJ!IV.A.3.!
4.c.!                     8/7/15!                            !                          !            See!also!CJ!IV.A.3.!
5.a.!                     8/7/15!                            !                          !           See!also!CJ!IV.A.4.b.!
5.b.!                        !                            8/7/15!                       !            See!also!CJ!IV..4.c.!
6.a.!                     8/7/15!                            !                          !             See!also!CJ!IV.G.!
6.b.!                        !                            8/7/15!                       !         See!also!CJ!IV.B.4.a.,7.a.!
7.a.!                     8/7/15!                            !                          !            See!also!CJ!IV.A.6.!
7.b.!                     8/7/15!                            !                          !            See!also!CJ!IV.A.6.!
7.c.!                     8/7/15!                            !                          !            See!also!CJ!IV.A.6.!
7.d.!                     8/7/15!                            !                          !                      !
8.!                       8/7/15!                            !                          !            See!also!CJ!IV.A.7.!
9.a.!                        !                            8/7/15!                       !           See!also!CJ!IV.A.8.a.!
9.b.!                     8/7/15!                            !                          !                      !
10.!                      8/7/15!                            !                          !           See!also!CJ!IV.A.11.!
11.!                      8/7/15!                            !                          !           See!also!CJ!IV.A.12!
12.!                         !                            8/7/15!                       !           See!also!CJ!IV.A.13!
13.!                         !                            8/7/15!                       !           See!also!CJ!IV.B.,!C.!
14.a.!                    8/7/15!                            !                          !                      !
14.b.!                       !                            8/7/15!                       !            See!also!CJ!IV.B.2.!
15.!                         !                            8/7/15!                       !              See!also!CJ!VI.!
16.!                         !                               !                       8/7/15!         See!also!CJ!IV.D.f.!
17.a.!                    8/7/15!                            !                          !             See!also!CJ!IV.G.!
17.b.!                    8/7/15!                            !!                         !                      !
17.c.!                    8/7/15!                            !!                         !             See!also!CJ!IV.G.!
Stipulated)Agreement/Order)(4/22/25))
1.!                        8/7/15!                           !                          !           See!also!CJ!IV.B.5.!
2.!                        8/7/15!                           !                          !           See!also!CJ!IV.B.5.!
3.!                           !                           8/7/15!                       !           See!also!CJ!IV.B.5.!

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